       Case: 23-1664   Document: 62-1    Page: 1   Date Filed: 07/24/2023




Nos. 23-1664, 23-1665, 23-1666, 23-1667, 23-1668, 23-1669, 23-1670, 23-1671, 23-
      1672, 23-1673, 23-1674, 23-1675, 23-1676, 23-1677, 23-1678, 23-1780

                 United States Court of Appeals
                      for the Third Circuit
      IN RE: BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC,
                             Debtor,
    NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH PA., et al.,
                            Appellants,
                                v.
      BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC, et al.,
                            Appellees.
              Appeal from the United States District Court
              for the District of Delaware (No. 22-cv-01237)

         JOINT APPENDIX VOL. 1 of 7 (A00001 – A00677)
                        Part 1 of 2

Deirdre M. Richards                  Theodore J. Boutrous Jr.
FINEMAN KREKSTEIN                    Richard J. Doren
& HARRIS PC                          Blaine H. Evanson
1300 N. King Street                  GIBSON, DUNN & CRUTCHER LLP
Wilmington, DE 19801                 333 South Grand Avenue
(302) 538-8331                       Los Angeles, California 90071
Susan N.K. Gummow                    (213) 229-7000
FORAN GLENNON                        Michael A. Rosenthal
PALANDECH PONZI &                    James Hallowell
RUDLOFF P.C.                         Seth M. Rokosky
222 N. LaSalle St., Suite 1400       GIBSON, DUNN & CRUTCHER LLP
Chicago, Illinois 60601              200 Park Avenue
                                     New York, New York 10166
                                     (212) 351-4000
 Counsel for National Union Fire Insurance Company of Pittsburgh,
 Pa., Lexington Insurance Company, Landmark Insurance Company,
 and the Insurance Company of the State of Pennsylvania
     Case: 23-1664   Document: 62-1   Page: 2   Date Filed: 07/24/2023




Joseph T. Baio
Christopher J. St. Jeanos
Mitchell J. Auslander
Charles Dean Cording
Patricia O. Haynes
WILLKIE FARR & GALLAGHER LLP
787 Seventh Avenue
New York, NY 10019
(212) 728-8000

Additional Counsel for National Union Fire Insurance Company of
Pittsburgh, Pa., Lexington Insurance Company, Landmark Insurance
Company, and the Insurance Company of the State of Pennsylvania

Ronald P. Schiller                     Kathleen K. Kerns
Matthew A. Hamermesh                   POST & SCHELL, P.C.
HANGLEY ARONCHICK SEGAL                Four Penn Center – 13th Floor
PUDLIN & SCHILLER                      1600 John F. Kennedy Boulevard
One Logan Square, 27th Floor           Philadelphia, PA 19103
Philadelphia, PA 19103                 Phone: (215) 587-1000
Telephone: (215) 568-6200
                                       George R. Calhoun
Kathleen M. Miller                     IFRAH PLLC
SMITH, KATZENSTEIN &                   1717 Pennsylvania Ave., N.W.
JENKINS LLP                            Suite 650
1000 West Street, Suite 501            Washington, DC 20006
P.O. Box 410                           Phone: (202) 840-8758
Wilmington, DE 19899
Telephone: (302) 652-8400              Counsel for Argonaut Insurance
                                       Company and Colony Insurance
Counsel for Arch Insurance             Company
Company
     Case: 23-1664   Document: 62-1   Page: 3   Date Filed: 07/24/2023




Michael J. Joyce                       Maria Aprile Sawczuk, Esq.
JOYCE, LLC                             GOLDSTEIN & MCCLINTOCK
1225 King Street, Suite 800            LLLP
Wilmington, DE 19801                   501 Silverside Road, Suite 65
Telephone: (302) 388-1944              Wilmington, DE 19809
                                       Telephone: (302) 444-6710
Kevin Coughlin
Lorraine Armenti                       Laura McNally, Esq.
Michael Hrinewski                      LOEB & LOEB LLP
COUGHLIN MIDLIGE &                     321 N. Clark Street, Suite 2300
GARLAND, LLP                           Chicago, IL 60654
350 Mount Kemble Avenue, PO            312-464-3155
Box 1917
Morristown, NJ 07962                   David Christian, Esq.
Telephone: (973) 267-0058              DAVID CHRISTIAN ATTORNEYS
                                       LLC
John M. Flynn                          105 W. Madison St., Suite 1400
Britton C. Lewis                       Chicago, Illinois 60602
CARRUTHERS & ROTH, P.A.                Telephone: (312) 282-5282
235 N. Edgeworth Street
P.O. Box 540                           Counsel for Continental Insurance
Greensboro, NC 27401                   Company and Columbia Casualty
Telephone: (336) 478-1146              Company

Counsel for Arrowood                   Kathleen M. Miller
Indemnity Company                      SMITH, KATZENSTEIN &
                                       JENKINS LLP
William H. White Jr.                   1000 West Street, Suite 501
KIERNAN TREBACH LLP                    P.O. Box 410
1233 20th Street, NW, 8th Floor        Wilmington, DE 19899
Washington, DC 20036                   Telephone: (302) 652-8400
Telephone: (202) 712-7000
                                       Mary E. Borja
John E.W. Baay II                      Gary P. Seligman
GIEGER LABORDE &                       Ashley L. Criss
LAPEROUOSE, LLC                        WILEY REIN LLP
701 Poydras Street                     2050 M Street NW
Suite 4800                             Washington, DC 20036
     Case: 23-1664   Document: 62-1   Page: 4   Date Filed: 07/24/2023




New Orleans, LA 70139                  Phone: (202) 719-7000
Telephone: (504) 561-0400
                                       Attorneys for General Star
Counsel for Appellant                  Indemnity Company
Gemini Insurance Company

Konrad R. Krebs                        Kathleen M. Miller
CLYDE & CO US LLP                      SMITH, KATZENSTEIN &
340 Mt. Kemble Ave, Suite 300          JENKINS LLP
Morristown, New Jersey 07960           1000 West Street, Suite 501
Telephone: (973) 210-6705              P.O. Box 410
                                       Wilmington, DE 19899
Alexander E. Potente                   Telephone: (302) 652-8400
CLYDE & CO US LLP
150 California Street                  Lloyd A. Gura
15th Floor                             Pamela J. Minetto
San Francisco, California 94111        MOUND COTTON WOLLAN &
Telephone: (415) 365-9800              GREENGRASS LLP
                                       One New York Plaza 44th Floor
David Christian                        New York, NY 10004
DAVID CHRISTIAN ATTORNEYS              Telephone: (212) 804-4282
LLC
105 W. Madison St., Suite 1400         Attorneys for Indian Harbor
Chicago, Illinois 60602                Insurance Company, on behalf of
Telephone: (312) 282-5282              itself and as successor in interest to
                                       Catlin Specialty Insurance
Bruce W. McCullough                    Company
BODELL BOVE, LLC
1225 N. King St., Suite 1000
Wilmington, DE 19801-3250
Telephone: (302) 655-6749

Counsel for Great American
Assurance Company f/k/a
Agricultural Insurance Company,
Great American E&S Insurance
Company f/k/a Agricultural Excess
and Surplus Insurance Company,
     Case: 23-1664   Document: 62-1   Page: 5   Date Filed: 07/24/2023




and Great American E&S
Insurance Company

Douglas R. Gooding                     Marla S. Benedek
Jonathan D. Marshall                   COZEN O’CONNOR
Bryana T. McGillycuddy                 1201 N. Market Street, Suite 1001
CHOATE, HALL & STEWART                 Wilmington, DE 19801
LLP                                    Telephone: (302) 295-2024
Two International Place
Boston, MA 02110                       Counsel for Traders and Pacific
Telephone: (617) 248-5000              Insurance Company, Endurance
                                       American Specialty Insurance
Kim V. Marrkand                        Company, and Endurance
MINTZ, LEVIN, COHN, FERRIS,            American Insurance Company
GLOVSKY AND POPEO PC
One Financial Center                   Louis J. Rizzo, Jr., Esquire
Boston, MA 02111                       REGER RIZZO & DARNALL LLP
Telephone: (617) 542-6000              1521 Concord Pike
                                       Brandywine Plaza West Suite 305
R. Karl Hill                           Wilmington DE 19803
SEITZ, VAN OGTROP & GREEN,             Telephone: (302) 477-7100
P.A.
222 Delaware Avenue, Suite 1500        Counsel for Travelers Casualty and
Wilmington, Delaware 19801             Surety Company, Inc. (f/k/a Aetna
Telephone: (302) 888-0600              Casualty & Surety Company), St.
                                       Paul Surplus Lines Insurance
Counsel to Liberty Mutual              Company and Gulf Insurance
Insurance Company, The Ohio            Company (“Travelers”)
Casualty Insurance Company,
Liberty Insurance Underwriters,
Inc., and Liberty Surplus
Insurance Corporation

Stephen M. Miller
Carl N. Kunz, III
MORRIS JAMES LLP
500 Delaware Avenue, Suite 1500
Wilmington, Delaware 19801
     Case: 23-1664   Document: 62-1   Page: 6   Date Filed: 07/24/2023




Telephone: (302) 888-6800

Counsel for Old Republic
Insurance Company

LOIZIDES, P.A.                         GELLERT SCALI BUSENKELL &
Christopher D. Loizides (No. 3968)     BROWN LLC
1225 North King Street, Suite 800      Charles J. Brown, III (No. 3368)
Telephone: (302) 654-0248              1201 N. Orange St., 3rd Floor
Loizides@loizides.com                  Wilmington, DE 19801
                                       Telephone: (302) 425-5813
                                       cbrown@gsbblaw.com
LUJAN & WOLFF LLP
Delia Lujan Wolff
                                       DUMAS & VAUGHN, LLC
Suite 300, DNA Bldg.
                                       Gilion C. Dumas
238 Archbishop Flores St.              3835 NE Hancock Street, Suite
Hagatna, Guam 96910                    GLB
                                       Portland, OR 97212
Telephone: (671) 477-8064/5            Telephone: (503) 616-5007
dslwolff@lawguam.com                   gilion@dumasandvaughn.com

Counsel for the Lujan Claimants        Counsel for the Dumas & Vaughn
                                       Claimants
        Case: 23-1664    Document: 62-1       Page: 7   Date Filed: 07/24/2023




                              JOINT APPENDIX
                            TABLE OF CONTENTS
                  VOLUME 1 – Opinions, Orders, and Notices of Appeal
ITEM      D.I. NO.                     DESCRIPTION                    APPENDIX
                                                                         PAGE
  1.                  D. Del. Docket Sheet (No. 22-1237 RGA)        A00001 – A00041
  2.       D.I. 150   Opinion of the Honorable Richard G. Andrews,  A00042 – A00196
                      filed 3/28/2023
  3.       D.I. 151   Order of the Honorable Richard G. Andrews,    A00197
                      filed 3/28/2023
  4.       D.I. 177   Notice of Appeal by Lujan Claimants           A00198 – A00220
  5.       D.I. 178   Notice of Appeal by Liberty Insurance         A00221 – A00239
                      Underwriters Inc., et al.
  6.       D.I. 179   Notice of Appeal by D&V Claimants             A00240 – A00260
  7.       D.I. 180   Notice of Appeal by Columbia Casualty Co., et A00261 – A00278
                      al.
  8.       D.I. 181   Notice of Appeal by Landmark Insurance        A00279 – A00297
                      Company, et al.
  9.       D.I. 182   Notice of Appeal by Indian Harbor Insurance   A00298 – A00318
                      Company
  10.      D.I. 183   Notice of Appeal by Old Republic Insurance    A00319 – A00334
                      Company
  11.      D.I. 184   Notice of Appeal by Travelers Casualty and    A00335 – A00352
                      Surety Company, Inc.
  12.      D.I. 185   Notice of Appeal by Great American Assurance A00353 – A00371
                      Company, et al.
  13.      D.I. 186   Notice of Appeal by Allianz Global Risks US   A00372 – A00390
                      Insurance Co., et al.
  14.      D.I. 187   Notice of Appeal by Argonaut Insurance        A00391 – A00409
                      Company, et al.
  15.      D.I. 188   Notice of Appeal by Gemini Insurance          A00410 – A00430
                      Company
  16.      D.I. 189   Notice of Appeal by General Star Indemnity    A00431 – A00451
                      Company
  17.      D.I. 190   Notice of Appeal by Arrowood Indemnity        A00452 – A00469
                      Company
  18.      D.I. 191   Notice of Appeal by Endurance American        A00470 – A00488
                      Insurance Co., et al.
  19.      D.I. 210   Notice of Appeal by Arch Insurance Company    A00489 – A00506
  20.     Bankr. D.I. Opinion of the Honorable Laurie Selber        A00507 – A00787
         10136        Silverstein, filed 7/29/2022
  21.     Bankr. D.I. Supplemental Findings of Fact and Conclusions A00788 – A01354
         10316        of Law and Order Confirming the Third
                      Modified Fifth Amended Chapter 11 Plan of

                                          1
     Case: 23-1664    Document: 62-1        Page: 8    Date Filed: 07/24/2023




                  Reorganization (with Technical Modifications),
                  filed 9/8/2022 (with D.I. 10296)

                         VOLUME 2 – Trial Testimony
ITEM D.I. NO.                    DESCRIPTION                     APPENDIX PAGE
   22. D.I. 9341 Transcript regarding Hearing Held 3/14/2022 RE: A01355 – A01622
                 Confirmation (Day 1), filed 3/15/2022
   23. D.I. 9354 Transcript regarding Hearing Held 3/15/2022 RE: A01623 – A01855
                 Confirmation (Day 2), filed 3/16/2022
   24. D.I. 9389 Transcript regarding Hearing Held 3/16/2022 RE: A01856 – A02118
                 Confirmation (Day 3), filed 3/18/2022
   25. D.I. 9406 Transcript regarding Hearing Held 3/17/2022 RE: A02119 – A02434
                 Confirmation (Day 4), filed 3/21/2022
   26. D.I. 9407 Transcript regarding Hearing Held 3/18/2022 RE: A02435 – A02631
                 Confirmation (Day 5), filed 3/21/2022
   27. D.I. 9454 Transcript regarding Hearing Held 3/21/2022 RE: A02632 – A02904
                 Confirmation (Day 6), filed 3/23/2022
   28. D.I. 9455 Transcript regarding Hearing Held 3/22/2022 RE: A02905 – A03128
                 Confirmation (Day 7), filed 3/23/2022
   29. D.I. 9482 Transcript regarding Hearing Held 3/23/2022 RE: A03129 – A03351
                 Confirmation (Day 8), filed 3/25/2022
   30. D.I. 9490 Transcript regarding Hearing Held 3/24/2022 RE: A03352 –A03619
                 Confirmation (Day 9), filed 3/25/2022
   31. D.I. 9497 Transcript regarding Hearing Held 3/25/2022 RE: A03620 – A03738
                 Confirmation (Day 10), filed 3/28/2022
   32. DI. 9517 Transcript regarding Hearing Held 3/28/2022 RE: A03739 – A03971
                 Confirmation (Day 11), filed 3/30/2022
   33. D.I. 9530 Transcript regarding Hearing Held 3/29/2022 RE: A03972 – A04226
                 Confirmation (Day 12), filed 3/31/2022
   34. D.I. 9562 Transcript regarding Hearing Held 3/30/2022 RE: A04227 – A04470
                 Confirmation (Day 13), filed 4/4/2022
   35. D.I. 9563 Transcript regarding Hearing Held 3/31/2022 RE: A04471 – A04766
                 Confirmation (Day 14), filed 4/4/2022
   36. D.I. 9564 Transcript regarding Hearing Held 4/1/2022 RE: A04767 – A04849
                 Confirmation (Day 15), filed 4/4/2022
   37. D.I. 9578 Transcript regarding Hearing Held 4/4/2022 RE: A04850 – A04899
                 Confirmation (Day 16), filed 4/5/2022
   38. D.I. 9616 Transcript regarding Hearing Held 4/6/2022 RE: A04900 – A05162
                 Confirmation (Day 17), filed 4/8/2022
   39. D.I. 9638 Transcript regarding Hearing Held 4/7/2022 RE: A05163 – A05418
                 Confirmation (Day 18), filed 4/13/2022
   40. D.I. 9639 Transcript regarding Hearing Held 4/11/2022 RE: A05419 – A05726
                 Confirmation (Day 19), filed 4/13/2022
   41. D.I. 9646 Transcript regarding Hearing Held 4/12/2022 RE: A05727 – A06041
                 Confirmation (Day 20), filed 4/14/2022


                                        2
       Case: 23-1664     Document: 62-1         Page: 9    Date Filed: 07/24/2023




  42. D.I. 9648      Transcript regarding Hearing Held 4/13/2022 RE: A06042 – A06234
                     Confirmation (Day 21), filed 4/14/2022
  43. D.I. 9656      Transcript regarding Hearing Held 4/14/2022 RE: A06235 – A06443
                     Confirmation (Day 22), filed 4/18/2022
  44.    D.I. 9273   Declaration of Bruce Griggs, filed 3/10/2022      A06444 – A06465
  45.    D.I. 9274   Declaration of Michael Burnett, filed 3/10/2022   A06466 – A06510
  46.    D.I. 9279   Declaration of Devang Desai, filed 3/11/2022      A06511 – A06542
  47.    D.I. 9280   Declaration of Brian Whittman, filed 3/11/2022    A06543 – A06671
  48.    D.I. 9309   Declaration of Adrian Azer, filed 3/12/2022       A06672 – A06699
  49.    D.I. 9316   Declaration of William S. Sugden, filed 3/14/2022 A06700 – A06744
  50.    D.I. 9317   Declaration of Makeda Murray, filed 3/14/2022     A06745 – A06786
  51.    D.I. 9388   Declaration of Charles E. Bates, filed 3/17/2022 A06787 – A06798
  52.    D.I. 9395   Declaration of James L. Patton, Jr., filed        A06799 – A06829
                     3/19/2022
  53. D.I. 9396      Declaration of Aaron Lundberg, filed 3/19/2022 A06830 – A06862
  54. D.I. 9397      Declaration of Catherine Nownes-Whitaker, filed A06863 – A06870
                     3/19/2022
  55. D.I. 9398      Declaration of Nancy Gutzler, filed 3/19/2022     A06871 – A06912
  56. D.I. 9400      Declaration of Jessica Horewitz, filed 3/19/2022 A06913 – A06936
  57. D.I. 9401      Declaration of Paul Rytting, filed 3/19/2022      A06937 – A06948
                     [Excerpt]
  58. D.I. 9449      Declaration of Paul Rytting, filed 3/23/2022      A06949 – A06960
                     [Excerpt]
  59. D.I. 9481      Declaration of Jason P. Amala, filed 3/24/2022    A06961 – A07001

                            VOLUME 3 – Bankruptcy Court
ITEM      D.I. NO.               DESCRIPTION                             APPENDIX PAGE
 60.       D.I. 1    Voluntary Petition for Non-Individuals Filing for   A07002 – A07018
                     Bankruptcy, filed 2/18/2020
 61.       D.I. 4    Debtor’s Informational Brief [Excerpt]              A07019 – A07028
 62.      D.I. 16    Brian Whittman Declaration                          A07029 – A07132
 63.      D.I. 17    Motion to Appoint Judicial Mediator                 A07133 – A07150
 64.      D.I. 118   Debtors-Appellees’ Appendix to Consolidated         A07151 – A07202
                     Answering Brief: Volume 6 (SA 3685 Through
                     SA 3821) [Excerpt]
 65.      D.I. 141   Appointment of UCC                                  A07203
 66.      D.I. 142   Appointment of TCC                                  A07204
 67.      D.I. 147   National Surety’s Motion (I) for Relief from the    A07205 – A07354
                     Automatic Stay or, in the Alternative, (II) to
                     Extend the Stay
 68.      D.I. 211   Limited Objection of Creditors and Parties in       A07354 – A07380
                     Interest to National Surety Corporation’s Motion
 69.      D.I. 230   Certification of Counsel Regarding National         A07381 – A07393
                     Surety Corporation’s Motion

                                            3
  Case: 23-1664       Document: 62-1        Page: 10   Date Filed: 07/24/2023




70.   D.I. 236    Agreed Order Granting in Part National Surety     A07394 – A07396
                  Corporation’s Motion
71.   D.I. 486    Appointment of FCR                                A07397 – A07399
72.   D.I. 557    Supplement to Debtors’ Bar Date Motion            A07400 – A07506
73.   D.I. 695    Order Setting Proof of Claim Deadline             A07507 – A07569
74.   D.I. 812    Order Appointing Mediators                        A07570 – A07594
75.   D.I. 1145   Motion to Supplement Bar Date [Excerpt]           A07595 – A07620
76.   D.I. 2292   First Mediator’s Report                           A07621 – A07632
77.   D.I. 2294   Proposed Disclosure Statement [Excerpt]           A07633 – A07634
78.   D.I. 2407   Transcript of Telephonic Omnibus Hearing          A07635 – A07698
                  (3/17/2021)
79.   D.I. 2592   Second Amended Chapter 11 Plan of                 A07699 – A07711
                  Reorganization for Boy Scouts of America and
                  Delaware BSA, LLC [Excerpt]
80.   D.I. 2594   Initial Disclosure Statement                      A07712 – A07940
81.   D.I. 2624   Second Mediator’s Report                          A07941 – A07984
82.   D.I. 3154   Objections to Disclosure Statement filed by D &   A07985 – A08017
                  V Claimants
83.   D.I. 3271   Great American’s Objection to Debtors’            A08018 – A08029
                  Disclosure Statement for Second Amended
                  Chapter 11 Plan
84.   D.I. 3285   Argonaut Insurance Company’s Objection to         A08030 – A08034
                  Debtors’ Disclosure Statement
85.   D.I. 3523   The AIG Companies’ Objection to Motion for        A08035 – A08078
                  Approval of Debtors’ Disclosure Statement
86.   D.I. 3526   Objections to Disclosure Statement filed by TCC   A08079 – A08188

87.   D.I. 3578 Objection of Liberty Mutual Insurance Company A08189 – A08196
                to the Disclosure Statement
88.   D.I. 3581 US Trustee’s Objections to Disclosure Statement A08197 – A08216

89.   D.I. 3949 Declaration of Nathanial Marshall                   A08217 – A08224
      (admitted
       as JTX
        2669)
90.   D.I. 4108 Proposed Amendments to Disclosure Statement         A08225 – A08581

91.   D.I. 4716 Transcript regarding Hearing Held 5/19/2021 Re: A08582 – A08848
                Disclosure Statement
92.   D.I. 5219 Third Mediator’s Report                         A08849 – A08850

93.   D.I. 5284 Fourth Mediator’s Report                            A08851 – A08852




                                        4
  Case: 23-1664        Document: 62-1             Page: 11   Date Filed: 07/24/2023




94.    D.I. 5287 Fifth Mediator’s Report                               A08853 – A08854

95.    D.I. 5368 Third Amended Plan [Excerpt]                          A08855 – A08862
96.   D.I. 5372 Notice of Filing of Redlines of Third Amended          A08862 – A08867
                Plan and Proposed Amendments to Disclosure
                Statement [Excerpt]
97. D.I. 5466 Debtors’ Motion For Entry Of An Order,                   A08868 – A09017
                Pursuant To Sections 363(b) And 105(a) Of The
                Bankruptcy Code, (I) Authorizing The Debtors
                To Enter Into And Perform Under The
                Restructuring Support Agreement, And (II)
                Granting Related Relief
98. D.I. 5484 Fourth Amended Chapter 11 Plan of                        A09018 – A09027
                Reorganization for Boy Scouts of America and
                Delaware BSA, LLC [Excerpt]
99. D.I. 6030 Supplemental Objection to Disclosure Statement           A09028 – A09044
                filed by D & V Claimants
100. D.I. 6052 Certain Insurers’ Supplemental Objection to             A09045 – A09128
                Motion for Approval of Debtors’ Disclosure
                Statement
101. D.I. 6210 Sixth Mediator’s Report                                 A09129 – A09172
102. D.I. 6249 Debtors’ Omnibus Reply in Support of Debtors’           A09173 – A09390
                Motion for Entry of an Order Approving
                Disclosure Statement
103. D.I. 6416  Modified Fifth Amended Chapter 11 Plan of              A09391 – A09392
                Reorganization for Boy Scouts of America and
                Delaware BSA, LLC [Excerpt]
104. D.I. 6431 Amended Disclosure Statement                            A09393 – A09830

105.               November 19, 2021 Hearing Transcript
       D.I. 7398                                                       A09831 – A10060
106.               Seventh Mediator’s Report
       D.I. 7745                                                       A10061 – A10098
107.               Affidavit of Publication
       D.I. 7761                                                       A10099 – A10118
108.               Notice of Seventh Mediator’s Report
       D.I. 7772                                                       A10119 – A10148
109.               Eighth Mediator’s Report
       D.I. 7884                                                       A10149 – A10176
110. D.I. 7924, Verified Statement of Lujan & Wolff LLP
                                                                       A10177 – A10189
      7924-1 Pursuant to Bankruptcy Rule 2019 [Redacted]
111.            Ninth Mediator’s Report
     D.I. 7928                                                         A10190 – A10216
112.               Notice of Eighth and Ninth Mediator’s Report
       D.I. 7929                                                       A10217 – A10277


                                              5
  Case: 23-1664       Document: 62-1        Page: 12   Date Filed: 07/24/2023




113.           Affidavit of Service of Solicitation Package
       D.I. 7999                                                    A10278 – A10284
               [Excerpt]
114.           Declaration re: Supplemental Notice of Voting
     D.I. 8056                                                      A10285 – A10307
               Deadline
115.           Tenth Mediator’s Report
     D.I. 8095                                                      A10308 – A10337
116. D.I. 8102 Notice of Tenth Mediator’s Report                    A10338 – A10371
117. D.I. 8190 The Official Committee of Tort Claimants’ Status     A10372 – A10402
               Report Re: Second Modified Fifth Amended
               Chapter 11 Plan of Reorganization
118. D.I. 8234 Debtors’ Response to the Official Committee of       A10403 – A10515
                Tort Claimants’ Status Report
119.            Affidavit of Supplemental Service of Solicitation
     D.I. 8378                                                      A10516 – A10518
                Package [Excerpt]
120.            Notice of Third Amended Plan Supplement
     D.I. 8647                                                      A10519 – A10588
121.               Joinder of Archbishop of Agana RCAHC’s Plan
       D.I. 8687                                                    A10589 – A10591
                   Objection
122.               Limited Plan Objection of Claimant IG
       D.I. 8692                                                    A10592 – A10595
123.           Old Republic Insurance Company’s Plan
       D.I. 8699                                                A10596 – A10663
               Objection
124.           Lujan Claimants’ Objection to Second Modified
     D.I. 8708                                                  A10664 – A10710
               Fifth Amended Chapter 11 Plan
125. D.I. 8710 United States Trustee’s Objection to             A10711 – A10768
               Confirmation
126. D.I. 8744 Objections to Confirmation filed by D & V        A10769 – A10783
               Claimants
127. D.I. 8763 Joinder and Objection of Liberty Mutual          A10784 – A10930
               Insurance Company to the Second Modified Fifth
               Amended Chapter 11 Plan of Reorganization
128. D.I. 8772 Eleventh Mediator’s Report                       A10931 – A10979
129. D.I. 8778 Allianz Insurer’s Objection to Second Modified A10980 – A11009
               Fifth Amended Chapter 11 Plan of
               Reorganization for Boy Scouts of America and
               Delaware BSA, LLC and Request for Relief From
               the Plan Discharge and Injunction Provisions
130. D.I. 8811 Unsealed Joint FCR and Coalition Motion for      A11010 – A11180
               Entry of an Order Striking Portions of Bates
               Reports and Precluding Testimony Related to
               Improper Valuation Opinion
131. D.I. 8812 Unsealed Version of the Limited Objection of the A11181 – A11193
               Tort Claimants’ Committee to Findings Related to
               the Valuation of Abuse Claims



                                        6
  Case: 23-1664        Document: 62-1         Page: 13   Date Filed: 07/24/2023




132. D.I. 8813     Third Modified Fifth Amended Chapter 11 Plan of A11194 – A11210
                   Reorganization [Excerpt]

133. D.I. 8816- Plan Exhibit – Hartford Settlement Agreement         A11211 – A11327
     1
134. D.I. 8819     Transcript (Feb. 11, 2022)                      A11328 – A11451
135. D.I. 8858     Amended Proposed Redacted Versions of Certain A11452 – A11564
                   Insurers’ Objection to Confirmation of Debtors’
                   Chapter 11 Plan [Excerpt]
136.               Affidavit of Service of Third Modified Fifth
       D.I. 8886   Amended Plan [Excerpt]                          A11565 – A11566

137.               Supplemental Disclosure Regarding Plan
                   Modifications and Summary of Chartered
                   Organizations’ Options under the Debtors’
                   Modified Chapter 11 Plan of Reorganization,
       D.I. 8904   Opt-Out Election Procedures for Participating     A11567 – A11579
                   Chartered Organizations, and Supplemental
                   Voting Deadline of March 7, 2022 at 4:00 p.m.
                   (Eastern Time) for Holders of Class 9 Indirect
                   Abuse Claims
138.               Notice of Supplemental Voting Deadline of
                   March 7, 2022 at 4:00 p.m. (Eastern Time) for
       D.I. 8905   Holders of Class 8 Direct Abuse Claims and        A11580 – A11586
                   Limited Disclosure Regarding Changes in
                   Debtors’ Chapter 11 Plan of Reorganization
139.               Plan Exhibits – Chubb, Zurich, Clarendon, and
       D.I. 8907   Methodist Settlement Agreements                   A11587 – A11926

140. D.I. 8921     Affidavit of Service of Third Modified Plan       A11926
                   Documents [Excerpt]

141. D.I. 9017     Supplemental Objections to Confirmation filed by A11927 – A11929
                   D & V Claimants

142. D.I. 9031     Lujan Claimants’ Supplemental Objection to        A11930 – A11944
                   Third Modified Fifth Amended Chapter 11 Plan,
                   and Joinder in Objections of United States
                   Trustee and Guam Committee
143.               Certain Insurers’ Supplemental Plan Objection
       D.I. 9033                                                     A11945 – A12125

144.               Affidavit of Service of Supplemental Voting and
       D.I. 9074   Disclosure [Excerpt]                              A12126 – A12127



                                          7
  Case: 23-1664        Document: 62-1           Page: 14   Date Filed: 07/24/2023




145.              Certain Insurers’ Opposition to Valuation of
       D.I. 9177-
                  Abuse Claims                                       A12128 – A12165
       1
146.             Affidavit of Service of Supplemental Voting
       D.I. 9213 Deadline [Excerpt]                                  A12166 – A12167

147. D.I. 9275 Final Vote Tabulation [Excerpt]                   A12168 – A12170
148. D.I. 9305, Revised Summary Voting Report
                                                                 A12171 – A12194
      9305-1
149. D.I. 9386 Twelfth Mediator’s Report                         A12195 – A12221
150. D.I. 9387 Notice of Twelfth Mediator’s Report               A12222 – A12252
151. D.I. 9442 Affidavit of Service of Twelfth Mediator’s Report A12253 – A12272
152.            Affidavit of Service of Notice of Twelfth
     D.I. 9498                                                   A12273 – A12729
                Mediator’s Report
153.            Notice of Continuing Objection of Archbishop of
     D.I. 9555                                                   A12730 – A12732
                Agana
154.            Exhibit Stipulation with Lujan Claimants re
     D.I. 9591                                                   A12733 – A12740
                Admissibility
155. D.I. 9655 Letter Brief filed by BSA                         A12741 – A12747
156. D.I. 9689 Statement Regarding Closing Argument of           A12748 – A12764
                Liberty Mutual Insurance Company in Support of
                its Joinder and Objection
                to the Third Modified Fifth Amended Chapter 11
                Plan of Reorganization for Boy Scouts of America
                and Delaware BSA, LLC
157. D.I. 9690 Letter from Claimants Regarding Liberty           A12765 – A12774
                Mutual’s Objection
158. D.I. 9696 Revised Third Modified Fifth Amended Plan         A12775 – A12776
                [Excerpt]
159. D.I. 9710 Letter Brief filed by D & V Claimants             A12777 – A12784

160. D.I. 9746 Certain Insurers’ Letter Response                     A12785 – A12789
161. D.I. 10178 Corrected Thirteenth Mediator’s Report               A12790 – A12796
162. D.I. 10188 Debtors’ Motion to Amend and Supplement              A12797 – A12900
                Findings of Fact and Conclusions of Law in
                Confirmation Opinion
163. D.I. 10190 Blackline of Conformed Plan                          A12901 – A13230

164.                Notice of 7052 Motion
       D.I. 10195                                                    A13231 – A13233
165.                Status Conference Transcript
       D.I. 10215                                                    A13234 – A13249
                    (Aug. 18, 2022)
166.                Lujan Claimants’ Objection to 7052 Motion
       D.I. 10246                                                    A13250 – A13254
167. D.I. 10247 Certain Insurers’ Objection to Motion to Amend       A13255 – A13299
                and Supplement the Findings of Fact and

                                            8
  Case: 23-1664       Document: 62-1        Page: 15   Date Filed: 07/24/2023




                  Conclusions of Law in the Confirmation Opinion
                  and Objection to Confirmation of Revised
                  Chapter 11 Plan
168.   D.I. 10258 Debtors’ Omnibus Reply in Support of Debtors      A13300 – A13325
                  Motion to Amend and Supplement Findings of
                  Fact and Conclusions of Law
169.   D.I. 10259 Joint Reply of Tort Claimants’ Committee,         A13326 – A13368
                  Coalition of Abused Scouts for Justice, Pfau
                  Cochran Vertetis Amala PLLC and Zalkin Law
                  Firm, PC. and the Future Claimants
                  Representative to Certain Insurers’ Objection
170.   D.I. 10288 Transcript Regarding Hearing Held 9/1/2022        A13369 – A13484
171.   D.I. 10304 Letter from The Hon. Judge Silverstein re:        A13485 – A13486
                  Language for Paragraph 51(b)
172.   D.I. 10310 Certification of Counsel Regarding Confirmation A13487 – A14057
                  Order
173.   D.I. 10317 Transcript Regarding Hearing Held 9/7/2022        A14058 – A14128
174.   D.I. 10327 Order Releasing Century/Chubb Claims              A14129 – A14131
175.   D.I. 10378 Notice of Appeal filed by National Union Fire     A14132 – A14158
                  Insurance Company of Pittsburgh, PA, et al.
                  [Excerpt]
176.   D.I. 10379 Notice of Appeal filed by Travelers Casualty and A14159 – A14190
                  Surety Company, Inc., et al. [Excerpt]
177.   D.I. 10382 Notice of Appeal filed by Continental Insurance A14191 – A14216
                  Company, et al. [Excerpt]
178.   D.I. 10384 Notice of Appeal filed by Allianz Global Risks    A14217 – A14243
                  US Insurance Company, et al. [Excerpt]
179.   D.I. 10386 Notice of Appeal filed by Argonaut [Excerpt]      A14244 – A14277
180.   D.I. 10388 Notice of Appeal filed by Arrowood Indemnity      A14278 – A14310
                  Company [Excerpt]
181.   D.I. 10391 Notice of Appeal filed by Liberty Mutual          A14311 – A14344
                  Insurance Company, et al. [Excerpt]
182.   D.I. 10392 Notice of Appeal filed by Old Republic Insurance A14345 – A14378
                  Company [Excerpt]
183.   D.I. 10393 Notice of Appeal filed by General Star Indemnity A14379 – A14415
                  Company [Excerpt]
184.   D.I. 10396 Notice of Appeal filed by Indian Harbor Insurance A14416 – A14452
                  Company [Excerpt]
185.   D.I. 10398 Notice of Appeal filed by Munich Reinsurance      A14453 – A14486
                  Company America, Inc. [Excerpt]
186.   D.I. 10401 Notice of Appeal filed by Arch Insurance          A14487 – A14522
                  Company [Excerpt]
187.   D.I. 10403 Notice of Appeal filed by Great American          A14523 – A14555
                  Assurance Company, et al. [Excerpt]
188.   D.I. 10405 Notice of Appeal filed by Gemini Insurance        A14556 – A14588
                  Company [Excerpt]

                                        9
    Case: 23-1664      Document: 62-1       Page: 16     Date Filed: 07/24/2023




  189. D.I. 10407 Notice of Appeal filed by Traders and Pacific       A14589 – A14622
                  Insurance Company, et al. [Excerpt]
  190. D.I. 10412 Notice of Appeal filed by D & V Claimants           A14623 – A14654
                  [Excerpt]
  191. D.I. 10454 Notice of Appeal filed by Lujan Claimants           A14655 – A14689
                  [Excerpt]
  192. D.I. 10540 Stipulation of Dismissal of Archbishop of Agana     A14690 – A14691
                  Appeal
  193. D.I. 10640 Order Approving Stipulation Among the BSA,          A14692 – A14712
                  AOA Debtor, and AOA Committee
  194. Adv. D.I. Injunction Order Staying All State Lawsuits          A14713 – A14812
       54 in 20-
         50527

                            VOLUME 4 – District Court
ITEM     D.I. NO.                 DESCRIPTION                    APPENDIX PAGE
  195.    D.I. 22 Order Granting Motion on Stipulation Regarding A14813 – A14843
                  Appeals
  196.    D.I. 40 Brief of Appellants Lujan Claimants            A14844 – A14932

  197.   D.I. 41    Opening Brief of D&V Claimants                    A14933 – A15029
  198.   D.I. 43    Opening Brief of Liberty Insurance Underwriters   A15030 – A15083
                    Inc., Liberty Mutual Insurance Company, Liberty
                    Surplus Insurance Corporation
  199.   D.I. 45    Opening Brief of Certain Insurers                 A15084 – A15210
  200.   D.I. 66    Debtors-Appellees’ Consolidated Answering         A15211 – A15500
                    Brief
  201.   D.I. 81    Future Claimants’ Representative Answering        A15501 – A15582
                    Brief and Joinder
  202.   D.I. 86    Answering Brief of Settling Insurers              A15583 – A15660

  203.   D.I. 88    Compendium of Unreported Decisions Cited in        A15661 – A17739
                    Answering Brief of Future Claimants’
                    Representative
  204.   D.I. 89    Answering Brief of Coalition of Abused Scouts      A17740 – A17810
                    for Justice, Pfau Cochran Vertetis Amala PLLC,
                    The Zalkin Law Firm, P.C., Tort Claimants’
                    Committee
  205.   D.I. 96    Appendix to Debtors-Appellees’ Answering           A17811 – A18698
                    Brief, Volume 2
  206.   D.I. 97    Appendix to Debtors-Appellees’ Answering           A18699 – A19514
                    Brief, Volume 3
  207.   D.I. 106   Order Approving Stipulation Regarding              A19515 – A19535
                    Designation of Certain Items to be Included in the
                    Record on Appeal Pursuant to Federal Rule of

                                          10
  Case: 23-1664       Document: 62-1       Page: 17    Date Filed: 07/24/2023




                  Bankruptcy Procedure 8009, filed 12/14/2022

208.   D.I. 109   Reply Brief by Certain Insurers                A19536 – A19639

209.   D.I. 110   Reply Brief of D&V Claimants                   A19640 – A19672

210.   D.I. 113   Reply Brief of Appellants Lujan Claimants      A19673 – A19718

211.   D.I. 130   Letter to Hon. Richard G. Andrews Regarding    A19719 – A19779
                  Third Circuit Decision
212.   D.I. 131   Letter to Hon. Richard G. Andrews Regarding    A19780 – A19781
                  Third Circuit Decision
213.   D.I. 144   Transcript of Oral Argument held on 2/9/23     A19782 – A19952

214.   D.I. 145   Transcript of Oral Argument held on 2/10/23    A19953 – A20117

215.   D.I. 152   Emergency Motion for Stay                      A20118 – A20146
216.   D.I. 153   Affidavit of Deirdre M. Richards               A20147 – A20170
217.   D.I. 154   D&V Claimants’ Emergency Motion for Stay       A20171 – A20189
218.   D.I. 156   Emergency Motion of Lujan Claimants for Stay   A20190 – A20204
                  Pending Appeal
219.   D.I. 162   Oral Order                                     A20205
220.   D.I. 164   Response to Emergency Motion                   A20206 – A20233
221.   D.I. 165   Declaration of Brian Whittman                  A20234 – A20251
222.   D.I. 166   Declaration of Stephen Ehmann                  A20252 – A20253
223.   D.I. 167   Declaration of David Stern                     A20254 – A20257
224.   D.I. 168   Declaration of Evan Smola                      A20258 – A20262
225.   D.I. 169   Declaration of Irwin Zalkin                    A20263 – A20267
226.   D.I. 170   Declaration of Peter Janci                     A20268 – A20272
227.   D.I. 171   Declaration of Patrick Stoneking               A20273 – A20277
228.   D.I. 172   Declaration of Paul Mones                      A20278 – A20281
229.   D.I. 173   Declaration of Jordan Merson                   A20282 – A20286
230.   D.I. 174   Reply to Emergency Motion                      A20287 – A20302
231.   D.I. 175   Reply in Support of D&V Claimants’ Emergency   A20303 – A20308
                  Motion for Stay
232.   D.I. 176   Lujan Claimants’ Reply to Appellees’ Omnibus   A20309 – A20319
                  Joint Opposition to Motions for Stay Pending
                  Appeal
233.   D.I. 193   Memorandum Order                               A20320 – A20335




                                         11
    Case: 23-1664       Document: 62-1       Page: 18      Date Filed: 07/24/2023




                                 VOLUME 5 – Exhibits
ITEM     JTX NO.                    DESCRIPTION                         APPENDIX PAGE
  234.              Deposition Designations of Mark Kolman,             A20336 – A20339
                    admitted 2/11/2022 [Excerpt]
  235.              Designated Deposition Transcript of Jesse           A20340 – A20397
                    Lopez [Excerpt]
  236.     JTX 1-14 Declaration of Shannon R. Wheatman, Ph.D in         A20398 – A20459
                    Support of Procedures for Providing Direct
                    Notice and Supplemental Notice Plan to Provide
                    Notice of Bar Date to Abuse Survivors [D.I.
                    556]
  237.    JTX 1-    Debtors’ Motion for Entry of an Order,              A20460 – A20464
          159       Pursuant to Sections 363(b) and 105(a) of the
                    Bankruptcy Code, (I) Authorizing the Debtors
                    to Enter into and Perform under the
                    Restructuring Support Agreement, and (II)
                    Granting Related Relief, filed 7/1/2021 [D.I.
                    5466] [Excerpt]
  238.    JTX 1-    List of Current Members of the NEC (Exhibit B       A20465 – A20468
          191       to Desai Declaration)
  239.    JTX 1-    List of Current Members of the NEB (Exhibit E       A20469 – A20471
          192       to Desai Declaration)
  240.   JTX 1-278 Joinder and Supplemental Objection of Liberty        A20472 – A20493
                    Mutual Insurance Company to the Disclosure
                    Statement for the Fourth Amended Chapter 11
                    Plan of Reorganization [D.I. 6057], admitted
                    3/24/2022
  241.   JTX 1-296 Amended Disclosure Statement for the                 A20494 – A20934-
                    Modified Fifth Amended Chapter 11 Plan of
                    Reorganization for Boy Scouts of America and
                    Delaware BSA, LLC [D.I. 6445], admitted
                    3/15/2022
  242.   JTX 1-352 Exhibit 1: Hartford Insurance Settlement             A20935 – A21051
                    Agreement, filed 2/15/2022 [D.I. 8816-1]

  243.    JTX 1-    Debtors’ Motion for Entry of an Order (I)           A21052 – A2199
           401      Supplementing the Bar Date Order and (II)
                    Granting Related Relief [D.I. 1145], plus
                    Declarations
  244.    JTX 1-    Supplemental Order to Bar Date Order [D.I.          A21200 – A21210
           409      1331], admitted 3/29/2022
  245.   JTX 2-5    The BSA’s Opening Brief in Support of Motion        A21211 – A21265
                    for a Preliminary Injunction Pursuant to Sections
                    105(a) and 362 of the Bankruptcy Code [Adv.
                    Proc. D.I. 7] – Adversary Proc. # 20-50527
  246.   JTX 7-2    Examples and Templates of Local Council             A21266 – A21530

                                           12
  Case: 23-1664     Document: 62-1     Page: 19     Date Filed: 07/24/2023




                Articles & Bylaws
247. JTX 7-3 Local Council Charter Renewals [Excerpt]           A21531 – A21534
248. JTX 10 BSA and Local Council Insurance Policies            A21535 – A21558
249. JTX 10-1 Lexington Insurance Company Policy 3583189,       A21559 – A21579
              admission stipulated 4/20/2022
250. JTX 10- Lexington Insurance Company Policy 501134,         A21580 – A21605
        02    admission stipulated 4/20/2022
251. JTX 10- Lexington Insurance Company Policy 8667104,        A21606 – A21625
        05    admission stipulated 4/20/2022
252. JTX 10-6 National Union Policy 9607508, admission          A21626 – A21647
              stipulated 4/20/2022
253. JTX 10-7 Allianz 1980 Umbrella Policy No. UMB 599346,      A21648 – A21691
              admission stipulated 4/20/2022
254. JTX 10- Agricultural Excess & Surplus Company Policy       A21692 – A21736
        11    ELD 3211225, admission stipulated 4/20/2022
255. JTX 10- Liberty Mutual – Agreement for Guarantee of        A21737 – A21740
        12    Deductible Reimbursement, admission stipulated
              4/20/2022
256. JTX 10- Liberty Mutual – TB1-191-409751-126,               A21741 – A22108
        13    admission stipulated 4/20/2022
257. JTX 10- Liberty Mutual – TH1-191-409751-118,               A22109 – A22166
        14    admission stipulated 4/20/2022
258. JTX 10- Interstate Fire & Casualty Co. Policy No. XUO      A22167 – A22206
        24    1102274, admission stipulated 4/20/2022
259. JTX 10- National Surety Policy No. XXK 67679605,           A22207 – A22227
        30    admission stipulated 4/20/2022
260. JTX 10- Old Republic General Liability Policy, admission   A22228 – A23049
        36    stipulated 4/20/2022
261. JTX 10- Old Republic Excess Liability Policy, admission    A23050 – A23079
        37    stipulated 4/20/2022
262. JTX 10- St. Paul Surplus, LCO-5518254_93, admission        A23080 – A23105
        39    stipulated 4/20/2022
263. JTX-14A Certain Insurers’ Compilation of Proof of Claim    A23106 – A23118
              Forms, admitted 3/30/2022
264. JTX-14B Certain Insurers’ Compilation of Proof of Claim    A23119 – A23133
              Forms, admitted 3/30/2022
265. JTX-14C Certain Insurers’ Compilation of Proof of Claim    A23134 – A23146
              Forms, admitted 3/30/2022
266. JTX 17 Troop Roster for Troop 172 (Patriots Path           A23147 – A23156
              Council) (Redacted)
267. JTX 23 Troop Roster for Sanford Troop 37 (Abraham          A23157 – A23158
              Lincoln Council) (Redacted)
268. JTX 43 Troop Roster for Pack C-3210 (Cape Fear             A23159 – A23162
              Council) (Redacted)
269. JTX 147 Form of Local Council Bylaws                       A23163 – A23202

                                     13
  Case: 23-1664   Document: 62-1      Page: 20     Date Filed: 07/24/2023




270. JTX 162   Illinois Complaint filed by National Surety      A23203 – A23218
271. JTX 181   Texas Complaint against Hartford                 A23219 – A23231
272. JTX 185   Texas Complaint against Century, National        A23232 – A23253
               Surety and Allianz
273. JTX 187   2010 Articles of Incorporation Template (Mobile A23254 – A23257
               Area Council Articles of Incorporation, Art. II.
               Duration)
274. JTX 234   BSA Bylaws (June 1, 2019)                        A23258 – A23283
275. JTX-264   2020 Chartering Agreement                        A23284 – A23285
276. JTX 291   Rules and Regulations of the Boy Scouts of       A23286 – A23309
               America (September 2020)
277. JTX-358   2021 Chartering Agreement                        A23310 – A23311
278. JTX-375   Email from Coalition regarding Term Sheet sent A23312 – A23313
               to Debtors, admitted 3/17/2022
279. JTX-376   Attachment to email: BSA Term Sheet, February A23314 – A23323
               2, 2021, admitted 3/17/2022
280. JTX-379   Letter from James Ruggeri to Jessica Lauria,     A23324 – A23329
               Michael Andolina, Ernest Martin and Adrian
               Azer, admitted 3/16/2022
281. JTX-380   Email from Hartford regarding BSA sent to        A23330
               Debtors, admitted 3/17/2022
282. JTX-445   Attachment to email: DRAFT BSA TDP–04.10         A23331 – A23356
               (MCA Update).DOCX
283. JTX 468   BSA Charter and Bylaws (as amended through       A23357 – A23384
               May 2021)
284. JTX 502   Attachment to email: Change-Pro Redline of       A23385 – A23414
               Claims Allowance Procedures
285. JTX-505   Email from Debtors regarding BSA – Claims        A23415
               Allowance Procedures sent to Coalition, FCR,
               and Mediator
286. JTX-507   Attachment to email: Comparison of CAP–          A23416 – A23437
               Coalition Draft 05.26 and BSA-Claims Allowance
               Procedures-v10.pdf, admitted 3/17/2022
287. JTX-517   Email from Coalition regarding BSA Claims        A23438
               Allowance Procedures sent to Debtors and Others,
               admitted 3/17/2022
288. JTX-518   Attachment to email: Change-Pro Redline–BSA– A23439 – A23462
               Claims Allowance Procedures and Claims
               Allowance Procedures 05312021.pdf, admitted
               3/17/2022
289. JTX 527   Attachment to email: Claims Allowance            A23463 – A23482
               Procedures
290. JTX 529   Email from Debtors regarding BSA - Preliminary A23483
               Comments on Draft CAP sent to Coalition, FCR,
               and Mediator


                                    14
  Case: 23-1664     Document: 62-1       Page: 21      Date Filed: 07/24/2023




291. JTX 533    Attachment to email: BSA Redline of Claims          A23484 – A23532
                Allowance Procedures (comparing June 8, 2021
                version to June 6, 2021 version)
292. JTX 537    Attachment to email: Change-Pro Redline of          A23533 – A23553
                Claims Allowance Procedures (comparing
                version 3 and version 4)
293. JTX 539    Attachment to email: Change-Pro Redline of          A23554 – A23577
                Claims Allowance Procedures (comparing
                version 3 and version 1)
294. JTX-572    Letter from Ernest Martin/Haynes Boone to BSA       A23578 – A23580
                Insurers re: Settlement Offer with the Coalition,
                TCC, and FCR, admitted 3/17/2022
295. JTX-659    Email from Debtors to Insurers Regarding BSA –      A23581 – A23586
                Response to Certain Insurers Request for
                Comments, admitted 3/17/2022
296. JTX 725                                                        A23587 – A23591
                Email from Jeff Hunt to Wendy Kurten, et al.
297. JTX-797 2013 Resolution                                       A23592 – A23593
298. JTX 1154 Hartford Pine Tree Council Casualty Insurance        A23594 – A23628
              Policy No. 04C157992
299. JTX 1155 Hartford Fire Insurance Co. Policy No.               A23629 – A23684
              12CCP500098
300. JTX-1684 February 24, 2021 Bates White Presentation,          A23685 – A23718
              “Preliminary Valuation of Proof of Claim
              Records” (Andrews Exhibit 9)
301. JTX-1810 Debtors’ Responses and Objections to                 A23719 – A23735
              Propounding Insurers’ First Set of Requests for
              Admissions (Griggs Exhibit 11), admitted
              3/15/2022
302. JTX-1926 Philmont NEC Retreat Debrief (Desai Exhibit 19), A23736 – A23752
              admitted 3/14/2022
303. JTX-2237 July 14, 2021 Email from Jason Amala re: FW:         A23753 – A23761
              BSA–“RSA” and latest BSA proposal, admitted
              3/31/2022
304. JTX-2646 Debtors’ Responses and Objections to Lujan           A23762 – A23776
              Claimants’ First Set of Requests for Admission to
              Boys Scouts of America and Delaware BSA,
              LLC, dated 10/18/2021
305. JTX-2664 Local Council/Chartered Organization Final           A23777 – A23783
              Voting Report Data based on Final Voting Report
              filed January 17, 2022, posted on or about
              February 21, 2022, on the Omni Agent Solutions
              website for these consolidated bankruptcy cases,
              including any amendments or updates to reflect
              changes in the final vote as a result of the Limited
              Extended Voting Deadline [Excerpt]

                                       15
  Case: 23-1664     Document: 62-1      Page: 22     Date Filed: 07/24/2023




306. JTX-2909 Debtors’ (i) Memorandum of Law in Support of A23784 – A24207
              Confirmation of Third Modified Fifth Amended
              Chapter 11 Plan of Reorganization for Boy Scouts
              of America and Delaware BSA, LLC and (ii)
              Omnibus Reply to Plan Confirmation Objections
              [D.I. 9114], admitted 3/15/2022
307. JTX 2910 Verified Complaint for Damages and Equitable       A24208 – A24219
              Relief: Plaintiff v. Roman Catholic Archbishop, et
              al. (Superior Court of Guam, No. CV 0207-17)
308. JTX 2911 Plaintiff John Doe 4’s First Amended Complaint: A24220 – A24285
              John Doe 4 v. Boy Scouts of America, Chicago
              Area Council, et al. (Circuit Court of Cook
              County, Illinois, No. 2018 L 211)
309. JTX 2912 Third Amended Complaint: John Does I-XIX v.          A24286 – A24344
              Boy Scouts of America, Corporation of the
              Presiding Bishop of the Church of Jesus Christ of
              Latter-Day Saints, et al. (District Court for the
              District of Idaho, No. 1:13-cv-00275-BLW)
310. JTX 2913 Complaint: John Doe v. Boy Scouts of America; A24345 – A24369
              and Central Minnesota Council, Boy Scouts of
              America (State of Minnesota County of Stearns,
              District Court, Seventh Judicial District, No. [])
311. JTX 2914 Complaint Fraud and Constructive Fraud: John         A24370 – A24393
              Doe XX, et al. v. Boy Scouts of America,
              Corporation of the Presiding Bishop of the
              Church of Jesus Christ of Latter-Day Saints, et al.
              (District Court for the District of Idaho)
312. JTX 2916 Redacted Second Revised Complaint: John Doe A24394 – A24469
              #1, et al. v. Boy Scouts of America Corporation,
              Fairfield County Council of the Boy Scouts of
              America, et al. (Superior Court, Connecticut, J.D.
              of Stamford/Norwalk at Stamford, No. FST-cv-
              XX-XXXXXXX-S)
313. JTX 2920 Trial by Jury Demand: Plaintiffs v. Boy Scouts of A24470 – A24499
              America Corporation, Mobile Area Council Boy
              Scouts of America, et al. (Circuit Court of Mobile
              County, Alabama, No. CV-2016)
314. JTX 2921 Notice of Removal: A.A. v. the Boy Scouts of         A24500 – A24574
              America, North Florida Council, Inc., Boy Scouts
              of America, et al. (District Court for the Middle of
              District of Florida Ocala Division) [Excerpt]
315. JTX 2947                                                      A24575 – A24668
              Sexual Abuse Survivor Proof of Claim

316. JTX-2960 Coverage Charts for BSA Insurance Policies        A24669 – A24673

                                      16
  Case: 23-1664     Document: 62-1       Page: 23      Date Filed: 07/24/2023




                1976-2020, admitted 3/24/2022
317. JTX 2961   Settled and Unsettled Local Council Policy          A24674
                Information (Excel Format)
318. JTX 2976   Local Council Charter Renewal for Greenwich         A24675
                NR A2 (January 15, 2020)
319. JTX-3005   Email from E. Goodman to M. Andolina re:            A24676 – A24728
                restructuring, dated April 2021, and attachments,
                admitted 3/14/2022
320. JTX-3007   TCC status reports with additional attachments,     A24729 – A24841
                including Bates Rebuttal Report, admitted
                3/14/2022
321. JTX-3018   June 30, 2021 email from E. Martin to T. Jacobs,    A24842 – A24846
                admitted 3/17/2022
322. JTX-3061   Statement of the Coalition of Abused Scouts for     A24847 – A24985
                Justice and FCR in Support of Confirmation of
                Modified Fifth Amended Chapter 11 Plan of
                Reorganization for BSA and Delaware BSA [D.I.
                9190], admitted 4/4/2022
323. JTX-3070   Allianz’s Answer to National Surety                 A24986 – A25024
                Corporation’s Complaint for Declaratory Relief
                and Counterclaim in JTX-202 Action, admitted
                4/4/2022
324. JTX                                                            A25024 – A25075
                INA Policy No. 15-12-11
     4000-1
325. JTX                                                            A25076 – A25111
                INA Policy No. 70-64-52
     4000-2
326. JTX                                                            A25112 – A25194
                INA Policy No. 07-54-09-4
     4000-4
327. JTX                                                            A25195 – A25218
                INA Policy No. 4-84-03
     4000-6
328. JTX                                                            A25219 – A25362
                Hartford Insurance Policy No. 10 C A43303
     4000-8
329. JTX                                                            A25363 – A25601
                Hartford Insurance Policy
     4000-9
330. JTX                                                            A25602 – A25982
                Hartford Insurance Policy
     4000-10
331. JTX                                                            A25983 – A26055
                Hartford Insurance Policy No. CBP 109170
     4000-11
332. JTX                                                            A26056 – A26084
                Hartford Insurance Policy No. 54 C 990478
     4000-12
333. JTX                                                            A26085 – A26095
                Hartford Insurance Policy No. 32 HU 380257
     4000-13




                                       17
    Case: 23-1664      Document: 62-1     Page: 24      Date Filed: 07/24/2023




                           VOLUME 6 – Miscellaneous
ITEM       JTX NO.                   DESCRIPTION                  APPENDIX PAGE
  334.      JTX 14      Proof of Claim No. 639                    A26096 – A26110
  335.      JTX 14      Proof of Claim No. 1248                   A26111 – A26113
  336.      JTX 14      Proof of Claim No. 4971                   A26114 – A26128
  337.      JTX 14      Proof of Claim No. 5113                   A26129 – A26132
  338.      JTX 14      Proof of Claim No. 6346                   A26133 – A26137
  339.      JTX 14      Proof of Claim No. 8174                   A26138 – A26147
  340.      JTX 14      Proof of Claim No. 8281                   A26148 – A26159
  341.      JTX 14      Proof of Claim No. 9123                   A26160 – A26169
  342.      JTX 14      Proof of Claim No. 9430                   A26170 – A26173
  343.      JTX 14      Proof of Claim No. 9511                   A26174 – A26177
  344.      JTX 14      Proof of Claim No. 9558                   A26178 – A26180
  345.      JTX 14      Proof of Claim No. 10390                  A26181 – A26185
  346.      JTX 14      Proof of Claim No. 12203                  A26186 – A26193
  347.      JTX 14      Proof of Claim No. 12530                  A26194 – A26209
  348.      JTX 14      Proof of Claim No. 343-13                 A26210 – A26212
  349.      JTX 14      Proof of Claim No. 343-26                 A26213 – A26215

                               VOLUME 7 - Sealed
ITEM       JTX NO.    DESCRIPTION                                APPENDIX PAGE
 350.    JTX-1003     Historic Settlement Spreadsheet            A26216 – A26218
 351.    JTX 14-1670  Lujan Claimant Proof of Claim              A26219 – A26243
 352.    JTX 14-2433  Lujan Claimant Proof of Claim              A26244 – A26277
 353.    JTX 14-2885  Lujan Claimant Proof of Claim              A26278 – A26326
 354.    JTX 14-14993 D & V Claimant Proof of Claim              A26327 – A26371
 355.    JTX 14-17941 D & V Claimant Proof of Claim              A26372 – A26449
 356.    JTX 14-40890 Lujan Claimant Proof of Claim              A26450 – A26507
 357.    JTX 14-44159 D & V Claimant Proof of Claim              A26508 – A26615
 358.    JTX 14-44934 D & V Claimant Proof of Claim              A26616 – A26735
 359.    JTX 14-47925 D & V Claimant Proof of Claim              A26736 – A26850
 360.    JTX 14-48168 Lujan Claimant Proof of Claim              A26851 – A26928
 361.    JTX 14-58317 Lujan Claimant Proof of Claim              A26929 – A26984
 362.    JTX 14-67286 Lujan Claimant Proof of Claim              A26985 – A27084
 363.    JTX 14-73585 Lujan Claimant Proof of Claim              A27085 – A27102




                                        18
            Case: 23-1664        Document: 62-1         Page: 25        Date Filed: 07/24/2023

                                                              CLOSED,APPEAL,LEAD,Multi−Media Docs
                                   U.S. District Court
                           District of Delaware (Wilmington)
                   CIVIL DOCKET FOR CASE #: 1:22−cv−01237−RGA

National Union Fire Insurance Co. of Pittsburgh PA et al. v. Boy   Date Filed: 09/22/2022
Scouts of America & Delaware BSA LLC                               Date Terminated: 03/28/2023
Assigned to: Judge Richard G. Andrews                              Jury Demand: None
Related Case: 1:22−cv−01121−RGA                                    Nature of Suit: 422 Bankruptcy Appeal
Case in other court: USBK/DE, 20−10343 (LSS)                       (801)
                                                                   Jurisdiction: Federal Question
                     USBK/DE BAP, 22−00052
                     Third Circuit, 23−01664
                     Third Circuit, 23−01665
                     Third Circuit, 23−01666
                     Third Circuit, 23−01667
                     Third Circuit, 23−01668
                     Third Circuit, 23−01669
                     Third Circuit, 23−01670
                     Third Circuit, 23−01671
                     Third Circuit, 23−01672
                     Third Circuit, 23−01673
                     Third Circuit, 23−01674
                     Third Circuit, 23−01675
                     Third Circuit, 23−01676
                     Third Circuit, 23−01677
                     Third Circuit, 23−01678
                     Third Circuit, 23−01780
Cause: 28:0158 Bankruptcy Appeal from Judgment/Order
Debtor
Boy Scouts of America and Delaware               represented by Sophie Rogers Churchill
BSA, LLC                                                        Morris Nichols Arsht Tunnell LLP
                                                                1201 N. Market St.
                                                                Ste 16th Floor
                                                                Wilmington, DE 19801
                                                                302−351−9173
                                                                Email: srchurchill@morrisnichols.com
                                                                ATTORNEY TO BE NOTICED

                                                                   Tori Lynn Remington
                                                                   Morris, Nichols, Arsht & Tunnell, LLP
                                                                   1201 N. Market Street
                                                                   16th Floor
                                                                   Wilmington, DE 19801
                                                                   302−351−9168
                                                                   Email: tori.remington@troutman.com
                                                                   ATTORNEY TO BE NOTICED

Appellant
National Union Fire Insurance Co. of             represented by Deirdre Marie Richards
Pittsburgh PA et al.                                            Fineman Krekstein & Harris PC
                                                                1300 North King Street
                                                                Wilmington, DE 19801
                                                                302−538−8331
                                                                Email: drichards@finemanlawfirm.com
                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED

                                                 A00001
       Case: 23-1664    Document: 62-1     Page: 26     Date Filed: 07/24/2023

                                                      Amanda George
                                                      Email: ageorge@gibsondunn.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Blaine H. Evanson
                                                      Email: bevanson@gibsondunn.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      James Hallowell
                                                      Email: jhallowell@gibsondunn.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Keith R. Martorana
                                                      Email: kmartorana@gibsondunn.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Michael Rosenthal
                                                      Email: mrosenthal@gibsondunn.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Mitchell A. Karlan
                                                      Email: mkarlan@gibsondunn.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Richard J. Doren
                                                      Email: RDoren@gibsondunn.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Seth M. Rokosky
                                                      Email: srokosky@gibsondunn.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Susan N.K. Gummow
                                                      Email: sgummow@fgppr.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Theodore J. Boutrous , Jr.
                                                      Email: TBoutrous@gibsondunn.com
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

Appellant
Lexington Insurance Company              represented by Deirdre Marie Richards
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Amanda George
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Blaine H. Evanson
                                                      (See above for address)
                                                      PRO HAC VICE
                                   A00002
    Case: 23-1664   Document: 62-1   Page: 27   Date Filed: 07/24/2023

                                                 ATTORNEY TO BE NOTICED

                                                 James Hallowell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Keith R. Martorana
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Michael Rosenthal
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Mitchell A. Karlan
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Richard J. Doren
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Seth M. Rokosky
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Susan N.K. Gummow
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Theodore J. Boutrous , Jr.
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

Appellant
Landmark Insurance Company           represented by Deirdre Marie Richards
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Amanda George
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Blaine H. Evanson
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 James Hallowell
                                                 (See above for address)
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Keith R. Martorana
                               A00003
    Case: 23-1664      Document: 62-1      Page: 28   Date Filed: 07/24/2023

                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Michael Rosenthal
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Mitchell A. Karlan
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Richard J. Doren
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Seth M. Rokosky
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Susan N.K. Gummow
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Theodore J. Boutrous , Jr.
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

Appellant
The Insurance Company of the State of      represented by Deirdre Marie Richards
Pennsylvania                                              (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                       Amanda George
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Blaine H. Evanson
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       James Hallowell
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Keith R. Martorana
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Michael Rosenthal
                                                       (See above for address)
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED
                                        A00004
    Case: 23-1664       Document: 62-1   Page: 29    Date Filed: 07/24/2023


                                                      Mitchell A. Karlan
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Richard J. Doren
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Seth M. Rokosky
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Susan N.K. Gummow
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Theodore J. Boutrous , Jr.
                                                      (See above for address)
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

Appellant
Travelers Casualty and Surety            represented by Louis J. Rizzo , Jr.
Company, Inc.                                           Reger Rizzo & Darnall LLP
                                                        1521 Concord Pike
                                                        Brandywine Plaza West
                                                        Suite 305
                                                        Wilmington, DE 19803
                                                        302−477−7100
                                                        Fax: 302−652−3620
                                                        Email: lrizzo@regerlaw.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Deirdre Marie Richards
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Appellant
St. Paul Surplus Lines Insurance         represented by Louis J. Rizzo , Jr.
Company                                                 (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Deirdre Marie Richards
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

Appellant
Gulf Insurance Company                   represented by Louis J. Rizzo , Jr.
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                      Deirdre Marie Richards
                                                      (See above for address)
                                                      ATTORNEY TO BE NOTICED

                                   A00005
       Case: 23-1664    Document: 62-1     Page: 30      Date Filed: 07/24/2023

Appellant
Old Republic Insurance Company           represented by Carl N. Kunz , III
                                                        Morris James LLP
                                                        500 Delaware Avenue, Suite 1500
                                                        P.O. Box 2306
                                                        Wilmington, DE 19899−2306
                                                        (302) 888−6811
                                                        Email: ckunz@morrisjames.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                       Sarah Michelle Ennis
                                                       Morris James LLP
                                                       500 Delaware Avenue
                                                       Suite 1500
                                                       Wilmington, DE 19899−2306
                                                       302−888−6809
                                                       Fax: 302−571−1750
                                                       Email: sennis@morrisjames.com
                                                       TERMINATED: 12/21/2022
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Stephen M. Miller
                                                       Morris James LLP
                                                       500 Delaware Avenue
                                                       Suite 1500
                                                       Wilmington, DE 19899−2306
                                                       (302) 888−6800
                                                       Email: smiller@morrisjames.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Deirdre Marie Richards
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Appellant
General Star Indemnity Company           represented by Ashley L. Criss
                                                        Email: acriss@wiley.law
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                       Gary P. Seligman
                                                       Email: gseligman@wiley.law
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Kathleen M. Miller
                                                       Smith, Katzenstein, & Jenkins LLP
                                                       1000 West Street, Suite 1501
                                                       Wilmington, DE 19801
                                                       (302) 652−8400
                                                       Email: kmiller@skjlaw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Mary E. Borja
                                                       Email: mborja@wiley.law
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE

                                   A00006
       Case: 23-1664     Document: 62-1     Page: 31      Date Filed: 07/24/2023

                                                        ATTORNEY TO BE NOTICED

                                                        Deirdre Marie Richards
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Appellant
Indian Harbor Insurance Company           represented by Gura A. Lloyd
                                                         Email: lgura@moundcotton.com
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                        Kathleen M. Miller
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Pamela J. Minetto
                                                        Email: pminetto@moundcotton.com
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Deirdre Marie Richards
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Appellant
Munich Reinsurance America, Inc.          represented by Thaddeus James Weaver
                                                         Dilworth Paxson LLP
                                                         One Customs House−Suite 500
                                                         704 King Street, P.O. Box 1031
                                                         Wilmington, DE 19801
                                                         (302) 571−8867
                                                         Fax: (302) 571−8875
                                                         Email: tweaver@dilworthlaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Deirdre Marie Richards
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

                                                        William E. McGrath
                                                        Email: wmcgrath@dilworthlaw.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

Appellant
Arch Insurance Company                    represented by Kathleen M. Miller
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Matthew A. Hamermesh
                                                        Email: mhamermesh@hangley.com
                                                        LEAD ATTORNEY
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Ronald P. Schiller
                                                        Email: rschiller@hangley.com
                                    A00007
        Case: 23-1664      Document: 62-1   Page: 32      Date Filed: 07/24/2023

                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Deirdre Marie Richards
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Appellant
Gemini Insurance Company                represented by Brian A. Sullivan
                                                       Werb & Sullivan
                                                       300 Delaware Avenue, 10th Floor
                                                       P.O. Box 25046
                                                       Wilmington, DE 19899
                                                       302−652−1100
                                                       Email: bsullivan@werbsullivan.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Deirdre Marie Richards
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

                                                       John E.W Baay , II
                                                       Email: jbaay@glllaw.com
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       William H. White , Jr.
                                                       Email: wwhite@kiernantrebach.com
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

Appellant
D & V Claimants                         represented by Charles J. Brown , III
                                                       Gellert Scali Busenkell & Brown, LLC
                                                       1201 N. Orange Street
                                                       Suite 300
                                                       Wilmington, DE 19801
                                                       (302) 425−5813
                                                       Fax: (302) 425−5814
                                                       Email: cbrown@gsbblaw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       Gilion C. Dumas
                                                       Email: gilion@dumasandvaughn.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

Appellant
Arrowood Indemnity Company              represented by Michael Joseph Joyce
                                                       Law Office of Joyce LLC
                                                       1225 King Street, Suite 800
                                                       Wilmington, DE 19801
                                                       (302) 388−1944
                                                       Email: mjoyce@mjlawoffices.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Deirdre Marie Richards
                                                       (See above for address)
                                      A00008
            Case: 23-1664     Document: 62-1   Page: 33      Date Filed: 07/24/2023

                                                        ATTORNEY TO BE NOTICED

Appellant
The Lujan Claimants                       represented by Christopher D. Loizides
Tort Claimants                                           Loizides & Associates
                                                         Legal Arts Building
                                                         1225 King Street, Suite 800
                                                         Wilmington, DE 19801
                                                         (302) 654−0248
                                                         Email: loizides@loizides.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Delia L. Wolff
                                                        Email: dslwolff@lawguam.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

Appellant
Allianz Global Risks US Insurance         represented by David M. Fournier
Company                                                  Troutman Pepper Hamilton Sanders LLP
                                                         1313 Market Street
                                                         Ste 5100
                                                         Wilmington, DE 19899
                                                         302−777−6587
                                                         Fax: 302−421−8390
                                                         Email: david.fournier@troutman.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Marcy J. McLaughlin
                                                        Troutman Pepper Hamilton Sanders LLP
                                                        Hercules Plaza
                                                        1313 Market Street
                                                        P.O. Box 1709, Suite 5100
                                                        Wilmington, DE 19899−1709
                                                        302−777−6500
                                                        Fax: 302−421−8390
                                                        Email: Marcy.Smith@troutman.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Deirdre Marie Richards
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Appellant
National Surety Corporation               represented by David M. Fournier
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Marcy J. McLaughlin
                                                        (See above for address)
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Deirdre Marie Richards
                                                        (See above for address)
                                                        ATTORNEY TO BE NOTICED

Appellant

                                         A00009
      Case: 23-1664       Document: 62-1    Page: 34      Date Filed: 07/24/2023

Liberty Mutual Insurance Company           represented by Robert Karl Hill
                                                          Seitz, Van Ogtrop & Green, P.A.
                                                          222 Delaware Avenue, Suite 1500
                                                          P.O. Box 68
                                                          Wilmington, DE 19899
                                                          (302) 888−0600
                                                          Email: khill@svglaw.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                         Deirdre Marie Richards
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Douglas R. Gooding
                                                         Email: dgooding@choate.com
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Jonathan D. Marshall
                                                         Email: jmarshall@choate.com
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Kim V. Marrkand
                                                         Email: kvmarrkand@mintz.com
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

Appellant
The Ohio Casualty Insurance                represented by Robert Karl Hill
Company                                                   (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                         Deirdre Marie Richards
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Douglas R. Gooding
                                                         (See above for address)
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Jonathan D. Marshall
                                                         (See above for address)
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Kim V. Marrkand
                                                         (See above for address)
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

Appellant
Liberty Insurance Underwriters Inc.        represented by Robert Karl Hill
                                                          (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                         Deirdre Marie Richards
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                      A00010
      Case: 23-1664         Document: 62-1    Page: 35       Date Filed: 07/24/2023

                                                           Douglas R. Gooding
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED
                                                           Jonathan D. Marshall
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

                                                           Kim V. Marrkand
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Appellant
Liberty Surplus Insurance                    represented by Robert Karl Hill
Corporation                                                 (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                           Deirdre Marie Richards
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED
                                                           Douglas R. Gooding
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED
                                                           Jonathan D. Marshall
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED
                                                           Kim V. Marrkand
                                                           (See above for address)
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED

Appellant
Argonaut Insurance Company                   represented by Paul A. Logan
                                                            Post & Schell, P.C.
                                                            300 Delaware Avenue, Suite 1380
                                                            Wilmington, DE 19801
                                                            (302) 251−8856
                                                            Fax: (302) 251−8857
                                                            Email: plogan@postschell.com
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                           Deirdre Marie Richards
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED

                                                           George R. Calhoun
                                                           Email: george@ifrahlaw.com
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED
                                                           Kathleen K. Kerns
                                                           Email: kkerns@postschell.com
                                                           PRO HAC VICE
                                                           ATTORNEY TO BE NOTICED
                                       A00011
        Case: 23-1664      Document: 62-1   Page: 36     Date Filed: 07/24/2023

Appellant
Colony Insurance Company                represented by George R. Calhoun
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Kathleen K. Kerns
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Paul A. Logan
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Deirdre Marie Richards
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Appellant
Great American Assurance Company        represented by Bruce D. Celebrezze
                                                       Email: bruce.celebrezze@clydeco.us
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Bruce W. McCullough
                                                       Bodell Bove', LLC
                                                       1225 N. King St., Suite 1000
                                                       Wilmington, DE 19801−3250
                                                       302−655−6749
                                                       Fax: 302−655−6827
                                                       Email: bmccullough@bodellbove.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Konrad R. Krebs
                                                       Email: konrad.krebs@clydeco.us
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Deirdre Marie Richards
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Appellant
Great American E&S Insurance            represented by Bruce D. Celebrezze
Company                                                (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Bruce W. McCullough
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Konrad R. Krebs

                                      A00012
        Case: 23-1664      Document: 62-1   Page: 37      Date Filed: 07/24/2023

                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Deirdre Marie Richards
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Appellant
The Continental Insurance Co.           represented by Laura K. McNally
                                                       Email: lmcnally@loeb.com
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Maria Aprile Sawczuk
                                                       Goldstein & McClintock LLLP
                                                       501 Silverside Road
                                                       Suite 65
                                                       Wilmington, DE 19809
                                                       302−444−6710
                                                       Fax: 302−444−6709
                                                       Email: marias@restructuringshop.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Deirdre Marie Richards
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Appellant
Columbia Casualty Co.                   represented by Laura K. McNally
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       PRO HAC VICE
                                                       ATTORNEY TO BE NOTICED

                                                       Maria Aprile Sawczuk
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Deirdre Marie Richards
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Appellant
Traders and Pacific Insurance           represented by Marla S. Benedek
Company                                                Cozen & O'Connor
                                                       Chase Manhattan Centre
                                                       1201 North Market St., Suite 1001
                                                       Wilmington, DE 19801
                                                       (302) 295−2024
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                       Deirdre Marie Richards
                                                       (See above for address)
                                                       ATTORNEY TO BE NOTICED

Appellant

                                      A00013
            Case: 23-1664      Document: 62-1    Page: 38      Date Filed: 07/24/2023

Endurance American Specialty               represented by Marla S. Benedek
Insurance Company                                         (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                         Deirdre Marie Richards
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Appellant
Endurance American Insurance               represented by Marla S. Benedek
Company                                                   (See above for address)
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED

                                                         Deirdre Marie Richards
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Appellant
Interstate Fire & Casualty Company         represented by David M. Fournier
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

                                                         Deirdre Marie Richards
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED


V.
Appellee
Boy Scouts of America                      represented by Derek C. Abbott
                                                          Morris, Nichols, Arsht & Tunnell LLP
                                                          1201 North Market Street
                                                          P.O. Box 1347
                                                          Wilmington, DE 19899
                                                          (302) 658−9200
                                                          Email: dabbott@mnat.com
                                                          LEAD ATTORNEY
                                                          ATTORNEY TO BE NOTICED
                                                         Andrew R. Remming
                                                         Morris, Nichols, Arsht & Tunnell LLP
                                                         1201 North Market Street
                                                         P.O. Box 1347
                                                         Wilmington, DE 19899
                                                         302−658−9200
                                                         Email: aremming@mnat.com
                                                         ATTORNEY TO BE NOTICED

                                                         Paige Noelle Topper
                                                         Morris Nichols Arsht and Tunnell
                                                         Business Reorganization and Restructuring
                                                         1201 N. Market Street
                                                         P.O. Box 1347
                                                         Wilmington, DE 19899−1347
                                                         302−351−9148
                                                         Fax: 302−425−2098
                                                         Email: ptopper@mnat.com
                                                         ATTORNEY TO BE NOTICED

                                                         Tori Lynn Remington

                                          A00014
           Case: 23-1664      Document: 62-1   Page: 39      Date Filed: 07/24/2023

                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Appellee
Delaware BSA LLC                          represented by Derek C. Abbott
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Andrew R. Remming
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Paige Noelle Topper
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

                                                         Tori Lynn Remington
                                                         (See above for address)
                                                         ATTORNEY TO BE NOTICED

Appellee
Tort Claimants' Committee                 represented by James E. O'Neill , III
                                                         Pachulski, Stang, Ziehl & Jones, LLP
                                                         919 North Market Street, Suite 1600
                                                         P.O. Box 8705
                                                         Wilmington, DE 19899−8705
                                                         (302) 652−4100
                                                         Email: joneill@pszjlaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Appellee
Coalition of Abused Scouts for Justice    represented by Rachel B. Mersky
                                                         Monzack Mersky McLaughlin and
                                                         Browder, P.A.
                                                         1201 North Orange Street, Suite 400
                                                         Wilmington, DE 19801−1155
                                                         (302) 656−8162
                                                         Email: rmersky@monlaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Appellee
Future Claimants' Representative          represented by Robert Steven Brady
                                                         Young, Conaway, Stargatt & Taylor LLP
                                                         Rodney Square
                                                         1000 North King Street
                                                         Wilmington, DE 19801
                                                         (302) 571−6600
                                                         Email: rbrady@ycst.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Edwin J. Harron
                                                         Young, Conaway, Stargatt & Taylor LLP
                                                         Rodney Square
                                                         1000 North King Street
                                                         Wilmington, DE 19801
                                                         (302) 571−6600
                                                         Email: eharron@ycst.com
                                                         ATTORNEY TO BE NOTICED
                                         A00015
           Case: 23-1664    Document: 62-1   Page: 40      Date Filed: 07/24/2023

                                                      Jared W. Kochenash
                                                      Young, Conaway, Stargatt & Taylor LLP
                                                      Rodney Square
                                                      1000 North King Street
                                                      Wilmington, DE 19801
                                                      (302) 571−6600
                                                      Email: jkochenash@ycst.com
                                                      ATTORNEY TO BE NOTICED

                                                      Kenneth John Enos
                                                      Young, Conaway, Stargatt & Taylor LLP
                                                      Rodney Square
                                                      1000 North King Street
                                                      Wilmington, DE 19801
                                                      (302) 571−6600
                                                      Email: kenos@ycst.com
                                                      ATTORNEY TO BE NOTICED

                                                      Kevin A. Guerke
                                                      Young, Conaway, Stargatt & Taylor LLP
                                                      Rodney Square
                                                      1000 North King Street
                                                      Wilmington, DE 19801
                                                      (302) 571−6600
                                                      Email: kguerke@ycst.com
                                                      ATTORNEY TO BE NOTICED

Appellee
The Zalkin Law Firm, P.C.               represented by David M. Klauder
                                                       Bielli & Klauder, LLC
                                                       1204 N. King Street
                                                       Wilmington, DE 19801
                                                       (302)−803−4600
                                                       Email: dklauder@bk−legal.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Appellee
Pfau Cochran Vertetis Amala PLLC        represented by David M. Klauder
                                                       (See above for address)
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

Appellee
Hartford Accident and Indemnity         represented by Daniel N. Brogan
Company                                                Benesch, Friedlander, Coplan & Aronoff
                                                       LLP
                                                       1313 N. Market Street
                                                       Suite 1201
                                                       Wilmington, DE 19801
                                                       302−442−7010
                                                       Email: dbrogan@beneschlaw.com
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED

                                                      Erin R. Fay
                                                      Wilson Sonsini Goodrich & Rosati, P.C.
                                                      222 Delaware Ave.
                                                      Suite 800
                                                      Wilmington, DE 19801
                                                      302−304−7600
                                                      Fax: 866−974−7329

                                       A00016
       Case: 23-1664       Document: 62-1     Page: 41     Date Filed: 07/24/2023

                                                         Email: efay@wsgr.com
                                                         TERMINATED: 03/02/2023
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                                         Gregory Joseph Flasser
                                                         Bayard, P.A.
                                                         600 N. King Street
                                                         Suite 400
                                                         Wilmington, DE 19801
                                                         (302) 429−4235
                                                         Email: gflasser@potteranderson.com
                                                         TERMINATED: 05/12/2023
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Appellee
First State Insurance Company               represented by Daniel N. Brogan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                         Erin R. Fay
                                                         (See above for address)
                                                         TERMINATED: 03/02/2023
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory Joseph Flasser
                                                         (See above for address)
                                                         TERMINATED: 05/12/2023
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Appellee
Twin City Fire Insurance Company            represented by Daniel N. Brogan
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                         Erin R. Fay
                                                         (See above for address)
                                                         TERMINATED: 03/02/2023
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Gregory Joseph Flasser
                                                         (See above for address)
                                                         TERMINATED: 05/12/2023
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Appellee
Navigators Specialty Insurance              represented by Erin R. Fay
Company                                                    (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                         Gregory Joseph Flasser
                                                         (See above for address)
                                                         TERMINATED: 05/12/2023
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED
                                      A00017
           Case: 23-1664      Document: 62-1   Page: 42      Date Filed: 07/24/2023

Appellee
American Zurich Insurance Company         represented by Robert D. Cecil , Jr.
                                                         Tybout, Redfearn & Pell
                                                         750 Shipyard Drive, Suite 400
                                                         P.O. Box 2092
                                                         Wilmington, DE 19899−2092
                                                         302−657−5512
                                                         Email: rcecil@trplaw.com
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Rachel A. Jankowski
                                                        Email: rjankowski@crowell.com (Inactive)
                                                        TERMINATED: 05/22/2023
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Tacie H. Yoon
                                                        Email: tyoon@crowell.com
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

Appellee
American Guarantee Insurance              represented by Robert D. Cecil , Jr.
Company                                                  (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Rachel A. Jankowski
                                                        (See above for address)
                                                        TERMINATED: 05/22/2023
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Tacie H. Yoon
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

Appellee
Steadfast Insurance Company               represented by Robert D. Cecil , Jr.
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                        Rachel A. Jankowski
                                                        (See above for address)
                                                        TERMINATED: 05/22/2023
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

                                                        Tacie H. Yoon
                                                        (See above for address)
                                                        PRO HAC VICE
                                                        ATTORNEY TO BE NOTICED

Appellee
Clarendon National Insurance              represented by Matthew Gernet Summers
Company                                                  Ballard Spahr LLP
as successor in interest by merger to                    919 North Market Street
Clarendon America Insurance Company                      11th Floor
                                                         Wilmington, DE 19801−3034
                                         A00018
        Case: 23-1664         Document: 62-1      Page: 43      Date Filed: 07/24/2023

                                                              302−252−4465
                                                              Fax: 302−252−4466
                                                              Email: summersm@ballardspahr.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Appellee
River Thames Insurance Company                 represented by Matthew Gernet Summers
Limited                                                       (See above for address)
as successor in interest to Union America                     LEAD ATTORNEY
Insurance Company                                             ATTORNEY TO BE NOTICED

Appellee
Zurich American Insurance Company              represented by Matthew Gernet Summers
as successor to Maryland Casualty                             (See above for address)
Company, Zurich Insurance Company,                            LEAD ATTORNEY
and American General Fire & Casualty                          ATTORNEY TO BE NOTICED
Company

Appellee
Official Committee of Unsecured                represented by Kurt F. Gwynne
Creditors                                                     Reed Smith LLP
                                                              1201 Market Street
                                                              Suite 1500
                                                              Wilmington, DE 19801
                                                              (302) 778−7550
                                                              Fax: (302) 778−7575
                                                              Email: kgwynne@reedsmith.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
                                                              Mark William Eckard
                                                              Reed Smith LLP
                                                              1201 N. Market St.
                                                              Suite 1500
                                                              Wilmington, DE 19801
                                                              302−778−7500
                                                              Fax: 302−778−7575
                                                              Email: meckard@reedsmith.com
                                                              ATTORNEY TO BE NOTICED

Appellee
Ad Hoc Committee of Local Councils             represented by Robert Craig Martin
of the Boy Scouts of America                                  DLA Piper LLP
                                                              1201 N. Market Street, Suite 2100
                                                              Wilmington, DE 19801
                                                              302−468−5655
                                                              Fax: 302−7787834
                                                              Email: craig.martin@dlapiper.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

Appellee
Federal Insurance Company                      represented by David Elbaum
                                                              Email: david.elbaum@stblaw.com
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Stamatios Stamoulis
                                                              Stamoulis & Weinblatt LLC
                                                              800 N. West Street, Third Floor
                                                              Wilmington, DE 19801
                                            A00019
           Case: 23-1664      Document: 62-1         Page: 44        Date Filed: 07/24/2023

                                                                (302) 999−1540
                                                                Email: stamoulis@swdelaw.com
                                                                ATTORNEY TO BE NOTICED

Appellee
Westchester Fire Insurance Company             represented by David Elbaum
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED
                                                                Stamatios Stamoulis
                                                                (See above for address)
                                                                ATTORNEY TO BE NOTICED


Date Filed    #   Docket Text
09/22/2022     1 Notice of APPEAL FROM BANKRUPTCY COURT appealing the Order entered on
                 9/8/2022 and Opinion entered 7/29/2022 by Judge Laurie Silverstein in Bankruptcy
                 case number 20−10343 (LSS). Fee Status Paid.− filed by National Union Fire
                 Insurance Co. of Pittsburgh PA et al. (Attachments: # 1 Order on Appeal, # 2
                 Bankruptcy Court Transmittal)(apk) (Additional attachment(s) added on 9/22/2022: #
                 3 Opinion on Appeal) (apk). (Additional attachment(s) added on 9/22/2022: # 4
                 Exhibit A to Order on Appeal) (apk). (Entered: 09/22/2022)
09/22/2022        NO DESIGNATION OF RECORD FILED (apk) (Entered: 09/22/2022)
09/22/2022        Notice of Bankruptcy Appeal Record Availability. DESIGNATED RECORD on
                  Appeal is available electronically from the docket sheet on file in the Bankruptcy
                  Court. Please do not send paper courtesy copies of the record on appeal to the Clerk's
                  Office unless otherwise directed by chambers. (apk) (Entered: 09/22/2022)
09/22/2022     2 NOTICE of Docketing Bankruptcy Appeal. (apk) (Entered: 09/22/2022)
09/27/2022     3 JOINT Motion for Consolidation and to Approve Stipulation Regarding Appeals from
                 Order Confirming Plan of Reorganization of Boy Scouts of America and Delaware
                 BSA, LLC − filed by Boy Scouts of America and Delaware BSA, LLC. (Attachments:
                 # 1 Exhibit A)(Abbott, Derek) Modified on 9/28/2022 (nms). (Entered: 09/27/2022)
09/28/2022        Case Assigned to Judge Richard G. Andrews. Please include the initials of the Judge
                  (RGA) after the case number on all documents filed. Associated Cases:
                  1:22−cv−01237−RGA through 1:22−cv−01247−RGA; 1:22−cv−01249−RGA through
                  1:22−cv−01252−RGA, 1:22−cv−01254−RGA, 1:22−cv−01258−RGA and
                  1:22−cv−01263−RGA (rjb) (Entered: 09/28/2022)
09/29/2022        CORRECTING ENTRY: The pro hac motion filed at D.I. 4 on 9/28/2022, has been
                  removed from the docket. The motion was filed by a party that is not a member to this
                  case. The captions on the filing also contained errors. The case is no longer in
                  unassigned status and therefor requires the initials of the assigned judge after the case
                  number. (nms) (Entered: 09/29/2022)
09/30/2022     4 ORAL ORDER: A conference to discuss consolidation structure and an overall
                 briefing schedule for the appeal is set for 10/7/2022, at 11:00 AM in Courtroom 6A.
                 Ordered by Judge Richard G. Andrews on 9/30/2022. Associated Cases:
                 1:22−cv−01237−RGA et al.(nms) (Entered: 09/30/2022)
10/03/2022     5 STATEMENT of Issues on Appeal and Designation Of Items To Be Included In The
                 Record On Appeal, filed by Landmark Insurance Company, Lexington Insurance
                 Company, National Union Fire Insurance Co. of Pittsburgh PA et al., The Insurance
                 Company of the State of Pennsylvania. (Attachments: # 1 Exhibit A)(Richards,
                 Deirdre) Modified on 10/3/2022 (nms). (Entered: 10/03/2022)
10/04/2022     6 Amended Bankruptcy Court Transmittal regarding D.I. 1 Notice of Appeal.
                 (Attachments: # 1 List of Appellees to be added)(smg) (Entered: 10/04/2022)
10/05/2022     7 MOTION for Pro Hac Vice Appearance of Attorney James Hallowell, Esquire − filed
                 by Landmark Insurance Company, Lexington Insurance Company, National Union

                                              A00020
         Case: 23-1664       Document: 62-1         Page: 45       Date Filed: 07/24/2023


                 Fire Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State of
                 Pennsylvania. (Richards, Deirdre) (Entered: 10/05/2022)
10/05/2022    8 MOTION for Pro Hac Vice Appearance of Attorney Amanda George, Esquire − filed
                by Landmark Insurance Company, Lexington Insurance Company, National Union
                Fire Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State of
                Pennsylvania. (Richards, Deirdre) (Entered: 10/05/2022)
10/05/2022       SO ORDERED, re 8 MOTION for Pro Hac Vice Appearance of Attorney Amanda
                 George, Esq., filed by Landmark Insurance Company, The Insurance Company of the
                 State of Pennsylvania, Lexington Insurance Company, National Union Fire Insurance
                 Co. of Pittsburgh PA et al., and 7 MOTION for Pro Hac Vice Appearance of Attorney
                 James Hallowell, Esq., filed by Landmark Insurance Company, The Insurance
                 Company of the State of Pennsylvania, Lexington Insurance Company, National
                 Union Fire Insurance Co. of Pittsburgh PA et al.. Signed by Judge Richard G.
                 Andrews on 10/5/2022. (nms) (Entered: 10/05/2022)
10/05/2022    9 MOTION for Pro Hac Vice Appearance of Attorney Jessica C. Lauria and Glenn M.
                Kurtz − filed by Boy Scouts of America, Delaware BSA LLC. (Remington, Tori)
                (Entered: 10/05/2022)
10/05/2022   10 NOTICE of Appearance by Stamatios Stamoulis on behalf of Century Indemnity
                Company (Stamoulis, Stamatios) (Entered: 10/05/2022)
10/06/2022       SO ORDERED, re 9 MOTION for Pro Hac Vice Appearance of Attorney Jessica C.
                 Lauria and Glenn M. Kurtz, filed by Boy Scouts of America, Delaware BSA LLC.
                 Signed by Judge Richard G. Andrews on 10/6/2022. (nms) (Entered: 10/06/2022)
10/06/2022   11 MOTION for Pro Hac Vice Appearance of Attorney Philip D. Anker − filed by First
                State Insurance Company, Hartford Accident and Indemnity Company, Navigators
                Specialty Insurance Company, Twin City Fire Insurance Company. (Fay, Erin)
                Modified on 10/6/2022 (nms). Modified on 10/6/2022 (nms). (Entered: 10/06/2022)
10/06/2022       SO ORDERED, re 11 MOTION for Pro Hac Vice Appearance of Attorney Philip D.
                 Anker, filed by Navigators Specialty Insurance Company, First State Insurance
                 Company, Hartford Accident and Indemnity Company, Twin City Fire Insurance
                 Company. Signed by Judge Richard G. Andrews on 10/6/2022. (nms) Modified on
                 10/6/2022 (nms). (Entered: 10/06/2022)
10/06/2022       CORRECTING ENTRY: The docket text for D.I. 11 and the So Ordered entry that
                 followed has been amended to reflect counsel's correct name. (nms) (Entered:
                 10/06/2022)
10/06/2022   13 NOTICE of Appearance by Rachel B. Mersky on behalf of Coalition of Abused Scouts
                for Justice (Mersky, Rachel) (Entered: 10/06/2022)
10/06/2022   14 MOTION for Pro Hac Vice Appearance of Attorney Eric R. Goodman, David J.
                Molton, Cameron Moxley and Tristan Axelrod − filed by Coalition of Abused Scouts
                for Justice. (Mersky, Rachel) (Entered: 10/06/2022)
10/06/2022   12 MOTION for Pro Hac Vice Appearance of Attorney Joseph C. Celentino and Richard
                G. Mason − filed by Ad Hoc Committee of Local Councils of the Boy Scouts of
                America. (nms) Modified on 10/6/2022 (nms). (nms). (Entered: 10/06/2022)
10/06/2022       SO ORDERED, re 12 MOTION for Pro Hac Vice Appearance of Attorney Joseph C.
                 Celentino and Richard G. Mason − filed by Ad Hoc Committee of Local Councils of
                 the Boy Scouts of America. Signed by Judge Richard G. Andrews on 10/6/2022. (nms)
                 (Entered: 10/06/2022)
10/06/2022       CORRECTING ENTRY: The pro hac motion filed at D.I. 12 had to be removed and
                 refiled in order to correct a filing issue. (nms) (Entered: 10/06/2022)
10/06/2022       SO ORDERED, re 14 MOTION for Pro Hac Vice Appearance of Attorney Eric R.
                 Goodman, David J. Molton, Cameron Moxley and Tristan Axelrod, filed by Coalition
                 of Abused Scouts for Justice. Signed by Judge Richard G. Andrews on 10/6/2022.
                 (nms) (Entered: 10/06/2022)


                                             A00021
         Case: 23-1664       Document: 62-1         Page: 46       Date Filed: 07/24/2023


10/06/2022   15 Joint Designation of Additional Items To Be Included In The Record On Appeal, filed
                by Boy Scouts of America, Delaware BSA LLC. (Rogers Churchill, Sophie) Modified
                on 10/6/2022 (nms). (Entered: 10/06/2022)
10/07/2022       Minute Entry for proceedings held before Judge Richard G. Andrews − Conference to
                 discuss consolidation structure and an overall briefing schedule held on 10/7/2022.
                 Counsel for Appellants: K. Miller, D. Richards, L. Rizzo, T. Weaver. M. Sawczuk, R.
                 K. Hill, D. Fournier, M. Joyce, C. Brown, B. Sullivan, S. Ennis. Counsel for
                 Appellees: D. Abbott, J. O'Neill, R. Brady, R. Mersky, M. Summers, S. Stamoulis, M.
                 Eckard. The parties are to resubmit the motion with the agreed−to changes in terms of
                 consolidation. The parties are also directed to reach out to Chambers once the
                 answering briefs are filed. (Court Reporter Heather Triozzi.) Associated Cases:
                 1:22−cv−01237−RGA et al. (lah) (Entered: 10/24/2022)
10/12/2022   16 MOTION for Pro Hac Vice Appearance of Attorney Susan N.K. Gummow, Esquire −
                filed by Landmark Insurance Company, Lexington Insurance Company, National
                Union Fire Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State
                of Pennsylvania. (Richards, Deirdre) (Entered: 10/12/2022)
10/12/2022   17 MOTION for Pro Hac Vice Appearance of Attorney Michael Rosenthal, Esquire −
                filed by Landmark Insurance Company, Lexington Insurance Company, National
                Union Fire Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State
                of Pennsylvania. (Richards, Deirdre) (Entered: 10/12/2022)
10/12/2022       SO ORDERED, re 17 MOTION for Pro Hac Vice Appearance of Attorney Michael
                 Rosenthal, Esq., filed by Landmark Insurance Company, The Insurance Company of
                 the State of Pennsylvania, Lexington Insurance Company, National Union Fire
                 Insurance Co. of Pittsburgh PA et al., and 16 MOTION for Pro Hac Vice Appearance
                 of Attorney Susan N.K. Gummow, Esq., filed by Landmark Insurance Company, The
                 Insurance Company of the State of Pennsylvania, Lexington Insurance Company,
                 National Union Fire Insurance Co. of Pittsburgh PA et al.. Signed by Judge Richard G.
                 Andrews on 10/12/2022. (nms) (Entered: 10/12/2022)
10/14/2022   18 MOTION for Pro Hac Vice Appearance of Attorney Keith R. Martorana, Esquire −
                filed by Landmark Insurance Company, Lexington Insurance Company, National
                Union Fire Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State
                of Pennsylvania. (Richards, Deirdre) (Entered: 10/14/2022)
10/14/2022   19 MOTION for Pro Hac Vice Appearance of Attorney Blaine H. Evanson, Esquire −
                filed by Landmark Insurance Company, Lexington Insurance Company, National
                Union Fire Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State
                of Pennsylvania. (Richards, Deirdre) (Entered: 10/14/2022)
10/14/2022   20 MOTION for Pro Hac Vice Appearance of Attorney Richard J. Doren, Esquire − filed
                by Landmark Insurance Company, Lexington Insurance Company, National Union
                Fire Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State of
                Pennsylvania. (Richards, Deirdre) (Entered: 10/14/2022)
10/14/2022       SO ORDERED, re 18 MOTION for Pro Hac Vice Appearance of Attorney Keith R.
                 Martorana, Esq., filed by Landmark Insurance Company, The Insurance Company of
                 the State of Pennsylvania, Lexington Insurance Company, National Union Fire
                 Insurance Co. of Pittsburgh PA et al., 20 MOTION for Pro Hac Vice Appearance of
                 Attorney Richard J. Doren, Esq., filed by Landmark Insurance Company, The
                 Insurance Company of the State of Pennsylvania, Lexington Insurance Company,
                 National Union Fire Insurance Co. of Pittsburgh PA et al., and 19 MOTION for Pro
                 Hac Vice Appearance of Attorney Blaine H. Evanson, Esq., filed by Landmark
                 Insurance Company, The Insurance Company of the State of Pennsylvania, Lexington
                 Insurance Company, National Union Fire Insurance Co. of Pittsburgh PA et al.. Signed
                 by Judge Richard G. Andrews on 10/14/2022. (nms) (Entered: 10/14/2022)
10/17/2022   21 PROPOSED Order re Motion on Stipulation Regarding Appeals from Order
                Confirming Plan of Reorganization of Boy Scouts of America and Delaware BSA,
                LLC (D.I. 3 ), by Boy Scouts of America, Delaware BSA, LLC, Delaware BSA LLC.
                (Attachments: # 1 Exhibit 1)(Abbott, Derek) Modified on 10/17/2022 (nms). (Entered:
                10/17/2022)

                                             A00022
         Case: 23-1664       Document: 62-1         Page: 47       Date Filed: 07/24/2023


10/17/2022   22 ORDER Granting Motion on Stipulation Regarding Appeal From Order Confirming
                Plan of Reorganization of Boy Scouts of America and Delaware BSA, LLC. Signed by
                Judge Richard G. Andrews on 10/17/2022. (nms) (Entered: 10/17/2022)
10/17/2022       Pro Hac Vice Attorney Keith R. Martorana, Blaine H. Evanson, and Richard J. Doren
                 for Landmark Insurance Company, Lexington Insurance Company, National Union
                 Fire Insurance Co. of Pittsburgh PA et al., and The Insurance Company of the State of
                 Pennsylvania added for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware
                 counsel shall be the registered users of CM/ECF and shall be required to file all
                 papers. (mpb) (Entered: 10/17/2022)
10/17/2022       Pro Hac Vice Attorney James Hallowell, Michael Rosenthal, Susan N.K. Gummow,
                 and Amanda George for Landmark Insurance Company, Lexington Insurance
                 Company, National Union Fire Insurance Co. of Pittsburgh PA et al., and The
                 Insurance Company of the State of Pennsylvania added for electronic noticing.
                 Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered users of
                 CM/ECF and shall be required to file all papers. (mkr) (Entered: 10/17/2022)
10/20/2022   23 MOTION for Pro Hac Vice Appearance of Attorney Richard M. Pachulski; Alan J.
                Kornfeld; Debra I. Grassgreen; Iain A. W. Nasatir; and John W. Lucas − filed by Tort
                Claimants' Committee. (O'Neill, James) (Entered: 10/20/2022)
10/21/2022       SO ORDERED, re 23 MOTION for Pro Hac Vice Appearance of Attorney Richard M.
                 Pachulski; Alan J. Kornfeld; Debra I. Grassgreen; Iain A. W. Nasatir; and John W.
                 Lucas, filed by Tort Claimants' Committee. Signed by Judge Richard G. Andrews on
                 10/21/2022. (nms) (Entered: 10/21/2022)
10/21/2022   24 MOTION for Pro Hac Vice Appearance of Attorney Kami E. Quinn, Emily P. Grim,
                Meredith C. Neely, Rachel H. Jennings, Kyle Y. Dechant, and December L.
                Huddleston − filed by Future Claimants' Representative. (Kochenash, Jared) (Entered:
                10/21/2022)
10/21/2022       SO ORDERED, re 24 MOTION for Pro Hac Vice Appearance of Attorney Kami E.
                 Quinn, Emily P. Grim, Meredith C. Neely, Rachel H. Jennings, Kyle Y. Dechant, and
                 December L. Huddleston, filed by Future Claimants' Representative. Signed by Judge
                 Richard G. Andrews on 10/21/2022. (nms) (Entered: 10/21/2022)
10/21/2022   25 MOTION for Pro Hac Vice Appearance of Attorney Lorraine Armenti, Michael
                Hrinewski, and Kevin T. Coughlin − filed by Arrowood Indemnity Company. (Joyce,
                Michael) (Entered: 10/21/2022)
10/21/2022       SO ORDERED, re 25 MOTION for Pro Hac Vice Appearance of Attorney Lorraine
                 Armenti, Michael Hrinewski, and Kevin T. Coughlin, filed by Arrowood Indemnity
                 Company. Signed by Judge Richard G. Andrews on 10/21/2022. (nms) (Entered:
                 10/21/2022)
10/24/2022   26 MOTION for Pro Hac Vice Appearance of Attorney Theodore J. Boutrous, Esquire −
                filed by Landmark Insurance Company, Lexington Insurance Company, National
                Union Fire Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State
                of Pennsylvania. (Richards, Deirdre) (Entered: 10/24/2022)
10/24/2022       SO ORDERED, re 26 MOTION for Pro Hac Vice Appearance of Attorney Theodore
                 J. Boutrous, Esq., filed by Landmark Insurance Company, The Insurance Company of
                 the State of Pennsylvania, Lexington Insurance Company, National Union Fire
                 Insurance Co. of Pittsburgh PA et al.. Signed by Judge Richard G. Andrews on
                 10/24/2022. (nms) (Entered: 10/24/2022)
10/24/2022   27 MOTION for Pro Hac Vice Appearance of Attorney Delia Lujan Wolff − filed by The
                Lujan Claimants. (Attachments: # 1 Text of Proposed Order, # 2 Affidavit)(Loizides,
                Christopher) (Entered: 10/24/2022)
10/25/2022       Pro Hac Vice Attorney Theodore J. Boutrous, Jr for Landmark Insurance Company,
                 Lexington Insurance Company, National Union Fire Insurance Co. of Pittsburgh PA et
                 al., and The Insurance Company of the State of Pennsylvania added for electronic
                 noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                 users of CM/ECF and shall be required to file all papers. (mkr) (Entered: 10/25/2022)

                                             A00023
             Case: 23-1664       Document: 62-1         Page: 48       Date Filed: 07/24/2023


10/25/2022      28 MOTION for Pro Hac Vice Appearance of Attorney Margaret H. Warner, Ryan S.
                   Smethurst, and Alex M. Spisak − filed by Allianz Global Risks US Insurance
                   Company. (Fournier, David) (Entered: 10/25/2022)
10/25/2022      29 MOTION for Pro Hac Vice Appearance of Attorney Harris B. Winsberg and Matthew
                   G. Roberts − filed by Allianz Global Risks US Insurance Company, National Surety
                   Corporation, Interstate Fire & Casualty Company. (Fournier, David) (Entered:
                   10/25/2022)
10/25/2022          SO ORDERED, re 27 MOTION for Pro Hac Vice Appearance of Attorney Delia
                    Lujan Wolff, filed by The Lujan Claimants, 28 MOTION for Pro Hac Vice
                    Appearance of Attorney Margaret H. Warner, Ryan S. Smethurst, and Alex M. Spisak,
                    filed by Allianz Global Risks US Insurance Company, and 29 MOTION for Pro Hac
                    Vice Appearance of Attorney Harris B. Winsberg and Matthew G. Roberts, filed by
                    Interstate Fire & Casualty Company, Allianz Global Risks US Insurance Company,
                    National Surety Corporation. Signed by Judge Richard G. Andrews on 10/25/2022.
                    (nms) (Entered: 10/25/2022)
10/25/2022      30 MOTION for Pro Hac Vice Appearance of Attorney Todd C. Jacobs, John E. Bucheit,
                   and Paul J. Esker − filed by Interstate Fire & Casualty Company, National Surety
                   Corporation. (Fournier, David) (Entered: 10/25/2022)
10/25/2022          SO ORDERED, re 30 MOTION for Pro Hac Vice Appearance of Attorney Todd C.
                    Jacobs, John E. Bucheit, and Paul J. Esker, filed by Interstate Fire & Casualty
                    Company, National Surety Corporation. Signed by Judge Richard G. Andrews on
                    10/25/2022. (nms) (Entered: 10/25/2022)
10/25/2022      31 MOTION for Pro Hac Vice Appearance of Attorney Mark D. Plevin, Rachel A.
                   Jankowski, Tacie H. Yoon and Kevin D. Cacabelos of Crowell & Moring LLP,
                   Receipt #3990129 − filed by American Guarantee Insurance Company, American
                   Zurich Insurance Company, Steadfast Insurance Company. (Cecil, Robert) (Entered:
                   10/25/2022)
10/25/2022      32 ORAL ORDER: The Motion for Pro Hac Vice Appearance (D.I. 31 ) is DENIED
                   without prejudice to renew. All certifications by counsel need to be dated with date on
                   which they were signed. Ordered by Judge Richard G. Andrews on 10/25/2022. (nms)
                   (Entered: 10/25/2022)
10/25/2022      33 MOTION for Pro Hac Vice Appearance of Attorney Mark D. Plevin, Rachel A.
                   Jankowski, Tacie H. Yoon and Kevin D. Cacabelos of Crowell & Moring LLP,
                   Receipt #3990129 − filed by American Guarantee Insurance Company, American
                   Zurich Insurance Company, Steadfast Insurance Company. (Cecil, Robert) (Entered:
                   10/25/2022)
10/25/2022          SO ORDERED, re 33 MOTION for Pro Hac Vice Appearance of Attorney Mark D.
                    Plevin, Rachel A. Jankowski, Tacie H. Yoon and Kevin D. Cacabelos of Crowell &
                    Moring LLP (Receipt #3990129), filed by American Zurich Insurance Company,
                    Steadfast Insurance Company, American Guarantee Insurance Company. Signed by
                    Judge Richard G. Andrews on 10/25/2022. (nms) (Entered: 10/25/2022)
10/28/2022      34 MOTION for Pro Hac Vice Appearance of Attorney Mitchell A. Karlan, Esquire −
                   filed by Landmark Insurance Company, Lexington Insurance Company, National
                   Union Fire Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State
                   of Pennsylvania. (Richards, Deirdre) (Entered: 10/28/2022)
10/28/2022          SO ORDERED, re 34 MOTION for Pro Hac Vice Appearance of Attorney Mitchell A.
                    Karlan, Esq., filed by Landmark Insurance Company, The Insurance Company of the
                    State of Pennsylvania, Lexington Insurance Company, National Union Fire Insurance
                    Co. of Pittsburgh PA et al.. Signed by Judge Richard G. Andrews on 10/28/2022.
                    (nms) (Entered: 10/28/2022)
10/28/2022          Pro Hac Vice Attorney Mitchell A. Karlan for Landmark Insurance Company,
                    Lexington Insurance Company, National Union Fire Insurance Co. of Pittsburgh PA et
                    al., and The Insurance Company of the State of Pennsylvania added for electronic
                    noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                    users of CM/ECF and shall be required to file all papers. (mpb) (Entered: 10/28/2022)

                                                 A00024
         Case: 23-1664       Document: 62-1         Page: 49        Date Filed: 07/24/2023


10/31/2022   35 MOTION for Pro Hac Vice Appearance of Attorney Seth M. Rokosky, Esquire − filed
                by Landmark Insurance Company, Lexington Insurance Company, National Union
                Fire Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State of
                Pennsylvania. (Richards, Deirdre) (Entered: 10/31/2022)
10/31/2022       SO ORDERED, re 35 MOTION for Pro Hac Vice Appearance of Attorney Seth M.
                 Rokosky, Esq., filed by Landmark Insurance Company, The Insurance Company of the
                 State of Pennsylvania, Lexington Insurance Company, National Union Fire Insurance
                 Co. of Pittsburgh PA et al.. Signed by Judge Richard G. Andrews on 10/31/2022.
                 (nms) (Entered: 10/31/2022)
11/01/2022       Pro Hac Vice Attorney Seth M. Rokosky for Landmark Insurance Company,
                 Lexington Insurance Company, National Union Fire Insurance Co. of Pittsburgh PA et
                 al., and The Insurance Company of the State of Pennsylvania added for electronic
                 noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                 users of CM/ECF and shall be required to file all papers. (mpb) (Entered: 11/01/2022)
11/03/2022       Pro Hac Vice Attorney Rachel A. Jankowski for American Guarantee Insurance
                 Company, American Zurich Insurance Company, and Steadfast Insurance Company
                 added for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall
                 be the registered users of CM/ECF and shall be required to file all papers. (mpb)
                 (Entered: 11/03/2022)
11/03/2022   36 MOTION for Pro Hac Vice Appearance of Attorney Jonathan D. Marshall − filed by
                Liberty Insurance Underwriters Inc., Liberty Mutual Insurance Company, Liberty
                Surplus Insurance Corporation, The Ohio Casualty Insurance Company. (Hill, Robert)
                (Entered: 11/03/2022)
11/03/2022   37 MOTION for Pro Hac Vice Appearance of Attorney Douglas R. Gooding − filed by
                Liberty Insurance Underwriters Inc., Liberty Mutual Insurance Company, Liberty
                Surplus Insurance Corporation, The Ohio Casualty Insurance Company. (Hill, Robert)
                (Entered: 11/03/2022)
11/03/2022   38 MOTION for Pro Hac Vice Appearance of Attorney Kim V. Marrkand − filed by
                Liberty Insurance Underwriters Inc., Liberty Mutual Insurance Company, Liberty
                Surplus Insurance Corporation, The Ohio Casualty Insurance Company. (Hill, Robert)
                (Entered: 11/03/2022)
11/03/2022   39 MOTION for Pro Hac Vice Appearance of Attorney William E. McGrath, Jr. − filed
                by Munich Reinsurance America, Inc.. (Attachments: # 1 Certification of Counsel to
                be Admitted Pro Hac Vice, # 2 Text of Proposed Order)(Weaver, Thaddeus) (Entered:
                11/03/2022)
11/03/2022       SO ORDERED, re 37 MOTION for Pro Hac Vice Appearance of Attorney Douglas R.
                 Gooding, filed by Liberty Mutual Insurance Company, Liberty Surplus Insurance
                 Corporation, The Ohio Casualty Insurance Company, Liberty Insurance Underwriters
                 Inc., 38 MOTION for Pro Hac Vice Appearance of Attorney Kim V. Marrkand, filed
                 by Liberty Mutual Insurance Company, Liberty Surplus Insurance Corporation, The
                 Ohio Casualty Insurance Company, Liberty Insurance Underwriters Inc., 39 MOTION
                 for Pro Hac Vice Appearance of Attorney William E. McGrath, Jr., filed by Munich
                 Reinsurance America, Inc., and 36 MOTION for Pro Hac Vice Appearance of
                 Attorney Jonathan D. Marshall, filed by Liberty Mutual Insurance Company, Liberty
                 Surplus Insurance Corporation, The Ohio Casualty Insurance Company, Liberty
                 Insurance Underwriters Inc.. Signed by Judge Richard G. Andrews on 11/3/2022.
                 (nms) (Entered: 11/03/2022)
11/04/2022       Pro Hac Vice Attorney Kim V. Marrkand,Douglas R. Gooding for Liberty Insurance
                 Underwriters Inc.,Liberty Mutual Insurance Company,Liberty Surplus Insurance
                 Corporation,and for The Ohio Casualty Insurance Company added for electronic
                 noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                 users of CM/ECF and shall be required to file all papers. (apk) (Entered: 11/04/2022)
11/07/2022       Pro Hac Vice Attorney William E. McGrath for Munich Reinsurance America, Inc.
                 added for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall
                 be the registered users of CM/ECF and shall be required to file all papers. (apk)
                 (Entered: 11/07/2022)

                                             A00025
         Case: 23-1664       Document: 62-1         Page: 50       Date Filed: 07/24/2023

11/07/2022   40 Appellant's BRIEF by The Lujan Claimants. (Loizides, Christopher) (Entered:
                11/07/2022)
11/07/2022   41 Appellant's BRIEF by D & V Claimants. (Attachments: # 1 Certificate of
                Service)(Brown, Charles) (Entered: 11/07/2022)
11/07/2022   42 APPENDIX re 41 Appellant's Brief by D & V Claimants. (Attachments: # 1
                Certificate of Service)(Brown, Charles) (Entered: 11/07/2022)
11/07/2022   43 Appellant's BRIEF by Liberty Insurance Underwriters Inc., Liberty Mutual Insurance
                Company, Liberty Surplus Insurance Corporation. (Hill, Robert) (Entered: 11/07/2022)
11/07/2022   44 APPENDIX re 40 Appellant's Opening Brief, filed by The Lujan Claimants. (Loizides,
                Christopher) Modified on 11/7/2022 (nms). (Entered: 11/07/2022)
11/07/2022   45 Appellant's BRIEF by Allianz Global Risks US Insurance Company, Arch Insurance
                Company, Argonaut Insurance Company, Arrowood Indemnity Company, Colony
                Insurance Company, Columbia Casualty Co., Endurance American Insurance
                Company, Endurance American Specialty Insurance Company, Gemini Insurance
                Company, General Star Indemnity Company, Great American Assurance Company,
                Great American E&S Insurance Company, Gulf Insurance Company, Indian Harbor
                Insurance Company, Interstate Fire & Casualty Company, Landmark Insurance
                Company, Lexington Insurance Company, Liberty Insurance Underwriters Inc.,
                Liberty Mutual Insurance Company, Liberty Surplus Insurance Corporation, Munich
                Reinsurance America, Inc., National Surety Corporation, National Union Fire
                Insurance Co. of Pittsburgh PA et al., Old Republic General Insurance Group, St. Paul
                Surplus Lines Insurance Company, The Continental Insurance Co., The Insurance
                Company of the State of Pennsylvania, The Ohio Casualty Insurance Company,
                Traders and Pacific Insurance Company, Travelers Casualty and Surety Company,
                Inc.. (Attachments: # 1 Certificate of Compliance)(Richards, Deirdre) (Entered:
                11/07/2022)
11/07/2022       Pro Hac Vice Attorney Jonathan D. Marshall for Liberty Insurance Underwriters Inc.,
                 Liberty Mutual Insurance Company, Liberty Surplus Insurance Corporation, and The
                 Ohio Casualty Insurance Company added for electronic noticing. Pursuant to Local
                 Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and shall be
                 required to file all papers. (mkr) (Entered: 11/07/2022)
11/07/2022   46 [SEALED] APPENDIX re 41 Appellant's Brief by D & V Claimants. (Brown,
                Charles) (Entered: 11/07/2022)
11/07/2022   47 NOTICE of filing the following Non−Paper material(s) in multi media format: Hard
                Drive containing Appendix. Original Non−paper material(s) to be filed with the
                Clerk's Office. Notice filed by Deirdre Marie Richards on behalf of Allianz Global
                Risks US Insurance Company, Arch Insurance Company, Argonaut Insurance
                Company, Arrowood Indemnity Company, Colony Insurance Company, Columbia
                Casualty Co., Endurance American Insurance Company, Endurance American
                Specialty Insurance Company, Gemini Insurance Company, General Star Indemnity
                Company, Great American Assurance Company, Great American E&S Insurance
                Company, Gulf Insurance Company, Indian Harbor Insurance Company, Interstate
                Fire & Casualty Company, Landmark Insurance Company, Lexington Insurance
                Company, Liberty Insurance Underwriters Inc., Liberty Mutual Insurance Company,
                Liberty Surplus Insurance Corporation, Munich Reinsurance America, Inc., National
                Surety Corporation, National Union Fire Insurance Co. of Pittsburgh PA et al., Old
                Republic General Insurance Group, St. Paul Surplus Lines Insurance Company, The
                Insurance Company of the State of Pennsylvania (Attachments: # 1 Exhibit A, # 2
                Certificate of Service)(Richards, Deirdre) Modified on 11/7/2022 (nms). (Entered:
                11/07/2022)
11/07/2022   48 DEFICIENCY NOTICE by the Court issued to D & V Claimants re 46 Sealed
                Appendix. Upon review it was determined this filing does not comply with Local Rule
                5.2(b)(1). Appellant's are requested to supplement the docket with an appropriate
                certificate of service for the filing. (nms) (Entered: 11/07/2022)
11/07/2022   49 PROPOSED Order Approving Stipulation Regarding Confidentiality Orders and
                Federal Rule of Bankruptcy Procedure 8009(f), by Boy Scouts of America and
                Delaware BSA, LLC. (Attachments: # 1 Exhibit A)(Abbott, Derek) Modified on
                11/7/2022 (nms). (Entered: 11/07/2022)
                                             A00026
         Case: 23-1664        Document: 62-1         Page: 51        Date Filed: 07/24/2023


11/08/2022   50 ORAL ORDER: The request to Approve the Proposed Order (D.I. 49 ) is DENIED.
                Ordered by Judge Richard G. Andrews on 11/8/2022. (nms) (Entered: 11/08/2022)
11/08/2022   51 CERTIFICATE of Service for Sealed Appendix (D.I. 46 ) by D & V Claimants,
                (Brown, Charles) Modified on 11/8/2022 (nms). (Entered: 11/08/2022)
11/08/2022       Pro Hac Vice Attorney Tacie H. Yoon for American Guarantee Insurance Company,
                 American Zurich Insurance Company, and Steadfast Insurance Company added for
                 electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the
                 registered users of CM/ECF and shall be required to file all papers. (mpb) (Entered:
                 11/08/2022)
11/10/2022   52 MOTION for Pro Hac Vice Appearance of Attorney Margaret M. Anderson, Ryan T.
                Schultz, Adam A. Hachikian, and Kenneth M. Thomas, − filed by Old Republic
                General Insurance Group. (Ennis, Sarah) (Entered: 11/10/2022)
11/10/2022       SO ORDERED, re 52 MOTION for Pro Hac Vice Appearance of Attorney Margaret
                 M. Anderson, Ryan T. Schultz, Adam A. Hachikian, and Kenneth M. Thomas, filed by
                 Old Republic General Insurance Group. Signed by Judge Richard G. Andrews on
                 11/10/2022. (nms) (Entered: 11/10/2022)
11/11/2022   53 Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent Continental
                Casualty Company, Other Affiliate CNA Financial Corporation, Other Affiliate Loews
                Corporation, Other Affiliate The Continental Corporation for Columbia Casualty Co.,
                The Continental Insurance Co. filed by Columbia Casualty Co., The Continental
                Insurance Co.. (Sawczuk, Maria) (Entered: 11/11/2022)
11/14/2022   54 MOTION for Leave to File Exhibits Identified in Appendix Under Seal − filed by D &
                V Claimants. (Attachments: # 1 Proposed Order, # 2 Certificate of Service)(Brown,
                Charles) Modified on 11/14/2022 (nms). (Entered: 11/14/2022)
11/14/2022   55 MULTI MEDIA DOCUMENT in the form of a thumb drive containing Appendix.
                Filing related to 47 Notice of Filing Multi Media Materials. (Media on file in Clerk's
                Office). (nms) (Entered: 11/14/2022)
11/14/2022       LOCAL RULE 7.1.1 NOTICE: In accordance with Local Rule 7.1.1, except for civil
                 cases involving pro se parties or motions brought by nonparties, every nondispositive
                 motion shall be accompanied by an averment of counsel for the moving party that a
                 reasonable effort has been made to reach agreement with the opposing party on the
                 matters set forth in the motion. Unless otherwise ordered, failure to so aver may result
                 in dismissal of the motion. The records of this case do not reflect such an averment by
                 counsel for DI # 54 . Please file the averment using the event code STATEMENT,
                 found under OTHER DOCUMENTS. (nms) (Entered: 11/14/2022)
11/14/2022   56 7.1.1 STATEMENT re 54 MOTION for Leave to File Exhibits Identified in Appendix
                Under Seal, by D & V Claimants. (Attachments: # 1 Certificate of Service)(Brown,
                Charles) Modified on 11/14/2022 (nms). (Entered: 11/14/2022)
11/14/2022   57 Notice of Filing Appendix Exhibits ADV 217−222 of Appellant D & V Claimants, by
                D & V Claimants. (Attachments: # 1 Exhibits, # 2 Certificate of Service)(Brown,
                Charles) Modified on 11/14/2022 (nms). (Entered: 11/14/2022)
11/14/2022   58 REDACTED VERSION of 46 Appendix, by D & V Claimants. (Attachments: # 1
                Exhibit, # 2 Certificate of Service)(Brown, Charles) Modified on 11/15/2022 (nms).
                (Entered: 11/14/2022)
11/14/2022       Set Answering Brief Deadline re 54 MOTION for Leave to File Exhibits Identified in
                 Appendix Under Seal. Answering Brief/Response due date per Local Rules is
                 11/28/2022. (nms) (Entered: 11/15/2022)
12/01/2022   59 MOTION for Pro Hac Vice Appearance of Attorney David Elbaum − filed by Federal
                Insurance Company, Westchester Fire Insurance Company. (Stamoulis, Stamatios)
                (Entered: 12/01/2022)
12/02/2022       SO ORDERED, re 59 MOTION for Pro Hac Vice Appearance of Attorney David
                 Elbaum, filed by Westchester Fire Insurance Company, Federal Insurance Company.
                 Signed by Judge Richard G. Andrews on 12/2/2022. (nms) (Entered: 12/02/2022)

                                              A00027
         Case: 23-1664       Document: 62-1         Page: 52       Date Filed: 07/24/2023

12/05/2022   60 MOTION for Pro Hac Vice Appearance of Attorney Tancred Schiavoni and Jonathan
                Hacker − filed by Century Indemnity Company. (Stamoulis, Stamatios) (Entered:
                12/05/2022)
12/06/2022       Pro Hac Vice Attorney David Elbaum for Federal Insurance Company and
                 Westchester Fire Insurance Company added for electronic noticing. Pursuant to Local
                 Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and shall be
                 required to file all papers. (mpb) (Entered: 12/06/2022)
12/06/2022       SO ORDERED, re 60 MOTION for Pro Hac Vice Appearance of Attorney Tancred
                 Schiavoni and Jonathan Hacker, filed by Century Indemnity Company. Signed by
                 Judge Richard G. Andrews on 12/6/2022. (nms) (Entered: 12/06/2022)
12/06/2022   61 MOTION for Pro Hac Vice Appearance of Attorney James P. Ruggeri − filed by First
                State Insurance Company, Hartford Accident and Indemnity Company, Navigators
                Specialty Insurance Company, Twin City Fire Insurance Company. (Flasser, Gregory)
                (Entered: 12/06/2022)
12/06/2022   62 MOTION for Pro Hac Vice Appearance of Attorney Joel W. Millar of Wilmer Cutler
                Pickering Hale and Dorr LLP − filed by First State Insurance Company, Hartford
                Accident and Indemnity Company, Navigators Specialty Insurance Company, Twin
                City Fire Insurance Company. (Flasser, Gregory) (Entered: 12/06/2022)
12/06/2022   63 MOTION for Pro Hac Vice Appearance of Attorney Joshua D. Weinberg − filed by
                First State Insurance Company, Hartford Accident and Indemnity Company,
                Navigators Specialty Insurance Company, Twin City Fire Insurance Company.
                (Flasser, Gregory) (Entered: 12/06/2022)
12/06/2022       SO ORDERED, re 63 MOTION for Pro Hac Vice Appearance of Attorney Joshua D.
                 Weinberg, filed by Navigators Specialty Insurance Company, First State Insurance
                 Company, Hartford Accident and Indemnity Company, Twin City Fire Insurance
                 Company, 62 MOTION for Pro Hac Vice Appearance of Attorney Joel W. Millar of
                 Wilmer Cutler Pickering Hale and Dorr LLP, filed by Navigators Specialty Insurance
                 Company, First State Insurance Company, Hartford Accident and Indemnity
                 Company, Twin City Fire Insurance Company, 61 MOTION for Pro Hac Vice
                 Appearance of Attorney James P. Ruggeri, filed by Navigators Specialty Insurance
                 Company, First State Insurance Company, Hartford Accident and Indemnity
                 Company, Twin City Fire Insurance Company. Signed by Judge Richard G. Andrews
                 on 12/6/2022. (nms) (Entered: 12/06/2022)
12/06/2022   64 MOTION for Pro Hac Vice Appearance of Attorney Stephen Warren − filed by
                Century Indemnity Company. (Stamoulis, Stamatios) (Entered: 12/06/2022)
12/07/2022   65 MOTION for Pro Hac Vice Appearance of Attorney Douglas K. Mayer and Mitchell
                S. Levy − filed by Ad Hoc Committee of Local Councils of the Boy Scouts of
                America. (Martin, Robert) (Entered: 12/07/2022)
12/07/2022       SO ORDERED, re 64 MOTION for Pro Hac Vice Appearance of Attorney Stephen
                 Warren, filed by Century Indemnity Company. Signed by Judge Richard G. Andrews
                 on 12/7/2022. (nms) (Entered: 12/07/2022)
12/07/2022       SO ORDERED, re 65 MOTION for Pro Hac Vice Appearance of Attorney Douglas K.
                 Mayer and Mitchell S. Levy, filed by Ad Hoc Committee of Local Councils of the Boy
                 Scouts of America. Signed by Judge Richard G. Andrews on 12/7/2022. (nms)
                 (Entered: 12/07/2022)
12/07/2022   66 Consolidated Appellee's Brief, by Boy Scouts of America, Delaware BSA LLC.
                (Abbott, Derek) Modified on 12/8/2022 (nms). (Entered: 12/07/2022)
12/07/2022   67 Appellee's Brief, by Ad Hoc Committee of Local Councils of the Boy Scouts of
                America. (Martin, Robert) Modified on 12/8/2022 (nms). (Entered: 12/07/2022)
12/07/2022   69 APPENDIX re 67 Appellee's Brief, by Ad Hoc Committee of Local Councils of the
                Boy Scouts of America. (Martin, Robert) Modified on 12/8/2022 (nms). (Entered:
                12/07/2022)
12/07/2022   81 Appellee's Brief and Joinder, by Future Claimants' Representative. (Attachments: # 1
                Certificate of Service)(Brady, Robert) Modified on 12/8/2022 (nms). (Entered:
                12/07/2022)
                                             A00028
         Case: 23-1664        Document: 62-1        Page: 53       Date Filed: 07/24/2023


12/07/2022   85 APPENDIX to 81 Appellee's Brief, by Future Claimants' Representative.
                (Attachments: # 1 FCRA00001−FCRA00107, # 2 FCRA00108−FCRA00257, # 3
                FCRA00258−FCRA00487, # 4 FCRA00488−FCRA00525, # 5
                FCRA00526−FCRA00852, # 6 FCRA00853−FCRA00865, # 7
                FCRA00866−FCRA00872, # 8 FCRA00873−FCRA01202)(Brady, Robert) Modified
                on 12/8/2022 (nms). (Entered: 12/07/2022)
12/07/2022   86 Appellee's Brief, by First State Insurance Company, Hartford Accident and Indemnity
                Company, Navigators Specialty Insurance Company, Twin City Fire Insurance
                Company. (Fay, Erin) Modified on 12/8/2022 (nms). (Entered: 12/07/2022)
12/07/2022   88 Compendium of Unreported Decisions re 81 Appellee's Brief by Future Claimants'
                Representative. (Attachments: # 1 Tab 1, # 2 Tab 2, # 3 Tab 3, # 4 Tab 4, # 5 Tab 5, #
                6 Tab 6, # 7 Tab 7, # 8 Tab 8)(Brady, Robert) (Entered: 12/07/2022)
12/07/2022   89 Appellee's Brief, by Coalition of Abused Scouts for Justice, Pfau Cochran Vertetis
                Amala PLLC, The Zalkin Law Firm, P.C., Tort Claimants' Committee. (O'Neill,
                James) Modified on 12/8/2022 (nms). (Entered: 12/07/2022)
12/07/2022   91 Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent INA Financial
                Corporation, Corporate Parent INA Corporation, Corporate Parent Chubb Limited,
                Corporate Parent Chubb Group Holdings Inc., Corporate Parent Brandywine Holding
                Corporation, Corporate Parent Chubb INA Holdings Inc. for Century Indemnity
                Company filed by Century Indemnity Company. (Stamoulis, Stamatios) (Entered:
                12/07/2022)
12/07/2022   92 Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent Chubb
                Limited, Corporate Parent Chubb Group Holdings Inc., Corporate Parent Chubb INA
                Holdings Inc. for Federal Insurance Company filed by Federal Insurance Company.
                (Stamoulis, Stamatios) (Entered: 12/07/2022)
12/07/2022   93 Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent Chubb
                Limited, Corporate Parent Chubb Group Holdings Inc., Corporate Parent Chubb US
                Holdings Inc. for Westchester Fire Insurance Company filed by Westchester Fire
                Insurance Company. (Stamoulis, Stamatios) (Entered: 12/07/2022)
12/08/2022       CORRECTING ENTRY: The appendices filed at D.I. 68, 70, 71, 72, 73, 74, 75, 76,
                 77, 78, 79, 80, 82, 83, 84, and 87 have been removed from the docket. The filings
                 should have been executed in a more efficient way. For instance Volume 1 was
                 comprised of 228 pages, Volume 2 contained 176 pages, Volume 3 had 160 pages, and
                 Volume 4 had 460 pages. Those volumes should have been coupled together. Appellee
                 is directed to refile accordingly. (nms) (Entered: 12/08/2022)
12/08/2022   94 CERTIFICATE OF SERVICE for Appendix (D.I. 85 ) and Compendium of
                Unreported Decisions (D.I. 88 ), by Future Claimants' Representative. (Brady, Robert)
                Modified on 12/8/2022 (nms). (Entered: 12/08/2022)
12/09/2022   95 APPENDIX, Volume 1 re 66 Appellee's Brief, by Boy Scouts of America, Delaware
                BSA LLC. (Attachments: # 1 SA0001 − SA0462, # 2 SA0463 − SA0862)(Abbott,
                Derek) Modified on 12/9/2022 (nms). (Entered: 12/09/2022)
12/09/2022   96 APPENDIX, Volume 2 re 66 Appellee's Brief, by Boy Scouts of America, Delaware
                BSA LLC. (Attachments: # 1 SA0863 − SA1741)(Abbott, Derek) Modified on
                12/9/2022 (nms). (Entered: 12/09/2022)
12/09/2022   97 APPENDIX, Volume 3 re 66 Appellee's Brief, by Boy Scouts of America, Delaware
                BSA LLC. (Attachments: # 1 SA1742 − SA2548)(Abbott, Derek) Modified on
                12/9/2022 (nms). (Entered: 12/09/2022)
12/09/2022   98 APPENDIX, Volume 4 re 66 Appellee's Brief, by Boy Scouts of America, Delaware
                BSA LLC. (Attachments: # 1 SA2549 − SA3188)(Abbott, Derek) Modified on
                12/9/2022 (nms). (Entered: 12/09/2022)
12/09/2022   99 APPENDIX, Volume 5 re 66 Appellee's Brief, by Boy Scouts of America, Delaware
                BSA LLC. (Attachments: # 1 SA3189 − SA3684)(Abbott, Derek) Modified on
                12/9/2022 (nms). (Entered: 12/09/2022)

                                             A00029
         Case: 23-1664         Document: 62-1          Page: 54        Date Filed: 07/24/2023

12/09/2022   100 [SEALED] APPENDIX, Volume 6 66 Appellee's Brief, by Boy Scouts of America,
                 Delaware BSA LLC. (Attachments: # 1 SA3685 − SA3821, # 2 Certificate of
                 Service)(Abbott, Derek) Modified on 12/9/2022 (nms). (Entered: 12/09/2022)
12/09/2022   101 MOTION to Seal Portions of Supplemental Appendix to Debtors−Appellees
                 Consolidated Answering Brief − filed by Boy Scouts of America and Delaware BSA,
                 LLC. (Attachments: # 1 Exhibit A, # 2 Certificate of Compliance)(Remington, Tori)
                 Modified on 12/12/2022 (nms). (Entered: 12/09/2022)
12/12/2022         Set Answering Brief Deadline re 101 MOTION to Seal Portions of Supplemental
                   Appendix to Debtors−Appellees Consolidated Answering Brief. Answering
                   Brief/Response due date per Local Rules is 12/27/2022. (nms) (Entered: 12/12/2022)
12/13/2022         CORRECTING ENTRY: The Notice of Lodging of Multimedia Filing filed at D.I. 90
                   has been removed from the docket. Counsel for Appellee's will refile an amended
                   notice of lodging per discussions with chambers. (nms) (Entered: 12/13/2022)
12/13/2022   102 ORAL ORDER: The parties are requested to file a joint letter identifying (1) the issues
                 the parties think should be orally argued regarding the appeal, and (2) the amount of
                 time the parties think should be allocated for each such issue. The letter is due by
                 December 23, 2022. Ordered by Judge Richard G. Andrews on 12/13/2022. (nms)
                 (Entered: 12/13/2022)
12/14/2022   103 NOTICE of filing the following Non−Paper material(s) in multi media format: JTX 10
                 (BSA and Local Council Insurance Policies), JTX 14 (Proofs of Claim), and JTX 2961
                 (Settled and Unsettled Local Council Policy Information). Original Non−paper
                 material(s) to be filed with the Clerk's Office. Notice filed by Derek C. Abbott on
                 behalf of Boy Scouts of America, Delaware BSA LLC (Abbott, Derek) Modified on
                 12/14/2022 (nms). (Entered: 12/14/2022)
12/14/2022   104 PROPOSED Order Approving Stipulation Regarding Designation of Certain Items to
                 Be Included in the Record on Appeal Pursuant to Federal Rule of Bankruptcy
                 Procedure 8009(e), by Boy Scouts of America, Delaware BSA LLC. (Attachments: # 1
                 Exhibit A)(Abbott, Derek) Modified on 12/14/2022 (nms). (Entered: 12/14/2022)
12/14/2022   105 MULTI MEDIA DOCUMENTS filed by Boy Scouts of America, Boy Scouts of
                 America and Delaware BSA, LLC in the form of a Thumb drive and Game Drive.
                 Filing related to 103 Notice of Filing Multi Media Materials. (*Media on file in Clerk's
                 Office). (nms) (Entered: 12/14/2022)
12/14/2022   106 ORDER Approving Stipulation Regarding Designation of Certain Items to be Included
                 in the Record on Appeal Pursuant to Federal Rule of Bankruptcy Procedure 8009(e).
                 Signed by Judge Richard G. Andrews on 12/14/2022. (nms) (Entered: 12/14/2022)
12/16/2022   107 SO ORDERED Granting 101 MOTION to Seal Portions of Supplemental Appendix to
                 Debtors−Appellees Consolidated Answering Brief. Signed by Judge Richard G.
                 Andrews on 12/16/2022. (nms) (Entered: 12/16/2022)
12/20/2022         REDACTION NOTICE: In accordance with section G of the Administrative
                   Procedures Governing Filing and Service by Electronic Means, redacted versions of
                   sealed documents shall be filed electronically within 7 days of the filing of the sealed
                   document. The records of this case do not reflect the filing of a redacted version of DI
                   # 100 . (nms) (Entered: 12/20/2022)
12/21/2022   108 NOTICE of Withdrawal of Appearance of Sarah M. Ennis by Old Republic General
                 Insurance Group (Ennis, Sarah) (Entered: 12/21/2022)
12/21/2022   109 REPLY Brief, by Allianz Global Risks US Insurance Company, Arch Insurance
                 Company, Argonaut Insurance Company, Arrowood Indemnity Company, Colony
                 Insurance Company, Columbia Casualty Co., Endurance American Insurance
                 Company, Endurance American Specialty Insurance Company, Gemini Insurance
                 Company, General Star Indemnity Company, Great American Assurance Company,
                 Great American E&S Insurance Company, Gulf Insurance Company, Indian Harbor
                 Insurance Company, Interstate Fire & Casualty Company, Landmark Insurance
                 Company, Lexington Insurance Company, Liberty Insurance Underwriters Inc.,
                 Liberty Mutual Insurance Company, Liberty Surplus Insurance Corporation, Munich
                 Reinsurance America, Inc., National Surety Corporation, National Union Fire
                 Insurance Co. of Pittsburgh PA et al., Old Republic General Insurance Group, St. Paul

                                                A00030
         Case: 23-1664         Document: 62-1         Page: 55        Date Filed: 07/24/2023

                   Surplus Lines Insurance Company, The Continental Insurance Co., The Insurance
                   Company of the State of Pennsylvania, The Ohio Casualty Insurance Company,
                   Traders and Pacific Insurance Company, Travelers Casualty and Surety Company,
                   Inc.. (Attachments: # 1 Certificate of Service)(Richards, Deirdre) Modified on
                   12/21/2022 (nms). (Entered: 12/21/2022)
12/21/2022   110 REPLY Brief, by D & V Claimants. (Attachments: # 1 Certificate of Service)(Brown,
                 Charles) Modified on 12/21/2022 (nms). (Entered: 12/21/2022)
12/21/2022   111 REPLY Brief, filed by Allianz Global Risks US Insurance Company, Landmark
                 Insurance Company, Liberty Insurance Underwriters Inc., Liberty Mutual Insurance
                 Company, Liberty Surplus Insurance Corporation, National Surety Corporation, The
                 Ohio Casualty Insurance Company. (Attachments: # 1 Certificate)(Hill, Robert)
                 Modified on 12/21/2022 (nms). (Entered: 12/21/2022)
12/21/2022   112 EMEREGENCY Motion for Extension of Time to File Reply Brief − filed by The
                 Lujan Claimants. (Loizides, Christopher) Modified on 12/21/2022 (nms). (Entered:
                 12/21/2022)
12/21/2022   113 REPLY Brief, by The Lujan Claimants. (Loizides, Christopher) Modified on
                 12/22/2022 (nms). (Entered: 12/21/2022)
12/23/2022   115 Letter to Judge Andrews, from the parties, regarding oral argument. (Miller, Kathleen)
                 Modified on 12/27/2022 (nms). (Entered: 12/23/2022)
12/27/2022   116 NOTICE requesting Clerk to remove Danielle Spinelli as co−counsel. Reason for
                 request: leaving the firm listed. (Flasser, Gregory) (Entered: 12/27/2022)
12/27/2022         CORRECTING ENTRY: The redacted filing submitted at D.I. 114 has been removed
                   from the docket per discussion between the filer and chambers. Counsel for
                   Debtor−Appellees' will refile a revised redacted version of D.I. 100 . (nms) (Entered:
                   12/27/2022)
12/30/2022   117 ORAL ORDER: The Emergency Motion for Extension of Time to File Reply Brief
                 (D.I. 112 ) is DISMISSED as moot. Ordered by Judge Richard G. Andrews on
                 12/30/2022. (nms) (Entered: 12/30/2022)
01/04/2023   118 REDACTED VERSION of 100 Appendix, by Boy Scouts of America and Delaware
                 BSA, LLC. (Remington, Tori) Modified on 1/5/2023 (nms). (Entered: 01/04/2023)
01/04/2023   119 DECLARATION of Blair M. Warner re 118 Redacted Document, by Boy Scouts of
                 America and Delaware BSA, LLC. (Remington, Tori) Modified on 1/5/2023 (nms).
                 (Entered: 01/04/2023)
01/05/2023   120 ORAL ORDER: The redactions (D.I. 118 ) as supported by the Declaration (D.I. 119 )
                 are APPROVED. Ordered by Judge Richard G. Andrews on 1/5/2023. (nms) (Entered:
                 01/05/2023)
01/10/2023   121 ORAL ORDER: Argument on the Bankruptcy Appeal is now set for 2/9/2023, and
                 2/10/2023 in Courtroom 6A. The 8 issues on appeal outlined in the letter filed at D.I.
                 115 will be heard as follows: Issue 1 will be heard at 9:30 AM on 2/9/2023; Issue 2
                 and 4 will be heard on 2/9/2023, at 2:00 PM; Issue 3 will be heard on 2/10/2023, at
                 9:00 AM; and Issues 5 through 8 will be heard on 2/10/2023, at 2:00 PM. Ordered by
                 Judge Richard G. Andrews on 1/10/2023. (nms) (Entered: 01/10/2023)
01/11/2023   122 ORDER Granting 54 MOTION for Leave to File Exhibits Identified in Appendix
                 Under Seal. Signed by Judge Richard G. Andrews on 1/11/2023. (nms) (Entered:
                 01/11/2023)
01/12/2023         Remark: Courtroom 4A will be open to the public as an overflow viewing room for the
                   hearings scheduled on 2/9/2023, and 2/10/2023. (nms) (Entered: 01/12/2023)
01/13/2023   123 MOTION to Supplement the Record − filed by Allianz Global Risks US Insurance
                 Company, Arch Insurance Company, Argonaut Insurance Company, Arrowood
                 Indemnity Company, Colony Insurance Company, Columbia Casualty Co., Endurance
                 American Insurance Company, Endurance American Specialty Insurance Company,
                 Gemini Insurance Company, General Star Indemnity Company, Great American
                 Assurance Company, Great American E&S Insurance Company, Gulf Insurance
                 Company, Indian Harbor Insurance Company, Interstate Fire & Casualty Company,
                                               A00031
         Case: 23-1664         Document: 62-1         Page: 56       Date Filed: 07/24/2023

                   Landmark Insurance Company, Lexington Insurance Company, Liberty Insurance
                   Underwriters Inc., Liberty Mutual Insurance Company, Liberty Surplus Insurance
                   Corporation, Munich Reinsurance America, Inc., National Surety Corporation,
                   National Union Fire Insurance Co. of Pittsburgh PA et al., Old Republic General
                   Insurance Group, St. Paul Surplus Lines Insurance Company, The Continental
                   Insurance Co., The Insurance Company of the State of Pennsylvania, The Ohio
                   Casualty Insurance Company, Traders and Pacific Insurance Company, Travelers
                   Casualty and Surety Company, Inc.. (Attachments: # 1 7.1.1 Statement, # 2 Certificate
                   of Service)(Richards, Deirdre) Modified on 1/13/2023 (nms). (Entered: 01/13/2023)
01/13/2023   124 NOTICE of filing the following Non−Paper material(s) in multi media format: trial
                 exhibits and documents included in the Insurer Appellants' Designation. Original
                 Non−paper material(s) to be filed with the Clerk's Office. Notice filed by Kathleen M.
                 Miller on behalf of Arch Insurance Company, General Star Indemnity Company,
                 Indian Harbor Insurance Company (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Miller,
                 Kathleen) (Entered: 01/13/2023)
01/13/2023         Set Answering Brief Deadline re 123 MOTION to Supplement the Record. Answering
                   Brief/Response due date per Local Rules is 1/27/2023. (nms) (Entered: 01/17/2023)
01/17/2023   125 MULTI MEDIA DOCUMENT filed by Arch Insurance Company, General Star
                 Indemnity Company, Indian Harbor Insurance Company in the form of a Portable
                 Storage unit. Filing related to 124 Notice of Filing Multi Media Materials. (*Media on
                 file in Clerk's Office). (nms) (Entered: 01/17/2023)
01/17/2023   126 MOTION for Pro Hac Vice Appearance of Attorney W. Hunter Winstead − filed by
                 Future Claimants' Representative. (Kochenash, Jared) (Entered: 01/17/2023)
01/17/2023         SO ORDERED, re 126 MOTION for Pro Hac Vice Appearance of Attorney W.
                   Hunter Winstead, filed by Future Claimants' Representative. Signed by Judge Richard
                   G. Andrews on 1/17/2023. (nms) (Entered: 01/17/2023)
01/19/2023   127 Official Transcript of Scheduling Conference held on 10/7/22 before Judge Richard G.
                 Andrews. Court Reporter Heather M. Triozzi,Email:
                 Heather_Triozzi@ded.uscourts.gov. Transcript may be viewed at the court public
                 terminal or order/purchased through the Court Reporter before the deadline for Release
                 of Transcript Restriction. After that date, it may be obtained through PACER.
                 Redaction Request due 2/9/2023. Redacted Transcript Deadline set for 2/21/2023.
                 Release of Transcript Restriction set for 4/19/2023. (Triozzi, Heather) (Entered:
                 01/19/2023)
01/27/2023   128 RESPONSE to 123 MOTION to Supplement the Record, filed by Boy Scouts of
                 America, Delaware BSA LLC. (Abbott, Derek) Modified on 1/30/2023 (nms).
                 (Entered: 01/27/2023)
01/27/2023   129 JOINDER in 128 Response, by Pfau Cochran Vertetis Amala PLLC, The Zalkin Law
                 Firm, P.C., Tort Claimants' Committee. (O'Neill, James) Modified on 1/30/2023
                 (nms). (Entered: 01/27/2023)
02/01/2023   130 Letter to The Honorable Richard G. Andrews, from Certain Insurers Appellants,
                 regarding recent Third Circuit Decision. (Attachments: # 1 Exhibit A, # 2 Certificate
                 of Service)(Richards, Deirdre) Modified on 2/2/2023 (nms). (Entered: 02/01/2023)
02/02/2023   131 Letter to The Honorable Richard G. Andrews, from Glen M. Kurtz and Derek C.
                 Abbott, regarding response to Appellants' letter (D.I. 130 ). (Abbott, Derek) Modified
                 on 2/3/2023 (nms). (Entered: 02/02/2023)
02/03/2023   132 REPLY Brief re 123 MOTION to Supplement the Record, filed by Allianz Global
                 Risks US Insurance Company, Arch Insurance Company, Argonaut Insurance
                 Company, Arrowood Indemnity Company, Colony Insurance Company, Columbia
                 Casualty Co., Endurance American Insurance Company, Endurance American
                 Specialty Insurance Company, Gemini Insurance Company, General Star Indemnity
                 Company, Great American Assurance Company, Great American E&S Insurance
                 Company, Gulf Insurance Company, Indian Harbor Insurance Company, Interstate
                 Fire & Casualty Company, Landmark Insurance Company, Lexington Insurance
                 Company, Liberty Insurance Underwriters Inc., Liberty Mutual Insurance Company,
                 Liberty Surplus Insurance Corporation, Munich Reinsurance America, Inc., National

                                              A00032
         Case: 23-1664         Document: 62-1        Page: 57       Date Filed: 07/24/2023


                  Surety Corporation, National Union Fire Insurance Co. of Pittsburgh PA et al., Old
                  Republic General Insurance Group, St. Paul Surplus Lines Insurance Company, The
                  Continental Insurance Co., The Insurance Company of the State of Pennsylvania, The
                  Ohio Casualty Insurance Company, Traders and Pacific Insurance Company, Travelers
                  Casualty and Surety Company, Inc.. (Attachments: # 1 Certificate of
                  Service)(Richards, Deirdre) Modified on 2/3/2023 (nms). (Entered: 02/03/2023)
02/07/2023   133 Letter to Honorable Richard G. Andrews from Christopher D. Loizides regarding
                 Requesting excuse from oral argument. (Loizides, Christopher) (Entered: 02/07/2023)
02/07/2023   134 ORAL ORDER: The request to be excused from the hearings scheduled for 2/9/2023,
                 and 2/10/2023 (D.I. 133 ) is GRANTED. Ordered by Judge Richard G. Andrews on
                 2/7/2023. (nms) (Entered: 02/07/2023)
02/08/2023   135 Letter to Honorable Richard G. Andrews, from Charles J. Brown, III, Esq., regarding
                 request to be excused from oral argument. (Brown, Charles) Modified on 2/8/2023
                 (nms). (Entered: 02/08/2023)
02/08/2023   136 ORAL ORDER: The request to be excused from the oral arguments scheduled for
                 2/9/2023, and 2/10/2023 (D.I. 135 ) is GRANTED. Ordered by Judge Richard G.
                 Andrews on 2/8/2023. (nms) (Entered: 02/08/2023)
02/09/2023   137 MOTION for Pro Hac Vice Appearance of Attorney Michael Stoner − filed by Boy
                 Scouts of America, Delaware BSA LLC. (Remington, Tori) (Entered: 02/09/2023)
02/09/2023   138 MOTION for Pro Hac Vice Appearance of Attorney Laura E. Baccash and Ronald
                 Gorsich − filed by Boy Scouts of America, Delaware BSA LLC. (Remington, Tori)
                 (Entered: 02/09/2023)
02/09/2023        SO ORDERED, re 137 MOTION for Pro Hac Vice Appearance of Attorney Michael
                  Stoner, filed by Boy Scouts of America, Delaware BSA LLC, and 138 MOTION for
                  Pro Hac Vice Appearance of Attorney Laura E. Baccash and Ronald Gorsich, filed by
                  Boy Scouts of America, Delaware BSA LLC. Signed by Judge Richard G. Andrews on
                  2/9/2023. (nms) (Entered: 02/09/2023)
02/09/2023   139 MOTION for Pro Hac Vice Appearance of Attorney Blair Warner − filed by Boy
                 Scouts of America, Delaware BSA LLC. (Remington, Tori) (Entered: 02/09/2023)
02/09/2023        SO ORDERED, re 139 MOTION for Pro Hac Vice Appearance of Attorney Blair
                  Warner, filed by Boy Scouts of America, Delaware BSA LLC. Signed by Judge
                  Richard G. Andrews on 2/9/2023. (nms) (Entered: 02/09/2023)
02/09/2023        Minute Entry for proceedings held before Judge Richard G. Andrews − Argument on
                  the Bankruptcy Appeal (Issues 1, 2 and 4) held on 2/9/2023. Local Counsel for
                  Appellants: D. Richards, M. McLaughlin, K. Miller, M. Sawczuk, M. Joyce, M.
                  Benedek, T. Weaver, C. Kunz, B. McCullough. Local Counsel for Appellees: D.
                  Abbott, J. O'Neill, C. Martin, L. Rizzo, R. Brady, S. Stamoulis. (Court Reporter
                  Heather Triozzi.) (lah) (Entered: 02/09/2023)
02/10/2023        Minute Entry for proceedings held before Judge Richard G. Andrews − Argument on
                  the Bankruptcy Appeal (Issues 3, 6, 7 and 8) held on 2/10/2023. Local Counsel for
                  Appellants: D. Richards, M. McLaughlin, K. Miller, M. Sawczuk, M. Joyce, M.
                  Benedek, T. Weaver, C. Kunz, B. McCullough. Local Counsel for Appellees: D.
                  Abbott, J. O'Neill, C. Martin, L. Rizzo, R. Brady, S. Stamoulis. (Court Reporter
                  Heather Triozzi.) (lah) (Entered: 02/13/2023)
02/24/2023   140 Letter to the Court, from dated 12/16/2022, regarding appeal. (nms) (Entered:
                 02/24/2023)
02/24/2023   141 Letter to the Court, received on 1/23/2023, regarding appeal. (nms) (Entered:
                 02/24/2023)
02/24/2023   142 Letter to the Court, dated 2/4/2023, regarding appeal. (nms) (Entered: 02/24/2023)
03/02/2023   143 NOTICE of Withdrawal of Counsel Erin R. Fay − filed by First State Insurance
                 Company, Hartford Accident and Indemnity Company, Twin City Fire Insurance
                 Company. (Brogan, Daniel) Modified on 3/2/2023 (nms). (Entered: 03/02/2023)

                                              A00033
             Case: 23-1664       Document: 62-1         Page: 58        Date Filed: 07/24/2023

03/02/2023           CORRECTING ENTRY: D.I. 143 has been recoded and the docket text corrected to
                     reflect this filing is a notice and not a motion. (nms) (Entered: 03/02/2023)
03/07/2023     144 Official Transcript of Oral Argument held on 2/9/23 before Judge Richard G.
                   Andrews. Court Reporter Heather M. Triozzi,Email:
                   Heather_Triozzi@ded.uscourts.gov. Transcript may be viewed at the court public
                   terminal or order/purchased through the Court Reporter before the deadline for Release
                   of Transcript Restriction. After that date, it may be obtained through PACER.
                   Redaction Request due 3/28/2023. Redacted Transcript Deadline set for 4/10/2023.
                   Release of Transcript Restriction set for 6/5/2023. (Triozzi, Heather) (Entered:
                   03/07/2023)
03/07/2023     145 Official Transcript of Oral Argument held on 2/10/23 before Judge Richard G.
                   Andrews. Court Reporter Heather M. Triozzi,Email:
                   Heather_Triozzi@ded.uscourts.gov. Transcript may be viewed at the court public
                   terminal or order/purchased through the Court Reporter before the deadline for Release
                   of Transcript Restriction. After that date, it may be obtained through PACER.
                   Redaction Request due 3/28/2023. Redacted Transcript Deadline set for 4/10/2023.
                   Release of Transcript Restriction set for 6/5/2023. (Triozzi, Heather) (Entered:
                   03/07/2023)
03/07/2023     146 Letter to the Court, dated 2/28/2023, regarding appeal. (nms) (Entered: 03/07/2023)
03/23/2023     147 Letter to the Court, dated March 20, 2023, regarding the appeal. (nms) (Entered:
                   03/23/2023)
03/27/2023           Pro Hac Vice Attorney Delia L. Wolff for The Lujan Claimants added for electronic
                     noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                     users of CM/ECF and shall be required to file all papers. (twk) (Entered: 03/27/2023)
03/28/2023     148 Letter to the Court, received on 3/27/2023, regarding the appeal. (nms) (Entered:
                   03/28/2023)
03/28/2023     149 Letter to the Court, dated 3/19/2023, regarding the appeal. (nms) (Entered:
                   03/28/2023)
03/28/2023     150 OPINION. Signed by Judge Richard G. Andrews on 3/27/2023. (nms) (Entered:
                   03/28/2023)
03/28/2023     151 ORDER: The Motion to Supplement the Record (D.I. 123 ) is hereby DENIED. The
                   Supplemental Findings of Fact and Conclusions of Law, dated September 8, 2022 (D.I.
                   1 −1) ("Confirmation Order"), is hereby AFFIRMED. The Clerk is directed to CLOSE
                   lead case Civ. No. 22−1237−RGA along with the consolidated cases (***Civil Case
                   Terminated). Signed by Judge Richard G. Andrews on 3/27/2023. (nms) (Entered:
                   03/28/2023)
03/31/2023     152 Emergency Motion for Stay Pending Appeal and Temporary Stay While the Court
                   Rules on the Motion − filed by Allianz Global Risks US Insurance Company, Arch
                   Insurance Company, Argonaut Insurance Company, Arrowood Indemnity Company,
                   Colony Insurance Company, Columbia Casualty Co., Endurance American Insurance
                   Company, Endurance American Specialty Insurance Company, Gemini Insurance
                   Company, General Star Indemnity Company, Great American Assurance Company,
                   Great American E&S Insurance Company, Gulf Insurance Company, Indian Harbor
                   Insurance Company, Interstate Fire & Casualty Company, Landmark Insurance
                   Company, Lexington Insurance Company, Liberty Insurance Underwriters Inc.,
                   Liberty Mutual Insurance Company, Liberty Surplus Insurance Corporation, National
                   Surety Corporation, National Union Fire Insurance Co. of Pittsburgh PA et al., Old
                   Republic General Insurance Group, St. Paul Surplus Lines Insurance Company, The
                   Continental Insurance Co., The Insurance Company of the State of Pennsylvania, The
                   Ohio Casualty Insurance Company, Traders and Pacific Insurance Company, Travelers
                   Casualty and Surety Company, Inc.. (Attachments: # 2 7.1.1 Statement, # 3 Certificate
                   of Service)(Richards, Deirdre) Modified on 3/31/2023 (nms). Modified on 4/3/2023
                   (nms). (Entered: 03/31/2023)
03/31/2023           CORRECTING ENTRY: The Affidavit attached to the motion at D.I. 152 has been
                     removed from that filing. Motions and Afidvits are to be filed independent of each
                     other. Counsel is to refile the affidavit accordingly. (nms) (Entered: 03/31/2023)

                                                 A00034
         Case: 23-1664         Document: 62-1           Page: 59        Date Filed: 07/24/2023

03/31/2023   153 AFFIDAVIT of Deirdre M. Richards re 152 Emergency Motion for Stay Pending
                 Appeal and Temporary Stay While the Court Rules on the Motion, filed by Allianz
                 Global Risks US Insurance Company, Arch Insurance Company, Argonaut Insurance
                 Company, Arrowood Indemnity Company, Colony Insurance Company, Columbia
                 Casualty Co., Endurance American Insurance Company, Endurance American
                 Specialty Insurance Company, Gemini Insurance Company, General Star Indemnity
                 Company, Great American Assurance Company, Great American E&S Insurance
                 Company, Gulf Insurance Company, Indian Harbor Insurance Company, Interstate
                 Fire & Casualty Company, Landmark Insurance Company, Lexington Insurance
                 Company, Liberty Insurance Underwriters Inc., Liberty Mutual Insurance Company,
                 Liberty Surplus Insurance Corporation, National Surety Corporation, National Union
                 Fire Insurance Co. of Pittsburgh PA et al., Old Republic General Insurance Group, St.
                 Paul Surplus Lines Insurance Company, The Continental Insurance Co., The Insurance
                 Company of the State of Pennsylvania, The Ohio Casualty Insurance Company,
                 Traders and Pacific Insurance Company, Travelers Casualty and Surety Company,
                 Inc.. (Attachments: # 1 Certificate of Service)(Richards, Deirdre) Modified on
                 4/3/2023 (nms). (Entered: 03/31/2023)
04/01/2023   154 Emergency Motion for Stay Pending Appeal and a Temporary Stay While the Court
                 Rules on the Motion − filed by D & V Claimants. (Attachments: # 1 7.1.1 Statement ,
                 # 2 Certificate of Service)(Brown, Charles) Modified on 4/3/2023 (nms). (Entered:
                 04/01/2023)
04/01/2023   155 AFFIDAVIT of Charles J. Brown, III re 154 Emergency Motion for Stay Pending
                 Appeal and a Temporary Stay While the Court Rules on the Motion, filed by D & V
                 Claimants. (Attachments: # 1 Certificate of Service)(Brown, Charles) Modified on
                 4/3/2023 (nms). (Entered: 04/01/2023)
04/01/2023   156 Emergency Motion for Stay Pending Appeal and A Temporary Stay While the Court
                 Rules on the Motion and Joinder − filed by The Lujan Claimants. (Loizides,
                 Christopher) (Additional attachment(s) added on 4/3/2023: # 1 7.1.1 Statement) (nms).
                 Modified on 4/3/2023 (nms). (Entered: 04/01/2023)
04/01/2023   158 DECLARATION of Christopher D. Loizides re 156 Emergency Motion of Lujan
                 Claimants for Stay Pending Appeal and A Temporary Stay While the Court Rules on
                 the Motion; and Joinder, by The Lujan Claimants. (Loizides, Christopher) Modified on
                 4/3/2023 (nms). (Entered: 04/01/2023)
04/03/2023         CORRECTING ENTRY: D.I. 157 has been removed from the docket. The 7.1.1
                   Statement filed at that entry has been added to the filing at D.I. 156 . (nms) (Entered:
                   04/03/2023)
04/03/2023   159 AFFIDAVIT of Charles J. Brown, III re 154 Emergency Motion for Stay Pending
                 Appeal and a Temporary Stay While the Court Rules on the Motion, filed by D & V
                 Claimants. (Attachments: # 1 Certificate of Service)(Brown, Charles) Modified on
                 4/3/2023 (nms). (Entered: 04/03/2023)
04/04/2023   160 PROPOSED ORDER Approving Stipulation to Extend Word Limits by Boy Scouts of
                 America, Delaware BSA LLC. (Attachments: # 1 Exhibit A)(Abbott, Derek) (Entered:
                 04/04/2023)
04/04/2023   161 ORDER DENYING Stipulation to Extend Word Limits (D.I. 160 ). Signed by Judge
                 Richard G. Andrews on 4/4/2023. (nms) (Entered: 04/04/2023)
04/04/2023   162 ORAL ORDER: Various appellants having filed Emergency Motions (D.I. 152 , 154 ,
                 156 ) seeking a stay of the Affirmance Order pending final disposition of their appeals
                 to the Third Circuit. It is HEREBY ORDERED THAT: (i) any response to the
                 Emergency Motions shall be filed no later than April 6, 2023; (ii) no replies are
                 required, but, if there are any, they need to be filed no later than April 7, 2023.
                 Ordered by Judge Richard G. Andrews on 4/4/2023. (nms) (Entered: 04/04/2023)
04/05/2023   163 NOTICE of Errata Regarding 156 Emergency Motion of Lujan Claimants for Stay
                 Pending Appeal and A Temporary Stay While the Court Rules on the Motion; and
                 Joinder, by The Lujan Claimants. (Loizides, Christopher) Modified on 4/6/2023 (nms).
                 (Entered: 04/05/2023)
04/06/2023   164 RESPONSE to 156 Emergency Motion of Lujan Claimants for Stay Pending Appeal
                 and A Temporary Stay While the Court Rules on the Motion; and Joinder, 154
                                                A00035
         Case: 23-1664        Document: 62-1       Page: 60       Date Filed: 07/24/2023

                  Emergency Motion for Stay Pending Appeal and a Temporary Stay While the Court
                  Rules on the Motion, 152 Emergency Motion for Stay Pending Appeal and Temporary
                  Stay While the Court Rules on the Motion, filed by Boy Scouts of America, Delaware
                  BSA LLC. (Abbott, Derek) Modified on 4/6/2023 (nms). (Entered: 04/06/2023)
04/06/2023   165 DECLARATION of Brian Whittman 164 Opposition to Motions for Stay Pending
                 Appeals, by Boy Scouts of America, Delaware BSA LLC. (Attachments: # 1 Exhibit
                 A)(Remington, Tori) Modified on 4/6/2023 (nms). (Entered: 04/06/2023)
04/06/2023   166 DECLARATION of Stephen Ehmann re 164 Response to Motion, by Boy Scouts of
                 America, Delaware BSA LLC. (Remming, Andrew) Modified on 4/6/2023 (nms).
                 (Entered: 04/06/2023)
04/06/2023   167 DECLARATION of David Stern re 164 Response to Motion, by Boy Scouts of
                 America, Delaware BSA LLC. (Remington, Tori) Modified on 4/6/2023 (nms).
                 (Entered: 04/06/2023)
04/06/2023   168 DECLARATION of Evan Smola re 164 Response to Motion, by Boy Scouts of
                 America, Delaware BSA LLC. (Remming, Andrew) Modified on 4/6/2023 (nms).
                 (Entered: 04/06/2023)
04/06/2023   169 DECLARATION of Irwin Zalkin re 164 Response to Motion, by Boy Scouts of
                 America, Delaware BSA LLC. (Remington, Tori) Modified on 4/6/2023 (nms).
                 (Entered: 04/06/2023)
04/06/2023   170 DECLARATION of Peter B. Janci re 164 Response to Motion, by Boy Scouts of
                 America, Delaware BSA LLC. (Remming, Andrew) Modified on 4/6/2023 (nms).
                 (Entered: 04/06/2023)
04/06/2023   171 DECLARATION of Patrick Stoneking re 164 Response to Motion, by Boy Scouts of
                 America, Delaware BSA LLC. (Remington, Tori) Modified on 4/6/2023 (nms).
                 (Entered: 04/06/2023)
04/06/2023   172 DECLARATION of Paul Mones re 164 Response to Motion, by Boy Scouts of
                 America, Delaware BSA LLC. (Remming, Andrew) Modified on 4/6/2023 (nms).
                 (Entered: 04/06/2023)
04/06/2023   173 DECLARATION of Jordan K. Merson re 164 Response to Motion, by Boy Scouts of
                 America, Delaware BSA LLC. (Remington, Tori) Modified on 4/6/2023 (nms).
                 (Entered: 04/06/2023)
04/07/2023   174 REPLY Brief re 152 Emergency Motion for Stay Pending Appeal and Temporary Stay
                 While the Court Rules on the Motion, filed by Allianz Global Risks US Insurance
                 Company, Arch Insurance Company, Argonaut Insurance Company, Arrowood
                 Indemnity Company, Colony Insurance Company, Columbia Casualty Co., Endurance
                 American Insurance Company, Endurance American Specialty Insurance Company,
                 Gemini Insurance Company, General Star Indemnity Company, Great American
                 Assurance Company, Great American E&S Insurance Company, Gulf Insurance
                 Company, Indian Harbor Insurance Company, Interstate Fire & Casualty Company,
                 Landmark Insurance Company, Lexington Insurance Company, Liberty Insurance
                 Underwriters Inc., Liberty Mutual Insurance Company, Liberty Surplus Insurance
                 Corporation, National Surety Corporation, National Union Fire Insurance Co. of
                 Pittsburgh PA et al., Old Republic General Insurance Group, St. Paul Surplus Lines
                 Insurance Company, The Continental Insurance Co., The Insurance Company of the
                 State of Pennsylvania, The Ohio Casualty Insurance Company, Traders and Pacific
                 Insurance Company, Travelers Casualty and Surety Company, Inc.. (Attachments: # 1
                 Certificate of Service)(Richards, Deirdre) Modified on 4/7/2023 (nms). (Entered:
                 04/07/2023)
04/07/2023   175 REPLY Brief re 154 Emergency Motion for Stay Pending Appeal and a Temporary
                 Stay While the Court Rules on the Motion, filed by D & V Claimants. (Attachments: #
                 1 Certificate of Service)(Brown, Charles) Modified on 4/7/2023 (nms). (Entered:
                 04/07/2023)
04/07/2023   176 REPLY Brief re 156 Emergency Motion of Lujan Claimants for Stay Pending Appeal
                 and A Temporary Stay While the Court Rules on the Motion; and Joinder, filed The
                 Lujan Claimants. (Loizides, Christopher) Modified on 4/7/2023 (nms). (Entered:
                 04/07/2023)
                                             A00036
         Case: 23-1664        Document: 62-1        Page: 61        Date Filed: 07/24/2023

04/10/2023   177 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                 The Lujan Claimants. (Loizides, Christopher) Modified on 4/10/2023 (nms). (Entered:
                 04/10/2023)
04/10/2023   178 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                 Liberty Insurance Underwriters Inc., Liberty Mutual Insurance Company, Liberty
                 Surplus Insurance Corporation, The Ohio Casualty Insurance Company. (Hill, Robert)
                 Modified on 4/10/2023 (nms). (Entered: 04/10/2023)
04/10/2023   179 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                 D & V Claimants. (Attachments: # 1 Certificate of Service)(Brown, Charles) Modified
                 on 4/10/2023 (nms). (Entered: 04/10/2023)
04/10/2023        APPEAL − Credit Card Payment received re 178 Notice of Appeal (Third Circuit),
                  filed by Liberty Mutual Insurance Company, Liberty Surplus Insurance Corporation,
                  The Ohio Casualty Insurance Company, Liberty Insurance Underwriters Inc.. ( Filing
                  fee $505, receipt number ADEDC−4108829.) (Hill, Robert) (Entered: 04/10/2023)
04/10/2023   180 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                 Columbia Casualty Co., The Continental Insurance Co.. (Sawczuk, Maria) Modified
                 on 4/10/2023 (nms). (Entered: 04/10/2023)
04/10/2023        APPEAL − Credit Card Payment received re 180 Notice of Appeal (Third Circuit)
                  filed by The Continental Insurance Co., Columbia Casualty Co.. ( Filing fee $505,
                  receipt number ADEDC−4108832.) (Sawczuk, Maria) (Entered: 04/10/2023)
04/10/2023   181 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                 Landmark Insurance Company, Lexington Insurance Company, National Union Fire
                 Insurance Co. of Pittsburgh PA et al., The Insurance Company of the State of
                 Pennsylvania. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Certificate of
                 Service)(Richards, Deirdre) Modified on 4/10/2023 (nms). (Entered: 04/10/2023)
04/10/2023        APPEAL − Credit Card Payment received re 179 Notice of Appeal (Third Circuit)
                  filed by D & V Claimants. ( Filing fee $505, receipt number ADEDC−4108838.)
                  (Brown, Charles) (Entered: 04/10/2023)
04/10/2023        APPEAL − Credit Card Payment received re 181 Notice of Appeal (Third Circuit),
                  filed by Landmark Insurance Company, The Insurance Company of the State of
                  Pennsylvania, Lexington Insurance Company, National Union Fire Insurance Co. of
                  Pittsburgh PA et al.. ( Filing fee $505, receipt number ADEDC−4108843.) (Richards,
                  Deirdre) (Entered: 04/10/2023)
04/10/2023   182 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                 Indian Harbor Insurance Company. (Attachments: # 1 Certificate of Service)(Miller,
                 Kathleen) Modified on 4/10/2023 (nms). (Entered: 04/10/2023)
04/10/2023   183 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                 Old Republic General Insurance Group. (Kunz, Carl) Modified on 4/10/2023 (nms).
                 (Entered: 04/10/2023)
04/10/2023        APPEAL − Credit Card Payment received re 183 Notice of Appeal (Third Circuit)
                  filed by Old Republic General Insurance Group. ( Filing fee $505, receipt number
                  ADEDC−4108871.) (Kunz, Carl) (Entered: 04/10/2023)
04/10/2023   184 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                 Travelers Casualty and Surety Company, Inc.. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Certificate of Service)(Rizzo, Louis) Modified on 4/10/2023 (nms).
                 (Entered: 04/10/2023)
04/10/2023        APPEAL − Credit Card Payment received re 184 Notice of Appeal (Third Circuit),
                  filed by Travelers Casualty and Surety Company, Inc.. ( Filing fee $505, receipt
                  number ADEDC−4108876.) (Rizzo, Louis) (Entered: 04/10/2023)
04/10/2023   185 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                 Great American Assurance Company, Great American E&S Insurance Company.
                 (McCullough, Bruce) Modified on 4/10/2023 (nms). (Entered: 04/10/2023)
04/10/2023   186 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                 Allianz Global Risks US Insurance Company, Interstate Fire & Casualty Company,

                                             A00037
             Case: 23-1664      Document: 62-1         Page: 62       Date Filed: 07/24/2023


                    National Surety Corporation. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                    Certificate of Service)(McLaughlin, Marcy) Modified on 4/10/2023 (nms). (Entered:
                    04/10/2023)
04/10/2023          APPEAL − Credit Card Payment received re 182 Notice of Appeal (Third Circuit)
                    filed by Indian Harbor Insurance Company. ( Filing fee $505, receipt number
                    ADEDC−4108943.) (Miller, Kathleen) (Entered: 04/10/2023)
04/10/2023          USCA Appeal Fees received: $505, receipt number ADEDC−4108886 re 185 Notice
                    of Appeal (Third Circuit) filed by Great American E&S Insurance Company, Great
                    American Assurance Company. (McCullough, Bruce W.) (Entered: 04/10/2023)
04/10/2023          USCA Appeal Fees received: $505, receipt number ADEDC−4108909 re 186 Notice
                    of Appeal (Third Circuit), filed by Interstate Fire & Casualty Company, Allianz Global
                    Risks US Insurance Company, National Surety Corporation. (McLaughlin, Marcy J.)
                    (Entered: 04/10/2023)
04/10/2023     187 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                   Argonaut Insurance Company, Colony Insurance Company. (Logan, Paul) Modified
                   on 4/10/2023 (nms). (Entered: 04/10/2023)
04/10/2023     188 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                   Gemini Insurance Company. (Attachments: # 1 Certificate of Service)(Sullivan, Brian)
                   Modified on 4/10/2023 (nms). (Entered: 04/10/2023)
04/10/2023          APPEAL − Credit Card Payment received re 187 Notice of Appeal (Third Circuit)
                    filed by Colony Insurance Company, Argonaut Insurance Company. ( Filing fee $505,
                    receipt number ADEDC−4109011.) (Logan, Paul) (Entered: 04/10/2023)
04/10/2023          APPEAL − Credit Card Payment received re 188 Notice of Appeal (Third Circuit)
                    filed by Gemini Insurance Company, APPEAL − Credit Card Payment. ( Filing fee
                    $505, receipt number ADEDC−4109020.) (Sullivan, Brian) (Entered: 04/10/2023)
04/10/2023          APPEAL − Credit Card Payment received re 177 Notice of Appeal (Third Circuit)
                    filed by The Lujan Claimants. ( Filing fee $505, receipt number ADEDC−4109024.)
                    (Loizides, Christopher) (Entered: 04/10/2023)
04/10/2023     189 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                   General Star Indemnity Company. (Attachments: # 1 Certificate of Service)(Miller,
                   Kathleen) Modified on 4/10/2023 (nms). (Entered: 04/10/2023)
04/10/2023          APPEAL − Credit Card Payment received re 189 Notice of Appeal (Third Circuit)
                    filed by General Star Indemnity Company. ( Filing fee $505, receipt number
                    ADEDC−4109119.) (Miller, Kathleen) (Entered: 04/10/2023)
04/10/2023     190 NOTICE OF APPEAL of 150 Memorandum Opinion and 151 Order. Appeal filed by
                   Arrowood Indemnity Company. (Joyce, Michael) Modified on 4/10/2023 (nms).
                   (Entered: 04/10/2023)
04/10/2023          APPEAL − Credit Card Payment received re 190 Notice of Appeal (Third Circuit)
                    filed by Arrowood Indemnity Company. ( Filing fee $505, receipt number
                    ADEDC−4109169.) (Joyce, Michael) (Entered: 04/10/2023)
04/10/2023     191 NOTICE OF APPEAL of 150 Memorandum Opinion, 151 Order,, Terminated Case,
                   (Third Circuit). Appeal filed by Endurance American Insurance Company, Endurance
                   American Specialty Insurance Company, Traders and Pacific Insurance Company.
                   (Attachments: # 1 Certificate of Service)(Benedek, Marla) (Entered: 04/10/2023)
04/10/2023          APPEAL − Credit Card Payment received re 191 Notice of Appeal (Third Circuit),
                    filed by Endurance American Insurance Company, Traders and Pacific Insurance
                    Company, Endurance American Specialty Insurance Company. ( Filing fee $505,
                    receipt number ADEDC−4109333.) (Benedek, Marla) (Entered: 04/10/2023)
04/11/2023     192 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 41
                   Appellant's Brief filed by D & V Claimants. USCA Case Number 23−1666. USCA
                   Case Manager: Stephanie (SB) (DOCUMENT IS RESTRICTED AND CAN ONLY
                   BE VIEWED BY COURT STAFF) (cg1 ) (Entered: 04/11/2023)

                                                A00038
         Case: 23-1664        Document: 62-1         Page: 63       Date Filed: 07/24/2023


04/11/2023   193 MEMORANDUM ORDER: The Emergency Motions (D.I. 152 , 154 , 156 ) are
                 DENIED. The request for a temporary stay while I decided the motions before me is
                 DISMISSED as moot. The request that I grant a temporary stay to April 27, 2023, is
                 DENIED. Signed by Judge Richard G. Andrews on 4/11/2023. (nms) (Entered:
                 04/11/2023)
04/11/2023   194 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 181
                 Notice of Appeal (Third Circuit) filed by Landmark Insurance Company, The
                 Insurance Company of the State of Pennsylvania, Lexington Insurance Company,
                 National Union Fire Insurance Co. of Pittsburgh PA et al.. USCA Case Number
                 23−1668. USCA Case Manager: Stephanie (DOCUMENT IS RESTRICTED AND
                 CAN ONLY BE VIEWED BY COURT STAFF) (kr) (Entered: 04/11/2023)
04/12/2023   195 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 177
                 Notice of Appeal (Third Circuit) filed by The Lujan Claimants. USCA Case Number
                 23−1664. USCA Case Manager: Stephanie (DOCUMENT IS RESTRICTED AND
                 CAN ONLY BE VIEWED BY COURT STAFF) (lml3, ) (Entered: 04/12/2023)
04/12/2023   196 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 178
                 Notice of Appeal (Third Circuit), filed by Liberty Mutual Insurance Company, Liberty
                 Surplus Insurance Corporation, The Ohio Casualty Insurance Company, Liberty
                 Insurance Underwriters Inc.. USCA Case Number 23−1665. USCA Case Manager:
                 Stephanie (DOCUMENT IS RESTRICTED AND CAN ONLY BE VIEWED BY
                 COURT STAFF) (lml3, ) (Entered: 04/12/2023)
04/12/2023   197 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 180
                 Notice of Appeal (Third Circuit) filed by The Continental Insurance Co., Columbia
                 Casualty Co.. USCA Case Number 23−1667. USCA Case Manager: Stephanie
                 (DOCUMENT IS RESTRICTED AND CAN ONLY BE VIEWED BY COURT
                 STAFF) (lml3) (Entered: 04/12/2023)
04/12/2023   198 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 182
                 Notice of Appeal (Third Circuit) filed by Indian Harbor Insurance Company. USCA
                 Case Number 23−1669. USCA Case Manager: Stephanie (DOCUMENT IS
                 RESTRICTED AND CAN ONLY BE VIEWED BY COURT STAFF) (lml3)
                 (Entered: 04/12/2023)
04/12/2023   199 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 183
                 Notice of Appeal (Third Circuit) filed by Old Republic General Insurance Group.
                 USCA Case Number 23−1670. USCA Case Manager: Stephanie (DOCUMENT IS
                 RESTRICTED AND CAN ONLY BE VIEWED BY COURT STAFF) (lml3)
                 (Entered: 04/12/2023)
04/12/2023   200 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 184
                 Notice of Appeal (Third Circuit) filed by Travelers Casualty and Surety Company,
                 Inc.. USCA Case Number 23−1671. USCA Case Manager: Stephanie (DOCUMENT
                 IS RESTRICTED AND CAN ONLY BE VIEWED BY COURT STAFF) (lml3)
                 (Entered: 04/12/2023)
04/12/2023   201 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 185
                 Notice of Appeal (Third Circuit) filed by Great American E&S Insurance Company,
                 Great American Assurance Company. USCA Case Number 23−1672. USCA Case
                 Manager: Stephanie (DOCUMENT IS RESTRICTED AND CAN ONLY BE
                 VIEWED BY COURT STAFF) (lml3) (Entered: 04/12/2023)
04/12/2023   202 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 186
                 Notice of Appeal (Third Circuit), filed by Interstate Fire & Casualty Company, Allianz
                 Global Risks US Insurance Company, National Surety Corporation. USCA Case
                 Number 23−1673. USCA Case Manager: Stephanie (DOCUMENT IS RESTRICTED
                 AND CAN ONLY BE VIEWED BY COURT STAFF) (lml3) (Entered: 04/12/2023)
04/12/2023   203 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 187
                 Notice of Appeal (Third Circuit) filed by Colony Insurance Company, Argonaut
                 Insurance Company. USCA Case Number 23−1674. USCA Case Manager: Stephanie
                 (DOCUMENT IS RESTRICTED AND CAN ONLY BE VIEWED BY COURT
                 STAFF) (lml3) (Entered: 04/12/2023)

                                              A00039
         Case: 23-1664         Document: 62-1         Page: 64       Date Filed: 07/24/2023

04/12/2023   204 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 188
                 Notice of Appeal (Third Circuit) filed by Gemini Insurance Company. USCA Case
                 Number 23−1675. USCA Case Manager: Stephanie (DOCUMENT IS RESTRICTED
                 AND CAN ONLY BE VIEWED BY COURT STAFF) (lml3) (Entered: 04/12/2023)
04/12/2023   205 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 189
                 Notice of Appeal (Third Circuit) filed by General Star Indemnity Company. USCA
                 Case Number 23−1676. USCA Case Manager: Stephanie (DOCUMENT IS
                 RESTRICTED AND CAN ONLY BE VIEWED BY COURT STAFF) (lml3)
                 (Entered: 04/12/2023)
04/12/2023   206 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 190
                 Notice of Appeal (Third Circuit) filed by Arrowood Indemnity Company. USCA Case
                 Number 23−1677. USCA Case Manager: Stephanie (DOCUMENT IS RESTRICTED
                 AND CAN ONLY BE VIEWED BY COURT STAFF) (lml3) (Entered: 04/12/2023)
04/12/2023   207 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 191
                 Notice of Appeal (Third Circuit), filed by Endurance American Insurance Company,
                 Traders and Pacific Insurance Company, Endurance American Specialty Insurance
                 Company. USCA Case Number 23−1678. USCA Case Manager: Stephanie
                 (DOCUMENT IS RESTRICTED AND CAN ONLY BE VIEWED BY COURT
                 STAFF) (lml3) (Entered: 04/12/2023)
04/19/2023   208 Letter to the Court, received April 18, 2023, regarding the appeal. (nms) (Entered:
                 04/19/2023)
04/24/2023   209 STATEMENT OF ISSUES on Appeal filed by Allianz Global Risks US Insurance
                 Company, Argonaut Insurance Company, Arrowood Indemnity Company, Colony
                 Insurance Company, Columbia Casualty Co., Endurance American Insurance
                 Company, Endurance American Specialty Insurance Company, Gemini Insurance
                 Company, General Star Indemnity Company, Great American Assurance Company,
                 Great American E&S Insurance Company, Gulf Insurance Company, Indian Harbor
                 Insurance Company, Interstate Fire & Casualty Company, Landmark Insurance
                 Company, Lexington Insurance Company, Liberty Insurance Underwriters Inc.,
                 Liberty Mutual Insurance Company, Liberty Surplus Insurance Corporation, National
                 Surety Corporation, National Union Fire Insurance Co. of Pittsburgh PA et al., Old
                 Republic Insurance Company, St. Paul Surplus Lines Insurance Company, The
                 Continental Insurance Co., The Insurance Company of the State of Pennsylvania, The
                 Ohio Casualty Insurance Company, Traders and Pacific Insurance Company, Travelers
                 Casualty and Surety Company, Inc. (Attachments: # 1 Certificate of Service)(Richards,
                 Deirdre) (Entered: 04/24/2023)
04/24/2023   210 NOTICE OF APPEAL of 150 Memorandum Opinion, and 151 Order. Appeal filed by
                 Arch Insurance Company. (Miller, Kathleen) Modified on 4/24/2023 (nms). (Entered:
                 04/24/2023)
04/24/2023         APPEAL − Credit Card Payment received re 210 Notice of Appeal (Third Circuit)
                   filed by Arch Insurance Company. ( Filing fee $505, receipt number
                   ADEDC−4119654.) (Miller, Kathleen) (Entered: 04/24/2023)
04/24/2023   211 STATEMENT of Issues on Appeal, filed by D & V Claimants. (Attachments: # 1
                 Certificate of Service)(Brown, Charles) Modified on 4/25/2023 (nms). (Entered:
                 04/24/2023)
04/24/2023   212 TRANSCRIPT REQUEST by D & V Claimants Already on file in the District Court
                 Clerk's office (Brown, Charles) (Entered: 04/24/2023)
04/24/2023   213 TRANSCRIPT REQUEST by The Lujan Claimants for proceedings held on Feb 9 &
                 10, 2023 (D.I. 144 and 145). (Loizides, Christopher) (Entered: 04/24/2023)
04/24/2023   214 STATEMENT of Issues on Appeal, filed by The Lujan Claimants. (Loizides,
                 Christopher) Modified on 4/25/2023 (nms). (Entered: 04/24/2023)
04/25/2023   215 TRANSCRIPT REQUEST by Allianz Global Risks US Insurance Company, Argonaut
                 Insurance Company, Arrowood Indemnity Company, Colony Insurance Company,
                 Columbia Casualty Co., Endurance American Insurance Company, Endurance
                 American Specialty Insurance Company, Gemini Insurance Company, General Star
                 Indemnity Company, Great American Assurance Company, Great American E&S

                                               A00040
         Case: 23-1664        Document: 62-1        Page: 65       Date Filed: 07/24/2023




                  Insurance Company, Gulf Insurance Company, Indian Harbor Insurance Company,
                  Interstate Fire & Casualty Company, Landmark Insurance Company, Lexington
                  Insurance Company, Liberty Insurance Underwriters Inc., Liberty Mutual Insurance
                  Company, Liberty Surplus Insurance Corporation, National Surety Corporation,
                  National Union Fire Insurance Co. of Pittsburgh PA et al., Old Republic Insurance
                  Company, St. Paul Surplus Lines Insurance Company, The Continental Insurance Co.,
                  The Insurance Company of the State of Pennsylvania, The Ohio Casualty Insurance
                  Company, Traders and Pacific Insurance Company, Travelers Casualty and Surety
                  Company, Inc. for proceedings held on 02/09/2023, 02/10/2023 before Judge Richard
                  G. Andrews, (Attachments: # 1 Certificate of Service)(Richards, Deirdre) (Entered:
                  04/25/2023)
04/25/2023   216 STATEMENT of Issues on Appeal and Designation of Items to be Included in the
                 Record on Appeal, filed by Arch Insurance Company.(Miller, Kathleen) Modified on
                 4/25/2023 (nms). (Entered: 04/25/2023)
05/01/2023   217 NOTICE of Docketing Record on Appeal from USCA for the Third Circuit re 210
                 Notice of Appeal (Third Circuit) filed by Arch Insurance Company. USCA Case
                 Number 23−1780. USCA Case Manager: Stephanie (DOCUMENT IS RESTRICTED
                 AND CAN ONLY BE VIEWED BY COURT STAFF) (sb2, ) (Entered: 05/01/2023)
05/01/2023   218 TRANSCRIPT REQUEST: Transcript Not Needed Already on File, by Arch
                 Insurance Company. (Miller, Kathleen) Modified on 5/2/2023 (nms). (Entered:
                 05/01/2023)
05/08/2023   219 DESIGNATION OF RECORD on Appeal filed by Boy Scouts of America, Delaware
                 BSA LLC (Abbott, Derek) (Entered: 05/08/2023)
05/11/2023   220 NOTICE of Withdrawal of Counsel Gregory J. Flasser by First State Insurance
                 Company, Hartford Accident and Indemnity Company, Navigators Specialty Insurance
                 Company, Twin City Fire Insurance Company (Brogan, Daniel) (Entered: 05/11/2023)
05/22/2023        CORRECTING ENTRY: The notice incorrectly filed as a motion at D.I. 221 has been
                  removed from the docket. Counsel is to refile the notice using a notice filing code.
                  (nms) (Entered: 05/22/2023)
05/22/2023   221 NOTICE of Withdrawal of Appearance and Request for Removal from Service List of
                 Rachel Jankowski, Esquire by American Guarantee Insurance Company, American
                 Zurich Insurance Company, Steadfast Insurance Company (Cecil, Robert) (Entered:
                 05/22/2023)




                                             A00041
Case: 23-1664   Document: 62-1   Page: 66   Date Filed: 07/24/2023




                           A00042
Case: 23-1664   Document: 62-1   Page: 67   Date Filed: 07/24/2023




                           A00043
Case: 23-1664   Document: 62-1   Page: 68   Date Filed: 07/24/2023




                           A00044
Case: 23-1664   Document: 62-1   Page: 69   Date Filed: 07/24/2023




                           A00045
Case: 23-1664   Document: 62-1   Page: 70   Date Filed: 07/24/2023




                           A00046
Case: 23-1664   Document: 62-1   Page: 71   Date Filed: 07/24/2023




                           A00047
Case: 23-1664   Document: 62-1   Page: 72   Date Filed: 07/24/2023




                           A00048
Case: 23-1664   Document: 62-1   Page: 73   Date Filed: 07/24/2023




                           A00049
Case: 23-1664   Document: 62-1   Page: 74   Date Filed: 07/24/2023




                           A00050
Case: 23-1664   Document: 62-1   Page: 75   Date Filed: 07/24/2023




                           A00051
Case: 23-1664   Document: 62-1   Page: 76   Date Filed: 07/24/2023




                           A00052
Case: 23-1664   Document: 62-1   Page: 77   Date Filed: 07/24/2023




                           A00053
Case: 23-1664   Document: 62-1   Page: 78   Date Filed: 07/24/2023




                           A00054
Case: 23-1664   Document: 62-1   Page: 79   Date Filed: 07/24/2023




                           A00055
Case: 23-1664   Document: 62-1   Page: 80   Date Filed: 07/24/2023




                           A00056
Case: 23-1664   Document: 62-1   Page: 81   Date Filed: 07/24/2023




                           A00057
Case: 23-1664   Document: 62-1   Page: 82   Date Filed: 07/24/2023




                           A00058
Case: 23-1664   Document: 62-1   Page: 83   Date Filed: 07/24/2023




                           A00059
Case: 23-1664   Document: 62-1   Page: 84   Date Filed: 07/24/2023




                           A00060
Case: 23-1664   Document: 62-1   Page: 85   Date Filed: 07/24/2023




                           A00061
Case: 23-1664   Document: 62-1   Page: 86   Date Filed: 07/24/2023




                           A00062
Case: 23-1664   Document: 62-1   Page: 87   Date Filed: 07/24/2023




                           A00063
Case: 23-1664   Document: 62-1   Page: 88   Date Filed: 07/24/2023




                           A00064
Case: 23-1664   Document: 62-1   Page: 89   Date Filed: 07/24/2023




                           A00065
Case: 23-1664   Document: 62-1   Page: 90   Date Filed: 07/24/2023




                           A00066
Case: 23-1664   Document: 62-1   Page: 91   Date Filed: 07/24/2023




                           A00067
Case: 23-1664   Document: 62-1   Page: 92   Date Filed: 07/24/2023




                           A00068
Case: 23-1664   Document: 62-1   Page: 93   Date Filed: 07/24/2023




                           A00069
Case: 23-1664   Document: 62-1   Page: 94   Date Filed: 07/24/2023




                           A00070
Case: 23-1664   Document: 62-1   Page: 95   Date Filed: 07/24/2023




                           A00071
Case: 23-1664   Document: 62-1   Page: 96   Date Filed: 07/24/2023




                           A00072
Case: 23-1664   Document: 62-1   Page: 97   Date Filed: 07/24/2023




                           A00073
Case: 23-1664   Document: 62-1   Page: 98   Date Filed: 07/24/2023




                           A00074
Case: 23-1664   Document: 62-1   Page: 99   Date Filed: 07/24/2023




                           A00075
Case: 23-1664   Document: 62-1   Page: 100   Date Filed: 07/24/2023




                            A00076
Case: 23-1664   Document: 62-1   Page: 101   Date Filed: 07/24/2023




                            A00077
Case: 23-1664   Document: 62-1   Page: 102   Date Filed: 07/24/2023




                            A00078
Case: 23-1664   Document: 62-1   Page: 103   Date Filed: 07/24/2023




                            A00079
Case: 23-1664   Document: 62-1   Page: 104   Date Filed: 07/24/2023




                            A00080
Case: 23-1664   Document: 62-1   Page: 105   Date Filed: 07/24/2023




                            A00081
Case: 23-1664   Document: 62-1   Page: 106   Date Filed: 07/24/2023




                            A00082
Case: 23-1664   Document: 62-1   Page: 107   Date Filed: 07/24/2023




                            A00083
Case: 23-1664   Document: 62-1   Page: 108   Date Filed: 07/24/2023




                            A00084
Case: 23-1664   Document: 62-1   Page: 109   Date Filed: 07/24/2023




                            A00085
Case: 23-1664   Document: 62-1   Page: 110   Date Filed: 07/24/2023




                            A00086
Case: 23-1664   Document: 62-1   Page: 111   Date Filed: 07/24/2023




                            A00087
Case: 23-1664   Document: 62-1   Page: 112   Date Filed: 07/24/2023




                            A00088
Case: 23-1664   Document: 62-1   Page: 113   Date Filed: 07/24/2023




                            A00089
Case: 23-1664   Document: 62-1   Page: 114   Date Filed: 07/24/2023




                            A00090
Case: 23-1664   Document: 62-1   Page: 115   Date Filed: 07/24/2023




                            A00091
Case: 23-1664   Document: 62-1   Page: 116   Date Filed: 07/24/2023




                            A00092
Case: 23-1664   Document: 62-1   Page: 117   Date Filed: 07/24/2023




                            A00093
Case: 23-1664   Document: 62-1   Page: 118   Date Filed: 07/24/2023




                            A00094
Case: 23-1664   Document: 62-1   Page: 119   Date Filed: 07/24/2023




                            A00095
Case: 23-1664   Document: 62-1   Page: 120   Date Filed: 07/24/2023




                            A00096
Case: 23-1664   Document: 62-1   Page: 121   Date Filed: 07/24/2023




                            A00097
Case: 23-1664   Document: 62-1   Page: 122   Date Filed: 07/24/2023




                            A00098
Case: 23-1664   Document: 62-1   Page: 123   Date Filed: 07/24/2023




                            A00099
Case: 23-1664   Document: 62-1   Page: 124   Date Filed: 07/24/2023




                            A00100
Case: 23-1664   Document: 62-1   Page: 125   Date Filed: 07/24/2023




                            A00101
Case: 23-1664   Document: 62-1   Page: 126   Date Filed: 07/24/2023




                            A00102
Case: 23-1664   Document: 62-1   Page: 127   Date Filed: 07/24/2023




                            A00103
Case: 23-1664   Document: 62-1   Page: 128   Date Filed: 07/24/2023




                            A00104
Case: 23-1664   Document: 62-1   Page: 129   Date Filed: 07/24/2023




                            A00105
Case: 23-1664   Document: 62-1   Page: 130   Date Filed: 07/24/2023




                            A00106
Case: 23-1664   Document: 62-1   Page: 131   Date Filed: 07/24/2023




                            A00107
Case: 23-1664   Document: 62-1   Page: 132   Date Filed: 07/24/2023




                            A00108
Case: 23-1664   Document: 62-1   Page: 133   Date Filed: 07/24/2023




                            A00109
Case: 23-1664   Document: 62-1   Page: 134   Date Filed: 07/24/2023




                            A00110
Case: 23-1664   Document: 62-1   Page: 135   Date Filed: 07/24/2023




                            A00111
Case: 23-1664   Document: 62-1   Page: 136   Date Filed: 07/24/2023




                            A00112
Case: 23-1664   Document: 62-1   Page: 137   Date Filed: 07/24/2023




                            A00113
Case: 23-1664   Document: 62-1   Page: 138   Date Filed: 07/24/2023




                            A00114
Case: 23-1664   Document: 62-1   Page: 139   Date Filed: 07/24/2023




                            A00115
Case: 23-1664   Document: 62-1   Page: 140   Date Filed: 07/24/2023




                            A00116
Case: 23-1664   Document: 62-1   Page: 141   Date Filed: 07/24/2023




                            A00117
Case: 23-1664   Document: 62-1   Page: 142   Date Filed: 07/24/2023




                            A00118
Case: 23-1664   Document: 62-1   Page: 143   Date Filed: 07/24/2023




                            A00119
Case: 23-1664   Document: 62-1   Page: 144   Date Filed: 07/24/2023




                            A00120
Case: 23-1664   Document: 62-1   Page: 145   Date Filed: 07/24/2023




                            A00121
Case: 23-1664   Document: 62-1   Page: 146   Date Filed: 07/24/2023




                            A00122
Case: 23-1664   Document: 62-1   Page: 147   Date Filed: 07/24/2023




                            A00123
Case: 23-1664   Document: 62-1   Page: 148   Date Filed: 07/24/2023




                            A00124
Case: 23-1664   Document: 62-1   Page: 149   Date Filed: 07/24/2023




                            A00125
Case: 23-1664   Document: 62-1   Page: 150   Date Filed: 07/24/2023




                            A00126
Case: 23-1664   Document: 62-1   Page: 151   Date Filed: 07/24/2023




                            A00127
Case: 23-1664   Document: 62-1   Page: 152   Date Filed: 07/24/2023




                            A00128
Case: 23-1664   Document: 62-1   Page: 153   Date Filed: 07/24/2023




                            A00129
Case: 23-1664   Document: 62-1   Page: 154   Date Filed: 07/24/2023




                            A00130
Case: 23-1664   Document: 62-1   Page: 155   Date Filed: 07/24/2023




                            A00131
Case: 23-1664   Document: 62-1   Page: 156   Date Filed: 07/24/2023




                            A00132
Case: 23-1664   Document: 62-1   Page: 157   Date Filed: 07/24/2023




                            A00133
Case: 23-1664   Document: 62-1   Page: 158   Date Filed: 07/24/2023




                            A00134
Case: 23-1664   Document: 62-1   Page: 159   Date Filed: 07/24/2023




                            A00135
Case: 23-1664   Document: 62-1   Page: 160   Date Filed: 07/24/2023




                            A00136
Case: 23-1664   Document: 62-1   Page: 161   Date Filed: 07/24/2023




                            A00137
Case: 23-1664   Document: 62-1   Page: 162   Date Filed: 07/24/2023




                            A00138
Case: 23-1664   Document: 62-1   Page: 163   Date Filed: 07/24/2023




                            A00139
Case: 23-1664   Document: 62-1   Page: 164   Date Filed: 07/24/2023




                            A00140
Case: 23-1664   Document: 62-1   Page: 165   Date Filed: 07/24/2023




                            A00141
Case: 23-1664   Document: 62-1   Page: 166   Date Filed: 07/24/2023




                            A00142
Case: 23-1664   Document: 62-1   Page: 167   Date Filed: 07/24/2023




                            A00143
Case: 23-1664   Document: 62-1   Page: 168   Date Filed: 07/24/2023




                            A00144
Case: 23-1664   Document: 62-1   Page: 169   Date Filed: 07/24/2023




                            A00145
Case: 23-1664   Document: 62-1   Page: 170   Date Filed: 07/24/2023




                            A00146
Case: 23-1664   Document: 62-1   Page: 171   Date Filed: 07/24/2023




                            A00147
Case: 23-1664   Document: 62-1   Page: 172   Date Filed: 07/24/2023




                            A00148
Case: 23-1664   Document: 62-1   Page: 173   Date Filed: 07/24/2023




                            A00149
Case: 23-1664   Document: 62-1   Page: 174   Date Filed: 07/24/2023




                            A00150
Case: 23-1664   Document: 62-1   Page: 175   Date Filed: 07/24/2023




                            A00151
Case: 23-1664   Document: 62-1   Page: 176   Date Filed: 07/24/2023




                            A00152
Case: 23-1664   Document: 62-1   Page: 177   Date Filed: 07/24/2023




                            A00153
Case: 23-1664   Document: 62-1   Page: 178   Date Filed: 07/24/2023




                            A00154
Case: 23-1664   Document: 62-1   Page: 179   Date Filed: 07/24/2023




                            A00155
Case: 23-1664   Document: 62-1   Page: 180   Date Filed: 07/24/2023




                            A00156
Case: 23-1664   Document: 62-1   Page: 181   Date Filed: 07/24/2023




                            A00157
Case: 23-1664   Document: 62-1   Page: 182   Date Filed: 07/24/2023




                            A00158
Case: 23-1664   Document: 62-1   Page: 183   Date Filed: 07/24/2023




                            A00159
Case: 23-1664   Document: 62-1   Page: 184   Date Filed: 07/24/2023




                            A00160
Case: 23-1664   Document: 62-1   Page: 185   Date Filed: 07/24/2023




                            A00161
Case: 23-1664   Document: 62-1   Page: 186   Date Filed: 07/24/2023




                            A00162
Case: 23-1664   Document: 62-1   Page: 187   Date Filed: 07/24/2023




                            A00163
Case: 23-1664   Document: 62-1   Page: 188   Date Filed: 07/24/2023




                            A00164
Case: 23-1664   Document: 62-1   Page: 189   Date Filed: 07/24/2023




                            A00165
Case: 23-1664   Document: 62-1   Page: 190   Date Filed: 07/24/2023




                            A00166
Case: 23-1664   Document: 62-1   Page: 191   Date Filed: 07/24/2023




                            A00167
Case: 23-1664   Document: 62-1   Page: 192   Date Filed: 07/24/2023




                            A00168
Case: 23-1664   Document: 62-1   Page: 193   Date Filed: 07/24/2023




                            A00169
Case: 23-1664   Document: 62-1   Page: 194   Date Filed: 07/24/2023




                            A00170
Case: 23-1664   Document: 62-1   Page: 195   Date Filed: 07/24/2023




                            A00171
Case: 23-1664   Document: 62-1   Page: 196   Date Filed: 07/24/2023




                            A00172
Case: 23-1664   Document: 62-1   Page: 197   Date Filed: 07/24/2023




                            A00173
Case: 23-1664   Document: 62-1   Page: 198   Date Filed: 07/24/2023




                            A00174
Case: 23-1664   Document: 62-1   Page: 199   Date Filed: 07/24/2023




                            A00175
Case: 23-1664   Document: 62-1   Page: 200   Date Filed: 07/24/2023




                            A00176
Case: 23-1664   Document: 62-1   Page: 201   Date Filed: 07/24/2023




                            A00177
Case: 23-1664   Document: 62-1   Page: 202   Date Filed: 07/24/2023




                            A00178
Case: 23-1664   Document: 62-1   Page: 203   Date Filed: 07/24/2023




                            A00179
Case: 23-1664   Document: 62-1   Page: 204   Date Filed: 07/24/2023




                            A00180
Case: 23-1664   Document: 62-1   Page: 205   Date Filed: 07/24/2023




                            A00181
Case: 23-1664   Document: 62-1   Page: 206   Date Filed: 07/24/2023




                            A00182
Case: 23-1664   Document: 62-1   Page: 207   Date Filed: 07/24/2023




                            A00183
Case: 23-1664   Document: 62-1   Page: 208   Date Filed: 07/24/2023




                            A00184
Case: 23-1664   Document: 62-1   Page: 209   Date Filed: 07/24/2023




                            A00185
Case: 23-1664   Document: 62-1   Page: 210   Date Filed: 07/24/2023




                            A00186
Case: 23-1664   Document: 62-1   Page: 211   Date Filed: 07/24/2023




                            A00187
Case: 23-1664   Document: 62-1   Page: 212   Date Filed: 07/24/2023




                            A00188
Case: 23-1664   Document: 62-1   Page: 213   Date Filed: 07/24/2023




                            A00189
Case: 23-1664   Document: 62-1   Page: 214   Date Filed: 07/24/2023




                            A00190
Case: 23-1664   Document: 62-1   Page: 215   Date Filed: 07/24/2023




                            A00191
Case: 23-1664   Document: 62-1   Page: 216   Date Filed: 07/24/2023




                            A00192
Case: 23-1664   Document: 62-1   Page: 217   Date Filed: 07/24/2023




                            A00193
Case: 23-1664   Document: 62-1   Page: 218   Date Filed: 07/24/2023




                            A00194
Case: 23-1664   Document: 62-1   Page: 219   Date Filed: 07/24/2023




                            A00195
Case: 23-1664   Document: 62-1   Page: 220   Date Filed: 07/24/2023




                            A00196
    Case: 23-1664        Document: 62-1        Page: 221         Date Filed: 07/24/2023




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

IN RE: BOY SCOUTS OF AMERICA and                              Chapter 11
DELAWARE BSA, LLC,                                            Case No. 20-10343-LSS
                                                              (Jointly Administered)
                      Debtors.


NATIONAL UNION FIRE INSURANCE,                                Civ. No. 22-1237-RGA
COMP ANY OF PITTSBURGH, PA, et al,                            (Lead Case)

                      Appellants,                             Civ. Nos. 22-1238-RGA,
              V.                                              22-1 239-RGA, 22-1240-RGA,
                                                              22-1 241-RGA, 22-1242-RGA,
BOY SCOUTS OF AMERICA and                                     22-1243-RGA, 22-1244-RGA,
DELAWARE BSA, LLC, et al. ,                                   22-1245-RGA, 22-1 246-RGA,
                                                              22-1247-RGA, 22-1249-RGA,
                                                              22-1250-RGA, 22-1251-RGA,
                      Appellees.                              22-1 252-RGA, 22-1258-RGA,
                                                              & 22-1263-RGA (Consolidated)


                                         ORDER

       For the reasons set forth in the accompanying Opinion, it is hereby ORDERED:

       1.     The Motion to Supplement the Record (D.I. 123) is hereby DENIED.

       2.     The Supplemental Findings of Fact and Conclusions of Law, dated September 8,

2022 (D.I. 1-1) ("Confirmation Order"), is hereby AFFIRMED.

       3.     The Clerk is directed to CLOSE lead case Civ. No. 22-1237-RGA along with the

consolidated cases.
                                                                  A
                                                 Entered this   J.I d ay of March, 2023.




                                         A00197
              Case: 23-1664   Document: 62-1    Page: 222    Date Filed: 07/24/2023




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

    In re: BOY SCOUTS OF AMERICA            Chapter 11
    AND DELAWARE BSA, LLC,
                                            Bankruptcy Case No. 20-10343 (LLS)
                  Debtors.                  (Jointly Administered)

    NATIONAL UNION FIRE          Case No. 22-cv-01237-RGA
    INSURANCE CO. OF PITTSBURGH, (Lead Case)
    PA, et al.,
                                 Civ. Nos. 22-1238-RGA, 22-1239-
                Appellants,      RGA, 22-1240-RGA, 22-1241-RGA,
                                 22-1242-RGA, 22-1243-RGA, 22-
                   v.            1244-RGA, 22-1245-RGA, 22-1246-
                                 RGA, 22-1247-RGA, 22-1249-RGA,
    BOY SCOUTS OF AMERICA AND
                                 22-1250-RGA, 22-1251-RGA, 22-
    DELAWARE BSA, LLC,
                                 1252-RGA, 22-1258-RGA, & 22-1263-
                                 RGA (Consolidated)
                Appellees.




                        NOTICE OF APPEAL TO
        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

         Appellants Lujan Claimants 1 appeal to the United States Court of Appeals for the

Third Circuit from the Opinion [D.I. 150] and Order [D.I. 151] of the district court for the

district of Delaware, entered in this case on March 28, 2023, which affirmed the bankruptcy

court’s Supplemental Findings of Fact and Conclusions of Law and Order Confirming the

Third Modified Fifth Amended Chapter 11 Plan of Reorganization (with Technical



1
    Lujan Claimants’ individual appeal is in Civ. Case No. 22-cv-01258-RGA.


                                           A00198
            Case: 23-1664     Document: 62-1       Page: 223   Date Filed: 07/24/2023



Modifications) for Boy Scouts of America and Delaware BSA, LLC, dated September 8,

2022 [D.I. 1-1].

      The parties to the Opinion and Order appealed from and the names and addresses of

their respective attorneys are as follows:

 Lujan Claimants            LOIZIDES, P.A.
 (Appellants)               Christopher D. Loizides (No. 3968)
                            1225 North King Street, Suite 800
                            Telephone: (302) 654-0248
                            Loizides@loizides.com

                            -and-

                            LUJAN & WOLFF LLP
                            Delia Lujan Wolff
                            Suite 300, DNA Bldg.
                            238 Archbishop Flores St.
                            Hagatna, Guam 96910
                            Telephone: (671) 477-8064/5
                            dslwolff@lawguam.com
 Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
 Claimants                  Charles J. Brown, III (No. 3368)
 (Appellants)               1201 N. Orange St., 3rd Floor
                            Wilmington, DE 19801
                            Telephone: (302) 425-5813
                            cbrown@gsbblaw.com

                            -and-

                            DUMAS & VAUGHN, LLC
                            Gilion C. Dumas
                            3835 NE Hancock Street, Suite GLB
                            Portland, OR 97212
                            Telephone: (503) 616-5007
                            gilion@dumasandvaughn.com
                                               2



                                             A00199
    Case: 23-1664      Document: 62-1   Page: 224   Date Filed: 07/24/2023



National Union Fire     FINEMAN KREKSTEIN & HARRIS PC
Insurance Company       Deirdre M. Richards
of Pittsburgh, Pa.,     1300 N. King Street
Lexington Insurance     Wilmington, DE 19801
Company, Landmark       Telephone: (302) 538-8331
Insurance Company,      Email: drichards@finemanlawfirm.com
and The Insurance
Company of the State    -and-
of Pennsylvania (the
“AIG Companies”)        GIBSON, DUNN & CRUTCHER LLP
(Appellants)            Michael A. Rosenthal (pro hac vice)
                        Mitchell A. Karlan (pro hac vice)
                        James Hallowell (pro hac vice)
                        Keith R. Martorana (pro hac vice)
                        Seth M. Rokosky (pro hac vice)
                        200 Park Avenue
                        New York, New York 10166
                        Telephone: (212) 351-4000
                        Email: mrosenthal@gibsondunn.com
                        mkarlan@gibsondunn.com
                        jhallowell@gibsondunn.com
                        kmartorana@gibsondunn.com
                        srokosky@gibsondunn.com

                        GIBSON, DUNN & CRUTCHER LLP
                        Theodore J. Boutrous Jr. (pro hac vice)
                        Richard J. Doren (pro hac vice)
                        Blaine H. Evanson (pro hac vice)
                        333 South Grand Avenue
                        Los Angeles, California 90071
                        Telephone: (213) 229-7038
                        Email: rdoren@gibsondunn.com
                        bevanson@gibsondunn.com
                        tboutrous@gibsondunn.com

                        FORAN GLENNON PALANDECH PONZI &
                        RUDLOFF P.C.
                        Susan N.K. Gummow
                                          3



                                   A00200
    Case: 23-1664      Document: 62-1   Page: 225   Date Filed: 07/24/2023



                        222 N. LaSalle St., Suite 1400
                        Chicago, Illinois 60601
                        Telephone: (312) 863-5000
                        Email: sgummow@fgppr.com
Allianz Global Risks    TROUTMAN PEPPER HAMILTON SANDERS
US Insurance            LLP
Company                 David M. Fournier (DE Bar No. 2812)
(Appellant)             Marcy J. McLaughlin Smith (DE No. 6184)
                        Hercules Plaza
                        1313 Market Street
                        Suite 5100
                        P.O. Box 1709
                        Wilmington, DE 19899-1709
                        Telephone: 404.885.3000
                        david.fournier@troutman.com
                        marcy.smith@troutman.com

                        -and-

                        PARKER, HUDSON, RAINER & DOBBS LLP
                        Harris B. Winsberg (pro hac vice)
                        Matthew G. Roberts (pro hac vice)
                        303 Peachtree Street NE
                        Suite 3600
                        Atlanta, GA 30308
                        Telephone: 404.420.4313
                        Facsimile: 404.522.8409
                        hwinsberg@phrd.com
                        mroberts@phrd.com

                        -and-

                        McDERMOTT WILL & EMERY LLP
                        Margaret H. Warner (pro hac vice)
                        Ryan S. Smethurst (pro hac vice)
                        Alex M. Spisak (pro hac vice)
                        The McDermott Building
                        500 North Capitol Street, NW
                                          4



                                   A00201
    Case: 23-1664   Document: 62-1   Page: 226   Date Filed: 07/24/2023



                     Washington, DC 20001-1531
                     Telephone: 202.756.8228
                     Facsimile: 202.756.8087
                     mwarner@mwe.com
                     rsmethurst@mwe.com
                     aspisak@mwe.com
National Surety      TROUTMAN PEPPER HAMILTON SANDERS
Corporation and      LLP
Interstate Fire &    David M. Fournier (DE Bar No. 2812)
Casualty Company     Marcy J. McLaughlin Smith (DE No. 6184)
(Appellants)         Hercules Plaza, Suite 5100
                     1313 Market Street
                     P.O. Box 1709
                     Wilmington, DE 19899-1709
                     Telephone: 302.777.6500
                     Facsimile: 302.421.8390
                     david.fournier@troutman.com
                     marcy.smith@troutman.com

                     -and-

                     PARKER, HUDSON, RAINER & DOBBS LLP
                     Harris B. Winsberg (pro hac vice)
                     Matthew G. Roberts (pro hac vice)
                     303 Peachtree Street NE
                     Suite 3600
                     Atlanta, GA 30308
                     Telephone: 404.420.4313
                     Facsimile: 404.522.8409
                     hwinsberg@phrd.com
                     mroberts@phrd.com

                     -and-

                     BRADLEY RILEY JACOBS PC
                     Todd C. Jacobs (pro hac vice)
                     John E. Bucheit (pro hac vice)
                     Paul J. Esker (pro hac vice)
                                       5



                                A00202
    Case: 23-1664   Document: 62-1   Page: 227   Date Filed: 07/24/2023



                     500 West Madison Street
                     Suite 1000
                     Chicago, IL 60661
                     Telephone: 312.281.0295
                     tjacobs@bradleyriley.com
                     jbucheit@bradleyriley.com
                     pesker@bradleyriley.com
Arch Insurance       SMITH, KATZENSTEIN & JENKINS LLP
Company              Kathleen M. Miller (No. 2898)
(Appellant)          1000 West Street, Suite 501
                     P.O. Box 410
                     Wilmington, DE 19899
                     Telephone: (302) 652-8400
                     kmiller@skjlaw.com

                   HANGLEY ARONCHICK SEGAL
                   PUDLIN & SCHILLER
                   Ronald P. Schiller (pro hac vice)
                   Matthew A. Hamermesh (pro hac vice)
                   One Logan Square, 27th Floor
                   Philadelphia, PA 19103
                   T: (215) 568-6200
                   F: (215) 568-0300
                   E: rschiller@hangley.com
                   mhamermesh@hangley.com
Argonaut Insurance POST & SCHELL, P.C.
Company and Colony
Insurance Company  Paul Logan (No. 3339)
(Appellants)       300 Delaware Avenue, Suite 1380
                   Wilmington, DE 19801
                   Telephone: (302) 251-8856
                   Email: plogan@postschell.com

                     POST & SCHELL, P.C.
                     John C. Sullivan (pro hac vice)
                     Kathleen K. Kerns (pro hac vice)
                     Four Penn Center – 13th Floor
                     1600 John F. Kennedy Boulevard
                     Philadelphia, PA 19103
                                       6



                                A00203
    Case: 23-1664    Document: 62-1   Page: 228   Date Filed: 07/24/2023



                      Telephone: (215) 587-1000
                      jsullivan@postschell.com
                      kkerns@postschell.com

                      -and-

                      IFRAH PLLC
                      George R. Calhoun (pro hac vice)
                      1717 Pennsylvania Avenue, N.W. Suite 650
                      Washington, DC 20006
                      Telephone: (202) 840-8758
                      george@ifrahlaw.com
Arrowood Indemnity    JOYCE, LLC
Company               Michael J. Joyce (No. 4563)
(Appellant)           1225 King Street, Suite 800
                      Wilmington, DE 19801
                      Telephone: (302) 388-1944
                      Email: mjoyce@mjlawoffices.com

                      -and-

                      COUGHLIN MIDLIGE & GARLAND, LLP
                      Kevin Coughlin (pro hac vice)
                      Lorraine Armenti (pro hac vice)
                      Michael Hrinewski (pro hac vice)
                      350 Mount Kemble Avenue
                      PO Box 1917
                      Morristown, NJ 07962
                      Telephone: (973) 267-0058
                      Facsimile: 973-267-6442
                      kcoughlin@cmg.law
                      larmenti@cmg.law
                      mhrinewski@cmg.law

                      -and-

                      CARRUTHERS & ROTH, P.A.
                      Britton C. Lewis
                                        7



                                 A00204
    Case: 23-1664   Document: 62-1   Page: 229   Date Filed: 07/24/2023



                      John M. Flynn
                      235 N. Edgeworth Street
                      P.O. Box 540
                      Greensboro, NC 27401
                      Telephone: (336) 478-1146
                      Facsimile: (336) 478-1145
                      jmf@crlaw.com
                      bcl@crlaw.com
Continental Insurance GOLDSTEIN & MCCLINTOCK LLLP
Company and           Maria Aprile Sawczuk (DE #3320)
Columbia Casualty     501 Silverside Road
Company               Wilmington, DE 19809
(Appellants)          302-444-6710
                      marias@goldmclaw.com

                     -and-

                     LOEB & LOEB LLP
                     Laura McNally (pro hac vice)
                     Emily Stone (pro hac vice)
                     321 N. Clark Street, Suite 2300
                     Chicago, IL 60654
                     312-464-3155
                     lmcnally@loeb.com
                     estone@loeb.com
Gemini Insurance     WERB & SULLIVAN
Company              LEGAL ARTS BUILDING
(Appellant)          Brian A. Sullivan (No. 2098)
                     1225 N. King Street
                     Suite 600
                     Wilmington, Delaware 19801
                     Telephone: (302) 652-1100
                     Cell: (302) 757-9932
                     Facsimile: (302) 652-1111
                     Email: bsullivan@werbsullivan.com

                     GIEGER LABORDE & LAPEROUOSE, LLC


                                       8



                                A00205
    Case: 23-1664   Document: 62-1   Page: 230   Date Filed: 07/24/2023



                     John E.W. Baay II (pro hac vice)
                     701 Poydras Street
                     Suite 4800
                     New Orleans, LA 70139
                     Tel.: 504-561-0400
                     Fax: 504-561-1011
                     Email: jbaay@glllaw.com

                     -and-

                     KIERNAN TREBACH LLP
                     William H. White Jr (pro hac vice)
                     1233 20th Street, NW
                     8th Floor
                     Washington, DC 20036
                     Tel.: 202-712-7000
                     Fax: 202-712-7100
                     Email: wwhite@kiernantrebach.com
General Star         SMITH, KATZENSTEIN & JENKINS LLP
Indemnity            Kathleen M. Miller (DE Bar No. 2898)
Company              1000 West Street, Suite 501
(Appellant)          P.O. Box 410
                     Wilmington, DE 19899
                     Telephone: (302) 652-8400
                     Email: kmiller@skjlaw.com

                     -and-

                     WILEY REIN LLP
                     Mary E. Borja (pro hac vice)
                     Gary P. Seligman (pro hac vice)
                     Ashley L. Criss (pro hac vice)
                     2050 M Street NW
                     Washington, DC 20036
                     Phone: (202) 719-7000
                     Email: mborja@wiley.law
                     gseligman@wiley.law
                     acriss@wiley.law
                                       9



                                A00206
    Case: 23-1664    Document: 62-1   Page: 231   Date Filed: 07/24/2023



Great American        BODELL BOVÉ, LLC
Assurance             Bruce W. McCullough (No. 3112)
Company, f/k/a        1225 N. King Street, Suite 1000
Agricultural          Wilmington, Delaware 19801-3250
Insurance Company;    Telephone: (302) 655-6749
Great American E&S    bmccullough@bodellbove.com
Insurance Company,
f/k/a Agricultural    -and-
Excess and Surplus
Insurance Company;    CLYDE & CO US LLP
and Great American    Bruce D. Celebrezze (pro hac vice)
E&S Insurance         150 California Street | 15th Floor
Company               San Francisco, California 94111
(Appellants)          Telephone: (415) 365-9800
                      Facsimile: (415) 365-9801
                      bruce.celebrezze@clydeco.us

                      CLYDE & CO US LLP
                      Konrad R. Krebs (pro hac vice)
                      340 Mt. Kemble Avenue | Suite 300
                      Morristown, NJ 07960
                      Telephone: (973) 210-6700
                      Facsimile: (973) 210-6701
                      konrad.krebs@clydeco.us

                      -and-

                        DAVID CHRISTIAN ATTORNEYS LLC
                        David Christian (pro hac vice)
                        105 W. Madison St., Suite 1400
                        Chicago, Illinois 60602
                        Telephone: (312) 282-5282
                        dchristian@dca.law
Indian Harbor           SMITH, KATZENSTEIN
Insurance Company, & JENKINS LLP
on behalf of itself and Kathleen M. Miller (No. 2898)
as successor in         1000 West Street, Suite 1501
interest to Catlin      P.O. Box 410
                                       10



                                 A00207
    Case: 23-1664     Document: 62-1   Page: 232   Date Filed: 07/24/2023



Specialty Insurance    Wilmington, DE 19899 [Courier 19801]
Company                Telephone: (302) 652-8400
(Appellant)            Facsimile: (302) 652-8405
                       kmiller@skjlaw.com

                       and

                       MOUND COTTON WOLLAN & GREENGRASS
                       LLP
                       Lloyd A. Gura (pro hac vice)
                       Pamela J. Minetto (pro hac vice)
                       One New York Plaza 44th Floor
                       New York, NY 10004
                       Tel: (212) 804-4282
                       lgura@moundcotton.com
                       pminetto@moundcotton.com
Liberty Mutual         SEITZ, VAN OGTROP & GREEN, P.A.
Insurance Company,     R. Karl Hill (DE Bar No. 2747)
The Ohio Casualty      222 Delaware Avenue
Insurance Company,     Suite 1500
Liberty Insurance      Wilmington, DE 19801
Underwriters, Inc.     Telephone: (302) 888-0600
and Liberty Surplus    khill@svglaw.com
Insurance
Corporation            -and-
(Appellants)
                       CHOATE, HALL & STEWART LLP
                       Douglas R. Gooding (pro hac vice)
                       Jonathan D. Marshall (pro hac vice)
                       Two International Place
                       Boston, MA 02110
                       Telephone: (617) 248-5000
                       dgooding@choate.com
                       jmarshall@choate.com

                       -and-



                                        11



                                  A00208
    Case: 23-1664     Document: 62-1   Page: 233   Date Filed: 07/24/2023



                       MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND
                       POPEO PC
                       Kim V. Marrkand (pro hac vice)
                       One Financial Center
                       Boston, MA 02111
                       Telephone: (617) 542-6000
                       kvmarrkand@mintz.com
Munich Reinsurance     DILWORTH PAXSON LLP
America, Inc.,         Thaddeus J. Weaver (DE Bar. No. 2790)
formerly known as      704 N. King Street, Suite 500
American Re-           P.O. Box 1031
Insurance Company      Wilmington, DE 19899-1031
(Appellant)            (302) 571-8867 (telephone)
                       (302) 351-8735 (facsimile)
                       tweaver@dilworthlaw.com

                       -and-

                       DILWORTH PAXSON LLP
                       William E. McGrath, Jr. (pro hac vice)
                       2 Research Way, Suite 103
                       Princeton, NJ 08540
                       (609) 924-6000 (telephone)
                       (215) 893-8537 (facsimile)
                       wmcgrath@dilworthlaw.com
Traders and Pacific    COZEN O’CONNOR
Insurance Company,     Marla S. Benedek (No. 6638)
Endurance American     1201 N. Market Street, Suite 1001
Specialty Insurance    Wilmington, DE 19801
Company, and           Telephone: (302) 295-2024
Endurance American     Facsimile: (302) 250-4498
Insurance Company      mbenedek@cozen.com
(Appellants)
Old Republic           MORRIS JAMES LLP
Insurance Company      Stephen M. Miller (No. 2610)
(Appellant)            Carl N. Kunz, III (No. 3201)
                       500 Delaware Avenue, Suite 1500
                       Wilmington, Delaware 19801
                                        12



                                  A00209
   Case: 23-1664   Document: 62-1   Page: 234   Date Filed: 07/24/2023



                    Telephone: (302) 888-6800
                    Facsimile: (302) 571-1750
                    smiller@morrisjames.com
                    ckunz@morrisjames.com

                    -and-

                    FOX SWIBEL LEVIN & CARROLL LLP
                    Margaret M. Anderson (pro hac vice)
                    Ryan T. Schultz (pro hac vice)
                    Adam A. Hachikian (pro hac vice)
                    Kenneth M. Thomas (pro hac vice)
                    200 W. Madison Street, Suite 3000
                    Chicago, Illinois 60606
                    Telephone: (312) 224-1200
                    Facsimile: (312) 224-1201
                    panderson@foxswibel.com
                    rschultz@foxswibel.com
                    ahachikian@foxswibel.com
                    kthomas@foxswibel.com
Travelers Casualty  REGER RIZZO & DARNALL LLP
and Surety Company, Louis J. Rizzo, Jr. (DE Bar No. 3374)
Inc. (f/k/a Aetna   1521 Concord Pike Suite 305
Casualty & Surety   Brandywine Plaza West
Company), St. Paul  Wilmington DE 19803
Surplus Lines       Telephone: (302) 477-7100
Insurance Company   Facsimile: (302) 652-3620
and Gulf Insurance  lrizzo@regerlaw.com
Company
(Appellants)
Boy Scouts of       MORRIS, NICHOLS, ARSHT & TUNNELL LLP
America,            Derek C. Abbott (No. 3376)
Delaware BSA, LLC Andrew R. Remming (No. 5120)
(Debtors/Appellees  Paige N. Topper (No. 6470)
and Debtors in      1201 North Market Street, 16th Floor
Possession)         P.O. Box 1347
                    Wilmington, Delaware 19899-1347
                                       13



                               A00210
Case: 23-1664   Document: 62-1   Page: 235   Date Filed: 07/24/2023



                 Telephone: (302) 658-9200
                 dabbott@morrisnichols.com
                 aremming@morrisnichols.com
                 ptopper@morrisnichols.com

                 – and –

                 WHITE & CASE LLP
                 Jessica C. Lauria (pro hac vice)
                 Glenn M. Kurtz (pro hac vice)
                 1221 Avenue of the Americas
                 New York, New York 10020
                 Telephone: (212) 819-8200
                 Email: jessica.lauria@whitecase.com
                 gkurtz@whitecase.com
                 – and –

                 WHITE & CASE LLP
                 Michael C. Andolina
                 Matthew E. Linder
                 Laura E. Baccash
                 Blair M. Warner
                 111 South Wacker Drive
                 Chicago, Illinois 60606
                 Telephone: (312) 881-5400
                 mandolina@whitecase.com
                 mlinder@whitecase.com
                 laura.baccash@whitecase.com
                 blair.warner@whitecase.com

                 – and –

                 WHITE & CASE LLP
                 Ronald K. Gorsich
                 Doah Kim
                 555 South Flower Street, Suite 2700
                 Los Angeles, CA 90071
                 Telephone: (213) 620-7700
                                  14



                            A00211
    Case: 23-1664     Document: 62-1   Page: 236   Date Filed: 07/24/2023



                       rgorsich@whitecase.com
                       doah.kim@whitecase.com
Tort Claimants’        PACHULSKI STANG ZIEHL & JONES LLP
Committee              Richard M. Pachulski (pro hac vice)
(Appellee)             Alan J. Kornfeld (pro hac vice)
                       Debra I. Grassgreen (pro hac vice)
                       Iain A.W. Nasatir (pro hac vice)
                       James E. O’Neill (No. 4042)
                       919 North Market Street, 17th Floor
                       P.O. Box 8705
                       Wilmington, DE 19899-8705 (Courier 19801)
                       Telephone: (302) 652-4100
                       Fax: (302) 652-4400
                       Email: rpachulski@pszjlaw.com
                       akornfeld@pszjlaw.com
                       dgrassgreen@pszjlaw.com
                       inasatir@pszjlaw.com
                       joneill@pszjlaw.com
Coalition of Abused    MONZACK MERSKY AND BROWDER, P.A.
Scouts for Justice     Rachel B. Mersky (No. 2049)
(Appellee)             1201 North Orange Street, Suite 400
                       Wilmington, Delaware 19801
                       Telephone: (302) 656-8162
                       Fax: (302) 656-2769
                       Email: rmersky@monlaw.com

                       –and–

                       BROWN RUDNICK LLP
                       David J. Molton, Esq. (pro hac vice)
                       Eric R. Goodman, Esq. (pro hac vice)
                       Seven Times Square
                       New York, NY 10036
                       Telephone: (212) 209-4800
                       Fax: (212) 209-4801
                       Email: dmolton@brownrudnick.com
                       egoodman@brownrudnick.com


                                        15



                                  A00212
    Case: 23-1664   Document: 62-1   Page: 237   Date Filed: 07/24/2023



                     –and–

                     BROWN RUDNICK LLP
                     Sunni P. Beville, Esq. (pro hac vice)
                     Tristan G. Axelrod, Esq. (pro hac vice)
                     One Financial Center
                     Boston, MA 02111
                     Telephone: (617) 856-8200
                     Fax: (617) 856-8201
                     Email: sbeville@brownrudnick.com
                     taxelrod@brownrudnick.com
Future Claimants’    YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative       Robert S. Brady (No. 2847)
(Appellee)           Edwin J. Harron (No. 3396)
                     Kenneth J. Enos (No. 4544)
                     Ashley E. Jacobs (No. 5635)
                     Rodney Square
                     1000 North King Street
                     Wilmington, Delaware 19801
                     Telephone: (302) 571-6600
                     Fax: (302) 571-1253
                     Email: rbrady@ycst.com
                     eharron@ycst.com
                     kenos@ycst.com
                     ajacobs@ycst.com

                     -and-

                     GILBERT LLP
                     Kami E. Quinn (pro hac vice)
                     Rachel H. Jennings (pro hac vice)
                     Kyle Y. Dechant (pro hac vice)
                     December L. Huddleston (pro hac vice)
                     700 Pennsylvania Ave, SE
                     Suite 400
                     Washington, DC 20003
                     Telephone: (202) 772-2200
                     Fax: (202) 772-3333
                                      16



                                A00213
    Case: 23-1664      Document: 62-1   Page: 238   Date Filed: 07/24/2023



                        Email: quinnk@gilbertlegal.com
                        jenningsr@gilbertlegal.com
                        dechantk@gilbertlegal.com
                        huddlestond@gilbertlegal.com
The Zalkin Law          KTBS LAW LLP
Firm, P.C. and Pfau     Thomas E. Patterson (pro hac vice)
Cochran Vertetis        Daniel J. Bussel (pro hac vice)
Amala PLLC              Robert J. Pfister (pro hac vice)
(Appellees)             Sasha M. Gurvitz (pro hac vice)
                        1801 Century Park East, Twenty-Sixth Floor
                        Los Angeles, California 90067
                        Telephone: (310) 407-4000
                        Fax: (310) 407-9090
                        Email: tpatterson@ktbslaw.com
                        dbussel@ktbslaw.com
                        rpfister@ktbslaw.com
                        sgurvitz@ktbslaw.com

                        -and-

                        BIELLI & KLAUDER, LLC
                        David M. Klauder, Esquire (No. 5769)
                        1204 N. King Street
                        Wilmington, DE 19801
                        Telephone: (302) 803-4600
                        Fax: (302) 397-2557
                        Email: dklauder@bk-legal.com
Hartford Accident       BAYARD, P.A.
and Indemnity           Erin R. Fay (No. 5268)
Company, First State    Gregory J. Flasser (No. 6154)
Insurance Company,      600 North King Street, Suite 400
Twin City Fire          Wilmington, DE 19801
Insurance Company,      Telephone: (302) 655-5000
and Navigators          Fax: (302) 658-6395
Specialty Insurance     Email: efay@bayardlaw.com
Company                 gflasser@bayardlaw.com
(Appellees)
                        -and-
                                         17



                                   A00214
    Case: 23-1664   Document: 62-1   Page: 239   Date Filed: 07/24/2023




                     RUGGERI PARKS WEINBERG LLP
                     James P. Ruggeri (pro hac vice)
                     Joshua D. Weinberg (pro hac vice)
                     1875 K Street, N.W., Suite 600
                     Washington, D.C. 20006-1251
                     Telephone: (202) 469-7750
                     Fax: (202) 469-7751
                     Email: jruggeri@ruggerilaw.com
                     jweinberg@ruggerilaw.com

                     -and-

                     WILMER CUTLER PICKERING HALE
                     AND DORR LLP
                     Philip D. Anker (pro hac vice)
                     7 World Trade Center
                     250 Greenwich Street
                     New York, N.Y. 10007
                     Telephone: (212) 230-8890
                     Fax: (212) 230-8888
                     Email: philip.anker@wilmerhale.com

                     Joel Millar (pro hac vice)
                     1875 Pennsylvania Avenue N.W.
                     Washington, D.C. 20006
                     Telephone: (202) 663-6000
                     Fax: (202) 663-6363
                     Email: joel.millar@wilmerhale.com
Century Indemnity    STAMOULIS & WEINBLATT LLC
Company, as          Stamatios Stamoulis (No. 4606)
successor to CCI     800 N. West Street
Insurance Company, Third Floor Wilmington, Delaware 19801
as successor to      Telephone: 302 999 1540
Insurance Company    Fax: 302 762 1688
of North America and Email: stamoulis@swdelaw.com
Indemnity Insurance
Company of North     -and-
                                      18



                                A00215
    Case: 23-1664   Document: 62-1   Page: 240   Date Filed: 07/24/2023



America
(Appellees)          O’MELVENY & MYERS LLP
                     Tancred Schiavoni (pro hac vice)
                     Times Square Tower
                     7 Times Square
                     New York, New York 10036-6537
                     Telephone: (212) 326-2000
                     Fax: (212) 326-2061
                     Email: tschiavoni@omm.com

                     O’MELVENY & MYERS LLP
                     Stephen Warren (pro hac vice)
                     400 South Hope Street
                     Los Angeles, California 90071
                     Telephone: (213) 430-6000
                     Fax: (213) 430-6407
                     Email: swarren@omm.com

                     O’MELVENY & MYERS LLP
                     Jonathan D. Hacker (pro hac vice)
                     1625 Eye Street, N.W.
                     Washington, D.C. 20006
                     Telephone: (202) 383-5300
                     Email: jhacker@omm.com
Federal Insurance    STAMOULIS & WEINBLATT LLC
Company and          Stamatios Stamoulis (No. 4606)
Westchester Fire     8000 N. West Street, Third Floor
Insurance Company    Wilmington, Delaware 19801
(Appellees)          Telephone: (302) 999-1540
                     Email: stamoulis@swdelaw.com

                     -and-

                     SIMPSON THACHER & BARTLETT LLP
                     David Elbaum (pro hac vice)
                     425 Lexington Avenue
                     New York, New York 10017
                     Telephone: (212) 455-2000
                                      19



                                A00216
    Case: 23-1664    Document: 62-1   Page: 241   Date Filed: 07/24/2023



                      Email: david.elbaum@stblaw.com
American Zurich       TYBOUT, REDFEARN & PELL
Insurance Company,    Robert D. Cecil, Jr. (No. 5317)
American Guarantee    501 Carr Road, Suite 300
Insurance Company,    Wilmington, Delaware 19899
and Steadfast         Telephone: (302) 658-6901
Insurance Company     Email: rcecil@trplaw.com
(Appellees)
                      -and-

                      CROWELL & MORING LLP
                      Mark D. Plevin (pro hac vice)
                      Kevin D. Cacabelos (pro hac vice)
                      Three Embarcadero Center, 26th Floor
                      San Francisco, California 94111
                      Telephone: (415) 986-2800
                      Email: mplevin@crowell.com
                      kcacabelos@crowell.com

                      Tacie H. Yoon (pro hac vice)
                      Rachel A. Jankowski (pro hac vice)
                      1001 Pennsylvania Ave., N.W.
                      Washington, D.C. 20004
                      Telephone: (202) 624-2500
                      Email: tyoon@crowell.com
                      rjankowski@crowell.com
Clarendon National    BALLARD SPAHR LLP
Insurance Company, Matthew G. Summers (No. 5533)
as successor in       Chantelle D. McClamb (No. 5978)
interest by merger to 919 N. Market Street, 11th Floor
Clarendon America     Wilmington, Delaware 19801-3034
Insurance Company; Telephone: (302) 252-4428
River Thames          Fax: (302) 252-4466
Insurance Company     Email: summersm@ballardspahr.com
Limited (as successor mcclamb@ballardspahr.com
in interest to
Unionamerica          -and-
Insurance Company
                                       20



                                 A00217
    Case: 23-1664       Document: 62-1   Page: 242   Date Filed: 07/24/2023



Limited, on its own      STEPTOE & JOHNSON LLP
behalf and in turn as    Harry Lee (pro hac vice)
successor to St.         John O’Connor (pro hac vice)
Katherine Insurance      1330 Connecticut Avenue NW
Company Limited);        Washington, DC 20036
and Zurich American      Telephone: (202) 429-8078
Insurance Company,       Fax: (202) 429-3902
as successor to          Email: hlee@steptoe.com
Maryland Casualty        joconnor@steptoe.com
Company, Zurich
Insurance Company,
and Maryland
General Insurance
Company
(Appellees)

Ad Hoc Committee         DLA PIPER, LLP (US)
of Local Councils of     R. Craig Martin (No. 5032)
the Boy Scouts of        1201 North Market Street, Suite 2100
America                  Wilmington, Delaware 19801-1147
(Appellee)               Telephone: (302) 468-5655
                         Email: craig.martin@dlapiper.com

                         -and-

                         WACHTELL, LIPTON, ROSEN & KATZ
                         Richard G. Mason (pro hac vice)
                         Douglas K. Mayer (pro hac vice)
                         Joseph C. Celentino (pro hac vice)
                         Mitchell S. Levy (pro hac vice)
                         51 West 52nd Street
                         New York, New York 10019
                         Telephone: (212) 403-1000
                         Email: RGMason@wlrk.com
                         DKMayer@wlrk.com
                         JCCelentino@wlrk.com
                         MSLevy@wlrk.com


                                          21



                                    A00218
         Case: 23-1664    Document: 62-1     Page: 243   Date Filed: 07/24/2023



Dated:   Wilmington, Delaware          Respectfully Submitted,

         April 10, 2023                /s/ Christopher D. Loizides
                                       Christopher D. Loizides (No. 3968)
                                       LOIZIDES, P.A.
                                       1225 North King Street, Suite 800
                                       Wilmington, DE 19801
                                       Phone: 302.654.0248
                                       Email: Loizides@loizides.com

                                       and
                                       LUJAN & WOLFF LLP

                                       /s/ Delia Lujan Wolff
                                       Delia Lujan Wolff
                                       Suite 300, DNA Bldg.
                                       238 Archbishop Flores St.
                                       Hagatna, Guam 96910
                                       Phone: (671) 477-8064/5
                                       Facsimile: (671) 477-5297
                                       Email: dslwolff@lawguam.com

                                       Attorneys for Lujan Claimants




                                      22



                                      A00219
         Case: 23-1664   Document: 62-1    Page: 244    Date Filed: 07/24/2023




                                 APPENDIX A
       The foregoing Notice of Appeal was filed by the following creditors who each
filed a Sexual Abuse Survivor Proof of Claim and are represented by Lujan & Wolff
LLP. The numbers below are the claim numbers for each creditor’s Sexual Abuse
Survivor Proof of Claim, including amendments thereto.
       248            2991             6824            25063            79403

     1551             3051            7976             25069           79769

     1670             3120            7977             33028           80328

     1677             3385            8037             35352           80655

     1746             3610            8038             35354           80982

     1757             3612            10548            38591           87715

     1765             3614            11250            40889           87757

     1913             3616            11251            40890           96418

     1953             4855            14187            45700           96419

     2003             4857            15104            45702          103377

     2010             4859            15139            48168          103378

     2011             5646            17480            58317            4858

     2394             5646            18860            58370            4860

     2403             5648            18873            67267

     2433             5655            22872            67286

     2597             6432            22873            67293

     2840             6434            22874            73585

     2885             6823            23388            73607

                                          23



                                      A00220
          Case: 23-1664       Document: 62-1        Page: 245        Date Filed: 07/24/2023




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

                                                        Bankruptcy Case
BOY SCOUTS OF AMERICA AND                               No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                        (Jointly Administered)
                       Debtors.


                                                                                      1
NATIONAL UNION FIRE INSURANCE CO.                       Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                       Appellants,

               v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                       Appellees.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellants Liberty Mutual Insurance Company, The

 Ohio Casualty Insurance Company, Liberty Insurance Underwriters, Inc., and Liberty Surplus

 Insurance Corporation, appeal to the United States Court of Appeals for the Third Circuit from the

 final Order and accompanying Opinion of the United States District Court for the District of



 1
  Appellants’ bankruptcy appeal originally had the following caption and case number: Liberty
 Mutual Insurance Company et al. v. Boy Scouts of America and Delaware BSA, LLC, No. 22-cv-
 01252-RGA. That action was consolidated with the above-captioned action on October 17, 2022
 and the Court directed that “[a]ll further filings with this Court will be docketed under the Master
 Case Number.” See Order Granting Motion on Stipulation Regarding Appeals From Order
 Confirming Plan of Reorganization of Boy Scouts of America and Delaware BSA, LLC (D.I.
 22).



                                              A00221
         Case: 23-1664        Document: 62-1         Page: 246   Date Filed: 07/24/2023




Delaware (Hon. Richard G. Andrews), entered March 28, 2023 (D.I. 150, 151), among other

things affirming the Supplemental Findings of Fact and Conclusions of Law and Order Confirming

the Third Modified Fifth Amended Chapter 11 Plan of Reorganization (with Technical

Modifications) for Boy Scouts of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and

accompanying Opinion (Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the

District of Delaware (Hon. Laurie S. Silverstein), and all other orders, decisions, and opinions

subsumed therein.

       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000
                               Email: mrosenthal@gibsondunn.com
                               mkarlan@gibsondunn.com
                               jhallowell@gibsondunn.com
                               kmartorana@gibsondunn.com
                               srokosky@gibsondunn.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Theodore J. Boutrous Jr. (pro hac vice)
                               Richard J. Doren (pro hac vice)
                               Blaine H. Evanson (pro hac vice)

                                                 2

                                                A00222
      Case: 23-1664       Document: 62-1       Page: 247   Date Filed: 07/24/2023




                          333 South Grand Avenue
                          Los Angeles, California 90071
                          Telephone: (213) 229-7038
                          Email: rdoren@gibsondunn.com
                          bevanson@gibsondunn.com
                          tboutrous@gibsondunn.com

                          FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                          Susan N.K. Gummow
                          222 N. LaSalle St., Suite 1400
                          Chicago, Illinois 60601
                          Telephone: (312) 863-5000
                          Email: sgummow@fgppr.com
Allianz Global Risks US   TROUTMAN PEPPER HAMILTON SANDERS LLP
Insurance Company         David M. Fournier (DE Bar No. 2812)
(Appellant)               Marcy J. McLaughlin Smith (DE No. 6184)
                          Hercules Plaza
                          1313 Market Street
                          Suite 5100
                          P.O. Box 1709
                          Wilmington, DE 19899-1709
                          Telephone: 404.885.3000
                          david.fournier@troutman.com
                          marcy.smith@troutman.com

                          -and-

                          PARKER, HUDSON, RAINER & DOBBS LLP
                          Harris B. Winsberg (pro hac vice)
                          Matthew G. Roberts (pro hac vice)
                          303 Peachtree Street NE
                          Suite 3600
                          Atlanta, GA 30308
                          Telephone: 404.420.4313
                          Facsimile: 404.522.8409
                          hwinsberg@phrd.com
                          mroberts@phrd.com

                          -and-

                          McDERMOTT WILL & EMERY LLP
                          Margaret H. Warner (pro hac vice)
                          Ryan S. Smethurst (pro hac vice)
                          Alex M. Spisak (pro hac vice)
                          The McDermott Building
                          500 North Capitol Street, NW

                                           3

                                       A00223
    Case: 23-1664   Document: 62-1   Page: 248   Date Filed: 07/24/2023




                      Washington, DC 20001-1531
                      Telephone: 202.756.8228
                      Facsimile: 202.756.8087
                      mwarner@mwe.com
                      rsmethurst@mwe.com
                      aspisak@mwe.com
National Surety       TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and       David M. Fournier (DE Bar No. 2812)
Interstate Fire &     Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company      Hercules Plaza, Suite 5100
(Appellants)          1313 Market Street
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 302.777.6500
                      Facsimile: 302.421.8390
                      david.fournier@troutman.com
                      marcy.smith@troutman.com

                      -and-

                      PARKER, HUDSON, RAINER & DOBBS LLP
                      Harris B. Winsberg (pro hac vice)
                      Matthew G. Roberts (pro hac vice)
                      303 Peachtree Street NE
                      Suite 3600
                      Atlanta, GA 30308
                      Telephone: 404.420.4313
                      Facsimile: 404.522.8409
                      hwinsberg@phrd.com
                      mroberts@phrd.com

                      -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)

                                     4

                                A00224
    Case: 23-1664    Document: 62-1     Page: 249      Date Filed: 07/24/2023




                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com

                       HANGLEY ARONCHICK SEGAL
                       PUDLIN & SCHILLER
                       Ronald P. Schiller (pro hac vice)
                       Matthew A. Hamermesh (pro hac vice)
                       One Logan Square, 27th Floor
                       Philadelphia, PA 19103
                       T: (215) 568-6200
                       F: (215) 568-0300
                       E: rschiller@hangley.com
                       mhamermesh@hangley.com
Argonaut Insurance      POST & SCHELL, P.C.
Company and Colony      Paul Logan (No. 3339)
Insurance Company       300 Delaware Avenue, Suite 1380
(Appellants)
                        Wilmington, DE 19801
                        Telephone: (302) 251-8856
                        Email: plogan@postschell.com

                        POST & SCHELL, P.C.
                        John C. Sullivan (pro hac vice)
                        Kathleen K. Kerns (pro hac vice)
                        Four Penn Center – 13th Floor
                        1600 John F. Kennedy Boulevard
                        Philadelphia, PA 19103
                        Telephone: (215) 587-1000
                        jsullivan@postschell.com
                       kkerns@postschell.com

                        -and-

                        IFRAH PLLC
                        George R. Calhoun (pro hac vice)
                        1717 Pennsylvania Avenue, N.W. Suite 650
                        Washington, DC 20006
                        Telephone: (202) 840-8758
                       george@ifrahlaw.com
Arrowood Indemnity     JOYCE, LLC
Company                Michael J. Joyce (No. 4563)
(Appellant)            1225 King Street, Suite 800
                       Wilmington, DE 19801
                       Telephone: (302) 388-1944

                                        5

                                   A00225
    Case: 23-1664       Document: 62-1      Page: 250       Date Filed: 07/24/2023




                          Email: mjoyce@mjlawoffices.com

                          -and-

                          COUGHLIN MIDLIGE & GARLAND, LLP
                          Kevin Coughlin (pro hac vice)
                          Lorraine Armenti (pro hac vice)
                          Michael Hrinewski (pro hac vice)
                          350 Mount Kemble Avenue
                          PO Box 1917
                          Morristown, NJ 07962
                          Telephone: (973) 267-0058
                          Facsimile: 973-267-6442
                          kcoughlin@cmg.law
                          larmenti@cmg.law
                          mhrinewski@cmg.law

                          -and-

                          CARRUTHERS & ROTH, P.A.
                          Britton C. Lewis
                          John M. Flynn
                          235 N. Edgeworth Street
                          P.O. Box 540
                          Greensboro, NC 27401
                          Telephone: (336) 478-1146
                          Facsimile: (336) 478-1145
                          jmf@crlaw.com
                          bcl@crlaw.com
Continental Insurance     GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia      Maria Aprile Sawczuk (DE #3320)
Casualty Company          501 Silverside Road
(Appellants)              Wilmington, DE 19809
                          302-444-6710
                          marias@goldmclaw.com

                          -and-

                          LOEB & LOEB LLP
                          Laura McNally (pro hac vice)
                          Emily Stone (pro hac vice)
                          321 N. Clark Street, Suite 2300
                          Chicago, IL 60654
                          312-464-3155
                          lmcnally@loeb.com
                          estone@loeb.com

                                           6

                                      A00226
    Case: 23-1664        Document: 62-1     Page: 251        Date Filed: 07/24/2023




Gemini Insurance           WERB & SULLIVAN
Company                    LEGAL ARTS BUILDING
(Appellant)                Brian A. Sullivan (No. 2098)
                           1225 N. King Street
                           Suite 600
                           Wilmington, Delaware 19801
                           Telephone: (302) 652-1100
                           Cell: (302) 757-9932
                           Facsimile: (302) 652-1111
                           Email: bsullivan@werbsullivan.com

                           GIEGER LABORDE & LAPEROUOSE, LLC
                           John E.W. Baay II (pro hac vice)
                           701 Poydras Street
                           Suite 4800
                           New Orleans, LA 70139
                           Tel.: 504-561-0400
                           Fax: 504-561-1011
                           Email: jbaay@glllaw.com

                           -and-

                           KIERNAN TREBACH LLP
                           William H. White Jr (pro hac vice)
                           1233 20th Street, NW
                           8th Floor
                           Washington, DC 20036
                           Tel.: 202-712-7000
                           Fax: 202-712-7100
                           Email: wwhite@kiernantrebach.com
General Star Indemnity     SMITH, KATZENSTEIN & JENKINS LLP
Company                    Kathleen M. Miller (DE Bar No. 2898)
(Appellant)                1000 West Street, Suite 501
                           P.O. Box 410
                           Wilmington, DE 19899
                           Telephone: (302) 652-8400
                           Email: kmiller@skjlaw.com

                           -and-

                           WILEY REIN LLP
                           Mary E. Borja (pro hac vice)
                           Gary P. Seligman (pro hac vice)
                           Ashley L. Criss (pro hac vice)
                           2050 M Street NW
                           Washington, DC 20036

                                            7

                                       A00227
     Case: 23-1664           Document: 62-1    Page: 252      Date Filed: 07/24/2023




                        Phone: (202) 719-7000
                        Email: mborja@wiley.law
                        gseligman@wiley.law
                        acriss@wiley.law
Great American          BODELL BOVÉ, LLC
Assurance               Bruce W. McCullough (No. 3112)
Company, f/k/a          1225 N. King Street, Suite 1000
Agricultural Insurance  Wilmington, Delaware 19801-3250
Company; Great          Telephone: (302) 655-6749
American E&S Insurance bmccullough@bodellbove.com
Company, f/k/a
Agricultural Excess and -and-
Surplus Insurance
Company; and Great      CLYDE & CO US LLP
American E&S Insurance Bruce D. Celebrezze (pro hac vice)
Company                 150 California Street | 15th Floor
(Appellants)            San Francisco, California 94111
                        Telephone: (415) 365-9800
                        Facsimile: (415) 365-9801
                        bruce.celebrezze@clydeco.us

                               CLYDE & CO US LLP
                               Konrad R. Krebs (pro hac vice)
                               340 Mt. Kemble Avenue | Suite 300
                               Morristown, NJ 07960
                               Telephone: (973) 210-6700
                               Facsimile: (973) 210-6701
                               konrad.krebs@clydeco.us

                               -and-

                               DAVID CHRISTIAN ATTORNEYS LLC
                               David Christian (pro hac vice)
                               105 W. Madison St., Suite 1400
                               Chicago, Illinois 60602
                               Telephone: (312) 282-5282
                               dchristian@dca.law
Indian Harbor Insurance        SMITH, KATZENSTEIN
Company, on behalf of          & JENKINS LLP
itself and as successor in     Kathleen M. Miller (No. 2898)
interest to Catlin             1000 West Street, Suite 1501
Specialty Insurance            P.O. Box 410
Company                        Wilmington, DE 19899 [Courier 19801]
(Appellant)                    Telephone: (302) 652-8400
                               Facsimile: (302) 652-8405
                               kmiller@skjlaw.com

                                               8

                                          A00228
     Case: 23-1664        Document: 62-1       Page: 253   Date Filed: 07/24/2023




                           and

                         MOUND COTTON WOLLAN & GREENGRASS LLP
                         Lloyd A. Gura (pro hac vice)
                         Pamela J. Minetto (pro hac vice)
                         One New York Plaza 44th Floor
                         New York, NY 10004
                         Tel: (212) 804-4282
                         lgura@moundcotton.com
                         pminetto@moundcotton.com
Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
Casualty Insurance       222 Delaware Avenue
Company, Liberty         Suite 1500
Insurance Underwriters,  Wilmington, DE 19801
Inc. and Liberty Surplus Telephone: (302) 888-0600
Insurance Corporation    khill@svglaw.com
(Appellants)
                         -and-

                           CHOATE, HALL & STEWART LLP
                           Douglas R. Gooding (pro hac vice)
                           Jonathan D. Marshall (pro hac vice)
                           Two International Place
                           Boston, MA 02110
                           Telephone: (617) 248-5000
                           dgooding@choate.com
                           jmarshall@choate.com

                           -and-

                           MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                           PC
                           Kim V. Marrkand (pro hac vice)
                           One Financial Center
                           Boston, MA 02111
                           Telephone: (617) 542-6000
                           kvmarrkand@mintz.com
Munich Reinsurance         DILWORTH PAXSON LLP
America, Inc., formerly    Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-      704 N. King Street, Suite 500
Insurance Company          P.O. Box 1031
(Appellant)                Wilmington, DE 19899-1031
                           (302) 571-8867 (telephone)
                           (302) 351-8735 (facsimile)

                                           9

                                      A00229
    Case: 23-1664        Document: 62-1      Page: 254      Date Filed: 07/24/2023




                           tweaver@dilworthlaw.com

                           -and-

                           DILWORTH PAXSON LLP
                           William E. McGrath, Jr. (pro hac vice)
                           2 Research Way, Suite 103
                           Princeton, NJ 08540
                           (609) 924-6000 (telephone)
                           (215) 893-8537 (facsimile)
                           wmcgrath@dilworthlaw.com
Traders and Pacific        COZEN O’CONNOR
Insurance Company,         Marla S. Benedek (No. 6638)
Endurance American         1201 N. Market Street, Suite 1001
Specialty Insurance        Wilmington, DE 19801
Company, and               Telephone: (302) 295-2024
Endurance American         Facsimile: (302) 250-4498
Insurance Company          mbenedek@cozen.com
(Appellants)
Old Republic Insurance     MORRIS JAMES LLP
Company                    Stephen M. Miller (No. 2610)
(Appellant)                Carl N. Kunz, III (No. 3201)
                           500 Delaware Avenue, Suite 1500
                           Wilmington, Delaware 19801
                           Telephone: (302) 888-6800
                           Facsimile: (302) 571-1750
                           smiller@morrisjames.com
                           ckunz@morrisjames.com

                           -and-

                           FOX SWIBEL LEVIN & CARROLL LLP
                           Margaret M. Anderson (pro hac vice)
                           Ryan T. Schultz (pro hac vice)
                           Adam A. Hachikian (pro hac vice)
                           Kenneth M. Thomas (pro hac vice)
                           200 W. Madison Street, Suite 3000
                           Chicago, Illinois 60606
                           Telephone: (312) 224-1200
                           Facsimile: (312) 224-1201
                           panderson@foxswibel.com
                           rschultz@foxswibel.com
                           ahachikian@foxswibel.com
                           kthomas@foxswibel.com


                                           10

                                       A00230
    Case: 23-1664        Document: 62-1     Page: 255      Date Filed: 07/24/2023




Travelers Casualty and     REGER RIZZO & DARNALL LLP
Surety Company, Inc.       Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty &    1521 Concord Pike Suite 305
Surety Company), St.       Brandywine Plaza West
Paul Surplus Lines         Wilmington DE 19803
Insurance Company and      Telephone: (302) 477-7100
Gulf Insurance Company     Facsimile: (302) 652-3620
(Appellants)               lrizzo@regerlaw.com
Lujan Claimants            LOIZIDES, P.A.
(Appellants)               Christopher D. Loizides (No. 3968)
                           1225 North King Street, Suite 800
                           Wilmington, DE 19801
                           Telephone: (302) 654-0248
                           Loizides@loizides.com

                           -and-

                           LUJAN & WOLFF LLP
                           Delia Lujan Wolff (pro hac vice)
                           Suite 300, DNA Bldg.
                           238 Archbishop Flores St.
                           Hagatna, Guam 96910
                           Telephone: (671) 477-8064/5
                           dslwolff@lawguam.com
Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
Claimants                  Charles J. Brown, III (No. 3368)
(Appellants)               1201 N. Orange St., 3rd Floor
                           Wilmington, DE 19801
                           Telephone: (302) 425-5813
                           cbrown@gsbblaw.com

                           -and-

                           DUMAS & VAUGHN, LLC
                           Gilion C. Dumas (pro hac vice)
                           3835 NE Hancock Street, Suite GLB
                           Portland, OR 97212
                           Telephone: (503) 616-5007
                           gilion@dumasandvaughn.com
Boy Scouts of America,     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Delaware BSA, LLC          Derek C. Abbott (No. 3376)
(Debtors/Appellees and     Andrew R. Remming (No. 5120)
Debtors in Possession)     Paige N. Topper (No. 6470)
                           1201 North Market Street, 16th Floor
                           P.O. Box 1347
                           Wilmington, Delaware 19899-1347

                                           11

                                      A00231
    Case: 23-1664   Document: 62-1     Page: 256      Date Filed: 07/24/2023




                      Telephone: (302) 658-9200
                      dabbott@morrisnichols.com
                      aremming@morrisnichols.com
                      ptopper@morrisnichols.com

                      - and -

                      WHITE & CASE LLP
                      Jessica C. Lauria (pro hac vice)
                      Glenn M. Kurtz (pro hac vice)
                      1221 Avenue of the Americas
                      New York, New York 10020
                      Telephone: (212) 819-8200
                      Email: jessica.lauria@whitecase.com
                      gkurtz@whitecase.com

                      - and -

                      WHITE & CASE LLP
                      Michael C. Andolina
                      Matthew E. Linder
                      Laura E. Baccash
                      Blair M. Warner
                      111 South Wacker Drive
                      Chicago, Illinois 60606
                      Telephone: (312) 881-5400
                      mandolina@whitecase.com
                      mlinder@whitecase.com
                      laura.baccash@whitecase.com
                      blair.warner@whitecase.com

                      - and -

                      WHITE & CASE LLP
                      Ronald K. Gorsich
                      Doah Kim
                      555 South Flower Street, Suite 2700
                      Los Angeles, CA 90071
                      Telephone: (213) 620-7700
                      rgorsich@whitecase.com
                      doah.kim@whitecase.com
Tort Claimants’       PACHULSKI STANG ZIEHL & JONES LLP
Committee             Richard M. Pachulski (pro hac vice)
(Appellee)            Alan J. Kornfeld (pro hac vice)
                      Debra I. Grassgreen (pro hac vice)
                      Iain A.W. Nasatir (pro hac vice)
                      James E. O’Neill (No. 4042)

                                      12

                                 A00232
    Case: 23-1664     Document: 62-1     Page: 257      Date Filed: 07/24/2023




                        919 North Market Street, 17th Floor
                        P.O. Box 8705
                        Wilmington, DE 19899-8705 (Courier 19801)
                        Telephone: (302) 652-4100
                        Fax: (302) 652-4400
                        Email: rpachulski@pszjlaw.com
                        akornfeld@pszjlaw.com
                        dgrassgreen@pszjlaw.com
                        inasatir@pszjlaw.com
                        joneill@pszjlaw.com
Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.
Scouts for Justice      Rachel B. Mersky (No. 2049)
(Appellee)              1201 North Orange Street, Suite 400
                        Wilmington, Delaware 19801
                        Telephone: (302) 656-8162
                        Fax: (302) 656-2769
                        Email: rmersky@monlaw.com

                        -and-

                        BROWN RUDNICK LLP
                        David J. Molton, Esq. (pro hac vice)
                        Eric R. Goodman, Esq. (pro hac vice)
                        Seven Times Square
                        New York, NY 10036
                        Telephone: (212) 209-4800
                        Fax: (212) 209-4801
                        Email: dmolton@brownrudnick.com
                        egoodman@brownrudnick.com

                        -and-

                        BROWN RUDNICK LLP
                        Sunni P. Beville, Esq. (pro hac vice)
                        Tristan G. Axelrod, Esq. (pro hac vice)
                        One Financial Center
                        Boston, MA 02111
                        Telephone: (617) 856-8200
                        Fax: (617) 856-8201
                        Email: sbeville@brownrudnick.com
                        taxelrod@brownrudnick.com
Future Claimants’       YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellee)              Robert S. Brady (No. 2847)
                        Edwin J. Harron (No. 3396)
                        Kenneth J. Enos (No. 4544)

                                        13

                                   A00233
    Case: 23-1664       Document: 62-1     Page: 258      Date Filed: 07/24/2023




                          Ashley E. Jacobs (No. 5635)
                          Rodney Square
                          1000 North King Street
                          Wilmington, Delaware 19801
                          Telephone: (302) 571-6600
                          Fax: (302) 571-1253
                          Email: rbrady@ycst.com
                          eharron@ycst.com
                          kenos@ycst.com
                          ajacobs@ycst.com

                          -and-

                          GILBERT LLP
                          Kami E. Quinn (pro hac vice)
                          Rachel H. Jennings (pro hac vice)
                          Kyle Y. Dechant (pro hac vice)
                          December L. Huddleston (pro hac vice)
                          700 Pennsylvania Ave, SE
                          Suite 400
                          Washington, DC 20003
                          Telephone: (202) 772-2200
                          Fax: (202) 772-3333
                          Email: quinnk@gilbertlegal.com
                          jenningsr@gilbertlegal.com
                          dechantk@gilbertlegal.com
                          huddlestond@gilbertlegal.com
The Zalkin Law Firm,      KTBS LAW LLP
P.C. and Pfau Cochran     Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC       Daniel J. Bussel (pro hac vice)
(Appellees)               Robert J. Pfister (pro hac vice)
                          Sasha M. Gurvitz (pro hac vice)
                          1801 Century Park East, Twenty-Sixth Floor
                          Los Angeles, California 90067
                          Telephone: (310) 407-4000
                          Fax: (310) 407-9090
                          Email: tpatterson@ktbslaw.com
                          dbussel@ktbslaw.com
                          rpfister@ktbslaw.com
                          sgurvitz@ktbslaw.com

                          -and-

                          BIELLI & KLAUDER, LLC
                          David M. Klauder, Esquire (No. 5769)
                          1204 N. King Street

                                          14

                                     A00234
    Case: 23-1664      Document: 62-1       Page: 259         Date Filed: 07/24/2023




                           Wilmington, DE 19801
                           Telephone: (302) 803-4600
                           Fax: (302) 397-2557
                           Email: dklauder@bk-legal.com
Hartford Accident and      BAYARD, P.A.
Indemnity Company,         Erin R. Fay (No. 5268)
First State Insurance      Gregory J. Flasser (No. 6154)
Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395
(Appellees)                Email: efay@bayardlaw.com
                           gflasser@bayardlaw.com

                           -and-

                           RUGGERI PARKS WEINBERG LLP
                           James P. Ruggeri (pro hac vice)
                           Joshua D. Weinberg (pro hac vice)
                           1875 K Street, N.W., Suite 600
                           Washington, D.C. 20006-1251
                           Telephone: (202) 469-7750
                           Fax: (202) 469-7751

                           -and-

                           WILMER CUTLER PICKERING HALE
                           AND DORR LLP
                           Philip D. Anker (pro hac vice)
                           7 World Trade Center
                           250 Greenwich Street
                           New York, N.Y. 10007
                           Telephone: (212) 230-8890
                           Fax: (212) 230-8888

                           Joel Millar (pro hac vice)
                           1875 Pennsylvania Avenue N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 663-6000
                           Fax: (202) 663-6363
Century Indemnity          STAMOULIS & WEINBLATT LLC
Company, as successor      Stamatios Stamoulis (No. 4606)
to CCI Insurance           800 N. West Street
Company, as successor      Third Floor Wilmington, Delaware 19801
to Insurance Company of    Telephone: 302 999 1540
North America and          Fax: 302 762 1688

                                           15

                                       A00235
    Case: 23-1664        Document: 62-1    Page: 260       Date Filed: 07/24/2023




Indemnity Insurance
Company of North           -and-
America
(Appellees)                O’MELVENY & MYERS LLP
                           Tancred Schiavoni (pro hac vice)
                           Times Square Tower
                           7 Times Square
                           New York, New York 10036-6537
                           Telephone: (212) 326-2000
                           Fax: (212) 326-2061

                           O’MELVENY & MYERS LLP
                           Stephen Warren (pro hac vice)
                           400 South Hope Street
                           Los Angeles, California 90071
                           Telephone: (213) 430-6000
                           Fax: (213) 430-6407

                           O’MELVENY & MYERS LLP
                           Jonathan D. Hacker (pro hac vice)
                           1625 Eye Street, N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 383-5300
Federal Insurance          STAMOULIS & WEINBLATT LLC
Company and                Stamatios Stamoulis (No. 4606)
Westchester Fire           8000 N. West Street, Third Floor
Insurance Company          Wilmington, Delaware 19801
(Appellees)                Telephone: (302) 999-1540

                           -and-

                           SIMPSON THATCHER & BARTLETT LLP
                           David Elbaum (pro hac vice)
                           425 Lexington Avenue
                           New York, New York 10017
                           Telephone: (212) 455-2000
American Zurich            TYBOUT, REDFEARN & PELL
Insurance Company,         Robert D. Cecil, Jr. (No. 5317)
American Guarantee         501 Carr Road, Suite 300
Insurance Company, and     Wilmington, Delaware 19899
Steadfast Insurance        Telephone: (302) 658-6901
Company                    Email: rcecil@trplaw.com
(Appellees)
                           -and-

                           CROWELL & MORING LLP

                                          16

                                      A00236
    Case: 23-1664       Document: 62-1      Page: 261      Date Filed: 07/24/2023




                           Mark D. Plevin (pro hac vice)
                           Kevin D. Cacabelos (pro hac vice)
                           Three Embarcadero Center, 26th Floor
                           San Francisco, California 94111
                           Telephone: (415) 986-2800
                           Email: mplevin@crowell.com
                           kcacabelos@crowell.com

                           Tacie H. Yoon (pro hac vice)
                           Rachel A. Jankowski (pro hac vice)
                           1001 Pennsylvania Ave., N.W.
                           Washington, D.C. 20004
                           Telephone: (202) 624-2500
                           Email: tyoon@crowell.com
                           rjankowski@crowell.com

Clarendon National         BALLARD SPAHR LLP
Insurance Company, as      Matthew G. Summers (No. 5533)
successor in interest by   Chantelle D. McClamb (No. 5978)
merger to Clarendon        919 N. Market Street, 11th Floor
America Insurance          Wilmington, Delaware 19801-3034
Company; River Thames      Telephone: (302) 252-4428
Insurance Company          Fax: (302) 252-4466
Limited (as successor in   Email: summersm@ballardspahr.com
interest to Unionamerica   mcclamb@ballardspahr.com
Insurance Company
Limited, on its own        -and-
behalf and in turn as
successor to St.           STEPTOE & JOHNSON LLP
Katherine Insurance        Harry Lee (pro hac vice)
Company Limited); and      John O’Connor (pro hac vice)
Zurich American            1330 Connecticut Avenue NW
Insurance Company, as      Washington, DC 20036
successor to Maryland      Telephone: (202) 429-8078
Casualty Company,          Fax: (202) 429-3902
Zurich Insurance           Email: hlee@steptoe.com
Company, and Maryland      joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of        DLA PIPER, LLP (US)
Local Councils of the      R. Craig Martin (No. 5032)
Boy Scouts of America      1201 North Market Street, Suite 2100
(Appellee)                 Wilmington, Delaware 19801-1147
                           Telephone: (302) 468-5655

                                           17

                                      A00237
      Case: 23-1664     Document: 62-1    Page: 262      Date Filed: 07/24/2023




                          Email: craig.martin@dlapiper.com

                          -and-

                          WACHTELL, LIPTON, ROSEN & KATZ
                          Richard G. Mason (pro hac vice)
                          Douglas K. Mayer (pro hac vice)
                          Joseph C. Celentino (pro hac vice)
                          Mitchell S. Levy (pro hac vice)
                          51 West 52nd Street
                          New York, New York 10019
                          Telephone: (212) 403-1000
                          Email: RGMason@wlrk.com
                          DKMayer@wlrk.com
                          JCCelentino@wlrk.com
                          MSLevy@wlrk.com


Dated: April 10, 2023
Wilmington, Delaware                        /s/ R. Karl Hill
                                            R. Karl Hill (Del. Bar No. 2747)
                                            SEITZ, VAN OGTROP & GREEN, P.A.
                                            222 Delaware Avenue
                                            Suite 1500
                                            Wilmington, Delaware 19801
                                            Telephone: (302) 888-0600
                                            Email: khill@svglaw.com

                                            -and-

                                              CHOATE, HALL & STEWART LLP
                                              Douglas R. Gooding (pro hac vice)
                                              Jonathan D. Marshall (pro hac vice)
                                              Two International Place
                                              Boston, MA 02110
                                              Telephone: (617) 248-5000
                                              dgooding@choate.com
                                              jmarshall@choate.com

                                              -and-

                                              MINTZ, LEVIN, COHN, FERRIS,
                                              GLOVSKY AND POPEO PC
                                              Kim V. Marrkand (pro hac vice)
                                              One Financial Center
                                              Boston, MA 02111

                                         18

                                     A00238
Case: 23-1664   Document: 62-1        Page: 263     Date Filed: 07/24/2023




                                      Telephone: (617) 542-6000
                                      kvmarrkand@mintz.com

                                      Counsel to Liberty Mutual Insurance Company,
                                      The Ohio Casualty Insurance Company,
                                      Liberty Insurance Underwriters, Inc., and
                                      Liberty Surplus Insurance Corporation




                                 19



                            A00239
          Case: 23-1664     Document: 62-1    Page: 264    Date Filed: 07/24/2023




                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE

In re:                                       Chapter 11

Boy Scouts of America and Delaware           Case No. 20-10343 (LLS)
BSA, LLC,
                                             (Jointly Administered)
                 Debtors.

National Union Fire Insurance Co. of
Pittsburgh, PA, et al.,                      Case No. 22-cv-01237-RGA
              Appellants.
v.                                           (Jointly Consolidated) 1

Boy Scouts of America and Delaware
BSA, LLC,

                Appellees.

                NOTICE OF APPEAL TO UNITED STATES
              COURT OF APPEALS FOR THE THIRD CIRCUIT

       The Dumas & Vaughn Claimants (“D & V Claimants”), appellants, appeal
to the United States Court of Appeals for the Third Circuit from the Order of the
district court for the district of Delaware, entered in this case on March 28, 2023,
affirming the Bankruptcy Court’s confirmation of Debtors’ plan of reorganization
(D.I. 151); the related Opinion of the district court (D.I. 150); the Bankruptcy
Court’s Order, dated September 8, 2022 (D.I. 1-1) (“Confirmation Order”); and the
Bankruptcy Court’s related Opinion, dated July 29, 2022 (Bankr. D.I. 10136), In re
Boy Scouts of Am., 642 B.R. 504 (Bankr. D. Del. 2022) (“Confirmation Opinion”).

      The parties to the order appealed from and the names and addresses of their
respective attorneys are as follows:

      1
            Case numbers 22-cv-01237, 22-cv-01238, 22-cv-01239, 22-cv-01240,
22-cv-01241, 22-cv-01242, 22-cv-01243, 22-cv-01244, 22-cv-01245, 22-cv-01246,
22-cv-01247, 22-cv-01249, 22-cv-01250, 22-cv-01251, 22-cv-01252, 22-cv-01258,
and 22-cv-01263 have been jointly consolidated under 22-cv-01237. The D & V
Claimants’ appeal is docketed at 22-cv-01249.


                                        A00240
     Case: 23-1664     Document: 62-1       Page: 265   Date Filed: 07/24/2023




Dumas & Vaughn         GELLERT SCALI BUSENKELL & BROWN, LLC
Claimants              Charles J. Brown, III (DE 3368)
(Appellants)           1201 N. Orange St., 3rd Floor
                       Wilmington, DE 19801
                       Phone: (302) 425-5813
                       Email: cbrown@gsbblaw.com

                       -and-

                       DUMAS & VAUGHN, LLC
                       Gilion C. Dumas
                       3835 NE Hancock St., Ste. GL-B
                       Portland, OR 97212
                       Telephone: (503) 616-5007
                       Email: gilion@dumasandvaughn.com

Lujan Claimants        LOIZIDES, P.A.
(Appellants)           Christopher D. Loizides (DE No. 3968)
                       1225 North King Street, Suite 800
                       Wilmington, DE 19801
                       Telephone: (302) 654-0248
                       Email: Loizides@loizides.com

                       -and-

                       LUJAN & WOLFF LLP
                       Delia Lujan Wolff (pro hac vice)
                       Suite 300, DNA Bldg.
                       238 Archbishop Flores St.
                       Hagatna, Guam 96910
                       Telephone: (671) 477-8064/5
                       Email: dslwolff@lawguam.com

Allianz Global Risks   TROUTMAN PEPPER HAMILTON SANDERS LLP
US                     David M. Fournier (DE No. 2812)
Insurance Company      Marcy J. McLaughlin Smith (DE No. 6184)
(Appellants)           Hercules Plaza
                       1313 Market Street
                       Suite 5100
                                        2


                                   A00241
     Case: 23-1664   Document: 62-1       Page: 266   Date Filed: 07/24/2023


                     P.O. Box 1709
                     Wilmington, DE 19899-1709
                     Telephone: (404) 885-3000
                     Email: david.fournier@troutman.com
                     marcy.smith@troutman.com

                     -and-

                     PARKER, HUDSON, RAINER & DOBBS
                     Harris B. Winsberg (pro hac vice)
                     Matthew G. Roberts (pro hac vice)
                     303 Peachtree Street NE
                     Suite 3600
                     Atlanta, GA 30308
                     Telephone: (404) 420-4313
                     Email: hwinsberg@phrd.com
                     mroberts@phrd.com

                     -and-

                     McDERMOTT WILL & EMERY LLP
                     Margaret H. Warner (pro hac vice)
                     Ryan S. Smethurst (pro hac vice)
                     Alex M. Spisak (pro hac vice)
                     The McDermott Building
                     500 North Capitol Street, NW
                     Washington, DC 20001-1531
                     Telephone: (202) 756-8228
                     Email: mwarner@mwe.com
                     rsmethurst@mwe.com
                     aspisak@mwe.com

Arch Insurance       SMITH, KATZENSTEIN & JENKINS LLP
Company              Kathleen M. Miller (DE No. 2898)
(Appellants)         1000 North West Street
                     Suite 1501
                     P.O. Box 410
                     Wilmington, DE 19899
                     Telephone: (302) 652-8400
                     Email: kmiller@skjlaw.com
                                      3


                                 A00242
     Case: 23-1664   Document: 62-1       Page: 267   Date Filed: 07/24/2023




                     -and-

                     HANGLEY ARONCHICK SEGAL PUDLIN &
                     SCHILLER
                     Ronald P. Schiller (pro hac vice)
                     Matthew A. Hamermesh (pro hac vice)
                     One Logan Square, 27th Floor
                     Philadelphia, PA 19103
                     Telephone: (215) 568 6200
                     Email: rschiller@hangley.com
                     mhamermesh@hangley.com

Argonaut Insurance   POST & SCHELL, P.C.
Company and          Paul Logan (DE No. 3339)
Colony Insurance     300 Delaware Avenue
Company              Suite 1380
(Appellants)         Wilmington, DE 19801
                     Telephone: (302) 251-8856
                     Email: plogan@postschell.com

                     John C. Sullivan (pro hac vice)
                     Kathleen K. Kerns (pro hac vice)
                     Four Penn Center – 13th Floor
                     1600 John F. Kennedy Boulevard
                     Philadelphia, PA 19103
                     Email: jsullivan@postschell.com
                     kkerns@postschell.com

                     -and-

                     IFRAH PLLC
                     George R. Calhoun (pro hac vice)
                     1717 Pennsylvania Ave., N.W., Suite 650
                     Washington, DC 20006
                     Telephone: (202) 840-8758
                     Email: george@ifrahlaw.com

Arrowood          JOYCE, LLC
Indemnity Company Michael J. Joyce (DE No. 4563)
                                      4


                                 A00243
     Case: 23-1664   Document: 62-1       Page: 268   Date Filed: 07/24/2023


(Appellants)         1225 King Street, Suite 800
                     Wilmington, DE 19801
                     Telephone: (302) 388-1944
                     Email: mjoyce@mjlawoffices.com

                     -and-

                     COUGHLIN MIDLIGE & GARLAND, LLP
                     Kevin Coughlin (pro hac vice)
                     Lorraine Armenti (pro hac vice)
                     Michael Hrinewski (pro hac vice)
                     350 Mount Kemble Ave., PO Box 1917
                     Morristown, NJ 07962
                     Telephone: (973) 267-0058
                     Email: larmenti@cmg.law
                     mhrinewski@cmg.law

                     -and-

                     CARRUTHERS & ROTH, P.A.
                     Britton C. Lewis
                     John M. Flynn
                     235 N. Edgeworth St., P.O. Box 540
                     Greensboro, NC 27401
                     Telephone: (336) 478-1146
                     Email: bcl@crlaw.com
                     bcl@crlaw.com

The Continental      GOLDSTEIN & MCCLINTOCK LLLP
Insurance Company    Maria Aprile Sawczuk (DE No. 3320)
and Columbia         501 Silverside Road
Casualty Company     Wilmington, DE 19809
(Appellants)         Telephone: (302) 444-6710
                     Email: marias@goldmclaw.com

                     -and-

                     LOEB & LOEB LLP
                     Laura McNally (pro hac vice)
                     Emily Stone (pro hac vice)
                                      5


                                 A00244
     Case: 23-1664   Document: 62-1       Page: 269    Date Filed: 07/24/2023


                     321 N. Clark Street, Suite 2300
                     Chicago, IL 60654
                     Telephone: (312) 464-3155
                     Email: lmcnally@loeb.com
                     estone@loeb.com

Gemini Insurance     WERB & SULLIVAN
Company              Brian A. Sullivan (DE No. 2098)
(Appellants)         LEGAL ARTS BUILDING
                     1225 N. King Street
                     Suite 600
                     Wilmington, Delaware 19801
                     Telephone: (302) 652-1100
                     Email: bsullivan@werbsullivan.com

                     -and-

                     GIEGER LABORDE & LAPEROUOSE, LLC
                     John E.W. Baay II (pro hac vice)
                     701 Poydras Street
                     Suite 4800
                     New Orleans, LA 70139
                     Telephone: (504) 561-0400
                     Email: jbaay@glllaw.com

                     -and-

                     KIERNAN TREBACH LLP
                     William H. White Jr (pro hac vice)
                     1233 20th Street, NW
                     8th Floor
                     Washington, DC 20036
                     Telephone: (202) 712-7000
                     Email: wwhite@kiernantrebach.com

General Star      SMITH, KATZENSTEIN & JENKINS LLP
Indemnity Company Kathleen M. Miller (DE No. 2898)
(Appellants)      1000 West Street, Suite 501
                  P.O. Box 410
                  Wilmington, DE 19899
                                      6


                                  A00245
     Case: 23-1664    Document: 62-1       Page: 270   Date Filed: 07/24/2023


                      Telephone: (302) 652-8400
                      Email: kmiller@skjlaw.com

                      -and-

                      WILEY REIN LLP
                      Mary E. Borja (pro hac vice)
                      Gary P. Seligman (pro hac vice)
                      Ashley L. Criss (pro hac vice)
                      2050 M Street NW
                      Washington, DC 20036
                      Telephone: (202) 719-7000
                      Email: mborja@wiley.law
                      gseligman@wiley.law
                      acriss@wiley.law

Great American        BODELL BOVÉ, LLC
Assurance             Bruce W. McCullough (DE No. 3112)
Company, f/k/a        1225 N. King Street, Suite 1000
Agricultural          P.O. Box 397
Insurance Company;    Wilmington, DE 19899-0397
Great American        Telephone: (302) 655-6749,
E&S Insurance         Email: bmccullough@bodellbove.com
Company, f/k/a
Agricultural Excess   -and-
and Surplus
Insurance Company;    CLYDE & CO US LLP
and Great American    Bruce D. Celebrezze (pro hac vice)
E&S Insurance         150 California Street, 15th Floor
Company               San Francisco, California 94111
(Appellants)          Telephone: (415) 365-9800
                      Email: bruce.celebrezze@clydeco.us

                      CLYDE & CO US LLP
                      Konrad R. Krebs (pro hac vice)
                      340 Mt. Kemble Avenue, Suite 300
                      Morristown, NJ 07960
                      Telephone: (973) 210-6700
                      Email: konrad.krebs@clydeco.us

                                       7


                                  A00246
      Case: 23-1664    Document: 62-1   Page: 271   Date Filed: 07/24/2023


                      -and-

                      DAVID CHRISTIAN ATTORNEYS LLC
                      David Christian (pro hac vice)
                      105 W. Madison St., Suite 1400
                      Chicago, IL 60602
                      Telephone: (312) 282-5282
                      Email: dchristian@dca.law

Indian Harbor         SMITH, KATZENSTEIN & JENKINS LLP
Insurance Company,    Kathleen M. Miller (DE No. 2898)
on behalf of itself   1000 West Street, Suite 1501
and as successor in   P.O. Box 410
interest to Catlin    Wilmington, DE 19899
Specialty Insurance   Telephone: (302) 652-8400
Company               Email: kmiller@skjlaw.com
(Appellants)
                      -and-

                      MOUND COTTON WOLLAN & GREENGRASS LLP
                      Lloyd A. Gura (pro hac vice)
                      Pamela J. Minetto (pro hac vice)
                      One New York Plaza 44th Floor
                      New York, NY 10004
                      Telephone: (212) 804-4282
                      Email: lgura@moundcotton.com
                      pminetto@moundcotton.com

Liberty Mutual        SEITZ, VAN OGTROP & GREEN, P.A
Insurance Company,    R. Karl Hill (DE No. 2747)
The Ohio Casualty     222 Delaware Avenue
Insurance Company,    Suite 1500
Liberty Insurance     Wilmington, Delaware 19801
Underwriters Inc.,    Telephone: (302) 888-0600
Liberty Surplus       Email: khill@svglaw.com
Insurance
Corporation,          -and-
(Appellants)
                      CHOATE, HALL & STEWART, LLP
                      Douglas R. Gooding (pro hac vice)
                                    8


                                   A00247
     Case: 23-1664   Document: 62-1       Page: 272   Date Filed: 07/24/2023


                     Jonathan D. Marshall (pro hac vice)
                     Two International Place
                     Boston, MA 02110
                     Telephone: (617) 248-5000
                     Email: dgooding@choate.com
                     jmarshall@choate.com

                     -and-

                     MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND
                     POPEO PC
                     Kim V. Marrkand (pro hac vice)
                     One Financial Center
                     Boston, MA 02111
                     Telephone: (617) 542-6000
                     Email: kmarrkand@mintz.com

Munich Reinsurance   DILWORTH PAXSON LLP
America, Inc.,       Thaddeus J. Weaver (DE No. 2790)
formerly known as    704 King Street, Suite 500
American Re-         P.O. Box 1031
Insurance Company    Wilmington, DE 19899-1031
(Appellants)         Telephone: (302) 571-8867
                     Email: tweaver@dilworthlaw.com

                     DILWORTH PAXSON LLP
                     William E. McGrath, Jr. (pro hac vice)
                     2 Research Way, Suite 103
                     Princeton, NJ 08540
                     Telephone: (609) 924-6000
                     Email: wmcgrath@dilworthlaw.com

National Surety      TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and      David M. Fournier (DE No. 2812)
Interstate Fire &    Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company     Hercules Plaza, Suite 5100
(Appellants)         1313 Market Street
                     P.O. Box 1709
                     Wilmington, DE 19899-1709
                     Telephone: (302) 777-6500
                                      9


                                  A00248
     Case: 23-1664    Document: 62-1     Page: 273   Date Filed: 07/24/2023


                      Email: david.fournier@troutman.com
                      marcy.smith@troutman.com

                      -and-

                      Parker, Hudson, Rainer & Dobbs
                      Harris B. Winsberg (pro hac vice)
                      Matthew G. Roberts (pro hac vice)
                      303 Peachtree Street NE
                      Suite 3600
                      Atlanta, GA 30308
                      Telephone: (404) 420-4313
                      Email: hwinsberg@phrd.com
                      mroberts@phrd.com

                      -and-

                      BRADLEY RILEY JACOBS PC
                      Todd C. Jacobs (pro hac vice)
                      John E. Bucheit (pro hac vice)
                      Paul J. Esker (pro hac vice)
                      500 West Madison Street
                      Suite 1000
                      Chicago, IL 60661
                      Telephone: (312) 281-0295
                      Email: TJacobs@bradleyriley.com
                      jbucheit@bradleyriley.com
                      pesker@bradleyriley.com

National Union Fire   FINEMAN KREKSTEIN & HARRIS PC
Insurance Company     Deirdre M. Richards
of Pittsburgh, Pa.,   1300 N. King Street
Lexington Insurance   Wilmington, DE 19801
Company,              Telephone: (302) 538-8331
Landmark Insurance    Email: drichards@finemanlawfirm.com
Company, and The
Insurance Company     -and-
of the State of
Pennsylvania (the     GIBSON, DUNN & CRUTCHER LLP
“AIG Companies”)      Michael A. Rosenthal (pro hac vice)
                                    10


                                  A00249
     Case: 23-1664   Document: 62-1     Page: 274   Date Filed: 07/24/2023


(Appellants)         Mitchell A. Karlan (pro hac vice)
                     James Hallowell (pro hac vice)
                     Keith R. Martorana (pro hac vice)
                     Seth M. Rokosky (pro hac vice)
                     200 Park Avenue
                     New York, New York 10166
                     Telephone: (212) 351-4000
                     Email: mrosenthal@gibsondunn.com
                     mkarlan@gibsondunn.com
                     jhallowell@gibsondunn.com
                     kmartorana@gibsondunn.com
                     srokosky@gibsondunn.com

                     GIBSON, DUNN & CRUTCHER LLP
                     Theodore J. Boutrous Jr. (pro hac vice)
                     Richard J. Doren (pro hac vice)
                     Blaine H. Evanson (pro hac vice)
                     333 South Grand Avenue
                     Los Angeles, California 90071
                     Telephone: (213) 229-7038
                     Email: rdoren@gibsondunn.com
                     bevanson@gibsondunn.com
                     tboutrous@gibsondunn.com

                     -and-

                     FORAN GLENNON PALANDECH PONZI &
                     RUDLOFF P.C.
                     Susan N.K. Gummow
                     222 N. LaSalle St., Suite 1400
                     Chicago, Illinois 60601
                     Telephone: (312) 863-5000
                     Email: sgummow@fgppr.com

Old Republic         MORRIS JAMES LLP
Insurance Company    Stephen M. Miller (DE No. 2610)
(Appellants)         Carl N. Kunz, III (DE No. 3201)
                     500 Delaware Avenue, Suite 1500
                     Wilmington, Delaware 19801
                     Telephone: (302) 888-6800
                                   11


                                 A00250
      Case: 23-1664    Document: 62-1    Page: 275   Date Filed: 07/24/2023


                       Email: smiller@morrisjames.com
                       ckunz@morrisjames.com

                       -and-

                    FOX SWIBEL LEVIN & CARROLL LLP
                    Margaret M. Anderson (pro hac vice)
                    Ryan T. Schultz (pro hac vice)
                    Adam A. Hachikian (pro hac vice)
                    Kenneth M. Thomas (pro hac vice)
                    200 W. Madison Street, Suite 3000
                    Chicago, Illinois 60606
                    Telephone: (312) 224-1200
                    Email: panderson@foxswibel.com
                    rschultz@foxswibel.com
                    ahachikian@foxswibel.com
                    kthomas@foxswibel.com
Traders and Pacific COZEN O’CONNOR
Insurance Company, Marla S. Benedek (DE No. 6638)
Endurance           1201 N. Market Street, Suite 1001
American Specialty Wilmington, DE 19801
Insurance Company, Telephone: (302) 295-2024
and Endurance       Email: mbenedek@cozen.com
American Insurance
Company
(Appellants)

Travelers Casualty     REGER RIZZO & DARNALL LLP
and Surety             Louis J. Rizzo, Jr. (DE No. 3374)
Company, Inc. (f/k/a   1521 Concord Pike, Suite 305
Aetna Casualty &       Brandywine Plaza West
Surety Company),       Wilmington, Delaware 19803
St. Paul Surplus       Telephone: (302) 477-7100
Lines Insurance        Email: lrizzo@regerlaw.com
Company and Gulf
Insurance Company
(Appellants)




                                    12


                                   A00251
     Case: 23-1664    Document: 62-1     Page: 276   Date Filed: 07/24/2023


Boy Scouts of         MORRIS, NICHOLS, ARSHT & TUNNELL LLP
America, and          Derek C. Abbott (DE No. 3376)
Delaware BSA, LLC     Andrew R. Remming (DE No. 5120)
(Debtors/Appellees)   Paige N. Topper (DE No. 6470)
                      1201 North Market Street, 16th Floor
                      P.O. Box 1347
                      Wilmington, Delaware 19899-1347
                      Telephone: (302) 658-9200
                      Email: dabbot@morrisnichols.com
                      aremming@morrisnichols.com
                      ptopper@morrisnichols.com

                      – and –

                      WHITE & CASE LLP
                      Jessica C. Lauria (pro hac vice)
                      Glenn M. Kurtz (pro hac vice)
                      1221 Avenue of the Americas
                      New York, New York 10020
                      Telephone: (212) 819-8200
                      Email: jessica.lauria@whitecase.com
                      gkurtz@whitecase.com

                      – and –

                      WHITE & CASE LLP
                      Michael C. Andolina
                      Matthew E. Linder
                      Laura E. Baccash
                      Blair M. Warner
                      111 South Wacker Drive
                      Chicago, Illinois 60606
                      Telephone: (312) 881-5400
                      Email: mandolina@whitecase.com
                      mlinder@whitecase.com
                      laura.baccash@whitecase.com
                      blair.warner@whitecase.com

                      – and –


                                    13


                                  A00252
      Case: 23-1664   Document: 62-1     Page: 277   Date Filed: 07/24/2023


                      WHITE & CASE LLP
                      Ronald K. Gorsich
                      Doah Kim
                      555 South Flower Street, Suite 2700
                      Los Angeles, CA 90071
                      Telephone: (213) 620-7700
                      rgorsich@whitecase.com
                      doah.kim@whitecase.com

Tort Claimants’       PACHULSKI STANG ZIEHL & JONES LLP
Committee             Richard M. Pachulski (pro hac vice)
(Appellees)           Alan J. Kornfeld (pro hac vice)
                      Debra I. Grassgreen (pro hac vice)
                      Iain A.W. Nasatir (pro hac vice)
                      James E. O’Neill (DE No. 4042)
                      919 North Market Street, 17th Floor
                      P.O. Box 8705
                      Wilmington, DE 19899-8705 (Courier 19801)
                      Telephone: (302) 652-4100
                      Email: rpachulski@pszjlaw.com
                      akornfeld@pszjlaw.com
                      dgrassgreen@pszjlaw.com
                      inasatir@pszjlaw.com
                      joneill@pszjlaw.com

Coalition of Abused   MONZACK MERSKY AND BROWDER, P.A
Scouts for Justice    Rachel B. Mersky (DE No. 2049)
(Appellees)           1201 North Orange Street, Suite 400
                      Wilmington, Delaware 19801
                      Telephone: (302) 656-8162
                      Email: rmersky@monlaw.com

                      –and–

                      BROWN RUDNICK LLP
                      David J. Molton (pro hac vice)
                      Eric R. Goodman (pro hac vice)
                      Seven Times Square
                      New York, NY 10036
                      Telephone: (212) 209-4800
                                    14


                                   A00253
     Case: 23-1664   Document: 62-1     Page: 278   Date Filed: 07/24/2023


                     Email: dmolton@brownrudnick.com
                     egoodman@brownrudnick.com

                     –and–

                     BROWN RUDNICK LLP
                     Sunni P. Beville (pro hac vice)
                     Tristan G. Axelrod (pro hac vice)
                     One Financial Center
                     Boston, MA 02111
                     Telephone: (617) 856-8200
                     Email: sbeville@brownrudnick.com
                     taxelrod@brownrudnick.com

Future Claimants’    YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative       Robert S. Brady (DE No. 2847)
(Appellees)          Edwin J. Harron (DE No. 3396)
                     Kenneth J. Enos (DE No. 4544)
                     Ashley E. Jacobs (DE No. 5635)
                     Rodney Square
                     1000 North King Street
                     Wilmington, Delaware 19801
                     Telephone: (302) 571-6600
                     Email: rbrady@ycst.com
                     eharron@ycst.com
                     kenos@ycst.com
                     ajacobs@ycst.com

                     -and-

                     GILBERT LLP
                     Kami E. Quinn (pro hac vice)
                     Rachel H. Jennings (pro hac vice)
                     Kyle Y. Dechant (pro hac vice)
                     December L. Huddleston (pro hac vice)
                     700 Pennsylvania Ave., SE, Suite 400
                     Washington, DC 20003
                     Telephone: (202) 772-2200
                     Email: quinnk@gilbertlegal.com
                     jenningsr@gilbertlegal.com
                                   15


                                 A00254
      Case: 23-1664    Document: 62-1     Page: 279   Date Filed: 07/24/2023


                       denchantk@gilbertlegal.com
                       huddlestond@gilbertlegal.com

The Zalkin Law         KTBS LAW LLP
Firm, P.C. and Pfau    Thomas E. Patterson (pro hac vice)
Cochran Vertetis       Daniel J. Bussel (pro hac vice)
Amala PLLC             Robert J. Pfister (pro hac vice)
(Appellees)            Sasha M. Gurvitz (pro hac vice)
                       1801 Century Park East, Twenty-Sixth Floor
                       Los Angeles, California 90067
                       Telephone (310) 407-4000
                       Email: tpatterson@ktbslaw.com
                       dbussel@ktbslaw.com
                       rpfister@ktbslaw.com
                       sgurvitz@ktbslaw.com

                       -and-

                       BIELLI & KLAUDER, LLC
                       David M. Klauder (DE No. 5769)
                       1204 N. King Street
                       Wilmington, DE 19801
                       Telephone: (302) 803-4600
                       Email: dklauder@bk-legal.com

Hartford Accident      BAYARD, P.A.
and Indemnity          Erin R. Fay (DE No. 5268)
Company, First         Gregory J. Flasser (DE No. 6154)
State Insurance        600 North King Street, Suite 400
Company, Twin          Wilmington, DE 19801
City Fire Insurance    Telephone: (302) 655-5000
Company, and           Email: efay@bayardlaw.com
Navigators Specialty   gflasser@bayardlaw.com
Insurance Company
(Appellees)            -and-

                       RUGGERI PARKS WEINBERG LLP
                       James P. Ruggeri (pro hac vice)
                       Joshua D. Weinberg (pro hac vice)
                       1875 K Street, N.W., Suite 600
                                     16


                                   A00255
     Case: 23-1664   Document: 62-1     Page: 280   Date Filed: 07/24/2023


                     Washington, D.C. 20006-1251
                     Telephone: (202) 469-7750
                     Email: jruggeri@ruggerilaw.com
                     jweinberg@ruggerilaw.com

                     -and-

                     WILMER CUTLER PICKERING HALE
                     AND DORR LLP
                     Philip D. Anker (pro hac vice)
                     7 World Trade Center
                     250 Greenwich Street
                     New York, N.Y. 10007
                     Telephone: (212) 230-8890
                     Email: philip.anker@wilmerhale.com

                     Joel Millar (pro hac vice)
                     1875 Pennsylvania Avenue N.W.
                     Washington, D.C. 20006
                     Telephone: (202) 663-6000
                     Email: joel.millar@wilmerhale.com

Century Indemnity    STAMOULIS & WEINBLATT LLC
Company, as          Stamatios Stamoulis (DE No. 4606)
successor to CCI     800 N. West Street
Insurance Company,   Third Floor Wilmington, Delaware 19801
as successor to      Telephone: (302) 999-1540
Insurance Company    Email: stamoulis@swdelaw.com
of North America
and Indemnity        -and-
Insurance Company
of North America     O’MELVENY & MYERS LLP
(Appellees)          Tancred Schiavoni (pro hac vice)
                     Times Square Tower
                     7 Times Square
                     New York, New York 10036-6537
                     Telephone: (212) 326-2000
                     Email: tschiavoni@omm.com



                                   17


                                 A00256
     Case: 23-1664   Document: 62-1     Page: 281   Date Filed: 07/24/2023


                     O’MELVENY & MYERS LLP
                     Steve Warren
                     400 South Hope Street
                     Los Angeles, California 90071
                     Telephone: (213) 430-6000
                     Email: swarren@omm.com

                     O’MELVENY & MYERS LLP
                     Jonathan D. Hacker (pro hac vice)
                     1625 Eye Street, N.W.
                     Washington, D.C. 20006
                     Telephone: (202) 383-5300
                     Email: jhacker@omm.com

American Zurich      TYBOUT, REDFEARN & PELL
Insurance Company,   Robert D. Cecil, Jr. (DE No. 5317)
American Guarantee   501 Carr Road, Suite 300
Insurance Company,   Wilmington, Delaware 19899
and Steadfast        Telephone: (302) 658-6901
Insurance Company    Email: rcecil@trplaw.com
(Appellees)
                     -and-

                     CROWELL & MORING LLP
                     Mark D. Plevin (pro hac vice)
                     Kevin D. Cacabelos (pro hac vice)
                     Three Embarcadero Center, 26th Floor
                     San Francisco, California 94111
                     Telephone: (415) 986-2800
                     Email: mplevin@crowell.com
                     kcacabelos@crowell.com

                     Tacie H. Yoon (pro hac vice)
                     Rachel A. Jankowski (pro hac vice)
                     1001 Pennsylvania Ave., N.W.
                     Washington, D.C. 20004
                     Telephone: (202) 624-2500
                     Email: tyoon@crowell.com
                     rjankowski@crowell.com

                                   18


                                 A00257
      Case: 23-1664     Document: 62-1     Page: 282   Date Filed: 07/24/2023


Clarendon National      BALLARD SPAHR LLP
Insurance Company,      Matthew G. Summers (DE No. 5533)
as successor in         Chantelle D. McClamb (DE No. 5978)
interest by merger to   919 N. Market Street, 11th Floor
Clarendon America       Wilmington, Delaware 19801-3034
Insurance Company;      Telephone: (302) 252-4428
River Thames            Email: summersm@ballardspahr.com
Insurance Company       mcclambc@ballardspahr.com
Limited, as
successor in interest   -and-
to Union America
Insurance Company;      STEPTOE & JOHNSON LLP
and Zurich              Harry Lee (pro hac vice)
American Insurance      John O’Connor (pro hac vice)
Company, as             1330 Connecticut Avenue NW
successor to            Washington, DC 20036
Maryland Casualty       Telephone: (202) 429-8078
Company, Zurich         Email: hlee@steptoe.com
Insurance Company,      joconnor@steptoe.com
and American
General Fire &
Casualty Company
(Appellees)

Ad Hoc Committee        DLA PIPER LLC (US)
of Local Councils of    R. Craig Martin (DE No. 5032)
the Boy Scouts of       1201 North Market Street, Suite 2100
America                 Wilmington, Delaware 19801-1147
(Appellees)             Telephone: (302) 468-5655
                        Email: craig.martin@dlapiper.com

                        -and-

                        WACHTELL, LIPTON, ROSEN & KATZ
                        Richard G. Mason (pro hac vice)
                        Douglas K. Mayer (pro hac vice)
                        Joseph C. Celentino (pro hac vice)
                        Mitchell S. Levy (pro hac vice)
                        51 West 52nd Street
                        New York, New York 10019
                                      19


                                    A00258
       Case: 23-1664    Document: 62-1        Page: 283   Date Filed: 07/24/2023


                        Telephone: (212) 403-1000
                        Email: RGMason@wlrk.com
                        DKMayer@wlrk.com
                        JCCelentino@wlrk.com
                        MSLevy@wlrk.com
 Federal Insurance      STAMOULIS & WEINBLATT LLC
 Company and            Stamatios Stamoulis (DE No. 4606)
 Westchester Fire       800 N. West Street
 Insurance Company      Third Floor Wilmington, Delaware 19801
 (Appellees)            Telephone: (302) 999-1540
                        Email: stamoulis@swdelaw.com

                        -and-

                        SIMPSON THACHER & BARTLETT LLP
                        David Elbaum (pro hac vice)
                        425 Lexington Avenue
                        New York, New York 10017
                        Telephone: (212) 455-2846
                        Email: david.elbaum@stblaw.com

Dated: April 10, 2023   GELLERT SCALI BUSENKELL & BROWN LLC

                                    /s/ Charles J. Brown, III
                                    Charles J. Brown, III (DE No. 3368)
                                    1201 N. Orange St., 3rd Floor
                                    Wilmington, DE 19801
                                    Phone: (302) 425-5813
                                    Email: cbrown@gsbblaw.com

                                    DUMAS & VAUGHN, LLC

                                    /s/ Gilion C. Dumas
                                    Dumas & Vaughn, LLC, pro hac vice
                                    3835 NE Hancock Street, Suite GLB
                                    Portland, OR 97212
                                    Telephone: (503) 616-5007
                                    Email: gilion@dumasandvaughn.com

                                    Counsel to D & V Claimants
                                         20


                                    A00259
          Case: 23-1664        Document: 62-1       Page: 284       Date Filed: 07/24/2023


                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                            Chapter 11

 Boy Scouts of America and Delaware BSA,           Case No. 20-10343 (LLS)
 LLC,
                                                   (Jointly Administered)
                    Debtors.

 National Union Fire Insurance Co. of
 Pittsburgh, PA, et al.,                           Case No. 22-cv-01237-RGA
                   Appellants.
 v.                                                (Jointly Consolidated)

 Boy Scouts of America and Delaware BSA,
 LLC,

                   Appellees.

                                 CERTIFICATE OF SERVICE

        I, Charles J. Brown, III, hereby certify that on April 10, 2023, I caused a copy of the
foregoing Notice of Appeal to United States Court of Appeals for the Third Circuit to be
electronically filed and served on all registered users of the Court’s Case Management/
Electronic Case File (“CM/ECF”) in this case via CM/ECF.

Dated: April 10, 2023                         BY: /s/ Charles J. Brown, III
                                              Charles J. Brown, III (No. 3368)
                                              1201 N. Orange St., 3rd Floor
                                              Wilmington, DE 19801
                                              Phone: (302) 425-5813
                                              Email: cbrown@gsbblaw.com


                                              Counsel to D & V Claimants




                                              A00260
          Case: 23-1664       Document: 62-1       Page: 285        Date Filed: 07/24/2023


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11

                                                       Bankruptcy Case
BOY SCOUTS OF AMERICA AND                              No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                       (Jointly Administered)
                      Debtors.



NATIONAL UNION FIRE INSURANCE CO.                      Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                      Appellants,

               v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                      Appellees.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellants, Continental Insurance Company and

 Columbia Casualty Company, appeal to the United States Court of Appeals for the Third Circuit

 from the final Order and accompanying Opinion of the United States District Court for the District

 of Delaware (Hon. Richard G. Andrews), entered March 28, 2023 (D.I. 150, 151), among other

 things affirming the Supplemental Findings of Fact and Conclusions of Law and Order Confirming

 the Third Modified Fifth Amended Chapter 11 Plan of Reorganization (with Technical

 Modifications) for Boy Scouts of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and

 accompanying Opinion (Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the




                                             A00261
          Case: 23-1664       Document: 62-1         Page: 286   Date Filed: 07/24/2023


District of Delaware (Hon. Laurie S. Silverstein), and all other orders, decisions, and opinions

subsumed therein.

       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000
                               Email: mrosenthal@gibsondunn.com
                               mkarlan@gibsondunn.com
                               jhallowell@gibsondunn.com
                               kmartorana@gibsondunn.com
                               srokosky@gibsondunn.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Theodore J. Boutrous Jr. (pro hac vice)
                               Richard J. Doren (pro hac vice)
                               Blaine H. Evanson (pro hac vice)
                               333 South Grand Avenue
                               Los Angeles, California 90071
                               Telephone: (213) 229-7038
                               Email: rdoren@gibsondunn.com
                               bevanson@gibsondunn.com
                               tboutrous@gibsondunn.com

                               FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                               Susan N.K. Gummow
                               222 N. LaSalle St., Suite 1400

                                                 2



                                                A00262
    Case: 23-1664         Document: 62-1   Page: 287   Date Filed: 07/24/2023


                            Chicago, Illinois 60601
                            Telephone: (312) 863-5000
                            Email: sgummow@fgppr.com
Allianz Global Risks US     TROUTMAN PEPPER HAMILTON SANDERS LLP
Insurance Company           David M. Fournier (DE Bar No. 2812)
(Appellant)                 Marcy J. McLaughlin Smith (DE No. 6184)
                            Hercules Plaza
                            1313 Market Street
                            Suite 5100
                            P.O. Box 1709
                            Wilmington, DE 19899-1709
                            Telephone: 404.885.3000
                            david.fournier@troutman.com
                            marcy.smith@troutman.com

                            -and-

                            PARKER, HUDSON, RAINER & DOBBS LLP
                            Harris B. Winsberg (pro hac vice)
                            Matthew G. Roberts (pro hac vice)
                            303 Peachtree Street NE
                            Suite 3600
                            Atlanta, GA 30308
                            Telephone: 404.420.4313
                            Facsimile: 404.522.8409
                            hwinsberg@phrd.com
                            mroberts@phrd.com

                            -and-

                            McDERMOTT WILL & EMERY LLP
                            Margaret H. Warner (pro hac vice)
                            Ryan S. Smethurst (pro hac vice)
                            Alex M. Spisak (pro hac vice)
                            The McDermott Building
                            500 North Capitol Street, NW
                            Washington, DC 20001-1531
                            Telephone: 202.756.8228
                            Facsimile: 202.756.8087
                            mwarner@mwe.com
                            rsmethurst@mwe.com
                            aspisak@mwe.com
National Surety             TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and             David M. Fournier (DE Bar No. 2812)
Interstate Fire &           Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company            Hercules Plaza, Suite 5100

                                           3



                                      A00263
     Case: 23-1664   Document: 62-1    Page: 288     Date Filed: 07/24/2023


(Appellants)           1313 Market Street
                       P.O. Box 1709
                       Wilmington, DE 19899-1709
                       Telephone: 302.777.6500
                       Facsimile: 302.421.8390
                       david.fournier@troutman.com
                       marcy.smith@troutman.com

                       -and-

                       PARKER, HUDSON, RAINER & DOBBS LLP
                       Harris B. Winsberg (pro hac vice)
                       Matthew G. Roberts (pro hac vice)
                       303 Peachtree Street NE
                       Suite 3600
                       Atlanta, GA 30308
                       Telephone: 404.420.4313
                       Facsimile: 404.522.8409
                       hwinsberg@phrd.com
                       mroberts@phrd.com

                       -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com

                       HANGLEY ARONCHICK SEGAL
                       PUDLIN & SCHILLER
                       Ronald P. Schiller (pro hac vice)
                       Matthew A. Hamermesh (pro hac vice)

                                      4



                                  A00264
    Case: 23-1664    Document: 62-1     Page: 289      Date Filed: 07/24/2023


                       One Logan Square, 27th Floor
                       Philadelphia, PA 19103
                       T: (215) 568-6200
                       F: (215) 568-0300
                       E: rschiller@hangley.com
                       mhamermesh@hangley.com
Argonaut Insurance      POST & SCHELL, P.C.
Company and Colony      Paul Logan (No. 3339)
Insurance Company       300 Delaware Avenue, Suite 1380
(Appellants)
                        Wilmington, DE 19801
                        Telephone: (302) 251-8856
                        Email: plogan@postschell.com

                        POST & SCHELL, P.C.
                        John C. Sullivan (pro hac vice)
                        Kathleen K. Kerns (pro hac vice)
                        Four Penn Center – 13th Floor
                        1600 John F. Kennedy Boulevard
                        Philadelphia, PA 19103
                        Telephone: (215) 587-1000
                        jsullivan@postschell.com
                       kkerns@postschell.com

                       -and-

                        IFRAH PLLC
                        George R. Calhoun (pro hac vice)
                        1717 Pennsylvania Avenue, N.W. Suite 650
                        Washington, DC 20006
                        Telephone: (202) 840-8758
                       george@ifrahlaw.com
Arrowood Indemnity     JOYCE, LLC
Company                Michael J. Joyce (No. 4563)
(Appellant)            1225 King Street, Suite 800
                       Wilmington, DE 19801
                       Telephone: (302) 388-1944
                       Email: mjoyce@mjlawoffices.com

                       -and-

                       COUGHLIN MIDLIGE & GARLAND, LLP
                       Kevin Coughlin (pro hac vice)
                       Lorraine Armenti (pro hac vice)
                       Michael Hrinewski (pro hac vice)
                       350 Mount Kemble Avenue
                       PO Box 1917

                                        5



                                   A00265
    Case: 23-1664       Document: 62-1    Page: 290     Date Filed: 07/24/2023


                          Morristown, NJ 07962
                          Telephone: (973) 267-0058
                          Facsimile: 973-267-6442
                          kcoughlin@cmg.law
                          larmenti@cmg.law
                          mhrinewski@cmg.law

                          -and-

                          CARRUTHERS & ROTH, P.A.
                          Britton C. Lewis
                          John M. Flynn
                          235 N. Edgeworth Street
                          P.O. Box 540
                          Greensboro, NC 27401
                          Telephone: (336) 478-1146
                          Facsimile: (336) 478-1145
                          jmf@crlaw.com
                          bcl@crlaw.com
Continental Insurance     GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia      Maria Aprile Sawczuk (DE #3320)
Casualty Company          501 Silverside Road
(Appellants)              Wilmington, DE 19809
                          302-444-6710
                          marias@goldmclaw.com

                          -and-

                          LOEB & LOEB LLP
                          Laura McNally (pro hac vice)
                          Emily Stone (pro hac vice)
                          321 N. Clark Street, Suite 2300
                          Chicago, IL 60654
                          312-464-3155
                          lmcnally@loeb.com
                          estone@loeb.com
Gemini Insurance          WERB & SULLIVAN
Company                   LEGAL ARTS BUILDING
(Appellant)               Brian A. Sullivan (No. 2098)
                          1225 N. King Street
                          Suite 600
                          Wilmington, Delaware 19801
                          Telephone: (302) 652-1100
                          Cell: (302) 757-9932
                          Facsimile: (302) 652-1111
                          Email: bsullivan@werbsullivan.com

                                          6



                                     A00266
     Case: 23-1664       Document: 62-1   Page: 291   Date Filed: 07/24/2023



                           GIEGER LABORDE & LAPEROUOSE, LLC
                           John E.W. Baay II (pro hac vice)
                           701 Poydras Street
                           Suite 4800
                           New Orleans, LA 70139
                           Tel.: 504-561-0400
                           Fax: 504-561-1011
                           Email: jbaay@glllaw.com

                           -and-

                          KIERNAN TREBACH LLP
                          William H. White Jr (pro hac vice)
                          1233 20th Street, NW
                          8th Floor
                          Washington, DC 20036
                          Tel.: 202-712-7000
                          Fax: 202-712-7100
                          Email: wwhite@kiernantrebach.com
General Star Indemnity    SMITH, KATZENSTEIN & JENKINS LLP
Company                   Kathleen M. Miller (DE Bar No. 2898)
(Appellant)               1000 West Street, Suite 501
                          P.O. Box 410
                          Wilmington, DE 19899
                          Telephone: (302) 652-8400
                          Email: kmiller@skjlaw.com

                          -and-

                       WILEY REIN LLP
                       Mary E. Borja (pro hac vice)
                       Gary P. Seligman (pro hac vice)
                       Ashley L. Criss (pro hac vice)
                       2050 M Street NW
                       Washington, DC 20036
                       Phone: (202) 719-7000
                       Email: mborja@wiley.law
                       gseligman@wiley.law
                       acriss@wiley.law
Great American         BODELL BOVÉ, LLC
Assurance              Bruce W. McCullough (No. 3112)
Company, f/k/a         1225 N. King Street, Suite 1000
Agricultural Insurance Wilmington, Delaware 19801-3250
Company; Great         Telephone: (302) 655-6749
American E&S Insurance bmccullough@bodellbove.com

                                          7



                                     A00267
     Case: 23-1664           Document: 62-1     Page: 292      Date Filed: 07/24/2023


Company, f/k/a
Agricultural Excess and        -and-
Surplus Insurance
Company; and Great             CLYDE & CO US LLP
American E&S Insurance         Bruce D. Celebrezze (pro hac vice)
Company                        150 California Street | 15th Floor
(Appellants)                   San Francisco, California 94111
                               Telephone: (415) 365-9800
                               Facsimile: (415) 365-9801
                               bruce.celebrezze@clydeco.us

                               CLYDE & CO US LLP
                               Konrad R. Krebs (pro hac vice)
                               340 Mt. Kemble Avenue | Suite 300
                               Morristown, NJ 07960
                               Telephone: (973) 210-6700
                               Facsimile: (973) 210-6701
                               konrad.krebs@clydeco.us

                               -and-

                               DAVID CHRISTIAN ATTORNEYS LLC
                               David Christian (pro hac vice)
                               105 W. Madison St., Suite 1400
                               Chicago, Illinois 60602
                               Telephone: (312) 282-5282
                               dchristian@dca.law
Indian Harbor Insurance        SMITH, KATZENSTEIN
Company, on behalf of          & JENKINS LLP
itself and as successor in     Kathleen M. Miller (No. 2898)
interest to Catlin             1000 West Street, Suite 1501
Specialty Insurance            P.O. Box 410
Company                        Wilmington, DE 19899 [Courier 19801]
(Appellant)                    Telephone: (302) 652-8400
                               Facsimile: (302) 652-8405
                               kmiller@skjlaw.com

                               and

                               MOUND COTTON WOLLAN & GREENGRASS LLP
                               Lloyd A. Gura (pro hac vice)
                               Pamela J. Minetto (pro hac vice)
                               One New York Plaza 44th Floor
                               New York, NY 10004
                               Tel: (212) 804-4282
                               lgura@moundcotton.com

                                                8



                                           A00268
      Case: 23-1664       Document: 62-1        Page: 293    Date Filed: 07/24/2023


                         pminetto@moundcotton.com
Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
Casualty Insurance       222 Delaware Avenue
Company, Liberty         Suite 1500
Insurance Underwriters,  Wilmington, DE 19801
Inc. and Liberty Surplus Telephone: (302) 888-0600
Insurance Corporation    khill@svglaw.com
(Appellants)
                         -and-

                           CHOATE, HALL & STEWART LLP
                           Douglas R. Gooding (pro hac vice)
                           Jonathan D. Marshall (pro hac vice)
                           Two International Place
                           Boston, MA 02110
                           Telephone: (617) 248-5000
                           dgooding@choate.com
                           jmarshall@choate.com

                           -and-

                           MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                           PC
                           Kim V. Marrkand (pro hac vice)
                           One Financial Center
                           Boston, MA 02111
                           Telephone: (617) 542-6000
                           kvmarrkand@mintz.com
Munich Reinsurance         DILWORTH PAXSON LLP
America, Inc., formerly    Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-      704 N. King Street, Suite 500
Insurance Company          P.O. Box 1031
(Appellant)                Wilmington, DE 19899-1031
                           (302) 571-8867 (telephone)
                           (302) 351-8735 (facsimile)
                           tweaver@dilworthlaw.com

                           -and-

                           DILWORTH PAXSON LLP
                           William E. McGrath, Jr. (pro hac vice)
                           2 Research Way, Suite 103
                           Princeton, NJ 08540
                           (609) 924-6000 (telephone)
                           (215) 893-8537 (facsimile)

                                            9



                                        A00269
    Case: 23-1664        Document: 62-1     Page: 294      Date Filed: 07/24/2023


                           wmcgrath@dilworthlaw.com
Traders and Pacific        COZEN O’CONNOR
Insurance Company,         Marla S. Benedek (No. 6638)
Endurance American         1201 N. Market Street, Suite 1001
Specialty Insurance        Wilmington, DE 19801
Company, and               Telephone: (302) 295-2024
Endurance American         Facsimile: (302) 250-4498
Insurance Company          mbenedek@cozen.com
(Appellants)
Old Republic Insurance     MORRIS JAMES LLP
Company                    Stephen M. Miller (No. 2610)
(Appellant)                Carl N. Kunz, III (No. 3201)
                           500 Delaware Avenue, Suite 1500
                           Wilmington, Delaware 19801
                           Telephone: (302) 888-6800
                           Facsimile: (302) 571-1750
                           smiller@morrisjames.com
                           ckunz@morrisjames.com

                           -and-

                        FOX SWIBEL LEVIN & CARROLL LLP
                        Margaret M. Anderson (pro hac vice)
                        Ryan T. Schultz (pro hac vice)
                        Adam A. Hachikian (pro hac vice)
                        Kenneth M. Thomas (pro hac vice)
                        200 W. Madison Street, Suite 3000
                        Chicago, Illinois 60606
                        Telephone: (312) 224-1200
                        Facsimile: (312) 224-1201
                        panderson@foxswibel.com
                        rschultz@foxswibel.com
                        ahachikian@foxswibel.com
                        kthomas@foxswibel.com
Travelers Casualty and  REGER RIZZO & DARNALL LLP
Surety Company, Inc.    Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty & 1521 Concord Pike Suite 305
Surety Company), St.    Brandywine Plaza West
Paul Surplus Lines      Wilmington DE 19803
Insurance Company and Telephone: (302) 477-7100
Gulf Insurance Company Facsimile: (302) 652-3620
(Appellants)            lrizzo@regerlaw.com
Lujan Claimants         LOIZIDES, P.A.
                        Christopher D. Loizides (No. 3968)
                        1225 North King Street, Suite 800
                                           10



                                       A00270
     Case: 23-1664       Document: 62-1      Page: 295        Date Filed: 07/24/2023


(Appellants)               Telephone: (302) 654-0248
                           Loizides@loizides.com

                           -and-

                           LUJAN & WOLFF LLP
                           Delia Lujan Wolff
                           Suite 300, DNA Bldg.
                           238 Archbishop Flores St.
                           Hagatna, Guam 96910
                           Telephone: (671) 477-8064/5
                           dslwolff@lawguam.com
Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
Claimants                  Charles J. Brown, III (No. 3368)
(Appellants)               1201 N. Orange St., 3rd Floor
                           Wilmington, DE 19801
                           Telephone: (302) 425-5813
                           cbrown@gsbblaw.com

                           -and-

                           DUMAS & VAUGHN, LLC
                           Gilion C. Dumas
                           3835 NE Hancock Street, Suite GLB
                           Portland, OR 97212
                           Telephone: (503) 616-5007
                           gilion@dumasandvaughn.com
Boy Scouts of America,     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Delaware BSA, LLC          Derek C. Abbott (No. 3376)
(Debtors/Appellees and     Andrew R. Remming (No. 5120)
Debtors in Possession)     Paige N. Topper (No. 6470)
                           1201 North Market Street, 16th Floor
                           P.O. Box 1347
                           Wilmington, Delaware 19899-1347
                           Telephone: (302) 658-9200
                           dabbott@morrisnichols.com
                           aremming@morrisnichols.com
                           ptopper@morrisnichols.com

                           – and –

                           WHITE & CASE LLP
                           Jessica C. Lauria (pro hac vice)
                           Glenn M. Kurtz (pro hac vice)
                           1221 Avenue of the Americas
                           New York, New York 10020

                                            11



                                       A00271
    Case: 23-1664     Document: 62-1     Page: 296     Date Filed: 07/24/2023


                        Telephone: (212) 819-8200
                        Email: jessica.lauria@whitecase.com
                        gkurtz@whitecase.com

                        – and –

                        WHITE & CASE LLP
                        Michael C. Andolina
                        Matthew E. Linder
                        Laura E. Baccash
                        Blair M. Warner
                        111 South Wacker Drive
                        Chicago, Illinois 60606
                        Telephone: (312) 881-5400
                        mandolina@whitecase.com
                        mlinder@whitecase.com
                        laura.baccash@whitecase.com
                        blair.warner@whitecase.com

                        – and –

                        WHITE & CASE LLP
                        Ronald K. Gorsich
                        Doah Kim
                        555 South Flower Street, Suite 2700
                        Los Angeles, CA 90071
                        Telephone: (213) 620-7700
                        rgorsich@whitecase.com
                        doah.kim@whitecase.com
Tort Claimants’         PACHULSKI STANG ZIEHL & JONES LLP
Committee               Richard M. Pachulski (pro hac vice)
(Appellee)              Alan J. Kornfeld (pro hac vice)
                        Debra I. Grassgreen (pro hac vice)
                        Iain A.W. Nasatir (pro hac vice)
                        James E. O’Neill (No. 4042)
                        919 North Market Street, 17th Floor
                        P.O. Box 8705
                        Wilmington, DE 19899-8705 (Courier 19801)
                        Telephone: (302) 652-4100
                        Fax: (302) 652-4400
                        Email: rpachulski@pszjlaw.com
                        akornfeld@pszjlaw.com
                        dgrassgreen@pszjlaw.com
                        inasatir@pszjlaw.com
                        joneill@pszjlaw.com
Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.
Scouts for Justice      Rachel B. Mersky (No. 2049)

                                        12



                                   A00272
    Case: 23-1664   Document: 62-1     Page: 297      Date Filed: 07/24/2023


(Appellee)            1201 North Orange Street, Suite 400
                      Wilmington, Delaware 19801
                      Telephone: (302) 656-8162
                      Fax: (302) 656-2769
                      Email: rmersky@monlaw.com

                      –and–

                      BROWN RUDNICK LLP
                      David J. Molton, Esq. (pro hac vice)
                      Eric R. Goodman, Esq. (pro hac vice)
                      Seven Times Square
                      New York, NY 10036
                      Telephone: (212) 209-4800
                      Fax: (212) 209-4801
                      Email: dmolton@brownrudnick.com
                      egoodman@brownrudnick.com

                      –and–

                      BROWN RUDNICK LLP
                      Sunni P. Beville, Esq. (pro hac vice)
                      Tristan G. Axelrod, Esq. (pro hac vice)
                      One Financial Center
                      Boston, MA 02111
                      Telephone: (617) 856-8200
                      Fax: (617) 856-8201
                      Email: sbeville@brownrudnick.com
                      taxelrod@brownrudnick.com
Future Claimants’     YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellee)            Robert S. Brady (No. 2847)
                      Edwin J. Harron (No. 3396)
                      Kenneth J. Enos (No. 4544)
                      Ashley E. Jacobs (No. 5635)
                      Rodney Square
                      1000 North King Street
                      Wilmington, Delaware 19801
                      Telephone: (302) 571-6600
                      Fax: (302) 571-1253
                      Email: rbrady@ycst.com
                      eharron@ycst.com
                      kenos@ycst.com
                      ajacobs@ycst.com

                      -and-

                                      13



                                  A00273
     Case: 23-1664      Document: 62-1      Page: 298     Date Filed: 07/24/2023



                           GILBERT LLP
                           Kami E. Quinn (pro hac vice)
                           Rachel H. Jennings (pro hac vice)
                           Kyle Y. Dechant (pro hac vice)
                           December L. Huddleston (pro hac vice)
                           700 Pennsylvania Ave, SE
                           Suite 400
                           Washington, DC 20003
                           Telephone: (202) 772-2200
                           Fax: (202) 772-3333
                           Email: quinnk@gilbertlegal.com
                           jenningsr@gilbertlegal.com
                           dechantk@gilbertlegal.com
                           huddlestond@gilbertlegal.com
The Zalkin Law Firm,       KTBS LAW LLP
P.C. and Pfau Cochran      Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC        Daniel J. Bussel (pro hac vice)
(Appellees)                Robert J. Pfister (pro hac vice)
                           Sasha M. Gurvitz (pro hac vice)
                           1801 Century Park East, Twenty-Sixth Floor
                           Los Angeles, California 90067
                           Telephone: (310) 407-4000
                           Fax: (310) 407-9090
                           Email: tpatterson@ktbslaw.com
                           dbussel@ktbslaw.com
                           rpfister@ktbslaw.com
                           sgurvitz@ktbslaw.com

                           -and-

                           BIELLI & KLAUDER, LLC
                           David M. Klauder, Esquire (No. 5769)
                           1204 N. King Street
                           Wilmington, DE 19801
                           Telephone: (302) 803-4600
                           Fax: (302) 397-2557
                           Email: dklauder@bk-legal.com
Hartford Accident and      BAYARD, P.A.
Indemnity Company,         Erin R. Fay (No. 5268)
First State Insurance      Gregory J. Flasser (No. 6154)
Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395
(Appellees)                Email: efay@bayardlaw.com

                                           14



                                      A00274
    Case: 23-1664     Document: 62-1      Page: 299      Date Filed: 07/24/2023


                          gflasser@bayardlaw.com

                          -and-

                          RUGGERI PARKS WEINBERG LLP
                          James P. Ruggeri (pro hac vice)
                          Joshua D. Weinberg (pro hac vice)
                          1875 K Street, N.W., Suite 600
                          Washington, D.C. 20006-1251
                          Telephone: (202) 469-7750
                          Fax: (202) 469-7751

                          -and-

                          WILMER CUTLER PICKERING HALE
                          AND DORR LLP
                          Philip D. Anker (pro hac vice)
                          7 World Trade Center
                          250 Greenwich Street
                          New York, N.Y. 10007
                          Telephone: (212) 230-8890
                          Fax: (212) 230-8888

                          Joel Millar (pro hac vice)
                          1875 Pennsylvania Avenue N.W.
                          Washington, D.C. 20006
                          Telephone: (202) 663-6000
                          Fax: (202) 663-6363
Century Indemnity         STAMOULIS & WEINBLATT LLC
Company, as successor     Stamatios Stamoulis (No. 4606)
to CCI Insurance          800 N. West Street
Company, as successor     Third Floor Wilmington, Delaware 19801
to Insurance Company of   Telephone: 302 999 1540
North America and         Fax: 302 762 1688
Indemnity Insurance
Company of North          -and-
America
(Appellees)               O’MELVENY & MYERS LLP
                          Tancred Schiavoni (pro hac vice)
                          Times Square Tower
                          7 Times Square
                          New York, New York 10036-6537
                          Telephone: (212) 326-2000
                          Fax: (212) 326-2061

                          O’MELVENY & MYERS LLP

                                         15



                                     A00275
    Case: 23-1664        Document: 62-1     Page: 300      Date Filed: 07/24/2023


                           Stephen Warren (pro hac vice)
                           400 South Hope Street
                           Los Angeles, California 90071
                           Telephone: (213) 430-6000
                           Fax: (213) 430-6407

                           O’MELVENY & MYERS LLP
                           Jonathan D. Hacker (pro hac vice)
                           1625 Eye Street, N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 383-5300
Federal Insurance          STAMOULIS & WEINBLATT LLC
Company and                Stamatios Stamoulis (No. 4606)
Westchester Fire           8000 N. West Street, Third Floor
Insurance Company          Wilmington, Delaware 19801
(Appellees)                Telephone: (302) 999-1540

                           -and-

                           SIMPSON THATCHER & BARTLETT LLP
                           David Elbaum (pro hac vice)
                           425 Lexington Avenue
                           New York, New York 10017
                           Telephone: (212) 455-2000
American Zurich            TYBOUT, REDFEARN & PELL
Insurance Company,         Robert D. Cecil, Jr. (No. 5317)
American Guarantee         501 Carr Road, Suite 300
Insurance Company, and     Wilmington, Delaware 19899
Steadfast Insurance        Telephone: (302) 658-6901
Company                    Email: rcecil@trplaw.com
(Appellees)
                           -and-

                           CROWELL & MORING LLP
                           Mark D. Plevin (pro hac vice)
                           Kevin D. Cacabelos (pro hac vice)
                           Three Embarcadero Center, 26th Floor
                           San Francisco, California 94111
                           Telephone: (415) 986-2800
                           Email: mplevin@crowell.com
                           kcacabelos@crowell.com

                           Tacie H. Yoon (pro hac vice)
                           Rachel A. Jankowski (pro hac vice)
                           1001 Pennsylvania Ave., N.W.
                           Washington, D.C. 20004

                                           16



                                      A00276
     Case: 23-1664         Document: 62-1     Page: 301      Date Filed: 07/24/2023


                             Telephone: (202) 624-2500
                             Email: tyoon@crowell.com
                             rjankowski@crowell.com

Clarendon National           BALLARD SPAHR LLP
Insurance Company, as        Matthew G. Summers (No. 5533)
successor in interest by     Chantelle D. McClamb (No. 5978)
merger to Clarendon          919 N. Market Street, 11th Floor
America Insurance            Wilmington, Delaware 19801-3034
Company; River Thames        Telephone: (302) 252-4428
Insurance Company            Fax: (302) 252-4466
Limited (as successor in     Email: summersm@ballardspahr.com
interest to Unionamerica     mcclamb@ballardspahr.com
Insurance Company
Limited, on its own          -and-
behalf and in turn as
successor to St.             STEPTOE & JOHNSON LLP
Katherine Insurance          Harry Lee (pro hac vice)
Company Limited); and        John O’Connor (pro hac vice)
Zurich American              1330 Connecticut Avenue NW
Insurance Company, as        Washington, DC 20036
successor to Maryland        Telephone: (202) 429-8078
Casualty Company,            Fax: (202) 429-3902
Zurich Insurance             Email: hlee@steptoe.com
Company, and Maryland        joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of          DLA PIPER, LLP (US)
Local Councils of the        R. Craig Martin (No. 5032)
Boy Scouts of America        1201 North Market Street, Suite 2100
(Appellee)                   Wilmington, Delaware 19801-1147
                             Telephone: (302) 468-5655
                             Email: craig.martin@dlapiper.com

                             -and-

                             WACHTELL, LIPTON, ROSEN & KATZ
                             Richard G. Mason (pro hac vice)
                             Douglas K. Mayer (pro hac vice)
                             Joseph C. Celentino (pro hac vice)
                             Mitchell S. Levy (pro hac vice)
                             51 West 52nd Street
                             New York, New York 10019
                             Telephone: (212) 403-1000

                                             17



                                        A00277
       Case: 23-1664    Document: 62-1    Page: 302     Date Filed: 07/24/2023


                         Email: RGMason@wlrk.com
                         DKMayer@wlrk.com
                         JCCelentino@wlrk.com
                         MSLevy@wlrk.com



Dated: April 10, 2023               By: /s/ Maria Aprile Sawczuk
Wilmington, Delaware                    Maria Aprile Sawczuk (DE #3320)
                                        GOLDSTEIN & MCCLINTOCK LLLP
                                        501 Silverside Road, Suite 65
                                        Wilmington, DE 19809
                                        302-444-6710
                                        marias@goldmclaw.com

                                          -and-

                                          LOEB & LOEB LLP
                                          Laura McNally (pro hac vice)
                                          321 N. Clark Street, Suite 2300
                                          Chicago, IL 60654
                                          312-464-3155
                                          lmcnally@loeb.com

                                          -and-

                                          DAVID CHRISTIAN ATTORNEYS LLC
                                          David Christian (pro hac vice)
                                          105 W. Madison St., Suite 1400
                                          Chicago, Illinois 60602
                                          Telephone: (312) 282-5282
                                          dchristian@dca.law

                                          Attorneys for Continental Insurance Company
                                          and Columbia Casualty Company




                                         18



                                    A00278
          Case: 23-1664      Document: 62-1       Page: 303        Date Filed: 07/24/2023


                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                                Chapter 11

                                                      Bankruptcy Case
BOY SCOUTS OF AMERICA AND                             No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                      (Jointly Administered)
                      Debtors.



NATIONAL UNION FIRE INSURANCE CO.                     Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                      Appellants,

              v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                      Appellees.


                     NOTICE OF APPEAL TO THE UNITED STATES
                    COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellants National Union Fire Insurance Company

 of Pittsburgh, Pa., Lexington Insurance Company, Landmark Insurance Company, and The

 Insurance Company of the State of Pennsylvania, appeal to the United States Court of Appeals for

 the Third Circuit from the final Order and accompanying Opinion of the United States District

 Court for the District of Delaware (Hon. Richard G. Andrews), entered March 28, 2023 (D.I. 150,

 151), among other things affirming the Supplemental Findings of Fact and Conclusions of Law

 and Order Confirming the Third Modified Fifth Amended Chapter 11 Plan of Reorganization (with

 Technical Modifications) for Boy Scouts of America and Delaware BSA, LLC (Bankruptcy D.I.

 10316) and accompanying Opinion (Bankruptcy D.I. 10136) of the United States Bankruptcy




                                            A00279
          Case: 23-1664       Document: 62-1         Page: 304      Date Filed: 07/24/2023


Court for the District of Delaware (Hon. Laurie S. Silverstein), and all other orders, decisions, and

opinions subsumed therein.

       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000
                               Email: mrosenthal@gibsondunn.com
                               mkarlan@gibsondunn.com
                               jhallowell@gibsondunn.com
                               kmartorana@gibsondunn.com
                               srokosky@gibsondunn.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Theodore J. Boutrous Jr. (pro hac vice)
                               Richard J. Doren (pro hac vice)
                               Blaine H. Evanson (pro hac vice)
                               333 South Grand Avenue
                               Los Angeles, California 90071
                               Telephone: (213) 229-7038
                               Email: rdoren@gibsondunn.com
                               bevanson@gibsondunn.com
                               tboutrous@gibsondunn.com

                               FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                               Susan N.K. Gummow
                               222 N. LaSalle St., Suite 1400

                                                 2



                                                A00280
    Case: 23-1664         Document: 62-1   Page: 305   Date Filed: 07/24/2023


                            Chicago, Illinois 60601
                            Telephone: (312) 863-5000
                            Email: sgummow@fgppr.com
Allianz Global Risks US     TROUTMAN PEPPER HAMILTON SANDERS LLP
Insurance Company           David M. Fournier (DE Bar No. 2812)
(Appellant)                 Marcy J. McLaughlin Smith (DE No. 6184)
                            Hercules Plaza
                            1313 Market Street
                            Suite 5100
                            P.O. Box 1709
                            Wilmington, DE 19899-1709
                            Telephone: 404.885.3000
                            david.fournier@troutman.com
                            marcy.smith@troutman.com

                            -and-

                            PARKER, HUDSON, RAINER & DOBBS LLP
                            Harris B. Winsberg (pro hac vice)
                            Matthew G. Roberts (pro hac vice)
                            303 Peachtree Street NE
                            Suite 3600
                            Atlanta, GA 30308
                            Telephone: 404.420.4313
                            Facsimile: 404.522.8409
                            hwinsberg@phrd.com
                            mroberts@phrd.com

                            -and-

                            McDERMOTT WILL & EMERY LLP
                            Margaret H. Warner (pro hac vice)
                            Ryan S. Smethurst (pro hac vice)
                            Alex M. Spisak (pro hac vice)
                            The McDermott Building
                            500 North Capitol Street, NW
                            Washington, DC 20001-1531
                            Telephone: 202.756.8228
                            Facsimile: 202.756.8087
                            mwarner@mwe.com
                            rsmethurst@mwe.com
                            aspisak@mwe.com
National Surety             TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and             David M. Fournier (DE Bar No. 2812)
Interstate Fire &           Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company            Hercules Plaza, Suite 5100

                                           3



                                      A00281
     Case: 23-1664   Document: 62-1    Page: 306     Date Filed: 07/24/2023


(Appellants)           1313 Market Street
                       P.O. Box 1709
                       Wilmington, DE 19899-1709
                       Telephone: 302.777.6500
                       Facsimile: 302.421.8390
                       david.fournier@troutman.com
                       marcy.smith@troutman.com

                       -and-

                       PARKER, HUDSON, RAINER & DOBBS LLP
                       Harris B. Winsberg (pro hac vice)
                       Matthew G. Roberts (pro hac vice)
                       303 Peachtree Street NE
                       Suite 3600
                       Atlanta, GA 30308
                       Telephone: 404.420.4313
                       Facsimile: 404.522.8409
                       hwinsberg@phrd.com
                       mroberts@phrd.com

                       -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com

                       HANGLEY ARONCHICK SEGAL
                       PUDLIN & SCHILLER
                       Ronald P. Schiller (pro hac vice)
                       Matthew A. Hamermesh (pro hac vice)

                                      4



                                  A00282
    Case: 23-1664    Document: 62-1     Page: 307      Date Filed: 07/24/2023


                       One Logan Square, 27th Floor
                       Philadelphia, PA 19103
                       T: (215) 568-6200
                       F: (215) 568-0300
                       E: rschiller@hangley.com
                       mhamermesh@hangley.com
Argonaut Insurance      POST & SCHELL, P.C.
Company and Colony      Paul Logan (No. 3339)
Insurance Company       300 Delaware Avenue, Suite 1380
(Appellants)
                        Wilmington, DE 19801
                        Telephone: (302) 251-8856
                        Email: plogan@postschell.com

                        POST & SCHELL, P.C.
                        John C. Sullivan (pro hac vice)
                        Kathleen K. Kerns (pro hac vice)
                        Four Penn Center – 13th Floor
                        1600 John F. Kennedy Boulevard
                        Philadelphia, PA 19103
                        Telephone: (215) 587-1000
                        jsullivan@postschell.com
                       kkerns@postschell.com

                       -and-

                        IFRAH PLLC
                        George R. Calhoun (pro hac vice)
                        1717 Pennsylvania Avenue, N.W. Suite 650
                        Washington, DC 20006
                        Telephone: (202) 840-8758
                       george@ifrahlaw.com
Arrowood Indemnity     JOYCE, LLC
Company                Michael J. Joyce (No. 4563)
(Appellant)            1225 King Street, Suite 800
                       Wilmington, DE 19801
                       Telephone: (302) 388-1944
                       Email: mjoyce@mjlawoffices.com

                       -and-

                       COUGHLIN MIDLIGE & GARLAND, LLP
                       Kevin Coughlin (pro hac vice)
                       Lorraine Armenti (pro hac vice)
                       Michael Hrinewski (pro hac vice)
                       350 Mount Kemble Avenue
                       PO Box 1917

                                        5



                                   A00283
    Case: 23-1664       Document: 62-1    Page: 308     Date Filed: 07/24/2023


                          Morristown, NJ 07962
                          Telephone: (973) 267-0058
                          Facsimile: 973-267-6442
                          kcoughlin@cmg.law
                          larmenti@cmg.law
                          mhrinewski@cmg.law

                          -and-

                          CARRUTHERS & ROTH, P.A.
                          Britton C. Lewis
                          John M. Flynn
                          235 N. Edgeworth Street
                          P.O. Box 540
                          Greensboro, NC 27401
                          Telephone: (336) 478-1146
                          Facsimile: (336) 478-1145
                          jmf@crlaw.com
                          bcl@crlaw.com
Continental Insurance     GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia      Maria Aprile Sawczuk (DE #3320)
Casualty Company          501 Silverside Road
(Appellants)              Wilmington, DE 19809
                          302-444-6710
                          marias@goldmclaw.com

                          -and-

                          LOEB & LOEB LLP
                          Laura McNally (pro hac vice)
                          Emily Stone (pro hac vice)
                          321 N. Clark Street, Suite 2300
                          Chicago, IL 60654
                          312-464-3155
                          lmcnally@loeb.com
                          estone@loeb.com
Gemini Insurance          WERB & SULLIVAN
Company                   LEGAL ARTS BUILDING
(Appellant)               Brian A. Sullivan (No. 2098)
                          1225 N. King Street
                          Suite 600
                          Wilmington, Delaware 19801
                          Telephone: (302) 652-1100
                          Cell: (302) 757-9932
                          Facsimile: (302) 652-1111
                          Email: bsullivan@werbsullivan.com

                                          6



                                     A00284
     Case: 23-1664       Document: 62-1   Page: 309   Date Filed: 07/24/2023



                           GIEGER LABORDE & LAPEROUOSE, LLC
                           John E.W. Baay II (pro hac vice)
                           701 Poydras Street
                           Suite 4800
                           New Orleans, LA 70139
                           Tel.: 504-561-0400
                           Fax: 504-561-1011
                           Email: jbaay@glllaw.com

                           -and-

                          KIERNAN TREBACH LLP
                          William H. White Jr (pro hac vice)
                          1233 20th Street, NW
                          8th Floor
                          Washington, DC 20036
                          Tel.: 202-712-7000
                          Fax: 202-712-7100
                          Email: wwhite@kiernantrebach.com
General Star Indemnity    SMITH, KATZENSTEIN & JENKINS LLP
Company                   Kathleen M. Miller (DE Bar No. 2898)
(Appellant)               1000 West Street, Suite 501
                          P.O. Box 410
                          Wilmington, DE 19899
                          Telephone: (302) 652-8400
                          Email: kmiller@skjlaw.com

                          -and-

                       WILEY REIN LLP
                       Mary E. Borja (pro hac vice)
                       Gary P. Seligman (pro hac vice)
                       Ashley L. Criss (pro hac vice)
                       2050 M Street NW
                       Washington, DC 20036
                       Phone: (202) 719-7000
                       Email: mborja@wiley.law
                       gseligman@wiley.law
                       acriss@wiley.law
Great American         BODELL BOVÉ, LLC
Assurance              Bruce W. McCullough (No. 3112)
Company, f/k/a         1225 N. King Street, Suite 1000
Agricultural Insurance Wilmington, Delaware 19801-3250
Company; Great         Telephone: (302) 655-6749
American E&S Insurance bmccullough@bodellbove.com

                                          7



                                     A00285
     Case: 23-1664           Document: 62-1     Page: 310      Date Filed: 07/24/2023


Company, f/k/a
Agricultural Excess and        -and-
Surplus Insurance
Company; and Great             CLYDE & CO US LLP
American E&S Insurance         Bruce D. Celebrezze (pro hac vice)
Company                        150 California Street | 15th Floor
(Appellants)                   San Francisco, California 94111
                               Telephone: (415) 365-9800
                               Facsimile: (415) 365-9801
                               bruce.celebrezze@clydeco.us

                               CLYDE & CO US LLP
                               Konrad R. Krebs (pro hac vice)
                               340 Mt. Kemble Avenue | Suite 300
                               Morristown, NJ 07960
                               Telephone: (973) 210-6700
                               Facsimile: (973) 210-6701
                               konrad.krebs@clydeco.us

                               -and-

                               DAVID CHRISTIAN ATTORNEYS LLC
                               David Christian (pro hac vice)
                               105 W. Madison St., Suite 1400
                               Chicago, Illinois 60602
                               Telephone: (312) 282-5282
                               dchristian@dca.law
Indian Harbor Insurance        SMITH, KATZENSTEIN
Company, on behalf of          & JENKINS LLP
itself and as successor in     Kathleen M. Miller (No. 2898)
interest to Catlin             1000 West Street, Suite 1501
Specialty Insurance            P.O. Box 410
Company                        Wilmington, DE 19899 [Courier 19801]
(Appellant)                    Telephone: (302) 652-8400
                               Facsimile: (302) 652-8405
                               kmiller@skjlaw.com

                               and

                               MOUND COTTON WOLLAN & GREENGRASS LLP
                               Lloyd A. Gura (pro hac vice)
                               Pamela J. Minetto (pro hac vice)
                               One New York Plaza 44th Floor
                               New York, NY 10004
                               Tel: (212) 804-4282
                               lgura@moundcotton.com

                                                8



                                           A00286
      Case: 23-1664        Document: 62-1        Page: 311    Date Filed: 07/24/2023


                            pminetto@moundcotton.com
Liberty Mutual Insurance    SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio           R. Karl Hill (DE Bar No. 2747)
Casualty Insurance          222 Delaware Avenue
Company, Liberty            Suite 1500
Insurance Underwriters,     Wilmington, DE 19801
Inc. and Liberty Surplus    Telephone: (302) 888-0600
Insurance Corporation       khill@svglaw.com
(Appellants)
                            -and-

                            CHOATE, HALL & STEWART LLP
                            Douglas R. Gooding (pro hac vice)
                            Jonathan D. Marshall (pro hac vice)
                            Two International Place
                            Boston, MA 02110
                            Telephone: (617) 248-5000
                            dgooding@choate.com
                            jmarshall@choate.com

                            -and-

                            MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                            PC
                            Kim V. Marrkand (pro hac vice)
                            One Financial Center
                            Boston, MA 02111
                            Telephone: (617) 542-6000
                            kvmarrkand@mintz.com
Munich Reinsurance          DILWORTH PAXSON LLP
America, Inc., formerly     Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-       704 N. King Street, Suite 500
Insurance Company           P.O. Box 1031
(Appellant)                 Wilmington, DE 19899-1031
                            (302) 571-8867 (telephone)
                            (302) 351-8735 (facsimile)
                            tweaver@dilworthlaw.com

                            -and-

                            DILWORTH PAXSON LLP
                            William E. McGrath, Jr. (pro hac vice)
                            2 Research Way, Suite 103
                            Princeton, NJ 08540
                            (609) 924-6000 (telephone)
                            (215) 893-8537 (facsimile)

                                             9



                                         A00287
    Case: 23-1664        Document: 62-1     Page: 312      Date Filed: 07/24/2023


                           wmcgrath@dilworthlaw.com
Traders and Pacific        COZEN O’CONNOR
Insurance Company,         Marla S. Benedek (No. 6638)
Endurance American         1201 N. Market Street, Suite 1001
Specialty Insurance        Wilmington, DE 19801
Company, and               Telephone: (302) 295-2024
Endurance American         Facsimile: (302) 250-4498
Insurance Company          mbenedek@cozen.com
(Appellants)
Old Republic Insurance     MORRIS JAMES LLP
Company                    Stephen M. Miller (No. 2610)
(Appellant)                Carl N. Kunz, III (No. 3201)
                           500 Delaware Avenue, Suite 1500
                           Wilmington, Delaware 19801
                           Telephone: (302) 888-6800
                           Facsimile: (302) 571-1750
                           smiller@morrisjames.com
                           ckunz@morrisjames.com

                           -and-

                        FOX SWIBEL LEVIN & CARROLL LLP
                        Margaret M. Anderson (pro hac vice)
                        Ryan T. Schultz (pro hac vice)
                        Adam A. Hachikian (pro hac vice)
                        Kenneth M. Thomas (pro hac vice)
                        200 W. Madison Street, Suite 3000
                        Chicago, Illinois 60606
                        Telephone: (312) 224-1200
                        Facsimile: (312) 224-1201
                        panderson@foxswibel.com
                        rschultz@foxswibel.com
                        ahachikian@foxswibel.com
                        kthomas@foxswibel.com
Travelers Casualty and  REGER RIZZO & DARNALL LLP
Surety Company, Inc.    Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty & 1521 Concord Pike Suite 305
Surety Company), St.    Brandywine Plaza West
Paul Surplus Lines      Wilmington DE 19803
Insurance Company and Telephone: (302) 477-7100
Gulf Insurance Company Facsimile: (302) 652-3620
(Appellants)            lrizzo@regerlaw.com
Lujan Claimants         LOIZIDES, P.A.
                        Christopher D. Loizides (No. 3968)
                        1225 North King Street, Suite 800
                                           10



                                       A00288
     Case: 23-1664       Document: 62-1      Page: 313        Date Filed: 07/24/2023


(Appellants)               Wilmington, DE 19801
                           Telephone: (302) 654-0248
                           Loizides@loizides.com

                           -and-

                           LUJAN & WOLFF LLP
                           Delia Lujan Wolff (pro hac vice)
                           Suite 300, DNA Bldg.
                           238 Archbishop Flores St.
                           Hagatna, Guam 96910
                           Telephone: (671) 477-8064/5
                           dslwolff@lawguam.com
Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
Claimants                  Charles J. Brown, III (No. 3368)
(Appellants)               1201 N. Orange St., 3rd Floor
                           Wilmington, DE 19801
                           Telephone: (302) 425-5813
                           cbrown@gsbblaw.com

                           -and-

                           DUMAS & VAUGHN, LLC
                           Gilion C. Dumas (pro hac vice)
                           3835 NE Hancock Street, Suite GLB
                           Portland, OR 97212
                           Telephone: (503) 616-5007
                           gilion@dumasandvaughn.com
Boy Scouts of America,     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Delaware BSA, LLC          Derek C. Abbott (No. 3376)
(Debtors/Appellees and     Andrew R. Remming (No. 5120)
Debtors in Possession)     Paige N. Topper (No. 6470)
                           1201 North Market Street, 16th Floor
                           P.O. Box 1347
                           Wilmington, Delaware 19899-1347
                           Telephone: (302) 658-9200
                           dabbott@morrisnichols.com
                           aremming@morrisnichols.com
                           ptopper@morrisnichols.com

                           -and-

                           WHITE & CASE LLP
                           Jessica C. Lauria (pro hac vice)
                           Glenn M. Kurtz (pro hac vice)
                           1221 Avenue of the Americas

                                            11



                                       A00289
     Case: 23-1664    Document: 62-1     Page: 314     Date Filed: 07/24/2023


                        New York, New York 10020
                        Telephone: (212) 819-8200
                        Email: jessica.lauria@whitecase.com
                        gkurtz@whitecase.com

                        -and-

                        WHITE & CASE LLP
                        Michael C. Andolina
                        Matthew E. Linder
                        Laura E. Baccash
                        Blair M. Warner
                        111 South Wacker Drive
                        Chicago, Illinois 60606
                        Telephone: (312) 881-5400
                        mandolina@whitecase.com
                        mlinder@whitecase.com
                        laura.baccash@whitecase.com
                        blair.warner@whitecase.com

                        -and-

                        WHITE & CASE LLP
                        Ronald K. Gorsich
                        Doah Kim
                        555 South Flower Street, Suite 2700
                        Los Angeles, CA 90071
                        Telephone: (213) 620-7700
                        rgorsich@whitecase.com
                        doah.kim@whitecase.com
Tort Claimants’         PACHULSKI STANG ZIEHL & JONES LLP
Committee               Richard M. Pachulski (pro hac vice)
(Appellee)              Alan J. Kornfeld (pro hac vice)
                        Debra I. Grassgreen (pro hac vice)
                        Iain A.W. Nasatir (pro hac vice)
                        James E. O’Neill (No. 4042)
                        919 North Market Street, 17th Floor
                        P.O. Box 8705
                        Wilmington, DE 19899-8705 (Courier 19801)
                        Telephone: (302) 652-4100
                        Fax: (302) 652-4400
                        Email: rpachulski@pszjlaw.com
                        akornfeld@pszjlaw.com
                        dgrassgreen@pszjlaw.com
                        inasatir@pszjlaw.com
                        joneill@pszjlaw.com
Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.

                                        12



                                   A00290
     Case: 23-1664   Document: 62-1     Page: 315      Date Filed: 07/24/2023


Scouts for Justice     Rachel B. Mersky (No. 2049)
(Appellee)             1201 North Orange Street, Suite 400
                       Wilmington, Delaware 19801
                       Telephone: (302) 656-8162
                       Fax: (302) 656-2769
                       Email: rmersky@monlaw.com

                       -and-

                       BROWN RUDNICK LLP
                       David J. Molton, Esq. (pro hac vice)
                       Eric R. Goodman, Esq. (pro hac vice)
                       Seven Times Square
                       New York, NY 10036
                       Telephone: (212) 209-4800
                       Fax: (212) 209-4801
                       Email: dmolton@brownrudnick.com
                       egoodman@brownrudnick.com

                       -and-

                       BROWN RUDNICK LLP
                       Sunni P. Beville, Esq. (pro hac vice)
                       Tristan G. Axelrod, Esq. (pro hac vice)
                       One Financial Center
                       Boston, MA 02111
                       Telephone: (617) 856-8200
                       Fax: (617) 856-8201
                       Email: sbeville@brownrudnick.com
                       taxelrod@brownrudnick.com
Future Claimants’      YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellee)             Robert S. Brady (No. 2847)
                       Edwin J. Harron (No. 3396)
                       Kenneth J. Enos (No. 4544)
                       Ashley E. Jacobs (No. 5635)
                       Rodney Square
                       1000 North King Street
                       Wilmington, Delaware 19801
                       Telephone: (302) 571-6600
                       Fax: (302) 571-1253
                       Email: rbrady@ycst.com
                       eharron@ycst.com
                       kenos@ycst.com
                       ajacobs@ycst.com



                                       13



                                   A00291
     Case: 23-1664      Document: 62-1      Page: 316     Date Filed: 07/24/2023


                           -and-

                           GILBERT LLP
                           Kami E. Quinn (pro hac vice)
                           Rachel H. Jennings (pro hac vice)
                           Kyle Y. Dechant (pro hac vice)
                           December L. Huddleston (pro hac vice)
                           700 Pennsylvania Ave, SE
                           Suite 400
                           Washington, DC 20003
                           Telephone: (202) 772-2200
                           Fax: (202) 772-3333
                           Email: quinnk@gilbertlegal.com
                           jenningsr@gilbertlegal.com
                           dechantk@gilbertlegal.com
                           huddlestond@gilbertlegal.com
The Zalkin Law Firm,       KTBS LAW LLP
P.C. and Pfau Cochran      Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC        Daniel J. Bussel (pro hac vice)
(Appellees)                Robert J. Pfister (pro hac vice)
                           Sasha M. Gurvitz (pro hac vice)
                           1801 Century Park East, Twenty-Sixth Floor
                           Los Angeles, California 90067
                           Telephone: (310) 407-4000
                           Fax: (310) 407-9090
                           Email: tpatterson@ktbslaw.com
                           dbussel@ktbslaw.com
                           rpfister@ktbslaw.com
                           sgurvitz@ktbslaw.com

                           -and-

                           BIELLI & KLAUDER, LLC
                           David M. Klauder, Esquire (No. 5769)
                           1204 N. King Street
                           Wilmington, DE 19801
                           Telephone: (302) 803-4600
                           Fax: (302) 397-2557
                           Email: dklauder@bk-legal.com
Hartford Accident and      BAYARD, P.A.
Indemnity Company,         Erin R. Fay (No. 5268)
First State Insurance      Gregory J. Flasser (No. 6154)
Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395

                                           14



                                      A00292
     Case: 23-1664    Document: 62-1       Page: 317         Date Filed: 07/24/2023


(Appellees)               Email: efay@bayardlaw.com
                          gflasser@bayardlaw.com

                          -and-

                          RUGGERI PARKS WEINBERG LLP
                          James P. Ruggeri (pro hac vice)
                          Joshua D. Weinberg (pro hac vice)
                          1875 K Street, N.W., Suite 600
                          Washington, D.C. 20006-1251
                          Telephone: (202) 469-7750
                          Fax: (202) 469-7751
                          jruggeri@ruggerilaw.com
                          jweinberg@ruggerilaw.com

                          -and-

                          WILMER CUTLER PICKERING HALE
                          AND DORR LLP
                          Philip D. Anker (pro hac vice)
                          7 World Trade Center
                          250 Greenwich Street
                          New York, N.Y. 10007
                          Telephone: (212) 230-8890
                          Fax: (212) 230-8888
                          philip.anker@wilmerhale.com

                          Joel Millar (pro hac vice)
                          1875 Pennsylvania Avenue N.W.
                          Washington, D.C. 20006
                          Telephone: (202) 663-6000
                          Fax: (202) 663-6363
                          joel.millar@wilmerhale.com
Century Indemnity         STAMOULIS & WEINBLATT LLC
Company, as successor     Stamatios Stamoulis (No. 4606)
to CCI Insurance          800 N. West Street
Company, as successor     Third Floor Wilmington, Delaware 19801
to Insurance Company of   Telephone: 302 999 1540
North America and         Fax: 302 762 1688
Indemnity Insurance       stamoulis@swdelaw.com
Company of North
America                   -and-
(Appellees)
                          O’MELVENY & MYERS LLP
                          Tancred Schiavoni (pro hac vice)
                          Times Square Tower

                                          15



                                      A00293
    Case: 23-1664        Document: 62-1    Page: 318       Date Filed: 07/24/2023


                           7 Times Square
                           New York, New York 10036-6537
                           Telephone: (212) 326-2000
                           Fax: (212) 326-2061
                           tschiavoni@omm.com

                           O’MELVENY & MYERS LLP
                           Stephen Warren (pro hac vice)
                           400 South Hope Street
                           Los Angeles, California 90071
                           Telephone: (213) 430-6000
                           Fax: (213) 430-6407
                           swarren@omm.com

                           O’MELVENY & MYERS LLP
                           Jonathan D. Hacker (pro hac vice)
                           1625 Eye Street, N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 383-5300
                           jhacker@omm.com
Federal Insurance          STAMOULIS & WEINBLATT LLC
Company and                Stamatios Stamoulis (No. 4606)
Westchester Fire           8000 N. West Street, Third Floor
Insurance Company          Wilmington, Delaware 19801
(Appellees)                Telephone: (302) 999-1540
                           stamoulis@swdelaw.com

                           -and-

                           SIMPSON THATCHER & BARTLETT LLP
                           David Elbaum (pro hac vice)
                           425 Lexington Avenue
                           New York, New York 10017
                           Telephone: (212) 455-2000
                           david.elbaum@stblaw.com
American Zurich            TYBOUT, REDFEARN & PELL
Insurance Company,         Robert D. Cecil, Jr. (No. 5317)
American Guarantee         501 Carr Road, Suite 300
Insurance Company, and     Wilmington, Delaware 19899
Steadfast Insurance        Telephone: (302) 658-6901
Company                    Email: rcecil@trplaw.com
(Appellees)
                           -and-

                           CROWELL & MORING LLP
                           Mark D. Plevin (pro hac vice)

                                          16



                                      A00294
     Case: 23-1664         Document: 62-1     Page: 319      Date Filed: 07/24/2023


                             Kevin D. Cacabelos (pro hac vice)
                             Three Embarcadero Center, 26th Floor
                             San Francisco, California 94111
                             Telephone: (415) 986-2800
                             Email: mplevin@crowell.com
                             kcacabelos@crowell.com

                             Tacie H. Yoon (pro hac vice)
                             Rachel A. Jankowski (pro hac vice)
                             1001 Pennsylvania Ave., N.W.
                             Washington, D.C. 20004
                             Telephone: (202) 624-2500
                             Email: tyoon@crowell.com
                             rjankowski@crowell.com

Clarendon National           BALLARD SPAHR LLP
Insurance Company, as        Matthew G. Summers (No. 5533)
successor in interest by     Chantelle D. McClamb (No. 5978)
merger to Clarendon          919 N. Market Street, 11th Floor
America Insurance            Wilmington, Delaware 19801-3034
Company; River Thames        Telephone: (302) 252-4428
Insurance Company            Fax: (302) 252-4466
Limited (as successor in     Email: summersm@ballardspahr.com
interest to Unionamerica     mcclamb@ballardspahr.com
Insurance Company
Limited, on its own          -and-
behalf and in turn as
successor to St.             STEPTOE & JOHNSON LLP
Katherine Insurance          Harry Lee (pro hac vice)
Company Limited); and        John O’Connor (pro hac vice)
Zurich American              1330 Connecticut Avenue NW
Insurance Company, as        Washington, DC 20036
successor to Maryland        Telephone: (202) 429-8078
Casualty Company,            Fax: (202) 429-3902
Zurich Insurance             Email: hlee@steptoe.com
Company, and Maryland        joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of          DLA PIPER, LLP (US)
Local Councils of the        R. Craig Martin (No. 5032)
Boy Scouts of America        1201 North Market Street, Suite 2100
(Appellee)                   Wilmington, Delaware 19801-1147
                             Telephone: (302) 468-5655
                             Email: craig.martin@dlapiper.com

                                             17



                                         A00295
        Case: 23-1664   Document: 62-1        Page: 320     Date Filed: 07/24/2023



                        -and-

                        WACHTELL, LIPTON, ROSEN & KATZ
                        Richard G. Mason (pro hac vice)
                        Douglas K. Mayer (pro hac vice)
                        Joseph C. Celentino (pro hac vice)
                        Mitchell S. Levy (pro hac vice)
                        51 West 52nd Street
                        New York, New York 10019
                        Telephone: (212) 403-1000
                        Email: RGMason@wlrk.com
                        DKMayer@wlrk.com
                        JCCelentino@wlrk.com
                        MSLevy@wlrk.com



Dated: April 10, 2023               By:        /s/ Deirdre M. Richards
Wilmington, Delaware                           Deirdre M. Richards (DE Bar No. 4191)
                                               FINEMAN KREKSTEIN & HARRIS PC
                                               1300 N. King Street
                                               Wilmington, DE 19801
                                               Telephone: (302) 538-8331
                                               Facsimile: (302) 394-9228
                                               Email: drichards@finemanlawfirm.com

                                               Michael A. Rosenthal (pro hac vice)
                                               Mitchell A. Karlan (pro hac vice)
                                               James Hallowell (pro hac vice)
                                               Keith R. Martorana (pro hac vice)
                                               Seth M. Rokosky (pro hac vice)
                                               GIBSON, DUNN & CRUTCHER LLP
                                               200 Park Avenue
                                               New York, New York 10166
                                               Telephone: (212) 351-4000
                                               Facsimile: (212) 351-4035
                                               Email: mrosenthal@gibsondunn.com
                                                      mkarlan@gibsondunn.com
                                                      jhallowell@gibsondunn.com
                                                      kmartorana@gibsondunn.com
                                                      srokosky@gibsondunn.com

                                               Theodore J. Boutrous Jr. (pro hac vice)
                                               Richard J. Doren (pro hac vice)
                                               Blaine H. Evanson (pro hac vice)

                                         18



                                    A00296
Case: 23-1664   Document: 62-1    Page: 321     Date Filed: 07/24/2023


                                  GIBSON, DUNN & CRUTCHER LLP
                                  333 South Grand Avenue
                                  Los Angeles, California 90071
                                  Telephone: (213) 229-7038
                                  Facsimile: (213) 229-6038
                                  Email: tboutrous@gibsondunn.com
                                         rdoren@gibsondunn.com
                                         bevanson@gibsondunn.com

                                  Susan N.K. Gummow (pro hac vice)
                                  FORAN GLENNON PALANDECH PONZI &
                                  RUDLOFF P.C.
                                  222 N. LaSalle St., Suite 1400
                                  Chicago, Illinois 60601
                                  Telephone: (312) 863-5000
                                  Facsimile: (312) 863-5009
                                  Email: sgummow@fgppr.com

                                  Attorneys for National Union Fire Insurance
                                  Company of Pittsburgh, Pa., Lexington Insurance
                                  Company, Landmark Insurance Company, and
                                  the Insurance Company of the State of
                                  Pennsylvania




                             19



                            A00297
          Case: 23-1664       Document: 62-1        Page: 322       Date Filed: 07/24/2023


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11

                                                       Bankruptcy Case
BOY SCOUTS OF AMERICA AND                              No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                       (Jointly Administered)
                      Debtors.


NATIONAL UNION FIRE INSURANCE CO.                      Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                      Appellants,

               v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                      Appellee.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellant Indian Harbor Insurance Company, on

 behalf of itself and as successor in interest to Catlin Specialty Insurance Company, appeal to the

 United States Court of Appeals for the Third Circuit from the final Order and accompanying

 Opinion of the United States District Court for the District of Delaware (Hon. Richard G.

 Andrews), entered March 28, 2023 (D.I. 150, 151), affirming the Supplemental Findings of Fact

 and Conclusions of Law and Order Confirming the Third Modified Fifth Amended Chapter 11

 Plan of Reorganization (with Technical Modifications) for Boy Scouts of America and Delaware

 BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion (Bankruptcy D.I. 10136) of the




                                              A00298
          Case: 23-1664       Document: 62-1       Page: 323     Date Filed: 07/24/2023




United States Bankruptcy Court for the District of Delaware (Hon. Laurie S. Silverstein), and all

other orders, decisions, and opinions subsumed therein.

       The parties to the order appealed from and the names, addresses and telephone numbers of

their respective attorneys are as follows:

       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000
                               Email: mrosenthal@gibsondunn.com
                               mkarlan@gibsondunn.com
                               jhallowell@gibsondunn.com
                               kmartorana@gibsondunn.com
                               srokosky@gibsondunn.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Theodore J. Boutrous Jr. (pro hac vice)
                               Richard J. Doren (pro hac vice)
                               Blaine H. Evanson (pro hac vice)
                               333 South Grand Avenue
                               Los Angeles, California 90071
                               Telephone: (213) 229-7038
                               Email: rdoren@gibsondunn.com
                               bevanson@gibsondunn.com
                               tboutrous@gibsondunn.com



                                                A00299
        Case: 23-1664     Document: 62-1   Page: 324   Date Filed: 07/24/2023




                          FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                          Susan N.K. Gummow
                          222 N. LaSalle St., Suite 1400
                          Chicago, Illinois 60601
                          Telephone: (312) 863-5000
                          Email: sgummow@fgppr.com
Allianz Global Risks US   TROUTMAN PEPPER HAMILTON SANDERS LLP
Insurance Company         David M. Fournier (DE Bar No. 2812)
(Appellant)               Marcy J. McLaughlin Smith (DE No. 6184)
                          Hercules Plaza
                          1313 Market Street
                          Suite 5100
                          P.O. Box 1709
                          Wilmington, DE 19899-1709
                          Telephone: 404.885.3000
                          david.fournier@troutman.com
                          marcy.smith@troutman.com

                          -and-

                          PARKER, HUDSON, RAINER & DOBBS LLP
                          Harris B. Winsberg (pro hac vice)
                          Matthew G. Roberts (pro hac vice)
                          303 Peachtree Street NE
                          Suite 3600
                          Atlanta, GA 30308
                          Telephone: 404.420.4313
                          Facsimile: 404.522.8409
                          hwinsberg@phrd.com
                          mroberts@phrd.com

                          -and-

                          McDERMOTT WILL & EMERY LLP
                          Margaret H. Warner (pro hac vice)
                          Ryan S. Smethurst (pro hac vice)
                          Alex M. Spisak (pro hac vice)
                          The McDermott Building
                          500 North Capitol Street, NW
                          Washington, DC 20001-1531
                          Telephone: 202.756.8228
                          Facsimile: 202.756.8087
                          mwarner@mwe.com
                          rsmethurst@mwe.com
                          aspisak@mwe.com



                                      A00300
     Case: 23-1664   Document: 62-1   Page: 325   Date Filed: 07/24/2023




National Surety       TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and       David M. Fournier (DE Bar No. 2812)
Interstate Fire &     Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company      Hercules Plaza, Suite 5100
(Appellants)          1313 Market Street
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 302.777.6500
                      Facsimile: 302.421.8390
                      david.fournier@troutman.com
                      marcy.smith@troutman.com

                      -and-

                      PARKER, HUDSON, RAINER & DOBBS LLP
                      Harris B. Winsberg (pro hac vice)
                      Matthew G. Roberts (pro hac vice)
                      303 Peachtree Street NE
                      Suite 3600
                      Atlanta, GA 30308
                      Telephone: 404.420.4313
                      Facsimile: 404.522.8409
                      hwinsberg@phrd.com
                      mroberts@phrd.com

                      -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com




                                 A00301
     Case: 23-1664   Document: 62-1     Page: 326         Date Filed: 07/24/2023




                      HANGLEY ARONCHICK SEGAL
                      PUDLIN & SCHILLER
                      Ronald P. Schiller (pro hac vice)
                      Matthew A. Hamermesh (pro hac vice)
                      One Logan Square, 27th Floor
                      Philadelphia, PA 19103
                      T: (215) 568-6200
                      F: (215) 568-0300
                      E: rschiller@hangley.com
                      mhamermesh@hangley.com
Argonaut Insurance     POST & SCHELL, P.C.
Company and Colony     Paul Logan (No. 3339)
Insurance Company      300 Delaware Avenue, Suite 1380
(Appellants)
                       Wilmington, DE 19801
                       Telephone: (302) 251-8856
                       Email: plogan@postschell.com

                       POST & SCHELL, P.C.
                       John C. Sullivan (pro hac vice)
                       Kathleen K. Kerns (pro hac vice)
                       Four Penn Center – 13th Floor
                       1600 John F. Kennedy Boulevard
                       Philadelphia, PA 19103
                       Telephone: (215) 587-1000
                       jsullivan@postschell.com
                      kkerns@postschell.com

                       -and-

                       IFRAH PLLC
                       George R. Calhoun (pro hac vice)
                       1717 Pennsylvania Avenue, N.W. Suite 650
                       Washington, DC 20006
                       Telephone: (202) 840-8758
                      george@ifrahlaw.com
Arrowood Indemnity    JOYCE, LLC
Company               Michael J. Joyce (No. 4563)
(Appellant)           1225 King Street, Suite 800
                      Wilmington, DE 19801
                      Telephone: (302) 388-1944
                      Email: mjoyce@mjlawoffices.com

                      -and-

                      COUGHLIN MIDLIGE & GARLAND, LLP
                      Kevin Coughlin (pro hac vice)



                                   A00302
     Case: 23-1664      Document: 62-1      Page: 327       Date Filed: 07/24/2023




                         Lorraine Armenti (pro hac vice)
                         Michael Hrinewski (pro hac vice)
                         350 Mount Kemble Avenue
                         PO Box 1917
                         Morristown, NJ 07962
                         Telephone: (973) 267-0058
                         Facsimile: 973-267-6442
                         kcoughlin@cmg.law
                         larmenti@cmg.law
                         mhrinewski@cmg.law

                         -and-

                         CARRUTHERS & ROTH, P.A.
                         Britton C. Lewis
                         John M. Flynn
                         235 N. Edgeworth Street
                         P.O. Box 540
                         Greensboro, NC 27401
                         Telephone: (336) 478-1146
                         Facsimile: (336) 478-1145
                         jmf@crlaw.com
                         bcl@crlaw.com
Continental Insurance    GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia     Maria Aprile Sawczuk (DE #3320)
Casualty Company         501 Silverside Road
(Appellants)             Wilmington, DE 19809
                         302-444-6710
                         marias@goldmclaw.com

                         -and-

                         LOEB & LOEB LLP
                         Laura McNally (pro hac vice)
                         Emily Stone (pro hac vice)
                         321 N. Clark Street, Suite 2300
                         Chicago, IL 60654
                         312-464-3155
                         lmcnally@loeb.com
                         estone@loeb.com
Gemini Insurance         WERB & SULLIVAN
Company                  LEGAL ARTS BUILDING
(Appellant)              Brian A. Sullivan (No. 2098)
                         1225 N. King Street
                         Suite 600
                         Wilmington, Delaware 19801



                                      A00303
      Case: 23-1664      Document: 62-1    Page: 328        Date Filed: 07/24/2023




                          Telephone: (302) 652-1100
                          Cell: (302) 757-9932
                          Facsimile: (302) 652-1111
                          Email: bsullivan@werbsullivan.com

                          GIEGER LABORDE & LAPEROUOSE, LLC
                          John E.W. Baay II (pro hac vice)
                          701 Poydras Street
                          Suite 4800
                          New Orleans, LA 70139
                          Tel.: 504-561-0400
                          Fax: 504-561-1011
                          Email: jbaay@glllaw.com

                          -and-

                          KIERNAN TREBACH LLP
                          William H. White Jr (pro hac vice)
                          1233 20th Street, NW
                          8th Floor
                          Washington, DC 20036
                          Tel.: 202-712-7000
                          Fax: 202-712-7100
                          Email: wwhite@kiernantrebach.com
General Star Indemnity    SMITH, KATZENSTEIN & JENKINS LLP
Company                   Kathleen M. Miller (DE Bar No. 2898)
(Appellant)               1000 West Street, Suite 501
                          P.O. Box 410
                          Wilmington, DE 19899
                          Telephone: (302) 652-8400
                          Email: kmiller@skjlaw.com

                          -and-

                          WILEY REIN LLP
                          Mary E. Borja (pro hac vice)
                          Gary P. Seligman (pro hac vice)
                          Ashley L. Criss (pro hac vice)
                          2050 M Street NW
                          Washington, DC 20036
                          Phone: (202) 719-7000
                          Email: mborja@wiley.law
                          gseligman@wiley.law
                          acriss@wiley.law
Great American            BODELL BOVÉ, LLC
Assurance                 Bruce W. McCullough (No. 3112)



                                      A00304
      Case: 23-1664          Document: 62-1     Page: 329      Date Filed: 07/24/2023




Company, f/k/a                1225 N. King Street, Suite 1000
Agricultural Insurance        Wilmington, Delaware 19801-3250
Company; Great                Telephone: (302) 655-6749
American E&S Insurance        bmccullough@bodellbove.com
Company, f/k/a
Agricultural Excess and       -and-
Surplus Insurance
Company; and Great            CLYDE & CO US LLP
American E&S Insurance        Bruce D. Celebrezze (pro hac vice)
Company                       150 California Street | 15th Floor
(Appellants)                  San Francisco, California 94111
                              Telephone: (415) 365-9800
                              Facsimile: (415) 365-9801
                              bruce.celebrezze@clydeco.us

                              CLYDE & CO US LLP
                              Konrad R. Krebs (pro hac vice)
                              340 Mt. Kemble Avenue | Suite 300
                              Morristown, NJ 07960
                              Telephone: (973) 210-6700
                              Facsimile: (973) 210-6701
                              konrad.krebs@clydeco.us

                              -and-

                              DAVID CHRISTIAN ATTORNEYS LLC
                              David Christian (pro hac vice)
                              105 W. Madison St., Suite 1400
                              Chicago, Illinois 60602
                              Telephone: (312) 282-5282
                              dchristian@dca.law
Indian Harbor Insurance       SMITH, KATZENSTEIN
Company, on behalf of         & JENKINS LLP
itself and as successor in    Kathleen M. Miller (No. 2898)
interest to Catlin            1000 West Street, Suite 1501
Specialty Insurance           P.O. Box 410
Company                       Wilmington, DE 19899 [Courier 19801]
(Appellant)                   Telephone: (302) 652-8400
                              Facsimile: (302) 652-8405
                              kmiller@skjlaw.com

                              and

                              MOUND COTTON WOLLAN & GREENGRASS LLP
                              Lloyd A. Gura (pro hac vice)
                              Pamela J. Minetto (pro hac vice)



                                           A00305
       Case: 23-1664      Document: 62-1      Page: 330      Date Filed: 07/24/2023




                         One New York Plaza 44th Floor
                         New York, NY 10004
                         Tel: (212) 804-4282
                         lgura@moundcotton.com
                         pminetto@moundcotton.com
Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
Casualty Insurance       222 Delaware Avenue
Company, Liberty         Suite 1500
Insurance Underwriters,  Wilmington, DE 19801
Inc. and Liberty Surplus Telephone: (302) 888-0600
Insurance Corporation    khill@svglaw.com
(Appellants)
                         -and-

                          CHOATE, HALL & STEWART LLP
                          Douglas R. Gooding (pro hac vice)
                          Jonathan D. Marshall (pro hac vice)
                          Two International Place
                          Boston, MA 02110
                          Telephone: (617) 248-5000
                          dgooding@choate.com
                          jmarshall@choate.com

                          -and-

                          MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                          PC
                          Kim V. Marrkand (pro hac vice)
                          One Financial Center
                          Boston, MA 02111
                          Telephone: (617) 542-6000
                          kvmarrkand@mintz.com
Munich Reinsurance        DILWORTH PAXSON LLP
America, Inc., formerly   Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-     704 N. King Street, Suite 500
Insurance Company         P.O. Box 1031
(Appellant)               Wilmington, DE 19899-1031
                          (302) 571-8867 (telephone)
                          (302) 351-8735 (facsimile)
                          tweaver@dilworthlaw.com

                          -and-

                          DILWORTH PAXSON LLP
                          William E. McGrath, Jr. (pro hac vice)



                                        A00306
      Case: 23-1664       Document: 62-1     Page: 331         Date Filed: 07/24/2023




                           2 Research Way, Suite 103
                           Princeton, NJ 08540
                           (609) 924-6000 (telephone)
                           (215) 893-8537 (facsimile)
                           wmcgrath@dilworthlaw.com
Traders and Pacific        COZEN O’CONNOR
Insurance Company,         Marla S. Benedek (No. 6638)
Endurance American         1201 N. Market Street, Suite 1001
Specialty Insurance        Wilmington, DE 19801
Company, and               Telephone: (302) 295-2024
Endurance American         Facsimile: (302) 250-4498
Insurance Company          mbenedek@cozen.com
(Appellants)
Old Republic Insurance     MORRIS JAMES LLP
Company                    Stephen M. Miller (No. 2610)
(Appellant)                Carl N. Kunz, III (No. 3201)
                           500 Delaware Avenue, Suite 1500
                           Wilmington, Delaware 19801
                           Telephone: (302) 888-6800
                           Facsimile: (302) 571-1750
                           smiller@morrisjames.com
                           ckunz@morrisjames.com

                           -and-

                           FOX SWIBEL LEVIN & CARROLL LLP
                           Margaret M. Anderson (pro hac vice)
                           Ryan T. Schultz (pro hac vice)
                           Adam A. Hachikian (pro hac vice)
                           Kenneth M. Thomas (pro hac vice)
                           200 W. Madison Street, Suite 3000
                           Chicago, Illinois 60606
                           Telephone: (312) 224-1200
                           Facsimile: (312) 224-1201
                           panderson@foxswibel.com
                           rschultz@foxswibel.com
                           ahachikian@foxswibel.com
                           kthomas@foxswibel.com
Travelers Casualty and     REGER RIZZO & DARNALL LLP
Surety Company, Inc.       Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty &    1521 Concord Pike Suite 305
Surety Company), St.       Brandywine Plaza West
Paul Surplus Lines         Wilmington DE 19803
Insurance Company and      Telephone: (302) 477-7100
                           Facsimile: (302) 652-3620



                                        A00307
      Case: 23-1664      Document: 62-1     Page: 332     Date Filed: 07/24/2023




Gulf Insurance Company    lrizzo@regerlaw.com

(Appellants)

Boy Scouts of America,    MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                          Derek C. Abbott (No. 3376)
Delaware BSA, LLC         Andrew R. Remming (No. 5120)
(Debtors/Appellees and    Paige N. Topper (No. 6470)
Debtors in Possession)    1201 North Market Street, 16th Floor
                          P.O. Box 1347
                          Wilmington, Delaware 19899-1347
                          Telephone: (302) 658-9200
                          dabbott@morrisnichols.com
                          aremming@morrisnichols.com
                          ptopper@morrisnichols.com

                          – and –

                          WHITE & CASE LLP
                          Jessica C. Lauria (pro hac vice)
                          Glenn M. Kurtz (pro hac vice)
                          1221 Avenue of the Americas
                          New York, New York 10020
                          Telephone: (212) 819-8200
                          Email: jessica.lauria@whitecase.com
                          gkurtz@whitecase.com

                          – and –

                          WHITE & CASE LLP
                          Michael C. Andolina
                          Matthew E. Linder
                          Laura E. Baccash
                          Blair M. Warner
                          111 South Wacker Drive
                          Chicago, Illinois 60606
                          Telephone: (312) 881-5400
                          mandolina@whitecase.com
                          mlinder@whitecase.com
                          laura.baccash@whitecase.com
                          blair.warner@whitecase.com

                          – and –

                          WHITE & CASE LLP
                          Ronald K. Gorsich
                          Doah Kim



                                      A00308
      Case: 23-1664   Document: 62-1      Page: 333      Date Filed: 07/24/2023




                       555 South Flower Street, Suite 2700
                       Los Angeles, CA 90071
                       Telephone: (213) 620-7700
                       rgorsich@whitecase.com
                       doah.kim@whitecase.com
Tort Claimants’        PACHULSKI STANG ZIEHL & JONES LLP
Committee              Richard M. Pachulski (pro hac vice)
(Appellees)            Alan J. Kornfeld (pro hac vice)
                       Debra I. Grassgreen (pro hac vice)
                       Iain A.W. Nasatir (pro hac vice)
                       James E. O’Neill (No. 4042)
                       919 North Market Street, 17th Floor
                       P.O. Box 8705
                       Wilmington, DE 19899-8705 (Courier 19801)
                       Telephone: (302) 652-4100
                       Fax: (302) 652-4400
                       Email: rpachulski@pszjlaw.com
                       akornfeld@pszjlaw.com
                       dgrassgreen@pszjlaw.com
                       inasatir@pszjlaw.com
                       joneill@pszjlaw.com
Coalition of Abused    MONZACK MERSKY AND BROWDER, P.A.
Scouts for Justice     Rachel B. Mersky (No. 2049)
(Appellees)            1201 North Orange Street, Suite 400
                       Wilmington, Delaware 19801
                       Telephone: (302) 656-8162
                       Fax: (302) 656-2769
                       Email: rmersky@monlaw.com

                       –and–

                       BROWN RUDNICK LLP
                       David J. Molton, Esq. (pro hac vice)
                       Eric R. Goodman, Esq. (pro hac vice)
                       Seven Times Square
                       New York, NY 10036
                       Telephone: (212) 209-4800
                       Fax: (212) 209-4801
                       Email: dmolton@brownrudnick.com
                       egoodman@brownrudnick.com

                       –and–

                       BROWN RUDNICK LLP
                       Sunni P. Beville, Esq. (pro hac vice)
                       Tristan G. Axelrod, Esq. (pro hac vice)



                                    A00309
      Case: 23-1664     Document: 62-1     Page: 334     Date Filed: 07/24/2023




                         One Financial Center
                         Boston, MA 02111
                         Telephone: (617) 856-8200
                         Fax: (617) 856-8201
                         Email: sbeville@brownrudnick.com
                         taxelrod@brownrudnick.com
Future Claimants’        YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellees)              Robert S. Brady (No. 2847)
                         Edwin J. Harron (No. 3396)
                         Kenneth J. Enos (No. 4544)
                         Ashley E. Jacobs (No. 5635)
                         Rodney Square
                         1000 North King Street
                         Wilmington, Delaware 19801
                         Telephone: (302) 571-6600
                         Fax: (302) 571-1253
                         Email: rbrady@ycst.com
                         eharron@ycst.com
                         kenos@ycst.com
                         ajacobs@ycst.com

                         -and-

                         GILBERT LLP
                         Kami E. Quinn (pro hac vice)
                         Rachel H. Jennings (pro hac vice)
                         Kyle Y. Dechant (pro hac vice)
                         December L. Huddleston (pro hac vice)
                         700 Pennsylvania Ave, SE
                         Suite 400
                         Washington, DC 20003
                         Telephone: (202) 772-2200
                         Fax: (202) 772-3333
                         Email: quinnk@gilbertlegal.com
                         jenningsr@gilbertlegal.com
                         dechantk@gilbertlegal.com
                         huddlestond@gilbertlegal.com
The Zalkin Law Firm,     KTBS LAW LLP
P.C. and Pfau Cochran    Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC      Daniel J. Bussel (pro hac vice)
(Appellees)              Robert J. Pfister (pro hac vice)
                         Sasha M. Gurvitz (pro hac vice)
                         1801 Century Park East, Twenty-Sixth Floor
                         Los Angeles, California 90067
                         Telephone: (310) 407-4000



                                     A00310
      Case: 23-1664        Document: 62-1     Page: 335     Date Filed: 07/24/2023




                            Fax: (310) 407-9090
                            Email: tpatterson@ktbslaw.com
                            dbussel@ktbslaw.com
                            rpfister@ktbslaw.com
                            sgurvitz@ktbslaw.com

                            -and-

                            BIELLI & KLAUDER, LLC
                            David M. Klauder, Esquire (No. 5769)
                            1204 N. King Street
                            Wilmington, DE 19801
                            Telephone: (302) 803-4600
                            Fax: (302) 397-2557
                            Email: dklauder@bk-legal.com
Hartford Accident and       BAYARD, P.A.
Indemnity Company,          Erin R. Fay (No. 5268)
First State Insurance       Gregory J. Flasser (No. 6154)
Company, Twin City          600 North King Street, Suite 400
Fire Insurance Company,     Wilmington, DE 19801
and Navigators Specialty    Telephone: (302) 655-5000
Insurance Company           Fax: (302) 658-6395
(Appellees)                 Email: efay@bayardlaw.com
                            gflasser@bayardlaw.com

                            -and-

                            RUGGERI PARKS WEINBERG LLP
                            James P. Ruggeri (pro hac vice)
                            Joshua D. Weinberg (pro hac vice)
                            1875 K Street, N.W., Suite 600
                            Washington, D.C. 20006-1251
                            Telephone: (202) 469-7750
                            Fax: (202) 469-7751

                            -and-

                            WILMER CUTLER PICKERING HALE
                            AND DORR LLP
                            Philip D. Anker (pro hac vice)
                            7 World Trade Center
                            250 Greenwich Street
                            New York, N.Y. 10007
                            Telephone: (212) 230-8890
                            Fax: (212) 230-8888




                                        A00311
     Case: 23-1664        Document: 62-1    Page: 336         Date Filed: 07/24/2023




                           Joel Millar (pro hac vice)
                           1875 Pennsylvania Avenue N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 663-6000
                           Fax: (202) 663-6363
Century Indemnity          STAMOULIS & WEINBLATT LLC
Company, as successor      Stamatios Stamoulis (No. 4606)
to CCI Insurance           800 N. West Street
Company, as successor      Third Floor Wilmington, Delaware 19801
to Insurance Company of    Telephone: 302 999 1540
North America and          Fax: 302 762 1688
Indemnity Insurance
Company of North           -and-
America
(Appellees)                O’MELVENY & MYERS LLP
                           Tancred Schiavoni (pro hac vice)
                           Times Square Tower
                           7 Times Square
                           New York, New York 10036-6537
                           Telephone: (212) 326-2000
                           Fax: (212) 326-2061

                           O’MELVENY & MYERS LLP
                           Stephen Warren (pro hac vice)
                           400 South Hope Street
                           Los Angeles, California 90071
                           Telephone: (213) 430-6000
                           Fax: (213) 430-6407

                           O’MELVENY & MYERS LLP
                           Jonathan D. Hacker (pro hac vice)
                           1625 Eye Street, N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 383-5300
Federal Insurance          STAMOULIS & WEINBLATT LLC
Company and                Stamatios Stamoulis (No. 4606)
Westchester Fire           8000 N. West Street, Third Floor
Insurance Company          Wilmington, Delaware 19801
(Appellees)                Telephone: (302) 999-1540

                           -and-

                           SIMPSON THATCHER & BARTLETT LLP
                           David Elbaum (pro hac vice)
                           425 Lexington Avenue
                           New York, New York 10017



                                       A00312
      Case: 23-1664        Document: 62-1     Page: 337      Date Filed: 07/24/2023




                            Telephone: (212) 455-2000
American Zurich             TYBOUT, REDFEARN & PELL
Insurance Company,          Robert D. Cecil, Jr. (No. 5317)
American Guarantee          501 Carr Road, Suite 300
Insurance Company, and      Wilmington, Delaware 19899
Steadfast Insurance         Telephone: (302) 658-6901
Company                     Email: rcecil@trplaw.com
(Appellees)
                            -and-

                            CROWELL & MORING LLP
                            Mark D. Plevin (pro hac vice)
                            Kevin D. Cacabelos (pro hac vice)
                            Three Embarcadero Center, 26th Floor
                            San Francisco, California 94111
                            Telephone: (415) 986-2800
                            Email: mplevin@crowell.com
                            kcacabelos@crowell.com

                            Tacie H. Yoon (pro hac vice)
                            Rachel A. Jankowski (pro hac vice)
                            1001 Pennsylvania Ave., N.W.
                            Washington, D.C. 20004
                            Telephone: (202) 624-2500
                            Email: tyoon@crowell.com
                            rjankowski@crowell.com

Clarendon National          BALLARD SPAHR LLP
Insurance Company, as       Matthew G. Summers (No. 5533)
successor in interest by    Chantelle D. McClamb (No. 5978)
merger to Clarendon         919 N. Market Street, 11th Floor
America Insurance           Wilmington, Delaware 19801-3034
Company; River Thames       Telephone: (302) 252-4428
Insurance Company           Fax: (302) 252-4466
Limited (as successor in    Email: summersm@ballardspahr.com
interest to Unionamerica    mcclamb@ballardspahr.com
Insurance Company
Limited, on its own         -and-
behalf and in turn as
successor to St.            STEPTOE & JOHNSON LLP
Katherine Insurance         Harry Lee (pro hac vice)
Company Limited); and       John O’Connor (pro hac vice)
Zurich American             1330 Connecticut Avenue NW
Insurance Company, as       Washington, DC 20036
successor to Maryland       Telephone: (202) 429-8078
Casualty Company,           Fax: (202) 429-3902



                                         A00313
    Case: 23-1664       Document: 62-1     Page: 338      Date Filed: 07/24/2023




Zurich Insurance          Email: hlee@steptoe.com
Company, and Maryland     joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of       DLA PIPER, LLP (US)
Local Councils of the     R. Craig Martin (No. 5032)
Boy Scouts of America     1201 North Market Street, Suite 2100
(Appellees)               Wilmington, Delaware 19801-1147
                          Telephone: (302) 468-5655
                          Email: craig.martin@dlapiper.com

                          -and-

                          WACHTELL, LIPTON, ROSEN & KATZ
                          Richard G. Mason (pro hac vice)
                          Douglas K. Mayer (pro hac vice)
                          Joseph C. Celentino (pro hac vice)
                          Mitchell S. Levy (pro hac vice)
                          51 West 52nd Street
                          New York, New York 10019
                          Telephone: (212) 403-1000
                          Email: RGMason@wlrk.com
                          DKMayer@wlrk.com
                          JCCelentino@wlrk.com
                          MSLevy@wlrk.com




                                     A00314
     Case: 23-1664      Document: 62-1   Page: 339     Date Filed: 07/24/2023




                                         SMITH, KATZENSTEIN & JENKINS LLP
Dated: April 10, 0223

                                          /s/ Kathleen M. Miller
                                         Kathleen M. Miller (No. 2898)
                                         1000 West Street, Suite 501
                                         P.O. Box 410
                                         Wilmington, DE 19899
                                         Telephone: (302) 652-8400
                                         kmiller@skjlaw.com
                                         -and-
                                         MOUND COTTON WOLLAN &
                                         GREENGRASS LLP
                                         Lloyd A. Gura (admitted pro hac vice)
                                         Pamela J. Minetto (admitted pro hac
                                         vice)
                                         One New York Plaza 44th Floor
                                         New York, NY 10004
                                         Tel: (212) 804-4282
                                         Email: lgura@moundcotton.com
                                         pminetto@moundcotton.com

                                         Attorneys for Indian Harbor Insurance
                                         Company, on behalf of itself and as
                                         successor in interest to Catlin
                                         Specialty Insurance Company




                                    A00315
          Case: 23-1664       Document: 62-1         Page: 340       Date Filed: 07/24/2023




                                 CERTIFICATE OF SERVICE

        I, Kathleen M. Miller, do hereby certify that, on this 10th day April 2023, a true and correct

copy of the foregoing NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS

FOR THE THIRD CIRCUIT was served via ECF on all parties who have signed up for electronic

filing in this case.




                                                   _/s/ Kathleen M. Miller________________
                                                   Kathleen M. Miller (DE No. 2898)




                                               A00316
    Case: 23-1664     Document: 62-1      Page: 341     Date Filed: 07/24/2023




                                       EXHIBIT A


George A. Davis                               Phillip C. Dublin
Latham & Watkins LLP                          Jason Rubin
885 Third Avenue                              Akin Gump Strauss Hauer & Feld LLP
New York, New York 10022                      1 Bryant Park
George.davis@lw.com                           New York, New York 10036
                                              pdublin@akingump.com
                                              jrubin@akingump.com

Ted A. Dillman                                Marty L. Brimmage, Jr.
Helena G. Tseregounis                         Lacy M. Lawrence
Latham & Watkins LLP                          Akin Gump Strauss Hauer & Feld LLP
355 South Grand Avenue, Suite 100             2300 N. Field Street, Suite 1800
Los Angeles, California 90071                 Dallas, Texas 75201
Ted.dillman@lw.com                            mbrimmage@akingump.com
Helena.tseregounis@lw.com                     llawrence@akingump.com

Michael R. Nestor                             Bill Bowden
Kara Hammond Coyle                            Michael DeBaeke
Betsy L. Feldman                              Ashby & Geddes
Young Conaway Stargatt & Taylor, LLP          500 Delaware Avenue
Rodney Square                                 P.O. Box 1150
1000 North King Street                        Wilmington, Delaware 19899
Wilmington, Delaware 19801                    wbowden@ashbygeddes.com
mnestor@ycst.com                              mdebaeke@ashbygeddes.com
kcoyle@ycst.com
bfeldman@ycst.com




Timothy J. Fox, Jr.
Office of the United States Trustee for the
District of Delaware
844 N. King Street
Wilmington, Delaware 19801
Timothy.fox@usdoj.gov




                                    A00317
Case: 23-1664   Document: 62-1   Page: 342   Date Filed: 07/24/2023




                            A00318
               Case: 23-1664         Document: 62-1            Page: 343         Date Filed: 07/24/2023




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

In re:                                                                 Chapter 11
                                                           1
Boy Scouts of America and Delaware BSA, LLC,                           Bankruptcy Case No. 20-10343 (LSS)

                                                                       (Jointly Administered)
National Union Fire Insurance Co. Of
Pittsburgh, PA, et al.,

                         Appellants,
                                                                       C.A. No. 22-cv-01237-RGA
                                v.

Boy Scouts of America and Delaware BSA, LLC,

                         Appellees.


                           NOTICE OF APPEAL TO THE UNITED STATES
                          COURT OF APPEALS FOR THE THIRD CIRCUIT

           NOTICE IS HEREBY GIVEN that Appellant Old Republic Insurance Company appeals

  to the United States Court of Appeals for the Third Circuit from the final Order and accompanying

  Opinion of the United States District Court for the District of Delaware (Hon. Richard G.

  Andrews), entered March 28, 2023 (D.I. 150, 151), among other things, affirming the

  Supplemental Findings of Fact and Conclusions of Law and Order Confirming the Third Modified

  Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts

  of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion

  (Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the District of Delaware (Hon.

  Laurie S. Silverstein), and all other orders, decisions, and opinions subsumed therein.




  1
    The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
  number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing address
  is 1325 West Walnut Hill Lane, Irving, Texas 75038.

                                                           1
  16066987/1

                                                       A00319
             Case: 23-1664    Document: 62-1         Page: 344   Date Filed: 07/24/2023




         The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  Old Republic Insurance MORRIS JAMES LLP
  Company                Stephen M. Miller (No. 2610)
  (Appellant)
                         Carl N. Kunz, III (No. 3201)
                         500 Delaware Avenue, Suite 1500
                         Wilmington, Delaware 19801
                         Telephone: (302) 888-6800
                         Facsimile: (302) 571-1750
                         smiller@morrisjames.com
                         ckunz@morrisjames.com

                               -and-

                               FOX SWIBEL LEVIN & CARROLL LLP
                               Margaret M. Anderson (pro hac vice)
                               Ryan T. Schultz (pro hac vice)
                               Adam A. Hachikian (pro hac vice)
                               Kenneth M. Thomas (pro hac vice)
                               200 W. Madison Street, Suite 3000
                               Chicago, Illinois 60606
                               Telephone: (312) 224-1200
                               Facsimile: (312) 224-1201
                               panderson@foxswibel.com
                               rschultz@foxswibel.com
                               ahachikian@foxswibel.com
                               kthomas@foxswibel.com
  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000

                                                 2
16066987/1

                                                A00320
        Case: 23-1664       Document: 62-1     Page: 345      Date Filed: 07/24/2023




                              Email: mrosenthal@gibsondunn.com
                              mkarlan@gibsondunn.com
                              jhallowell@gibsondunn.com
                              kmartorana@gibsondunn.com
                              srokosky@gibsondunn.com

                              GIBSON, DUNN & CRUTCHER LLP
                              Theodore J. Boutrous Jr. (pro hac vice)
                              Richard J. Doren (pro hac vice)
                              Blaine H. Evanson (pro hac vice)
                              333 South Grand Avenue
                              Los Angeles, California 90071
                              Telephone: (213) 229-7038
                              Email: rdoren@gibsondunn.com
                              bevanson@gibsondunn.com
                              tboutrous@gibsondunn.com

                              FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                              Susan N.K. Gummow
                              222 N. LaSalle St., Suite 1400
                              Chicago, Illinois 60601
                              Telephone: (312) 863-5000
                              Email: sgummow@fgppr.com
  Allianz Global Risks US     TROUTMAN PEPPER HAMILTON SANDERS LLP
  Insurance Company           David M. Fournier (DE Bar No. 2812)
  (Appellant)                 Marcy J. McLaughlin Smith (DE No. 6184)
                              Hercules Plaza
                              1313 Market Street
                              Suite 5100
                              P.O. Box 1709
                              Wilmington, DE 19899-1709
                              Telephone: 404.885.3000
                              david.fournier@troutman.com
                              marcy.smith@troutman.com

                              -and-

                              PARKER, HUDSON, RAINER & DOBBS LLP
                              Harris B. Winsberg (pro hac vice)
                              Matthew G. Roberts (pro hac vice)
                              303 Peachtree Street NE
                              Suite 3600
                              Atlanta, GA 30308
                              Telephone: 404.420.4313
                              Facsimile: 404.522.8409
                              hwinsberg@phrd.com
                              mroberts@phrd.com

                              -and-

                              McDERMOTT WILL & EMERY LLP
                              Margaret H. Warner (pro hac vice)
                              Ryan S. Smethurst (pro hac vice)

                                              3
16066987/1

                                         A00321
        Case: 23-1664   Document: 62-1   Page: 346   Date Filed: 07/24/2023




                          Alex M. Spisak (pro hac vice)
                          The McDermott Building
                          500 North Capitol Street, NW
                          Washington, DC 20001-1531
                          Telephone: 202.756.8228
                          Facsimile: 202.756.8087
                          mwarner@mwe.com
                          rsmethurst@mwe.com
                          aspisak@mwe.com
  National Surety         TROUTMAN PEPPER HAMILTON SANDERS LLP
  Corporation and         David M. Fournier (DE Bar No. 2812)
  Interstate Fire &       Marcy J. McLaughlin Smith (DE No. 6184)
  Casualty Company        Hercules Plaza, Suite 5100
  (Appellants)            1313 Market Street
                          P.O. Box 1709
                          Wilmington, DE 19899-1709
                          Telephone: 302.777.6500
                          Facsimile: 302.421.8390
                          david.fournier@troutman.com
                          marcy.smith@troutman.com

                          -and-

                          PARKER, HUDSON, RAINER & DOBBS LLP
                          Harris B. Winsberg (pro hac vice)
                          Matthew G. Roberts (pro hac vice)
                          303 Peachtree Street NE
                          Suite 3600
                          Atlanta, GA 30308
                          Telephone: 404.420.4313
                          Facsimile: 404.522.8409
                          hwinsberg@phrd.com
                          mroberts@phrd.com

                          -and-

                         BRADLEY RILEY JACOBS PC
                         Todd C. Jacobs (pro hac vice)
                         John E. Bucheit (pro hac vice)
                         Paul J. Esker (pro hac vice)
                         500 West Madison Street
                         Suite 1000
                         Chicago, IL 60661
                         Telephone: 312.281.0295
                         tjacobs@bradleyriley.com
                         jbucheit@bradleyriley.com
                         pesker@bradleyriley.com
  Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
  (Appellant)            Kathleen M. Miller (No. 2898)
                         1000 West Street, Suite 501
                         P.O. Box 410
                         Wilmington, DE 19899
                         Telephone: (302) 652-8400

                                         4
16066987/1

                                    A00322
        Case: 23-1664   Document: 62-1     Page: 347      Date Filed: 07/24/2023




                          kmiller@skjlaw.com

                          HANGLEY ARONCHICK SEGAL
                          PUDLIN & SCHILLER
                          Ronald P. Schiller (pro hac vice)
                          Matthew A. Hamermesh (pro hac vice)
                          One Logan Square, 27th Floor
                          Philadelphia, PA 19103
                          T: (215) 568-6200
                          F: (215) 568-0300
                          E: rschiller@hangley.com
                          mhamermesh@hangley.com
  Argonaut Insurance       POST & SCHELL, P.C.
  Company and Colony       Paul Logan (No. 3339)
  Insurance Company        300 Delaware Avenue, Suite 1380
  (Appellants)             Wilmington, DE 19801
                           Telephone: (302) 251-8856
                           Email: plogan@postschell.com

                           POST & SCHELL, P.C.
                           John C. Sullivan (pro hac vice)
                           Kathleen K. Kerns (pro hac vice)
                           Four Penn Center – 13th Floor
                           1600 John F. Kennedy Boulevard
                           Philadelphia, PA 19103
                           Telephone: (215) 587-1000
                           jsullivan@postschell.com
                          kkerns@postschell.com

                          -and-
                           IFRAH PLLC
                           George R. Calhoun (pro hac vice)
                           1717 Pennsylvania Avenue, N.W. Suite 650
                           Washington, DC 20006
                           Telephone: (202) 840-8758
                          george@ifrahlaw.com
  Arrowood Indemnity      JOYCE, LLC
  Company                 Michael J. Joyce (No. 4563)
  (Appellant)             1225 King Street, Suite 800
                          Wilmington, DE 19801
                          Telephone: (302) 388-1944
                          Email: mjoyce@mjlawoffices.com

                          -and-

                          COUGHLIN MIDLIGE & GARLAND, LLP
                          Kevin Coughlin (pro hac vice)
                          Lorraine Armenti (pro hac vice)
                          Michael Hrinewski (pro hac vice)
                          350 Mount Kemble Avenue
                          PO Box 1917
                          Morristown, NJ 07962

                                           5
16066987/1

                                     A00323
        Case: 23-1664     Document: 62-1    Page: 348     Date Filed: 07/24/2023




                            Telephone: (973) 267-0058
                            Facsimile: 973-267-6442
                            kcoughlin@cmg.law
                            larmenti@cmg.law
                            mhrinewski@cmg.law

                            -and-

                            CARRUTHERS & ROTH, P.A.
                            Britton C. Lewis
                            John M. Flynn
                            235 N. Edgeworth Street
                            P.O. Box 540
                            Greensboro, NC 27401
                            Telephone: (336) 478-1146
                            Facsimile: (336) 478-1145
                            jmf@crlaw.com
                            bcl@crlaw.com
  Continental Insurance     GOLDSTEIN & MCCLINTOCK LLLP
  Company and Columbia      Maria Aprile Sawczuk (DE #3320)
  Casualty Company          501 Silverside Road
  (Appellants)              Wilmington, DE 19809
                            302-444-6710
                            marias@goldmclaw.com

                            -and-

                            LOEB & LOEB LLP
                            Laura McNally (pro hac vice)
                            Emily Stone (pro hac vice)
                            321 N. Clark Street, Suite 2300
                            Chicago, IL 60654
                            312-464-3155
                            lmcnally@loeb.com
                            estone@loeb.com
  Gemini Insurance          WERB & SULLIVAN
  Company                   LEGAL ARTS BUILDING
  (Appellant)               Brian A. Sullivan (No. 2098)
                            1225 N. King Street
                            Suite 600
                            Wilmington, Delaware 19801
                            Telephone: (302) 652-1100
                            Cell: (302) 757-9932
                            Facsimile: (302) 652-1111
                            Email: bsullivan@werbsullivan.com

                            GIEGER LABORDE & LAPEROUOSE, LLC
                            John E.W. Baay II (pro hac vice)
                            701 Poydras Street
                            Suite 4800
                            New Orleans, LA 70139
                            Tel.: 504-561-0400
                            Fax: 504-561-1011

                                            6
16066987/1

                                       A00324
        Case: 23-1664      Document: 62-1    Page: 349      Date Filed: 07/24/2023




                             Email: jbaay@glllaw.com

                             -and-

                             KIERNAN TREBACH LLP
                             William H. White Jr (pro hac vice)
                             1233 20th Street, NW
                             8th Floor
                             Washington, DC 20036
                             Tel.: 202-712-7000
                             Fax: 202-712-7100
                             Email: wwhite@kiernantrebach.com
  General Star Indemnity     SMITH, KATZENSTEIN & JENKINS LLP
  Company                    Kathleen M. Miller (DE Bar No. 2898)
  (Appellant)                1000 West Street, Suite 501
                             P.O. Box 410
                             Wilmington, DE 19899
                             Telephone: (302) 652-8400
                             Email: kmiller@skjlaw.com

                             -and-

                          WILEY REIN LLP
                          Mary E. Borja (pro hac vice)
                          Gary P. Seligman (pro hac vice)
                          Ashley L. Criss (pro hac vice)
                          2050 M Street NW
                          Washington, DC 20036
                          Phone: (202) 719-7000
                          Email: mborja@wiley.law
                          gseligman@wiley.law
                          acriss@wiley.law
  Great American          BODELL BOVÉ, LLC
  Assurance               Bruce W. McCullough (No. 3112)
  Company, f/k/a          1225 N. King Street, Suite 1000
  Agricultural Insurance  Wilmington, Delaware 19801-3250
  Company; Great          Telephone: (302) 655-6749
  American E&S Insurance bmccullough@bodellbove.com
  Company, f/k/a
  Agricultural Excess and -and-
  Surplus Insurance
  Company; and Great      CLYDE & CO US LLP
  American E&S Insurance Bruce D. Celebrezze (pro hac vice)
  Company                 150 California Street | 15th Floor
  (Appellants)            San Francisco, California 94111
                          Telephone: (415) 365-9800
                          Facsimile: (415) 365-9801
                          bruce.celebrezze@clydeco.us

                             CLYDE & CO US LLP
                             Konrad R. Krebs (pro hac vice)
                             340 Mt. Kemble Avenue | Suite 300
                             Morristown, NJ 07960

                                             7
16066987/1

                                        A00325
        Case: 23-1664          Document: 62-1    Page: 350    Date Filed: 07/24/2023




                                 Telephone: (973) 210-6700
                                 Facsimile: (973) 210-6701
                                 konrad.krebs@clydeco.us

                                 -and-

                                 DAVID CHRISTIAN ATTORNEYS LLC
                                 David Christian (pro hac vice)
                                 105 W. Madison St., Suite 1400
                                 Chicago, Illinois 60602
                                 Telephone: (312) 282-5282
                                 dchristian@dca.law
  Indian Harbor Insurance        SMITH, KATZENSTEIN
  Company, on behalf of          & JENKINS LLP
  itself and as successor in     Kathleen M. Miller (No. 2898)
  interest to Catlin             1000 West Street, Suite 1501
  Specialty Insurance            P.O. Box 410
  Company                        Wilmington, DE 19899 [Courier 19801]
  (Appellant)                    Telephone: (302) 652-8400
                                 Facsimile: (302) 652-8405
                                 kmiller@skjlaw.com

                                 and

                           MOUND COTTON WOLLAN & GREENGRASS LLP
                           Lloyd A. Gura (pro hac vice)
                           Pamela J. Minetto (pro hac vice)
                           One New York Plaza 44th Floor
                           New York, NY 10004
                           Tel: (212) 804-4282
                           lgura@moundcotton.com
                           pminetto@moundcotton.com
  Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
  Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
  Casualty Insurance       222 Delaware Avenue
  Company, Liberty         Suite 1500
  Insurance Underwriters,  Wilmington, DE 19801
  Inc. and Liberty Surplus Telephone: (302) 888-0600
  Insurance Corporation    khill@svglaw.com
  (Appellants)
                           -and-

                                 CHOATE, HALL & STEWART LLP
                                 Douglas R. Gooding (pro hac vice)
                                 Jonathan D. Marshall (pro hac vice)
                                 Two International Place
                                 Boston, MA 02110
                                 Telephone: (617) 248-5000
                                 dgooding@choate.com
                                 jmarshall@choate.com
                                 -and-


                                                 8
16066987/1

                                            A00326
        Case: 23-1664       Document: 62-1      Page: 351      Date Filed: 07/24/2023




                              MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                              PC
                              Kim V. Marrkand (pro hac vice)
                              One Financial Center
                              Boston, MA 02111
                              Telephone: (617) 542-6000
                              kvmarrkand@mintz.com
  Munich Reinsurance          DILWORTH PAXSON LLP
  America, Inc., formerly     Thaddeus J. Weaver (DE Bar. No. 2790)
  known as American Re-       704 N. King Street, Suite 500
  Insurance Company           P.O. Box 1031
  (Appellant)                 Wilmington, DE 19899-1031
                              (302) 571-8867 (telephone)
                              (302) 351-8735 (facsimile)
                              tweaver@dilworthlaw.com

                              -and-

                              DILWORTH PAXSON LLP
                              William E. McGrath, Jr. (pro hac vice)
                              2 Research Way, Suite 103
                              Princeton, NJ 08540
                              (609) 924-6000 (telephone)
                              (215) 893-8537 (facsimile)
                              wmcgrath@dilworthlaw.com
  Traders and Pacific         COZEN O’CONNOR
  Insurance Company,          Marla S. Benedek (No. 6638)
  Endurance American          1201 N. Market Street, Suite 1001
  Specialty Insurance         Wilmington, DE 19801
  Company, and                Telephone: (302) 295-2024
  Endurance American          Facsimile: (302) 250-4498
  Insurance Company           mbenedek@cozen.com
  (Appellants)
  Travelers Casualty and      REGER RIZZO & DARNALL LLP
  Surety Company, Inc.        Louis J. Rizzo, Jr. (DE Bar No. 3374)
  (f/k/a Aetna Casualty &     1521 Concord Pike Suite 305
  Surety Company), St.        Brandywine Plaza West
  Paul Surplus Lines          Wilmington DE 19803
  Insurance Company and       Telephone: (302) 477-7100
  Gulf Insurance Company      Facsimile: (302) 652-3620
                              lrizzo@regerlaw.com
  (Appellants)

  Lujan Claimants             LOIZIDES, P.A.
  (Appellants                 Christopher D. Loizides (No. 3968)
                              1225 North King Street, Suite 800
                              Wilmington, DE 19801
                              Telephone: (302) 654-0248
                              Loizides@loizides.com

                              -and-


                                               9
16066987/1

                                          A00327
        Case: 23-1664      Document: 62-1     Page: 352      Date Filed: 07/24/2023




                             LUJAN & WOLFF LLP
                             Delia Lujan Wolff
                             Suite 300 DNA Bldg.
                             238 Archbishop Flores St.
                             Hagatna, Guam 96910
                             Telephone: (671) 477-8064/5
                             dslwolff@lawguam.com
  Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
  Claimants                  Charles J. Brown, III (No. 3368)
                             1201 N. Orange St. 3rd Floor
  (Appellants)
                             Wilmington, DE 19801
                             Telephone: (302) 425-5813
                             cbrown@gsbblaw.com

                             -and-

                             DUMAS & VAUGHN, LLC
                             Gilion C. Dumas
                             3835 NE Hancock Street, Suite GLB
                             Portland, OR 97212
                             Telephone: (503) 616-5007
                             gilion@dumasandvaughn.com
  Boy Scouts of America,     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                             Derek C. Abbott (No. 3376)
  Delaware BSA, LLC          Andrew R. Remming (No. 5120)
  (Debtors/Appellees and     Paige N. Topper (No. 6470)
  Debtors in Possession)     1201 North Market Street, 16th Floor
                             P.O. Box 1347
                             Wilmington, Delaware 19899-1347
                             Telephone: (302) 658-9200
                             dabbott@morrisnichols.com
                             aremming@morrisnichols.com
                             ptopper@morrisnichols.com

                             – and –

                             WHITE & CASE LLP
                             Jessica C. Lauria (pro hac vice)
                             Glenn M. Kurtz (pro hac vice)
                             1221 Avenue of the Americas
                             New York, New York 10020
                             Telephone: (212) 819-8200
                             Email: jessica.lauria@whitecase.com
                             gkurtz@whitecase.com

                             – and –

                             WHITE & CASE LLP
                             Michael C. Andolina
                             Matthew E. Linder

                                             10
16066987/1

                                        A00328
        Case: 23-1664   Document: 62-1     Page: 353      Date Filed: 07/24/2023




                          Laura E. Baccash
                          Blair M. Warner
                          111 South Wacker Drive
                          Chicago, Illinois 60606
                          Telephone: (312) 881-5400
                          mandolina@whitecase.com
                          mlinder@whitecase.com
                          laura.baccash@whitecase.com
                          blair.warner@whitecase.com

                          – and –

                          WHITE & CASE LLP
                          Ronald K. Gorsich
                          Doah Kim
                          555 South Flower Street, Suite 2700
                          Los Angeles, CA 90071
                          Telephone: (213) 620-7700
                          rgorsich@whitecase.com
                          doah.kim@whitecase.com
  Tort Claimants’         PACHULSKI STANG ZIEHL & JONES LLP
  Committee               Richard M. Pachulski (pro hac vice)
  (Appellee)              Alan J. Kornfeld (pro hac vice)
                          Debra I. Grassgreen (pro hac vice)
                          Iain A.W. Nasatir (pro hac vice)
                          James E. O’Neill (No. 4042)
                          919 North Market Street, 17th Floor
                          P.O. Box 8705
                          Wilmington, DE 19899-8705 (Courier 19801)
                          Telephone: (302) 652-4100
                          Fax: (302) 652-4400
                          Email: rpachulski@pszjlaw.com
                          akornfeld@pszjlaw.com
                          dgrassgreen@pszjlaw.com
                          inasatir@pszjlaw.com
                          joneill@pszjlaw.com
  Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.
  Scouts for Justice      Rachel B. Mersky (No. 2049)
  (Appellee)              1201 North Orange Street, Suite 400
                          Wilmington, Delaware 19801
                          Telephone: (302) 656-8162
                          Fax: (302) 656-2769
                          Email: rmersky@monlaw.com

                          –and–

                          BROWN RUDNICK LLP
                          David J. Molton, Esq. (pro hac vice)
                          Eric R. Goodman, Esq. (pro hac vice)
                          Seven Times Square
                          New York, NY 10036
                          Telephone: (212) 209-4800
                          Fax: (212) 209-4801

                                          11
16066987/1

                                     A00329
        Case: 23-1664     Document: 62-1     Page: 354      Date Filed: 07/24/2023




                            Email: dmolton@brownrudnick.com
                            egoodman@brownrudnick.com

                            –and–

                            BROWN RUDNICK LLP
                            Sunni P. Beville, Esq. (pro hac vice)
                            Tristan G. Axelrod, Esq. (pro hac vice)
                            One Financial Center
                            Boston, MA 02111
                            Telephone: (617) 856-8200
                            Fax: (617) 856-8201
                            Email: sbeville@brownrudnick.com
                            taxelrod@brownrudnick.com
  Future Claimants’         YOUNG CONAWAY STARGATT & TAYLOR, LLP
  Representative
  (Appellee)                Robert S. Brady (No. 2847)
                            Edwin J. Harron (No. 3396)
                            Kenneth J. Enos (No. 4544)
                            Ashley E. Jacobs (No. 5635)
                            Rodney Square
                            1000 North King Street
                            Wilmington, Delaware 19801
                            Telephone: (302) 571-6600
                            Fax: (302) 571-1253
                            Email: rbrady@ycst.com
                            eharron@ycst.com
                            kenos@ycst.com
                            ajacobs@ycst.com

                            -and-

                            GILBERT LLP
                            Kami E. Quinn (pro hac vice)
                            Rachel H. Jennings (pro hac vice)
                            Kyle Y. Dechant (pro hac vice)
                            December L. Huddleston (pro hac vice)
                            700 Pennsylvania Ave, SE
                            Suite 400
                            Washington, DC 20003
                            Telephone: (202) 772-2200
                            Fax: (202) 772-3333
                            Email: quinnk@gilbertlegal.com
                            jenningsr@gilbertlegal.com
                            dechantk@gilbertlegal.com
                            huddlestond@gilbertlegal.com
  The Zalkin Law Firm,      KTBS LAW LLP
  P.C. and Pfau Cochran     Thomas E. Patterson (pro hac vice)
  Vertetis Amala PLLC       Daniel J. Bussel (pro hac vice)
  (Appellees)               Robert J. Pfister (pro hac vice)
                            Sasha M. Gurvitz (pro hac vice)
                            1801 Century Park East, Twenty-Sixth Floor
                            Los Angeles, California 90067

                                            12
16066987/1

                                       A00330
        Case: 23-1664    Document: 62-1       Page: 355      Date Filed: 07/24/2023




                             Telephone: (310) 407-4000
                             Fax: (310) 407-9090
                             Email: tpatterson@ktbslaw.com
                             dbussel@ktbslaw.com
                             rpfister@ktbslaw.com
                             sgurvitz@ktbslaw.com

                             -and-
                             BIELLI & KLAUDER, LLC
                             David M. Klauder, Esquire (No. 5769)
                             1204 N. King Street
                             Wilmington, DE 19801
                             Telephone: (302) 803-4600
                             Fax: (302) 397-2557
                             Email: dklauder@bk-legal.com
  Hartford Accident and      BAYARD, P.A.
  Indemnity Company,         Erin R. Fay (No. 5268)
  First State Insurance      Gregory J. Flasser (No. 6154)
  Company, Twin City         600 North King Street, Suite 400
  Fire Insurance Company,    Wilmington, DE 19801
  and Navigators Specialty   Telephone: (302) 655-5000
  Insurance Company          Fax: (302) 658-6395
  (Appellees)                Email: efay@bayardlaw.com
                             gflasser@bayardlaw.com

                             -and-

                             RUGGERI PARKS WEINBERG LLP
                             James P. Ruggeri (pro hac vice)
                             Joshua D. Weinberg (pro hac vice)
                             1875 K Street, N.W., Suite 600
                             Washington, D.C. 20006-1251
                             Telephone: (202) 469-7750
                             Fax: (202) 469-7751
                             Email: jruggeri@ruggerilaw.com
                             jweinberg@ruggerilaw.com

                             -and-

                             WILMER CUTLER PICKERING HALE
                             AND DORR LLP
                             Philip D. Anker (pro hac vice)
                             7 World Trade Center
                             250 Greenwich Street
                             New York, N.Y. 10007
                             Telephone: (212) 230-8890
                             Fax: (212) 230-8888
                             Email: philip.anker@wilmerhale.com

                             Joel Millar (pro hac vice)
                             1875 Pennsylvania Avenue N.W.
                             Washington, D.C. 20006

                                             13
16066987/1

                                        A00331
        Case: 23-1664   Document: 62-1      Page: 356       Date Filed: 07/24/2023




                            Telephone: (202) 663-6000
                            Fax: (202) 663-6363
                            Email: joel.millar@wilmerhale.com
  Century Indemnity         STAMOULIS & WEINBLATT LLC
  Company, as successor     Stamatios Stamoulis (No. 4606)
  to CCI Insurance          800 N. West Street, Third Floor
  Company, as successor     Wilmington, Delaware 19801
  to Insurance Company of   Telephone: 302 999 1540
  North America and         Fax: 302 762 1688
  Indemnity Insurance       Email: stamoulis@swdelaw.com
  Company of North
  America                   -and-
  (Appellees)
                            O’MELVENY & MYERS LLP
                            Tancred Schiavoni (pro hac vice)
                            Times Square Tower
                            7 Times Square
                            New York, New York 10036-6537
                            Telephone: (212) 326-2000
                            Fax: (212) 326-2061
                            Email: tschiavoni@omm.com

                            O’MELVENY & MYERS LLP
                            Stephen Warren (pro hac vice)
                            400 South Hope Street
                            Los Angeles, California 90071
                            Telephone: (213) 430-6000
                            Fax: (213) 430-6407
                            Email: swarren@omm.com

                            O’MELVENY & MYERS LLP
                            Jonathan D. Hacker (pro hac vice)
                            1625 Eye Street, N.W.
                            Washington, D.C. 20006
                            Telephone: (202) 383-5300
                            Email: jhacker@omm.com
  Federal Insurance         STAMOULIS & WEINBLATT LLC
  Company and               Stamatios Stamoulis (No. 4606)
  Westchester Fire          800 N. West Street, Third Floor
  Insurance Company         Wilmington, Delaware 19801
  (Appellees)               Telephone: (302) 999-1540
                            Email: stamoulis@swdelaw.com

                            -and-

                            SIMPSON THATCHER & BARTLETT LLP
                            David Elbaum (pro hac vice)
                            425 Lexington Avenue
                            New York, New York 10017
                            Telephone: (212) 455-2000
                            Email: david.elbaum@stblaw.com
  American Zurich           TYBOUT, REDFEARN & PELL
  Insurance Company,        Robert D. Cecil, Jr. (No. 5317)

                                           14
16066987/1

                                       A00332
        Case: 23-1664      Document: 62-1     Page: 357      Date Filed: 07/24/2023




  American Guarantee         501 Carr Road, Suite 300
  Insurance Company, and     Wilmington, Delaware 19899
  Steadfast Insurance        Telephone: (302) 658-6901
  Company                    Email: rcecil@trplaw.com
  (Appellees)
                             -and-

                             CROWELL & MORING LLP
                             Mark D. Plevin (pro hac vice)
                             Kevin D. Cacabelos (pro hac vice)
                             Three Embarcadero Center, 26th Floor
                             San Francisco, California 94111
                             Telephone: (415) 986-2800
                             Email: mplevin@crowell.com
                             kcacabelos@crowell.com

                             Tacie H. Yoon (pro hac vice)
                             Rachel A. Jankowski (pro hac vice)
                             1001 Pennsylvania Ave., N.W.
                             Washington, D.C. 20004
                             Telephone: (202) 624-2500
                             Email: tyoon@crowell.com
                             rjankowski@crowell.com

  Clarendon National         BALLARD SPAHR LLP
  Insurance Company, as      Matthew G. Summers (No. 5533)
  successor in interest by   Chantelle D. McClamb (No. 5978)
  merger to Clarendon        919 N. Market Street, 11th Floor
  America Insurance          Wilmington, Delaware 19801-3034
  Company; River Thames      Telephone: (302) 252-4428
  Insurance Company          Fax: (302) 252-4466
  Limited (as successor in   Email: summersm@ballardspahr.com
  interest to Unionamerica   mcclamb@ballardspahr.com
  Insurance Company
  Limited, on its own        -and-
  behalf and in turn as
  successor to St.           STEPTOE & JOHNSON LLP
  Katherine Insurance        Harry Lee (pro hac vice)
  Company Limited); and      John O’Connor (pro hac vice)
  Zurich American            1330 Connecticut Avenue NW
  Insurance Company, as      Washington, DC 20036
  successor to Maryland      Telephone: (202) 429-8078
  Casualty Company,          Fax: (202) 429-3902
  Zurich Insurance           Email: hlee@steptoe.com
  Company, and Maryland      joconnor@steptoe.com
  General Insurance
  Company
  (Appellees)

  Ad Hoc Committee of        DLA PIPER, LLP (US)
  Local Councils of the      R. Craig Martin (No. 5032)
  Boy Scouts of America      1201 North Market Street, Suite 2100
                             Wilmington, Delaware 19801-1147

                                             15
16066987/1

                                        A00333
             Case: 23-1664   Document: 62-1     Page: 358        Date Filed: 07/24/2023




  (Appellee)                  Telephone: (302) 468-5655
                              Email: craig.martin@dlapiper.com

                              -and-

                              WACHTELL, LIPTON, ROSEN & KATZ
                              Richard G. Mason (pro hac vice)
                              Douglas K. Mayer (pro hac vice)
                              Joseph C. Celentino (pro hac vice)
                              Mitchell S. Levy (pro hac vice)
                              51 West 52nd Street
                              New York, New York 10019
                              Telephone: (212) 403-1000
                              Email: RGMason@wlrk.com
                              DKMayer@wlrk.com
                              JCCelentino@wlrk.com
                              MSLevy@wlrk.com



Dated: April 10, 2023                 By:   /s/ Carl N. Kunz, III
Wilmington, Delaware                        Stephen M. Miller (No. 2610)
                                            Carl N. Kunz, III (No. 3201)
                                            MORRIS JAMES LLP
                                            500 Delaware Avenue, Suite 1500
                                            Wilmington, Delaware 19801
                                            Telephone: (302) 888-6800
                                            Facsimile: (302) 571-1750
                                            Email: smiller@morrisjames.com
                                                    ckunz@morrisjames.com

                                            Margaret M. Anderson, Esq. (admitted pro hac vice)
                                            Ryan T. Schultz (admitted pro hac vice)
                                            Adam A. Hachikian (admitted pro hac vice)
                                            Kenneth M. Thomas (admitted pro hac vice)
                                            FOX SWIBEL LEVIN & CARROLL LLP
                                            200 W. Madison Street, Suite 3000
                                            Chicago, Illinois 60606
                                            Telephone: (312) 224-1200
                                            Facsimile: (312) 224-1201
                                            Email: panderson@foxswibel.com
                                                   rschultz@foxswibel.com
                                                   ahachikian@foxswibel.com
                                                   kthomas@foxswibel.com

                                            Counsel for Old Republic Insurance Company




                                              16
16066987/1

                                            A00334
          Case: 23-1664       Document: 62-1       Page: 359        Date Filed: 07/24/2023


                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11

                                                       Bankruptcy Case
BOY SCOUTS OF AMERICA AND                              No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                       (Jointly Administered)
                      Debtors.


NATIONAL UNION FIRE INSURANCE CO.                      Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                      Appellants,

               v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                      Appellee.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellants Travelers Casualty and Surety Company,

 Inc. (f/k/a Aetna Casualty & Surety Company), St. Paul Surplus Lines Insurance Company and

 Gulf Insurance Company (“Travelers”), appeal to the United States Court of Appeals for the Third

 Circuit from the final Order and accompanying Opinion of the United States District Court for the

 District of Delaware (Hon. Richard G. Andrews), entered March 28, 2023 (D.I. 150, 151 Attached

 hereto as Exhibits A and B respectively), among other things affirming the Supplemental Findings

 of Fact and Conclusions of Law and Order Confirming the Third Modified Fifth Amended Chapter

 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts of America and

 Delaware BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion (Bankruptcy D.I.




                                             A00335
          Case: 23-1664       Document: 62-1       Page: 360       Date Filed: 07/24/2023




10136) of the United States Bankruptcy Court for the District of Delaware (Hon. Laurie S.

Silverstein), and all other orders, decisions, and opinions subsumed therein.

       The parties to the order appealed from and the names, addresses and telephone numbers of

their respective attorneys are as follows:

  Travelers Casualty and       REGER RIZZO & DARNALL LLP
  Surety Company, Inc.         Louis J. Rizzo, Jr. (DE Bar No. 3374)
  (f/k/a Aetna Casualty &      1521 Concord Pike
  Surety Company), St.         Brandywine Plaza West Suite 305
  Paul Surplus Lines           Wilmington, DE 19803
  Insurance Company and        Telephone: (302) 477-7100
  Gulf Insurance Company       Email: lrizzo@regerlaw.com
  (“Travelers”)
  (Appellants)

  Allianz Global Risks US      TROUTMAN PEPPER HAMILTON SANDERS LLP
  Insurance Company            David M. Fournier (DE Bar No. 2812)
  (Appellant)                  Marcy J. McLaughlin Smith (DE No. 6184)
                               Hercules Plaza
                               1313 Market Street
                               Suite 5100
                               P.O. Box 1709
                               Wilmington, DE 19899-1709
                               Telephone: 404.885.3000
                               david.fournier@troutman.com
                               marcy.smith@troutman.com

                               -and-

                               PARKER, HUDSON, RAINER & DOBBS LLP
                               Harris B. Winsberg (pro hac vice)
                               Matthew G. Roberts (pro hac vice)
                               303 Peachtree Street NE
                               Suite 3600
                               Atlanta, GA 30308
                               Telephone: 404.420.4313
                               Facsimile: 404.522.8409
                               hwinsberg@phrd.com
                               mroberts@phrd.com

                               -and-




                                             A00336
      Case: 23-1664      Document: 62-1     Page: 361     Date Filed: 07/24/2023




                         McDERMOTT WILL & EMERY LLP
                         Margaret H. Warner (pro hac vice)
                         Ryan S. Smethurst (pro hac vice)
                         Alex M. Spisak (pro hac vice)
                         The McDermott Building
                         500 North Capitol Street, NW
                         Washington, DC 20001-1531
                         Telephone: 202.756.8228
                         Facsimile: 202.756.8087
                         mwarner@mwe.com
                         rsmethurst@mwe.com
                         aspisak@mwe.com
National Union Fire      FINEMAN KREKSTEIN & HARRIS PC
Insurance Company of     Deirdre M. Richards
Pittsburgh, Pa.,         1300 N. King Street
Lexington Insurance      Wilmington, DE 19801
Company, Landmark        Telephone: (302) 538-8331
Insurance Company, and   Email: drichards@finemanlawfirm.com
The Insurance Company
of the State of          -and-
Pennsylvania (the “AIG
Companies”)              GIBSON, DUNN & CRUTCHER LLP
(Appellants)             Michael A. Rosenthal (pro hac vice)
                         Mitchell A. Karlan (pro hac vice)
                         James Hallowell (pro hac vice)
                         Keith R. Martorana (pro hac vice)
                         Seth M. Rokosky (pro hac vice)
                         200 Park Avenue
                         New York, New York 10166
                         Telephone: (212) 351-4000
                         Email: mrosenthal@gibsondunn.com
                         mkarlan@gibsondunn.com
                         jhallowell@gibsondunn.com
                         kmartorana@gibsondunn.com
                         srokosky@gibsondunn.com

                         GIBSON, DUNN & CRUTCHER LLP
                         Theodore J. Boutrous Jr. (pro hac vice)
                         Richard J. Doren (pro hac vice)
                         Blaine H. Evanson (pro hac vice)
                         333 South Grand Avenue
                         Los Angeles, California 90071
                         Telephone: (213) 229-7038
                         Email: rdoren@gibsondunn.com
                         bevanson@gibsondunn.com
                         tboutrous@gibsondunn.com



                                      A00337
      Case: 23-1664   Document: 62-1   Page: 362       Date Filed: 07/24/2023




                      FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                      Susan N.K. Gummow
                      222 N. LaSalle St., Suite 1400
                      Chicago, Illinois 60601
                      Telephone: (312) 863-5000
                      Email: sgummow@fgppr.com

National Surety       TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and       David M. Fournier (DE Bar No. 2812)
Interstate Fire &     Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company      Hercules Plaza, Suite 5100
(Appellants)          1313 Market Street
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 302.777.6500
                      Facsimile: 302.421.8390
                      david.fournier@troutman.com
                      marcy.smith@troutman.com

                      -and-

                      PARKER, HUDSON, RAINER & DOBBS LLP
                      Harris B. Winsberg (pro hac vice)
                      Matthew G. Roberts (pro hac vice)
                      303 Peachtree Street NE
                      Suite 3600
                      Atlanta, GA 30308
                      Telephone: 404.420.4313
                      Facsimile: 404.522.8409
                      hwinsberg@phrd.com
                      mroberts@phrd.com

                      -and-

                      BRADLEY RILEY JACOBS PC
                      Todd C. Jacobs (pro hac vice)
                      John E. Bucheit (pro hac vice)
                      Paul J. Esker (pro hac vice)
                      500 West Madison Street
                      Suite 1000
                      Chicago, IL 60661
                      Telephone: 312.281.0295
                      tjacobs@bradleyriley.com
                      jbucheit@bradleyriley.com
                      pesker@bradleyriley.com



                                  A00338
     Case: 23-1664   Document: 62-1     Page: 363        Date Filed: 07/24/2023




Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com

                     HANGLEY ARONCHICK SEGAL
                     PUDLIN & SCHILLER
                     Ronald P. Schiller (pro hac vice)
                     Matthew A. Hamermesh (pro hac vice)
                     One Logan Square, 27th Floor
                     Philadelphia, PA 19103
                     T: (215) 568-6200
                     F: (215) 568-0300
                     E: rschiller@hangley.com
                     mhamermesh@hangley.com

Argonaut Insurance    POST & SCHELL, P.C.
Company and Colony    Paul Logan (No. 3339)
Insurance Company     300 Delaware Avenue, Suite 1380
(Appellants)
                      Wilmington, DE 19801
                      Telephone: (302) 251-8856
                      Email: plogan@postschell.com

                      POST & SCHELL, P.C.
                      John C. Sullivan (pro hac vice)
                      Kathleen K. Kerns (pro hac vice)
                      Four Penn Center – 13th Floor
                      1600 John F. Kennedy Boulevard
                      Philadelphia, PA 19103
                      Telephone: (215) 587-1000
                      jsullivan@postschell.com
                      kkerns@postschell.com

                      -and-

                      IFRAH PLLC
                      George R. Calhoun (pro hac vice)
                      1717 Pennsylvania Avenue, N.W. Suite 650
                      Washington, DC 20006
                      Telephone: (202) 840-8758
                      george@ifrahlaw.com




                                  A00339
      Case: 23-1664     Document: 62-1   Page: 364       Date Filed: 07/24/2023




Arrowood Indemnity      JOYCE, LLC
Company                 Michael J. Joyce (No. 4563)
(Appellant)             1225 King Street, Suite 800
                        Wilmington, DE 19801
                        Telephone: (302) 388-1944
                        Email: mjoyce@mjlawoffices.com

                        -and-

                        COUGHLIN MIDLIGE & GARLAND, LLP
                        Kevin Coughlin (pro hac vice)
                        Lorraine Armenti (pro hac vice)
                        Michael Hrinewski (pro hac vice)
                        350 Mount Kemble Avenue
                        PO Box 1917
                        Morristown, NJ 07962
                        Telephone: (973) 267-0058
                        Facsimile: 973-267-6442
                        kcoughlin@cmg.law
                        larmenti@cmg.law
                        mhrinewski@cmg.law

                        -and-

                        CARRUTHERS & ROTH, P.A.
                        Britton C. Lewis
                        John M. Flynn
                        235 N. Edgeworth Street
                        P.O. Box 540
                        Greensboro, NC 27401
                        Telephone: (336) 478-1146
                        Facsimile: (336) 478-1145
                        jmf@crlaw.com
                        bcl@crlaw.com

Continental Insurance   GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia    Maria Aprile Sawczuk (DE #3320)
Casualty Company        501 Silverside Road
(Appellants)            Wilmington, DE 19809
                        302-444-6710
                        marias@goldmclaw.com

                        -and-




                                    A00340
      Case: 23-1664      Document: 62-1     Page: 365      Date Filed: 07/24/2023




                         LOEB & LOEB LLP
                         Laura McNally (pro hac vice)
                         Emily Stone (pro hac vice)
                         321 N. Clark Street, Suite 2300
                         Chicago, IL 60654
                         312-464-3155
                         lmcnally@loeb.com
                         estone@loeb.com

Gemini Insurance         WERB & SULLIVAN
Company                  LEGAL ARTS BUILDING
(Appellant)              Brian A. Sullivan (No. 2098)
                         1225 N. King Street
                         Suite 600
                         Wilmington, Delaware 19801
                         Telephone: (302) 652-1100
                         Cell: (302) 757-9932
                         Facsimile: (302) 652-1111
                         Email: bsullivan@werbsullivan.com

                         GIEGER LABORDE & LAPEROUOSE, LLC
                         John E.W. Baay II (pro hac vice)
                         701 Poydras Street
                         Suite 4800
                         New Orleans, LA 70139
                         Tel.: 504-561-0400
                         Fax: 504-561-1011
                         Email: jbaay@glllaw.com

                         -and-

                         KIERNAN TREBACH LLP
                         William H. White Jr (pro hac vice)
                         1233 20th Street, NW
                         8th Floor
                         Washington, DC 20036
                         Tel.: 202-712-7000
                         Fax: 202-712-7100
                         Email: wwhite@kiernantrebach.com

General Star Indemnity   SMITH, KATZENSTEIN & JENKINS LLP
Company                  Kathleen M. Miller (DE Bar No. 2898)
(Appellant)              1000 West Street, Suite 501
                         P.O. Box 410
                         Wilmington, DE 19899
                         Telephone: (302) 652-8400



                                       A00341
      Case: 23-1664       Document: 62-1     Page: 366         Date Filed: 07/24/2023




                          Email: kmiller@skjlaw.com

                          -and-

                          WILEY REIN LLP
                          Mary E. Borja (pro hac vice)
                          Gary P. Seligman (pro hac vice)
                          Ashley L. Criss (pro hac vice)
                          2050 M Street NW
                          Washington, DC 20036
                          Phone: (202) 719-7000
                          Email: mborja@wiley.law
                          gseligman@wiley.law
                          acriss@wiley.law

Great American            BODELL BOVÉ, LLC
Assurance                 Bruce W. McCullough (No. 3112)
Company, f/k/a            1225 N. King Street, Suite 1000
Agricultural Insurance    Wilmington, Delaware 19801-3250
Company; Great            Telephone: (302) 655-6749
American E&S Insurance    bmccullough@bodellbove.com
Company, f/k/a
Agricultural Excess and   -and-
Surplus Insurance
Company; and Great        CLYDE & CO US LLP
American E&S Insurance    Bruce D. Celebrezze (pro hac vice)
Company                   150 California Street | 15th Floor
(Appellants)              San Francisco, California 94111
                          Telephone: (415) 365-9800
                          Facsimile: (415) 365-9801
                          bruce.celebrezze@clydeco.us

                          CLYDE & CO US LLP
                          Konrad R. Krebs (pro hac vice)
                          340 Mt. Kemble Avenue | Suite 300
                          Morristown, NJ 07960
                          Telephone: (973) 210-6700
                          Facsimile: (973) 210-6701
                          konrad.krebs@clydeco.us

                          -and-

                          DAVID CHRISTIAN ATTORNEYS LLC
                          David Christian (pro hac vice)
                          105 W. Madison St., Suite 1400
                          Chicago, Illinois 60602



                                       A00342
       Case: 23-1664         Document: 62-1    Page: 367    Date Filed: 07/24/2023




                             Telephone: (312) 282-5282
                             dchristian@dca.law

Indian Harbor Insurance      SMITH, KATZENSTEIN
Company, on behalf of        & JENKINS LLP
itself and as successor in   Kathleen M. Miller (No. 2898)
interest to Catlin           1000 West Street, Suite 1501
Specialty Insurance          P.O. Box 410
Company                      Wilmington, DE 19899 [Courier 19801]
(Appellant)                  Telephone: (302) 652-8400
                             Facsimile: (302) 652-8405
                             kmiller@skjlaw.com

                             and

                             MOUND COTTON WOLLAN & GREENGRASS LLP
                             Lloyd A. Gura (pro hac vice)
                             Pamela J. Minetto (pro hac vice)
                             One New York Plaza 44th Floor
                             New York, NY 10004
                             Tel: (212) 804-4282
                             lgura@moundcotton.com
                             pminetto@moundcotton.com

Liberty Mutual Insurance     SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio            R. Karl Hill (DE Bar No. 2747)
Casualty Insurance           222 Delaware Avenue
Company, Liberty             Suite 1500
Insurance Underwriters,      Wilmington, DE 19801
Inc. and Liberty Surplus     Telephone: (302) 888-0600
Insurance Corporation        khill@svglaw.com
(Appellants)
                             -and-

                             CHOATE, HALL & STEWART LLP
                             Douglas R. Gooding (pro hac vice)
                             Jonathan D. Marshall (pro hac vice)
                             Two International Place
                             Boston, MA 02110
                             Telephone: (617) 248-5000
                             dgooding@choate.com
                             jmarshall@choate.com

                             -and-




                                          A00343
      Case: 23-1664       Document: 62-1     Page: 368        Date Filed: 07/24/2023




                          MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                          PC
                          Kim V. Marrkand (pro hac vice)
                          One Financial Center
                          Boston, MA 02111
                          Telephone: (617) 542-6000
                          kvmarrkand@mintz.com

Munich Reinsurance        DILWORTH PAXSON LLP
America, Inc., formerly   Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-     704 N. King Street, Suite 500
Insurance Company         P.O. Box 1031
(Appellant)               Wilmington, DE 19899-1031
                          (302) 571-8867 (telephone)
                          (302) 351-8735 (facsimile)
                          tweaver@dilworthlaw.com

                          -and-

                          DILWORTH PAXSON LLP
                          William E. McGrath, Jr. (pro hac vice)
                          2 Research Way, Suite 103
                          Princeton, NJ 08540
                          (609) 924-6000 (telephone)
                          (215) 893-8537 (facsimile)
                          wmcgrath@dilworthlaw.com

Traders and Pacific       COZEN O’CONNOR
Insurance Company,        Marla S. Benedek (No. 6638)
Endurance American        1201 N. Market Street, Suite 1001
Specialty Insurance       Wilmington, DE 19801
Company, and              Telephone: (302) 295-2024
Endurance American        Facsimile: (302) 250-4498
Insurance Company         mbenedek@cozen.com
(Appellants)
Old Republic Insurance    MORRIS JAMES LLP
Company                   Stephen M. Miller (No. 2610)
(Appellant)               Carl N. Kunz, III (No. 3201)
                          500 Delaware Avenue, Suite 1500
                          Wilmington, Delaware 19801
                          Telephone: (302) 888-6800
                          Facsimile: (302) 571-1750
                          smiller@morrisjames.com
                          ckunz@morrisjames.com

                          -and-



                                       A00344
      Case: 23-1664      Document: 62-1    Page: 369      Date Filed: 07/24/2023




                         FOX SWIBEL LEVIN & CARROLL LLP
                         Margaret M. Anderson (pro hac vice)
                         Ryan T. Schultz (pro hac vice)
                         Adam A. Hachikian (pro hac vice)
                         Kenneth M. Thomas (pro hac vice)
                         200 W. Madison Street, Suite 3000
                         Chicago, Illinois 60606
                         Telephone: (312) 224-1200
                         Facsimile: (312) 224-1201
                         panderson@foxswibel.com
                         rschultz@foxswibel.com
                         ahachikian@foxswibel.com
                         kthomas@foxswibel.com



Boy Scouts of America,   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                         Derek C. Abbott (No. 3376)
Delaware BSA, LLC        Andrew R. Remming (No. 5120)
(Debtors/Appellees and   Paige N. Topper (No. 6470)
Debtors in Possession)   1201 North Market Street, 16th Floor
                         P.O. Box 1347
                         Wilmington, Delaware 19899-1347
                         Telephone: (302) 658-9200
                         dabbott@morrisnichols.com
                         aremming@morrisnichols.com
                         ptopper@morrisnichols.com

                         – and –

                         WHITE & CASE LLP
                         Jessica C. Lauria (pro hac vice)
                         Glenn M. Kurtz (pro hac vice)
                         1221 Avenue of the Americas
                         New York, New York 10020
                         Telephone: (212) 819-8200
                         Email: jessica.lauria@whitecase.com
                         gkurtz@whitecase.com

                         – and –

                         WHITE & CASE LLP
                         Michael C. Andolina
                         Matthew E. Linder
                         Laura E. Baccash



                                      A00345
      Case: 23-1664   Document: 62-1     Page: 370       Date Filed: 07/24/2023




                      Blair M. Warner
                      111 South Wacker Drive
                      Chicago, Illinois 60606
                      Telephone: (312) 881-5400
                      mandolina@whitecase.com
                      mlinder@whitecase.com
                      laura.baccash@whitecase.com
                      blair.warner@whitecase.com

                      – and –

                      WHITE & CASE LLP
                      Ronald K. Gorsich
                      Doah Kim
                      555 South Flower Street, Suite 2700
                      Los Angeles, CA 90071
                      Telephone: (213) 620-7700
                      rgorsich@whitecase.com
                      doah.kim@whitecase.com
Tort Claimants’       PACHULSKI STANG ZIEHL & JONES LLP
Committee             Richard M. Pachulski (pro hac vice)
(Appellees)           Alan J. Kornfeld (pro hac vice)
                      Debra I. Grassgreen (pro hac vice)
                      Iain A.W. Nasatir (pro hac vice)
                      James E. O’Neill (No. 4042)
                      919 North Market Street, 17th Floor
                      P.O. Box 8705
                      Wilmington, DE 19899-8705 (Courier 19801)
                      Telephone: (302) 652-4100
                      Fax: (302) 652-4400
                      Email: rpachulski@pszjlaw.com
                      akornfeld@pszjlaw.com
                      dgrassgreen@pszjlaw.com
                      inasatir@pszjlaw.com
                      joneill@pszjlaw.com
Coalition of Abused   MONZACK MERSKY AND BROWDER, P.A
Scouts for Justice    Rachel B. Mersky (No. 2049)
(Appellees)           1201 North Orange Street, Suite 400
                      Wilmington, Delaware 19801
                      Telephone: (302) 656-8162
                      Fax: (302) 656-2769
                      Email: rmersky@monlaw.com

                      –and–

                      BROWN RUDNICK LLP
                      David J. Molton, Esq. (pro hac vice)



                                    A00346
      Case: 23-1664   Document: 62-1      Page: 371      Date Filed: 07/24/2023




                      Eric R. Goodman, Esq. (pro hac vice)
                      Seven Times Square
                      New York, NY 10036
                      Telephone: (212) 209-4800
                      Fax: (212) 209-4801
                      Email: dmolton@brownrudnick.com
                      egoodman@brownrudnick.com

                      –and–

                      BROWN RUDNICK LLP
                      Sunni P. Beville, Esq. (pro hac vice)
                      Tristan G. Axelrod, Esq. (pro hac vice)
                      One Financial Center
                      Boston, MA 02111
                      Telephone: (617) 856-8200
                      Fax: (617) 856-8201
                      Email: sbeville@brownrudnick.com
                      taxelrod@brownrudnick.com

Future Claimants’     YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellees)           Robert S. Brady (No. 2847)
                      Edwin J. Harron (No. 3396)
                      Kenneth J. Enos (No. 4544)
                      Ashley E. Jacobs (No. 5635)
                      Rodney Square
                      1000 North King Street
                      Wilmington, Delaware 19801
                      Telephone: (302) 571-6600
                      Fax: (302) 571-1253
                      Email: rbrady@ycst.com
                      eharron@ycst.com
                      kenos@ycst.com
                      ajacobs@ycst.com

                      -and-

                      GILBERT LLP
                      Kami E. Quinn (pro hac vice)
                      Rachel H. Jennings (pro hac vice)
                      Kyle Y. Dechant (pro hac vice)
                      December L. Huddleston (pro hac vice)
                      700 Pennsylvania Ave, SE
                      Suite 400
                      Washington, DC 20003



                                    A00347
      Case: 23-1664        Document: 62-1     Page: 372       Date Filed: 07/24/2023




                           Telephone: (202) 772-2200
                           Fax: (202) 772-3333
                           Email: quinnk@gilbertlegal.com
                           jenningsr@gilbertlegal.com
                           dechantk@gilbertlegal.com
                           huddlestond@gilbertlegal.com

The Zalkin Law Firm,       KTBS LAW LLP
P.C. and Pfau Cochran      Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC        Daniel J. Bussel (pro hac vice)
(Appellees)                Robert J. Pfister (pro hac vice)
                           Sasha M. Gurvitz (pro hac vice)
                           1801 Century Park East, Twenty-Sixth Floor
                           Los Angeles, California 90067
                           Telephone: (310) 407-4000
                           Fax: (310) 407-9090
                           Email: tpatterson@ktbslaw.com
                           dbussel@ktbslaw.com
                           rpfister@ktbslaw.com
                           sgurvitz@ktbslaw.com

                           -and-

                           BIELLI & KLAUDER, LLC
                           David M. Klauder, Esquire (No. 5769)
                           1204 N. King Street
                           Wilmington, DE 19801
                           Telephone: (302) 803-4600
                           Fax: (302) 397-2557
                           Email: dklauder@bk-legal.com

Hartford Accident and      BAYARD, P.A.
Indemnity Company,         Erin R. Fay (No. 5268)
First State Insurance      Gregory J. Flasser (No. 6154)
Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395
(Appellees)                Email: efay@bayardlaw.com
                           gflasser@bayardlaw.com

                           -and-

                           RUGGERI PARKS WEINBERG LLP
                           James P. Ruggeri (pro hac vice)
                           Joshua D. Weinberg (pro hac vice)



                                        A00348
      Case: 23-1664       Document: 62-1     Page: 373       Date Filed: 07/24/2023




                          1875 K Street, N.W., Suite 600
                          Washington, D.C. 20006-1251
                          Telephone: (202) 469-7750
                          Fax: (202) 469-7751

                          -and-

                          WILMER CUTLER PICKERING HALE
                          AND DORR LLP
                          Philip D. Anker (pro hac vice)
                          7 World Trade Center
                          250 Greenwich Street
                          New York, N.Y. 10007
                          Telephone: (212) 230-8890
                          Fax: (212) 230-8888

                          Joel Millar (pro hac vice)
                          1875 Pennsylvania Avenue N.W.
                          Washington, D.C. 20006
                          Telephone: (202) 663-6000
                          Fax: (202) 663-6363

Century Indemnity         STAMOULIS & WEINBLATT LLC
Company, as successor     Stamatios Stamoulis (No. 4606)
to CCI Insurance          800 N. West Street
Company, as successor     Third Floor Wilmington, Delaware 19801
to Insurance Company of   Telephone: 302 999 1540
North America and         Fax: 302 762 1688
Indemnity Insurance
Company of North          -and-
America
(Appellees)               O’MELVENY & MYERS LLP
                          Tancred Schiavoni (pro hac vice)
                          Times Square Tower
                          7 Times Square
                          New York, New York 10036-6537
                          Telephone: (212) 326-2000
                          Fax: (212) 326-2061

                          O’MELVENY & MYERS LLP
                          Stephen Warren (pro hac vice)
                          400 South Hope Street
                          Los Angeles, California 90071
                          Telephone: (213) 430-6000
                          Fax: (213) 430-6407




                                       A00349
      Case: 23-1664      Document: 62-1     Page: 374        Date Filed: 07/24/2023




                         O’MELVENY & MYERS LLP
                         Jonathan D. Hacker (pro hac vice)
                         1625 Eye Street, N.W.
                         Washington, D.C. 20006
                         Telephone: (202) 383-5300

Federal Insurance        STAMOULIS & WEINBLATT LLC
Company and              Stamatios Stamoulis (No. 4606)
Westchester Fire         8000 N. West Street, Third Floor
Insurance Company        Wilmington, Delaware 19801
(Appellees)              Telephone: (302) 999-1540

                         -and-

                         SIMPSON THATCHER & BARTLETT LLP
                         David Elbaum (pro hac vice)
                         425 Lexington Avenue
                         New York, New York 10017
                         Telephone: (212) 455-2000

American Zurich          TYBOUT, REDFEARN & PELL
Insurance Company,       Robert D. Cecil, Jr. (No. 5317)
American Guarantee       501 Carr Road, Suite 300
Insurance Company, and   Wilmington, Delaware 19899
Steadfast Insurance      Telephone: (302) 658-6901
Company                  Email: rcecil@trplaw.com
(Appellees)
                         -and-

                         CROWELL & MORING LLP
                         Mark D. Plevin (pro hac vice)
                         Kevin D. Cacabelos (pro hac vice)
                         Three Embarcadero Center, 26th Floor
                         San Francisco, California 94111
                         Telephone: (415) 986-2800
                         Email: mplevin@crowell.com
                         kcacabelos@crowell.com

                         Tacie H. Yoon (pro hac vice)
                         Rachel A. Jankowski (pro hac vice)
                         1001 Pennsylvania Ave., N.W.
                         Washington, D.C. 20004
                         Telephone: (202) 624-2500
                         Email: tyoon@crowell.com
                         rjankowski@crowell.com




                                      A00350
      Case: 23-1664        Document: 62-1     Page: 375      Date Filed: 07/24/2023




Clarendon National         BALLARD SPAHR LLP
Insurance Company, as      Matthew G. Summers (No. 5533)
successor in interest by   Chantelle D. McClamb (No. 5978)
merger to Clarendon        919 N. Market Street, 11th Floor
America Insurance          Wilmington, Delaware 19801-3034
Company; River Thames      Telephone: (302) 252-4428
Insurance Company          Fax: (302) 252-4466
Limited (as successor in   Email: summersm@ballardspahr.com
interest to Unionamerica   mcclamb@ballardspahr.com
Insurance Company
Limited, on its own        -and-
behalf and in turn as
successor to St.           STEPTOE & JOHNSON LLP
Katherine Insurance        Harry Lee (pro hac vice)
Company Limited); and      John O’Connor (pro hac vice)
Zurich American            1330 Connecticut Avenue NW
Insurance Company, as      Washington, DC 20036
successor to Maryland      Telephone: (202) 429-8078
Casualty Company,          Fax: (202) 429-3902
Zurich Insurance           Email: hlee@steptoe.com
Company, and Maryland      joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of        DLA PIPER, LLP (US)
Local Councils of the      R. Craig Martin (No. 5032)
Boy Scouts of America      1201 North Market Street, Suite 2100
(Appellees)                Wilmington, Delaware 19801-1147
                           Telephone: (302) 468-5655
                           Email: craig.martin@dlapiper.com

                           -and-

                           WACHTELL, LIPTON, ROSEN & KATZ
                           Richard G. Mason (pro hac vice)
                           Douglas K. Mayer (pro hac vice)
                           Joseph C. Celentino (pro hac vice)
                           Mitchell S. Levy (pro hac vice)
                           51 West 52nd Street
                           New York, New York 10019
                           Telephone: (212) 403-1000
                           Email: RGMason@wlrk.com
                           DKMayer@wlrk.com
                           JCCelentino@wlrk.com
                           MSLevy@wlrk.com




                                        A00351
       Case: 23-1664     Document: 62-1    Page: 376      Date Filed: 07/24/2023




 Official Committee of   REED SMITH LLP
 Unsecured Creditors     Kurt F. Gwynne (No. 3951)
 (Appellees)             Mark W. Eckard (No. 4542)
                         1201 Market Street, Suite 1500
                         Wilmington, DE 19801
                         Telephone: (302) 778-7500
                         Fax: (302) 778-7575
                         Email: kgwynne@reedsmith.com
                         meckard@reedsmith.com

                         -and-

                         KRAMER LEVIN NAFTALIS
                         & FRANKEL LLP
                         Thomas Moers Mayer
                         Rachael Ringer
                         Natan M. Hamerman
                         Jennifer R. Sharret
                         Megan M. Wasson
                         1177 Avenue of the Americas
                         New York, NY 10036
                         Telephone: (212) 715-9100
                         Fax: (212) 715-8000
                         E-mail: tmayer@kramerlevin.com
                         rringer@kramerlevin.com
                         nhamerman@kramerlevin.com
                         jsharret@kramerlevin.com
                           mwasson@kramerlevin.com



Dated: April 10, 2023              By:     /s/ Louis J. Rizzo, Jr.
Wilmington, Delaware                       Louis J. Rizzo, Jr., Esquire (DE Bar I.D. #3374)
                                           REGER RIZZO & DARNALL LLP
                                           1521 Concord Pike
                                           Brandywine Plaza West Suite 305
                                           Wilmington DE 19803
                                           (302)477-7100
                                           lrizzo@regerlaw.com

                                           Attorney for Travelers Casualty and Surety
                                           Company, Inc. (f/k/a Aetna Casualty & Surety
                                           Company), St. Paul Surplus Lines Insurance
                                           Company and Gulf Insurance Company
                                           (“Travelers”)




                                      A00352
          Case: 23-1664      Document: 62-1       Page: 377        Date Filed: 07/24/2023


                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                                Chapter 11

                                                      Bankruptcy Case
BOY SCOUTS OF AMERICA AND                             No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                      (Jointly Administered)
                      Debtors.



NATIONAL UNION FIRE INSURANCE CO.                     Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,                            (Lead Case)

                      Appellants,                     Civ. Nos. 22-1238-RGA, 22-1239-RGA-
                                                      22-1240-RGA, 22-1241-RGA, 22-1242-
               v.                                     RGA, 22-1243-RGA, 22-1244-RGA, 22-
                                                      1245-RGA, 22-1246-RGA, 22-1247-RGA,
BOY SCOUTS OF AMERICA AND                             22-1249-RGA, 22-1250-RGA, 22-1251-
DELAWARE BSA, LLC,                                    RGA, 22-1252-RGA, 22-1258-RGA, & 22-
                                                      1263-RGA (Consolidated) 1
                      Appellee.


                     NOTICE OF APPEAL TO THE UNITED STATES
                    COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellants Great American Assurance Company f/k/a

 Agricultural Insurance Company, Great American E&S Insurance Company f/k/a Agricultural

 Excess and Surplus Insurance Company, and Great American E&S Insurance Company, appeal to




 1   Appellants’ bankruptcy appeal originally had the following caption and case number: Great
     American Assurance Co., et al. v. Boy Scouts of America and Delaware BSA, LLC, No. 22-
     cv-01244-RGA. That action and others were consolidated with lead case National Union
     Fire Insurance Co. of Pittsburgh, PA, et al. v. Boy Scouts of America and Delaware BSA,
     LLC, Case No. 22-cv-01237-RGA. The Court directed that “[a]ll further filings with this
     Court will be docketed under the Master Case Number.” See Order Granting Motion on
     Stipulation Regarding Appeals From Order Confirming Plan of Reorganization of Boy
     Scouts of America and Delaware BSA, LLC. (D.I. 22).




                                            A00353
         Case: 23-1664        Document: 62-1         Page: 378      Date Filed: 07/24/2023


the United States Court of Appeals for the Third Circuit from the final Order and accompanying

Opinion of the United States District Court for the District of Delaware (Hon. Richard G.

Andrews), entered March 28, 2023 (D.I. 150, 151), affirming the Supplemental Findings of Fact

and Conclusions of Law and Order Confirming the Third Modified Fifth Amended Chapter 11

Plan of Reorganization (with Technical Modifications) for Boy Scouts of America and Delaware

BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion (Bankruptcy D.I. 10136) of the

United States Bankruptcy Court for the District of Delaware (Hon. Laurie S. Silverstein), and all

other orders, decisions, and opinions subsumed therein.

       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  Great American               BODELL BOVÉ, LLC
  Assurance                    Bruce W. McCullough (No. 3112)
  Company, f/k/a               1225 N. King Street, Suite 1000
  Agricultural Insurance       Wilmington, Delaware 19801-3250
  Company; Great               Telephone: (302) 655-6749
  American E&S Insurance       bmccullough@bodellbove.com
  Company, f/k/a
  Agricultural Excess and      -and-
  Surplus Insurance
  Company; and Great           CLYDE & CO US LLP
  American E&S Insurance       Bruce D. Celebrezze (pro hac vice)
  Company                      150 California Street | 15th Floor
  (Appellants)                 San Francisco, California 94111
                               Telephone: (415) 365-9800
                               Facsimile: (415) 365-9801
                               bruce.celebrezze@clydeco.us

                               CLYDE & CO US LLP
                               Konrad R. Krebs (pro hac vice)
                               340 Mt. Kemble Avenue | Suite 300
                               Morristown, NJ 07960
                               Telephone: (973) 210-6700
                               Facsimile: (973) 210-6701
                               konrad.krebs@clydeco.us

                               -and-

                                                 2



                                                A00354
      Case: 23-1664      Document: 62-1       Page: 379    Date Filed: 07/24/2023



                         DAVID CHRISTIAN ATTORNEYS LLC
                         David Christian (pro hac vice)
                         105 W. Madison St., Suite 1400
                         Chicago, Illinois 60602
                         Telephone: (312) 282-5282
                         dchristian@dca.law
National Union Fire      FINEMAN KREKSTEIN & HARRIS PC
Insurance Company of     Deirdre M. Richards
Pittsburgh, Pa.,         1300 N. King Street
Lexington Insurance      Wilmington, DE 19801
Company, Landmark        Telephone: (302) 538-8331
Insurance Company, and   Email: drichards@finemanlawfirm.com
The Insurance Company
of the State of          -and-
Pennsylvania (the “AIG
Companies”)              GIBSON, DUNN & CRUTCHER LLP
(Appellants)             Michael A. Rosenthal (pro hac vice)
                         Mitchell A. Karlan (pro hac vice)
                         James Hallowell (pro hac vice)
                         Keith R. Martorana (pro hac vice)
                         Seth M. Rokosky (pro hac vice)
                         200 Park Avenue
                         New York, New York 10166
                         Telephone: (212) 351-4000
                         Email: mrosenthal@gibsondunn.com
                         mkarlan@gibsondunn.com
                         jhallowell@gibsondunn.com
                         kmartorana@gibsondunn.com
                         srokosky@gibsondunn.com

                         GIBSON, DUNN & CRUTCHER LLP
                         Theodore J. Boutrous Jr. (pro hac vice)
                         Richard J. Doren (pro hac vice)
                         Blaine H. Evanson (pro hac vice)
                         333 South Grand Avenue
                         Los Angeles, California 90071
                         Telephone: (213) 229-7038
                         Email: rdoren@gibsondunn.com
                         bevanson@gibsondunn.com
                         tboutrous@gibsondunn.com

                         FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                         Susan N.K. Gummow
                         222 N. LaSalle St., Suite 1400
                         Chicago, Illinois 60601

                                          3



                                      A00355
    Case: 23-1664         Document: 62-1   Page: 380   Date Filed: 07/24/2023


                            Telephone: (312) 863-5000
                            Email: sgummow@fgppr.com
Allianz Global Risks US     TROUTMAN PEPPER HAMILTON SANDERS LLP
Insurance Company           David M. Fournier (DE Bar No. 2812)
(Appellant)                 Marcy J. McLaughlin Smith (DE No. 6184)
                            Hercules Plaza
                            1313 Market Street
                            Suite 5100
                            P.O. Box 1709
                            Wilmington, DE 19899-1709
                            Telephone: 404.885.3000
                            david.fournier@troutman.com
                            marcy.smith@troutman.com

                            -and-

                            PARKER, HUDSON, RAINER & DOBBS LLP
                            Harris B. Winsberg (pro hac vice)
                            Matthew G. Roberts (pro hac vice)
                            303 Peachtree Street NE
                            Suite 3600
                            Atlanta, GA 30308
                            Telephone: 404.420.4313
                            Facsimile: 404.522.8409
                            hwinsberg@phrd.com
                            mroberts@phrd.com

                            -and-

                            McDERMOTT WILL & EMERY LLP
                            Margaret H. Warner (pro hac vice)
                            Ryan S. Smethurst (pro hac vice)
                            Alex M. Spisak (pro hac vice)
                            The McDermott Building
                            500 North Capitol Street, NW
                            Washington, DC 20001-1531
                            Telephone: 202.756.8228
                            Facsimile: 202.756.8087
                            mwarner@mwe.com
                            rsmethurst@mwe.com
                            aspisak@mwe.com
National Surety             TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and             David M. Fournier (DE Bar No. 2812)
Interstate Fire &           Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company            Hercules Plaza, Suite 5100
(Appellants)                1313 Market Street

                                           4



                                      A00356
   Case: 23-1664   Document: 62-1    Page: 381     Date Filed: 07/24/2023


                     P.O. Box 1709
                     Wilmington, DE 19899-1709
                     Telephone: 302.777.6500
                     Facsimile: 302.421.8390
                     david.fournier@troutman.com
                     marcy.smith@troutman.com

                     -and-

                     PARKER, HUDSON, RAINER & DOBBS LLP
                     Harris B. Winsberg (pro hac vice)
                     Matthew G. Roberts (pro hac vice)
                     303 Peachtree Street NE
                     Suite 3600
                     Atlanta, GA 30308
                     Telephone: 404.420.4313
                     Facsimile: 404.522.8409
                     hwinsberg@phrd.com
                     mroberts@phrd.com

                     -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com

                     HANGLEY ARONCHICK SEGAL
                     PUDLIN & SCHILLER
                     Ronald P. Schiller (pro hac vice)
                     Matthew A. Hamermesh (pro hac vice)
                     One Logan Square, 27th Floor

                                    5



                                A00357
    Case: 23-1664    Document: 62-1     Page: 382      Date Filed: 07/24/2023


                       Philadelphia, PA 19103
                       T: (215) 568-6200
                       F: (215) 568-0300
                       E: rschiller@hangley.com
                       mhamermesh@hangley.com
Argonaut Insurance      POST & SCHELL, P.C.
Company and Colony      Paul Logan (No. 3339)
Insurance Company       300 Delaware Avenue, Suite 1380
(Appellants)
                        Wilmington, DE 19801
                        Telephone: (302) 251-8856
                        Email: plogan@postschell.com

                        POST & SCHELL, P.C.
                        John C. Sullivan (pro hac vice)
                        Kathleen K. Kerns (pro hac vice)
                        Four Penn Center – 13th Floor
                        1600 John F. Kennedy Boulevard
                        Philadelphia, PA 19103
                        Telephone: (215) 587-1000
                        jsullivan@postschell.com
                       kkerns@postschell.com

                       -and-

                        IFRAH PLLC
                        George R. Calhoun (pro hac vice)
                        1717 Pennsylvania Avenue, N.W. Suite 650
                        Washington, DC 20006
                        Telephone: (202) 840-8758
                       george@ifrahlaw.com
Arrowood Indemnity     JOYCE, LLC
Company                Michael J. Joyce (No. 4563)
(Appellant)            1225 King Street, Suite 800
                       Wilmington, DE 19801
                       Telephone: (302) 388-1944
                       Email: mjoyce@mjlawoffices.com

                       -and-

                       COUGHLIN MIDLIGE & GARLAND, LLP
                       Kevin Coughlin (pro hac vice)
                       Lorraine Armenti (pro hac vice)
                       Michael Hrinewski (pro hac vice)
                       350 Mount Kemble Avenue
                       PO Box 1917
                       Morristown, NJ 07962

                                        6



                                   A00358
    Case: 23-1664       Document: 62-1    Page: 383     Date Filed: 07/24/2023


                          Telephone: (973) 267-0058
                          Facsimile: 973-267-6442
                          kcoughlin@cmg.law
                          larmenti@cmg.law
                          mhrinewski@cmg.law

                          -and-

                          CARRUTHERS & ROTH, P.A.
                          Britton C. Lewis
                          John M. Flynn
                          235 N. Edgeworth Street
                          P.O. Box 540
                          Greensboro, NC 27401
                          Telephone: (336) 478-1146
                          Facsimile: (336) 478-1145
                          jmf@crlaw.com
                          bcl@crlaw.com
Continental Insurance     GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia      Maria Aprile Sawczuk (DE #3320)
Casualty Company          501 Silverside Road
(Appellants)              Wilmington, DE 19809
                          302-444-6710
                          marias@goldmclaw.com

                          -and-

                          LOEB & LOEB LLP
                          Laura McNally (pro hac vice)
                          Emily Stone (pro hac vice)
                          321 N. Clark Street, Suite 2300
                          Chicago, IL 60654
                          312-464-3155
                          lmcnally@loeb.com
                          estone@loeb.com
Gemini Insurance          WERB & SULLIVAN
Company                   LEGAL ARTS BUILDING
(Appellant)               Brian A. Sullivan (No. 2098)
                          1225 N. King Street
                          Suite 600
                          Wilmington, Delaware 19801
                          Telephone: (302) 652-1100
                          Cell: (302) 757-9932
                          Facsimile: (302) 652-1111
                          Email: bsullivan@werbsullivan.com


                                          7



                                     A00359
     Case: 23-1664           Document: 62-1   Page: 384     Date Filed: 07/24/2023


                               GIEGER LABORDE & LAPEROUOSE, LLC
                               John E.W. Baay II (pro hac vice)
                               701 Poydras Street
                               Suite 4800
                               New Orleans, LA 70139
                               Tel.: 504-561-0400
                               Fax: 504-561-1011
                               Email: jbaay@glllaw.com

                               -and-

                              KIERNAN TREBACH LLP
                              William H. White Jr (pro hac vice)
                              1233 20th Street, NW
                              8th Floor
                              Washington, DC 20036
                              Tel.: 202-712-7000
                              Fax: 202-712-7100
                              Email: wwhite@kiernantrebach.com
General Star Indemnity        SMITH, KATZENSTEIN & JENKINS LLP
Company                       Kathleen M. Miller (DE Bar No. 2898)
(Appellant)                   1000 West Street, Suite 501
                              P.O. Box 410
                              Wilmington, DE 19899
                              Telephone: (302) 652-8400
                              Email: kmiller@skjlaw.com

                              -and-

                              WILEY REIN LLP
                              Mary E. Borja (pro hac vice)
                              Gary P. Seligman (pro hac vice)
                              Ashley L. Criss (pro hac vice)
                              2050 M Street NW
                              Washington, DC 20036
                              Phone: (202) 719-7000
                              Email: mborja@wiley.law
                              gseligman@wiley.law
                              acriss@wiley.law
Indian Harbor Insurance       SMITH, KATZENSTEIN
Company, on behalf of         & JENKINS LLP
itself and as successor in    Kathleen M. Miller (No. 2898)
interest to Catlin            1000 West Street, Suite 1501
Specialty Insurance           P.O. Box 410
Company                       Wilmington, DE 19899 [Courier 19801]
(Appellant)                   Telephone: (302) 652-8400

                                              8



                                         A00360
      Case: 23-1664       Document: 62-1       Page: 385   Date Filed: 07/24/2023


                           Facsimile: (302) 652-8405
                           kmiller@skjlaw.com

                           and

                         MOUND COTTON WOLLAN & GREENGRASS LLP
                         Lloyd A. Gura (pro hac vice)
                         Pamela J. Minetto (pro hac vice)
                         One New York Plaza 44th Floor
                         New York, NY 10004
                         Tel: (212) 804-4282
                         lgura@moundcotton.com
                         pminetto@moundcotton.com
Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
Casualty Insurance       222 Delaware Avenue
Company, Liberty         Suite 1500
Insurance Underwriters,  Wilmington, DE 19801
Inc. and Liberty Surplus Telephone: (302) 888-0600
Insurance Corporation    khill@svglaw.com
(Appellants)
                         -and-

                           CHOATE, HALL & STEWART LLP
                           Douglas R. Gooding (pro hac vice)
                           Jonathan D. Marshall (pro hac vice)
                           Two International Place
                           Boston, MA 02110
                           Telephone: (617) 248-5000
                           dgooding@choate.com
                           jmarshall@choate.com

                           -and-

                           MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                           PC
                           Kim V. Marrkand (pro hac vice)
                           One Financial Center
                           Boston, MA 02111
                           Telephone: (617) 542-6000
                           kvmarrkand@mintz.com
Munich Reinsurance         DILWORTH PAXSON LLP
America, Inc., formerly    Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-      704 N. King Street, Suite 500
Insurance Company          P.O. Box 1031
(Appellant)                Wilmington, DE 19899-1031

                                           9



                                       A00361
    Case: 23-1664        Document: 62-1      Page: 386      Date Filed: 07/24/2023


                           (302) 571-8867 (telephone)
                           (302) 351-8735 (facsimile)
                           tweaver@dilworthlaw.com

                           -and-

                           DILWORTH PAXSON LLP
                           William E. McGrath, Jr. (pro hac vice)
                           2 Research Way, Suite 103
                           Princeton, NJ 08540
                           (609) 924-6000 (telephone)
                           (215) 893-8537 (facsimile)
                           wmcgrath@dilworthlaw.com
Traders and Pacific        COZEN O’CONNOR
Insurance Company,         Marla S. Benedek (No. 6638)
Endurance American         1201 N. Market Street, Suite 1001
Specialty Insurance        Wilmington, DE 19801
Company, and               Telephone: (302) 295-2024
Endurance American         Facsimile: (302) 250-4498
Insurance Company          mbenedek@cozen.com
(Appellants)
Old Republic Insurance     MORRIS JAMES LLP
Company                    Stephen M. Miller (No. 2610)
(Appellant)                Carl N. Kunz, III (No. 3201)
                           500 Delaware Avenue, Suite 1500
                           Wilmington, Delaware 19801
                           Telephone: (302) 888-6800
                           Facsimile: (302) 571-1750
                           smiller@morrisjames.com
                           ckunz@morrisjames.com

                           -and-

                           FOX SWIBEL LEVIN & CARROLL LLP
                           Margaret M. Anderson (pro hac vice)
                           Ryan T. Schultz (pro hac vice)
                           Adam A. Hachikian (pro hac vice)
                           Kenneth M. Thomas (pro hac vice)
                           200 W. Madison Street, Suite 3000
                           Chicago, Illinois 60606
                           Telephone: (312) 224-1200
                           Facsimile: (312) 224-1201
                           panderson@foxswibel.com
                           rschultz@foxswibel.com
                           ahachikian@foxswibel.com

                                           10



                                       A00362
     Case: 23-1664       Document: 62-1     Page: 387      Date Filed: 07/24/2023


                           kthomas@foxswibel.com
Travelers Casualty and     REGER RIZZO & DARNALL LLP
Surety Company, Inc.       Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty &    1521 Concord Pike Suite 305
Surety Company), St.       Brandywine Plaza West
Paul Surplus Lines         Wilmington DE 19803
Insurance Company and      Telephone: (302) 477-7100
Gulf Insurance Company     Facsimile: (302) 652-3620
                           lrizzo@regerlaw.com
(Appellants)

Lujan Claimants            LOIZIDES, P.A.
                           Christopher D. Loizides (No. 3968)
(Appellants)               1225 North King Street, Suite 800
                           Telephone: (302) 654-0248
                           Loizides@loizides.com

                           -and-

                           LUJAN & WOLFF LLP
                           Delia Lujan Wolff
                           Suite 300, DNA Bldg.
                           238 Archbishop Flores St.
                           Hagatna, Guam 96910
                           Telephone: (671) 477-8064/5
                           dslwolff@lawguam.com
Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
Claimants                  Charles J. Brown, III (No. 3368)
                           1201 N. Orange St., 3rd Floor
(Appellants)               Wilmington, DE 19801
                           Telephone: (302) 425-5813
                           cbrown@gsbblaw.com

                           -and-

                           DUMAS & VAUGHN, LLC
                           Gilion C. Dumas
                           3835 NE Hancock Street, Suite GLB
                           Portland, OR 97212
                           Telephone: (503) 616-5007
                           gilion@dumasandvaughn.com
Boy Scouts of America,     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                           Derek C. Abbott (No. 3376)
Delaware BSA, LLC          Andrew R. Remming (No. 5120)
(Debtors/Appellees and     Paige N. Topper (No. 6470)
Debtors in Possession)     1201 North Market Street, 16th Floor
                           P.O. Box 1347
                                           11



                                       A00363
     Case: 23-1664   Document: 62-1     Page: 388     Date Filed: 07/24/2023


                       Wilmington, Delaware 19899-1347
                       Telephone: (302) 658-9200
                       dabbott@morrisnichols.com
                       aremming@morrisnichols.com
                       ptopper@morrisnichols.com

                       – and –

                       WHITE & CASE LLP
                       Jessica C. Lauria (pro hac vice)
                       Glenn M. Kurtz (pro hac vice)
                       1221 Avenue of the Americas
                       New York, New York 10020
                       Telephone: (212) 819-8200
                       Email: jessica.lauria@whitecase.com
                       gkurtz@whitecase.com

                       – and –

                       WHITE & CASE LLP
                       Michael C. Andolina
                       Matthew E. Linder
                       Laura E. Baccash
                       Blair M. Warner
                       111 South Wacker Drive
                       Chicago, Illinois 60606
                       Telephone: (312) 881-5400
                       mandolina@whitecase.com
                       mlinder@whitecase.com
                       laura.baccash@whitecase.com
                       blair.warner@whitecase.com

                       – and –

                       WHITE & CASE LLP
                       Ronald K. Gorsich
                       Doah Kim
                       555 South Flower Street, Suite 2700
                       Los Angeles, CA 90071
                       Telephone: (213) 620-7700
                       rgorsich@whitecase.com
                       doah.kim@whitecase.com
Tort Claimants’        PACHULSKI STANG ZIEHL & JONES LLP
Committee              Richard M. Pachulski (pro hac vice)
(Appellees)            Alan J. Kornfeld (pro hac vice)
                       Debra I. Grassgreen (pro hac vice)
                       Iain A.W. Nasatir (pro hac vice)

                                       12



                                  A00364
    Case: 23-1664     Document: 62-1     Page: 389      Date Filed: 07/24/2023


                        James E. O’Neill (No. 4042)
                        919 North Market Street, 17th Floor
                        P.O. Box 8705
                        Wilmington, DE 19899-8705 (Courier 19801)
                        Telephone: (302) 652-4100
                        Fax: (302) 652-4400
                        Email: rpachulski@pszjlaw.com
                        akornfeld@pszjlaw.com
                        dgrassgreen@pszjlaw.com
                        inasatir@pszjlaw.com
                        joneill@pszjlaw.com
Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.
Scouts for Justice      Rachel B. Mersky (No. 2049)
(Appellees)             1201 North Orange Street, Suite 400
                        Wilmington, Delaware 19801
                        Telephone: (302) 656-8162
                        Fax: (302) 656-2769
                        Email: rmersky@monlaw.com

                        –and–

                        BROWN RUDNICK LLP
                        David J. Molton, Esq. (pro hac vice)
                        Eric R. Goodman, Esq. (pro hac vice)
                        Seven Times Square
                        New York, NY 10036
                        Telephone: (212) 209-4800
                        Fax: (212) 209-4801
                        Email: dmolton@brownrudnick.com
                        egoodman@brownrudnick.com

                        –and–

                        BROWN RUDNICK LLP
                        Sunni P. Beville, Esq. (pro hac vice)
                        Tristan G. Axelrod, Esq. (pro hac vice)
                        One Financial Center
                        Boston, MA 02111
                        Telephone: (617) 856-8200
                        Fax: (617) 856-8201
                        Email: sbeville@brownrudnick.com
                        taxelrod@brownrudnick.com
Future Claimants’       YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellees)             Robert S. Brady (No. 2847)
                        Edwin J. Harron (No. 3396)

                                        13



                                   A00365
    Case: 23-1664       Document: 62-1     Page: 390     Date Filed: 07/24/2023


                          Kenneth J. Enos (No. 4544)
                          Ashley E. Jacobs (No. 5635)
                          Rodney Square
                          1000 North King Street
                          Wilmington, Delaware 19801
                          Telephone: (302) 571-6600
                          Fax: (302) 571-1253
                          Email: rbrady@ycst.com
                          eharron@ycst.com
                          kenos@ycst.com
                          ajacobs@ycst.com

                          -and-

                          GILBERT LLP
                          Kami E. Quinn (pro hac vice)
                          Rachel H. Jennings (pro hac vice)
                          Kyle Y. Dechant (pro hac vice)
                          December L. Huddleston (pro hac vice)
                          700 Pennsylvania Ave, SE
                          Suite 400
                          Washington, DC 20003
                          Telephone: (202) 772-2200
                          Fax: (202) 772-3333
                          Email: quinnk@gilbertlegal.com
                          jenningsr@gilbertlegal.com
                          dechantk@gilbertlegal.com
                          huddlestond@gilbertlegal.com
The Zalkin Law Firm,      KTBS LAW LLP
P.C. and Pfau Cochran     Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC       Daniel J. Bussel (pro hac vice)
(Appellees)               Robert J. Pfister (pro hac vice)
                          Sasha M. Gurvitz (pro hac vice)
                          1801 Century Park East, Twenty-Sixth Floor
                          Los Angeles, California 90067
                          Telephone: (310) 407-4000
                          Fax: (310) 407-9090
                          Email: tpatterson@ktbslaw.com
                          dbussel@ktbslaw.com
                          rpfister@ktbslaw.com
                          sgurvitz@ktbslaw.com

                          -and-

                          BIELLI & KLAUDER, LLC
                          David M. Klauder, Esquire (No. 5769)

                                          14



                                     A00366
     Case: 23-1664     Document: 62-1       Page: 391         Date Filed: 07/24/2023


                           1204 N. King Street
                           Wilmington, DE 19801
                           Telephone: (302) 803-4600
                           Fax: (302) 397-2557
                           Email: dklauder@bk-legal.com
Hartford Accident and      BAYARD, P.A.
Indemnity Company,         Erin R. Fay (No. 5268)
First State Insurance      Gregory J. Flasser (No. 6154)
Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395
(Appellees)                Email: efay@bayardlaw.com
                           gflasser@bayardlaw.com

                           -and-

                           RUGGERI PARKS WEINBERG LLP
                           James P. Ruggeri (pro hac vice)
                           Joshua D. Weinberg (pro hac vice)
                           1875 K Street, N.W., Suite 600
                           Washington, D.C. 20006-1251
                           Telephone: (202) 469-7750
                           Fax: (202) 469-7751

                           -and-

                           WILMER CUTLER PICKERING HALE
                           AND DORR LLP
                           Philip D. Anker (pro hac vice)
                           7 World Trade Center
                           250 Greenwich Street
                           New York, N.Y. 10007
                           Telephone: (212) 230-8890
                           Fax: (212) 230-8888

                           Joel Millar (pro hac vice)
                           1875 Pennsylvania Avenue N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 663-6000
                           Fax: (202) 663-6363
Century Indemnity          STAMOULIS & WEINBLATT LLC
Company, as successor      Stamatios Stamoulis (No. 4606)
to CCI Insurance           800 N. West Street
Company, as successor      Third Floor Wilmington, Delaware 19801
to Insurance Company of    Telephone: 302 999 1540

                                           15



                                       A00367
    Case: 23-1664        Document: 62-1    Page: 392       Date Filed: 07/24/2023


North America and          Fax: 302 762 1688
Indemnity Insurance
Company of North           -and-
America
(Appellees)                O’MELVENY & MYERS LLP
                           Tancred Schiavoni (pro hac vice)
                           Times Square Tower
                           7 Times Square
                           New York, New York 10036-6537
                           Telephone: (212) 326-2000
                           Fax: (212) 326-2061

                           O’MELVENY & MYERS LLP
                           Stephen Warren (pro hac vice)
                           400 South Hope Street
                           Los Angeles, California 90071
                           Telephone: (213) 430-6000
                           Fax: (213) 430-6407

                           O’MELVENY & MYERS LLP
                           Jonathan D. Hacker (pro hac vice)
                           1625 Eye Street, N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 383-5300
Federal Insurance          STAMOULIS & WEINBLATT LLC
Company and                Stamatios Stamoulis (No. 4606)
Westchester Fire           8000 N. West Street, Third Floor
Insurance Company          Wilmington, Delaware 19801
(Appellees)                Telephone: (302) 999-1540

                           -and-

                           SIMPSON THATCHER & BARTLETT LLP
                           David Elbaum (pro hac vice)
                           425 Lexington Avenue
                           New York, New York 10017
                           Telephone: (212) 455-2000
American Zurich            TYBOUT, REDFEARN & PELL
Insurance Company,         Robert D. Cecil, Jr. (No. 5317)
American Guarantee         501 Carr Road, Suite 300
Insurance Company, and     Wilmington, Delaware 19899
Steadfast Insurance        Telephone: (302) 658-6901
Company                    Email: rcecil@trplaw.com
(Appellees)
                           -and-


                                          16



                                      A00368
     Case: 23-1664         Document: 62-1     Page: 393      Date Filed: 07/24/2023


                             CROWELL & MORING LLP
                             Mark D. Plevin (pro hac vice)
                             Kevin D. Cacabelos (pro hac vice)
                             Three Embarcadero Center, 26th Floor
                             San Francisco, California 94111
                             Telephone: (415) 986-2800
                             Email: mplevin@crowell.com
                             kcacabelos@crowell.com

                             Tacie H. Yoon (pro hac vice)
                             Rachel A. Jankowski (pro hac vice)
                             1001 Pennsylvania Ave., N.W.
                             Washington, D.C. 20004
                             Telephone: (202) 624-2500
                             Email: tyoon@crowell.com
                             rjankowski@crowell.com

Clarendon National           BALLARD SPAHR LLP
Insurance Company, as        Matthew G. Summers (No. 5533)
successor in interest by     Chantelle D. McClamb (No. 5978)
merger to Clarendon          919 N. Market Street, 11th Floor
America Insurance            Wilmington, Delaware 19801-3034
Company; River Thames        Telephone: (302) 252-4428
Insurance Company            Fax: (302) 252-4466
Limited (as successor in     Email: summersm@ballardspahr.com
interest to Unionamerica     mcclamb@ballardspahr.com
Insurance Company
Limited, on its own          -and-
behalf and in turn as
successor to St.             STEPTOE & JOHNSON LLP
Katherine Insurance          Harry Lee (pro hac vice)
Company Limited); and        John O’Connor (pro hac vice)
Zurich American              1330 Connecticut Avenue NW
Insurance Company, as        Washington, DC 20036
successor to Maryland        Telephone: (202) 429-8078
Casualty Company,            Fax: (202) 429-3902
Zurich Insurance             Email: hlee@steptoe.com
Company, and Maryland        joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of          DLA PIPER, LLP (US)
Local Councils of the        R. Craig Martin (No. 5032)
Boy Scouts of America        1201 North Market Street, Suite 2100
(Appellees)                  Wilmington, Delaware 19801-1147

                                             17



                                         A00369
      Case: 23-1664    Document: 62-1    Page: 394      Date Filed: 07/24/2023


                        Telephone: (302) 468-5655
                        Email: craig.martin@dlapiper.com

                        -and-

                        WACHTELL, LIPTON, ROSEN & KATZ
                        Richard G. Mason (pro hac vice)
                        Douglas K. Mayer (pro hac vice)
                        Joseph C. Celentino (pro hac vice)
                        Mitchell S. Levy (pro hac vice)
                        51 West 52nd Street
                        New York, New York 10019
                        Telephone: (212) 403-1000
                        Email: RGMason@wlrk.com
                        DKMayer@wlrk.com
                        JCCelentino@wlrk.com
                        MSLevy@wlrk.com


Date: April 10, 2023                      /s/ Bruce W. McCullough
Wilmington, Delaware                      Bruce W. McCullough (No. 3112)
                                          BODELL BOVE, LLC
                                          1225 N. King Street, Suite 1000
                                          P.O. Box 397
                                          Wilmington, DE 19899-0397
                                          Telephone: (302) 655-6749
                                          Facsimile: (302) 655-6827
                                          Email: bmccullough@bodellbove.com

                                          Bruce D. Celebrezze (pro hac vice)
                                          CLYDE & CO US LLP
                                          150 California Street | 15th Floor
                                          San Francisco, California 94111
                                          Telephone: (415) 365-9800
                                          Facsimile: (415) 365-9801
                                          bruce.celebrezze@clydeco.us

                                          Konrad R. Krebs (pro hac vice)
                                          CLYDE & CO US LLP
                                          340 Mt. Kemble Avenue | Suite 300
                                          Morristown, NJ 07960
                                          Telephone: (973) 210-6700
                                          Facsimile: (973) 210-6701
                                          konrad.krebs@clydeco.us

                                          David Christian (pro hac vice)

                                        18



                                    A00370
Case: 23-1664   Document: 62-1        Page: 395   Date Filed: 07/24/2023


                                  DAVID CHRISTIAN ATTORNEYS LLC
                                  105 W. Madison St., Suite 1400
                                  Chicago, Illinois 60602
                                  Telephone: (312) 282-5282
                                  dchristian@dca.law

                                  Counsel for Great American Assurance Company
                                  f/k/a Agricultural Insurance Company, Great
                                  American E&S Insurance Company f/k/a
                                  Agricultural Excess and Surplus Insurance
                                  Company, and Great American E&S Insurance
                                  Company




                                 19



                            A00371
          Case: 23-1664     Document: 62-1      Page: 396        Date Filed: 07/24/2023


                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


In re:                                              Chapter 11

                                                    Bankruptcy Case
BOY SCOUTS OF AMERICA AND                           No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                    (Jointly Administered)
                     Debtors.



NATIONAL UNION FIRE INSURANCE CO.                   Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                     Appellants,

              v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                     Appellees.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellants Allianz Global Risks US Insurance

 Company, National Surety Corporation, and Interstate Fire & Casualty Company appeal to the

 United States Court of Appeals for the Third Circuit from the final Order and accompanying

 Opinion of the United States District Court for the District of Delaware (Hon. Richard G.

 Andrews), entered    March 28, 2023 (D.I. 150, 151), among other things affirming the

 Supplemental Findings of Fact and Conclusions of Law and Order Confirming the Third Modified

 Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts

 of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion




                                           A00372
          Case: 23-1664       Document: 62-1         Page: 397     Date Filed: 07/24/2023


(Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the District of Delaware (Hon.

Laurie S. Silverstein), and all other orders, decisions, and opinions subsumed therein.

       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  Allianz Global Risks US      TROUTMAN PEPPER HAMILTON SANDERS LLP
  Insurance Company            David M. Fournier (DE Bar No. 2812)
  (Appellant)                  Marcy J. McLaughlin Smith (DE No. 6184)
                               Hercules Plaza
                               1313 Market Street
                               Suite 5100
                               P.O. Box 1709
                               Wilmington, DE 19899-1709
                               Telephone: 404.885.3000
                               david.fournier@troutman.com
                               marcy.smith@troutman.com

                               -and-

                               PARKER, HUDSON, RAINER & DOBBS LLP
                               Harris B. Winsberg (pro hac vice)
                               Matthew G. Roberts (pro hac vice)
                               303 Peachtree Street NE
                               Suite 3600
                               Atlanta, GA 30308
                               Telephone: 404.420.4313
                               Facsimile: 404.522.8409
                               hwinsberg@phrd.com
                               mroberts@phrd.com

                               -and-

                               McDERMOTT WILL & EMERY LLP
                               Margaret H. Warner (pro hac vice)
                               Ryan S. Smethurst (pro hac vice)
                               Alex M. Spisak (pro hac vice)
                               The McDermott Building
                               500 North Capitol Street, NW
                               Washington, DC 20001-1531
                               Telephone: 202.756.8228
                               Facsimile: 202.756.8087
                               mwarner@mwe.com
                               rsmethurst@mwe.com

                                                 2



                                                A00373
    Case: 23-1664   Document: 62-1   Page: 398   Date Filed: 07/24/2023


                      aspisak@mwe.com
National Surety       TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and       David M. Fournier (DE Bar No. 2812)
Interstate Fire &     Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company      Hercules Plaza, Suite 5100
(Appellants)          1313 Market Street
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 302.777.6500
                      Facsimile: 302.421.8390
                      david.fournier@troutman.com
                      marcy.smith@troutman.com

                      -and-

                      PARKER, HUDSON, RAINER & DOBBS LLP
                      Harris B. Winsberg (pro hac vice)
                      Matthew G. Roberts (pro hac vice)
                      303 Peachtree Street NE
                      Suite 3600
                      Atlanta, GA 30308
                      Telephone: 404.420.4313
                      Facsimile: 404.522.8409
                      hwinsberg@phrd.com
                      mroberts@phrd.com

                      -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com

                                     3



                                A00374
    Case: 23-1664    Document: 62-1     Page: 399      Date Filed: 07/24/2023



                       HANGLEY ARONCHICK SEGAL
                       PUDLIN & SCHILLER
                       Ronald P. Schiller (pro hac vice)
                       Matthew A. Hamermesh (pro hac vice)
                       One Logan Square, 27th Floor
                       Philadelphia, PA 19103
                       T: (215) 568-6200
                       F: (215) 568-0300
                       E: rschiller@hangley.com
                       mhamermesh@hangley.com
Argonaut Insurance      POST & SCHELL, P.C.
Company and Colony      Paul Logan (No. 3339)
Insurance Company       300 Delaware Avenue, Suite 1380
(Appellants)
                        Wilmington, DE 19801
                        Telephone: (302) 251-8856
                        Email: plogan@postschell.com

                        POST & SCHELL, P.C.
                        John C. Sullivan (pro hac vice)
                        Kathleen K. Kerns (pro hac vice)
                        Four Penn Center – 13th Floor
                        1600 John F. Kennedy Boulevard
                        Philadelphia, PA 19103
                        Telephone: (215) 587-1000
                        jsullivan@postschell.com
                       kkerns@postschell.com

                       -and-

                        IFRAH PLLC
                        George R. Calhoun (pro hac vice)
                        1717 Pennsylvania Avenue, N.W. Suite 650
                        Washington, DC 20006
                        Telephone: (202) 840-8758
                       george@ifrahlaw.com
Arrowood Indemnity     JOYCE, LLC
Company                Michael J. Joyce (No. 4563)
(Appellant)            1225 King Street, Suite 800
                       Wilmington, DE 19801
                       Telephone: (302) 388-1944
                       Email: mjoyce@mjlawoffices.com

                       -and-

                       COUGHLIN MIDLIGE & GARLAND, LLP

                                        4



                                   A00375
    Case: 23-1664       Document: 62-1      Page: 400        Date Filed: 07/24/2023


                          Kevin Coughlin (pro hac vice)
                          Lorraine Armenti (pro hac vice)
                          Michael Hrinewski (pro hac vice)
                          350 Mount Kemble Avenue
                          PO Box 1917
                          Morristown, NJ 07962
                          Telephone: (973) 267-0058
                          Facsimile: 973-267-6442
                          kcoughlin@cmg.law
                          larmenti@cmg.law
                          mhrinewski@cmg.law

                          -and-

                          CARRUTHERS & ROTH, P.A.
                          Britton C. Lewis
                          John M. Flynn
                          235 N. Edgeworth Street
                          P.O. Box 540
                          Greensboro, NC 27401
                          Telephone: (336) 478-1146
                          Facsimile: (336) 478-1145
                          jmf@crlaw.com
                          bcl@crlaw.com
Continental Insurance     GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia      Maria Aprile Sawczuk (DE #3320)
Casualty Company          501 Silverside Road
(Appellants)              Wilmington, DE 19809
                          302-444-6710
                          marias@goldmclaw.com

                          -and-

                          LOEB & LOEB LLP
                          Laura McNally (pro hac vice)
                          Emily Stone (pro hac vice)
                          321 N. Clark Street, Suite 2300
                          Chicago, IL 60654
                          312-464-3155
                          lmcnally@loeb.com
                          estone@loeb.com
Gemini Insurance          WERB & SULLIVAN
Company                   LEGAL ARTS BUILDING
(Appellant)               Brian A. Sullivan (No. 2098)
                          1225 N. King Street
                          Suite 600

                                           5



                                      A00376
     Case: 23-1664       Document: 62-1    Page: 401        Date Filed: 07/24/2023


                           Wilmington, Delaware 19801
                           Telephone: (302) 652-1100
                           Cell: (302) 757-9932
                           Facsimile: (302) 652-1111
                           Email: bsullivan@werbsullivan.com

                           GIEGER LABORDE & LAPEROUOSE, LLC
                           John E.W. Baay II (pro hac vice)
                           701 Poydras Street
                           Suite 4800
                           New Orleans, LA 70139
                           Tel.: 504-561-0400
                           Fax: 504-561-1011
                           Email: jbaay@glllaw.com

                           -and-

                          KIERNAN TREBACH LLP
                          William H. White Jr (pro hac vice)
                          1233 20th Street, NW
                          8th Floor
                          Washington, DC 20036
                          Tel.: 202-712-7000
                          Fax: 202-712-7100
                          Email: wwhite@kiernantrebach.com
General Star Indemnity    SMITH, KATZENSTEIN & JENKINS LLP
Company                   Kathleen M. Miller (DE Bar No. 2898)
(Appellant)               1000 West Street, Suite 501
                          P.O. Box 410
                          Wilmington, DE 19899
                          Telephone: (302) 652-8400
                          Email: kmiller@skjlaw.com

                          -and-

                          WILEY REIN LLP
                          Mary E. Borja (pro hac vice)
                          Gary P. Seligman (pro hac vice)
                          Ashley L. Criss (pro hac vice)
                          2050 M Street NW
                          Washington, DC 20036
                          Phone: (202) 719-7000
                          Email: mborja@wiley.law
                          gseligman@wiley.law
                          acriss@wiley.law



                                           6



                                      A00377
     Case: 23-1664           Document: 62-1     Page: 402      Date Filed: 07/24/2023


Great American                 BODELL BOVÉ, LLC
Assurance                      Bruce W. McCullough (No. 3112)
Company, f/k/a                 1225 N. King Street, Suite 1000
Agricultural Insurance         Wilmington, Delaware 19801-3250
Company; Great                 Telephone: (302) 655-6749
American E&S Insurance         bmccullough@bodellbove.com
Company, f/k/a
Agricultural Excess and        -and-
Surplus Insurance
Company; and Great             CLYDE & CO US LLP
American E&S Insurance         Bruce D. Celebrezze (pro hac vice)
Company                        150 California Street | 15th Floor
(Appellants)                   San Francisco, California 94111
                               Telephone: (415) 365-9800
                               Facsimile: (415) 365-9801
                               bruce.celebrezze@clydeco.us

                               CLYDE & CO US LLP
                               Konrad R. Krebs (pro hac vice)
                               340 Mt. Kemble Avenue | Suite 300
                               Morristown, NJ 07960
                               Telephone: (973) 210-6700
                               Facsimile: (973) 210-6701
                               konrad.krebs@clydeco.us

                               -and-

                               DAVID CHRISTIAN ATTORNEYS LLC
                               David Christian (pro hac vice)
                               105 W. Madison St., Suite 1400
                               Chicago, Illinois 60602
                               Telephone: (312) 282-5282
                               dchristian@dca.law
Indian Harbor Insurance        SMITH, KATZENSTEIN
Company, on behalf of          & JENKINS LLP
itself and as successor in     Kathleen M. Miller (No. 2898)
interest to Catlin             1000 West Street, Suite 1501
Specialty Insurance            P.O. Box 410
Company                        Wilmington, DE 19899 [Courier 19801]
(Appellant)                    Telephone: (302) 652-8400
                               Facsimile: (302) 652-8405
                               kmiller@skjlaw.com

                               and

                               MOUND COTTON WOLLAN & GREENGRASS LLP

                                                7



                                           A00378
      Case: 23-1664       Document: 62-1       Page: 403   Date Filed: 07/24/2023


                         Lloyd A. Gura (pro hac vice)
                         Pamela J. Minetto (pro hac vice)
                         One New York Plaza 44th Floor
                         New York, NY 10004
                         Tel: (212) 804-4282
                         lgura@moundcotton.com
                         pminetto@moundcotton.com
Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
Casualty Insurance       222 Delaware Avenue
Company, Liberty         Suite 1500
Insurance Underwriters,  Wilmington, DE 19801
Inc. and Liberty Surplus Telephone: (302) 888-0600
Insurance Corporation    khill@svglaw.com
(Appellants)
                         -and-

                           CHOATE, HALL & STEWART LLP
                           Douglas R. Gooding (pro hac vice)
                           Jonathan D. Marshall (pro hac vice)
                           Two International Place
                           Boston, MA 02110
                           Telephone: (617) 248-5000
                           dgooding@choate.com
                           jmarshall@choate.com

                           -and-

                           MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                           PC
                           Kim V. Marrkand (pro hac vice)
                           One Financial Center
                           Boston, MA 02111
                           Telephone: (617) 542-6000
                           kvmarrkand@mintz.com
Munich Reinsurance         DILWORTH PAXSON LLP
America, Inc., formerly    Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-      704 N. King Street, Suite 500
Insurance Company          P.O. Box 1031
(Appellant)                Wilmington, DE 19899-1031
                           (302) 571-8867 (telephone)
                           (302) 351-8735 (facsimile)
                           tweaver@dilworthlaw.com

                           -and-


                                           8



                                      A00379
      Case: 23-1664      Document: 62-1       Page: 404    Date Filed: 07/24/2023


                         DILWORTH PAXSON LLP
                         William E. McGrath, Jr. (pro hac vice)
                         2 Research Way, Suite 103
                         Princeton, NJ 08540
                         (609) 924-6000 (telephone)
                         (215) 893-8537 (facsimile)
                         wmcgrath@dilworthlaw.com
National Union Fire      FINEMAN KREKSTEIN & HARRIS PC
Insurance Company of     Deirdre M. Richards
Pittsburgh, Pa.,         1300 N. King Street
Lexington Insurance      Wilmington, DE 19801
Company, Landmark        Telephone: (302) 538-8331
Insurance Company, and   Email: drichards@finemanlawfirm.com
The Insurance Company
of the State of          -and-
Pennsylvania
(Appellants)             GIBSON, DUNN & CRUTCHER LLP
                         Michael A. Rosenthal (pro hac vice)
                         Mitchell A. Karlan (pro hac vice)
                         James Hallowell (pro hac vice)
                         Keith R. Martorana (pro hac vice)
                         Seth M. Rokosky (pro hac vice)
                         200 Park Avenue
                         New York, New York 10166
                         Telephone: (212) 351-4000
                         Email: mrosenthal@gibsondunn.com
                         mkarlan@gibsondunn.com
                         jhallowell@gibsondunn.com
                         kmartorana@gibsondunn.com
                         srokosky@gibsondunn.com

                         GIBSON, DUNN & CRUTCHER LLP
                         Theodore J. Boutrous Jr. (pro hac vice)
                         Richard J. Doren (pro hac vice)
                         Blaine H. Evanson (pro hac vice)
                         333 South Grand Avenue
                         Los Angeles, California 90071
                         Telephone: (213) 229-7038
                         Email: rdoren@gibsondunn.com
                         bevanson@gibsondunn.com
                         tboutrous@gibsondunn.com

                         FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                         Susan N.K. Gummow
                         222 N. LaSalle St., Suite 1400
                         Chicago, Illinois 60601

                                          9



                                      A00380
    Case: 23-1664        Document: 62-1     Page: 405      Date Filed: 07/24/2023


                           Telephone: (312) 863-5000
                           Email: sgummow@fgppr.com
Traders and Pacific        COZEN O’CONNOR
Insurance Company,         Marla S. Benedek (No. 6638)
Endurance American         1201 N. Market Street, Suite 1001
Specialty Insurance        Wilmington, DE 19801
Company, and               Telephone: (302) 295-2024
Endurance American         Facsimile: (302) 250-4498
Insurance Company          mbenedek@cozen.com
(Appellants)
Old Republic Insurance     MORRIS JAMES LLP
Company                    Stephen M. Miller (No. 2610)
(Appellant)                Carl N. Kunz, III (No. 3201)
                           500 Delaware Avenue, Suite 1500
                           Wilmington, Delaware 19801
                           Telephone: (302) 888-6800
                           Facsimile: (302) 571-1750
                           smiller@morrisjames.com
                           ckunz@morrisjames.com

                           -and-

                        FOX SWIBEL LEVIN & CARROLL LLP
                        Margaret M. Anderson (pro hac vice)
                        Ryan T. Schultz (pro hac vice)
                        Adam A. Hachikian (pro hac vice)
                        Kenneth M. Thomas (pro hac vice)
                        200 W. Madison Street, Suite 3000
                        Chicago, Illinois 60606
                        Telephone: (312) 224-1200
                        Facsimile: (312) 224-1201
                        panderson@foxswibel.com
                        rschultz@foxswibel.com
                        ahachikian@foxswibel.com
                        kthomas@foxswibel.com
Travelers Casualty and  REGER RIZZO & DARNALL LLP
Surety Company, Inc.    Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty & 1521 Concord Pike Suite 305
Surety Company), St.    Brandywine Plaza West
Paul Surplus Lines      Wilmington DE 19803
Insurance Company and Telephone: (302) 477-7100
Gulf Insurance Company Facsimile: (302) 652-3620
(Appellants)            lrizzo@regerlaw.com
Lujan Claimants         LOIZIDES, P.A.
(Appellants)            Christopher D. Loizides (No. 3968)
                                           10



                                       A00381
    Case: 23-1664        Document: 62-1      Page: 406        Date Filed: 07/24/2023


                           1225 North King Street, Suite 800
                           Telephone: (302) 654-0248
                           Loizides@loizides.com

                           -and-

                           LUJAN & WOLFF LLP
                           Delia Lujan Wolff
                           Suite 300, DNA Bldg.
                           238 Archbishop Flores St.
                           Hagatna, Guam 96910
                           Telephone: (671) 477-8064/5
                           dslwolff@lawguam.com
Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
Claimants                  Charles J. Brown, III (No. 3368)
(Appellants)               1201 N. Orange St., 3rd Floor
                           Wilmington, DE 19801
                           Telephone: (302) 425-5813
                           cbrown@gsbblaw.com

                           -and-

                           DUMAS & VAUGHN, LLC
                           Gilion C. Dumas
                           3835 NE Hancock Street, Suite GLB
                           Portland, OR 97212
                           Telephone: (503) 616-5007
                           gilion@dumasandvaughn.com
Boy Scouts of America,     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Delaware BSA, LLC          Derek C. Abbott (No. 3376)
(Debtors/Appellees and     Andrew R. Remming (No. 5120)
Debtors in Possession)     Paige N. Topper (No. 6470)
                           1201 North Market Street, 16th Floor
                           P.O. Box 1347
                           Wilmington, Delaware 19899-1347
                           Telephone: (302) 658-9200
                           dabbott@morrisnichols.com
                           aremming@morrisnichols.com
                           ptopper@morrisnichols.com

                           – and –

                           WHITE & CASE LLP
                           Jessica C. Lauria (pro hac vice)
                           Glenn M. Kurtz (pro hac vice)
                           1221 Avenue of the Americas

                                            11



                                       A00382
    Case: 23-1664     Document: 62-1     Page: 407     Date Filed: 07/24/2023


                        New York, New York 10020
                        Telephone: (212) 819-8200
                        Email: jessica.lauria@whitecase.com
                        gkurtz@whitecase.com

                        – and –

                        WHITE & CASE LLP
                        Michael C. Andolina
                        Matthew E. Linder
                        Laura E. Baccash
                        Blair M. Warner
                        111 South Wacker Drive
                        Chicago, Illinois 60606
                        Telephone: (312) 881-5400
                        mandolina@whitecase.com
                        mlinder@whitecase.com
                        laura.baccash@whitecase.com
                        blair.warner@whitecase.com

                        – and –

                        WHITE & CASE LLP
                        Ronald K. Gorsich
                        Doah Kim
                        555 South Flower Street, Suite 2700
                        Los Angeles, CA 90071
                        Telephone: (213) 620-7700
                        rgorsich@whitecase.com
                        doah.kim@whitecase.com
Tort Claimants’         PACHULSKI STANG ZIEHL & JONES LLP
Committee               Richard M. Pachulski (pro hac vice)
(Appellee)              Alan J. Kornfeld (pro hac vice)
                        Debra I. Grassgreen (pro hac vice)
                        Iain A.W. Nasatir (pro hac vice)
                        James E. O’Neill (No. 4042)
                        919 North Market Street, 17th Floor
                        P.O. Box 8705
                        Wilmington, DE 19899-8705 (Courier 19801)
                        Telephone: (302) 652-4100
                        Fax: (302) 652-4400
                        Email: rpachulski@pszjlaw.com
                        akornfeld@pszjlaw.com
                        dgrassgreen@pszjlaw.com
                        inasatir@pszjlaw.com
                        joneill@pszjlaw.com
Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.

                                        12



                                   A00383
     Case: 23-1664   Document: 62-1     Page: 408      Date Filed: 07/24/2023


Scouts for Justice     Rachel B. Mersky (No. 2049)
(Appellee)             1201 North Orange Street, Suite 400
                       Wilmington, Delaware 19801
                       Telephone: (302) 656-8162
                       Fax: (302) 656-2769
                       Email: rmersky@monlaw.com

                       –and–

                       BROWN RUDNICK LLP
                       David J. Molton, Esq. (pro hac vice)
                       Eric R. Goodman, Esq. (pro hac vice)
                       Seven Times Square
                       New York, NY 10036
                       Telephone: (212) 209-4800
                       Fax: (212) 209-4801
                       Email: dmolton@brownrudnick.com
                       egoodman@brownrudnick.com

                       –and–

                       BROWN RUDNICK LLP
                       Sunni P. Beville, Esq. (pro hac vice)
                       Tristan G. Axelrod, Esq. (pro hac vice)
                       One Financial Center
                       Boston, MA 02111
                       Telephone: (617) 856-8200
                       Fax: (617) 856-8201
                       Email: sbeville@brownrudnick.com
                       taxelrod@brownrudnick.com
Future Claimants’      YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellee)             Robert S. Brady (No. 2847)
                       Edwin J. Harron (No. 3396)
                       Kenneth J. Enos (No. 4544)
                       Ashley E. Jacobs (No. 5635)
                       Rodney Square
                       1000 North King Street
                       Wilmington, Delaware 19801
                       Telephone: (302) 571-6600
                       Fax: (302) 571-1253
                       Email: rbrady@ycst.com
                       eharron@ycst.com
                       kenos@ycst.com
                       ajacobs@ycst.com



                                       13



                                   A00384
     Case: 23-1664      Document: 62-1      Page: 409     Date Filed: 07/24/2023


                           -and-

                           GILBERT LLP
                           Kami E. Quinn (pro hac vice)
                           Rachel H. Jennings (pro hac vice)
                           Kyle Y. Dechant (pro hac vice)
                           December L. Huddleston (pro hac vice)
                           700 Pennsylvania Ave, SE
                           Suite 400
                           Washington, DC 20003
                           Telephone: (202) 772-2200
                           Fax: (202) 772-3333
                           Email: quinnk@gilbertlegal.com
                           jenningsr@gilbertlegal.com
                           dechantk@gilbertlegal.com
                           huddlestond@gilbertlegal.com
The Zalkin Law Firm,       KTBS LAW LLP
P.C. and Pfau Cochran      Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC        Daniel J. Bussel (pro hac vice)
(Appellees)                Robert J. Pfister (pro hac vice)
                           Sasha M. Gurvitz (pro hac vice)
                           1801 Century Park East, Twenty-Sixth Floor
                           Los Angeles, California 90067
                           Telephone: (310) 407-4000
                           Fax: (310) 407-9090
                           Email: tpatterson@ktbslaw.com
                           dbussel@ktbslaw.com
                           rpfister@ktbslaw.com
                           sgurvitz@ktbslaw.com

                           -and-

                           BIELLI & KLAUDER, LLC
                           David M. Klauder, Esquire (No. 5769)
                           1204 N. King Street
                           Wilmington, DE 19801
                           Telephone: (302) 803-4600
                           Fax: (302) 397-2557
                           Email: dklauder@bk-legal.com
Hartford Accident and      BAYARD, P.A.
Indemnity Company,         Erin R. Fay (No. 5268)
First State Insurance      Gregory J. Flasser (No. 6154)
Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395

                                           14



                                      A00385
     Case: 23-1664    Document: 62-1      Page: 410      Date Filed: 07/24/2023


(Appellees)               Email: efay@bayardlaw.com
                          gflasser@bayardlaw.com

                          -and-

                          RUGGERI PARKS WEINBERG LLP
                          James P. Ruggeri (pro hac vice)
                          Joshua D. Weinberg (pro hac vice)
                          1875 K Street, N.W., Suite 600
                          Washington, D.C. 20006-1251
                          Telephone: (202) 469-7750
                          Fax: (202) 469-7751

                          -and-

                          WILMER CUTLER PICKERING HALE
                          AND DORR LLP
                          Philip D. Anker (pro hac vice)
                          7 World Trade Center
                          250 Greenwich Street
                          New York, N.Y. 10007
                          Telephone: (212) 230-8890
                          Fax: (212) 230-8888

                          Joel Millar (pro hac vice)
                          1875 Pennsylvania Avenue N.W.
                          Washington, D.C. 20006
                          Telephone: (202) 663-6000
                          Fax: (202) 663-6363
Century Indemnity         STAMOULIS & WEINBLATT LLC
Company, as successor     Stamatios Stamoulis (No. 4606)
to CCI Insurance          800 N. West Street
Company, as successor     Third Floor Wilmington, Delaware 19801
to Insurance Company of   Telephone: 302 999 1540
North America and         Fax: 302 762 1688
Indemnity Insurance
Company of North          -and-
America
(Appellees)               O’MELVENY & MYERS LLP
                          Tancred Schiavoni (pro hac vice)
                          Times Square Tower
                          7 Times Square
                          New York, New York 10036-6537
                          Telephone: (212) 326-2000
                          Fax: (212) 326-2061



                                         15



                                     A00386
    Case: 23-1664        Document: 62-1     Page: 411      Date Filed: 07/24/2023


                           O’MELVENY & MYERS LLP
                           Stephen Warren (pro hac vice)
                           400 South Hope Street
                           Los Angeles, California 90071
                           Telephone: (213) 430-6000
                           Fax: (213) 430-6407

                           O’MELVENY & MYERS LLP
                           Jonathan D. Hacker (pro hac vice)
                           1625 Eye Street, N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 383-5300
Federal Insurance          STAMOULIS & WEINBLATT LLC
Company and                Stamatios Stamoulis (No. 4606)
Westchester Fire           8000 N. West Street, Third Floor
Insurance Company          Wilmington, Delaware 19801
(Appellees)                Telephone: (302) 999-1540

                           -and-

                           SIMPSON THATCHER & BARTLETT LLP
                           David Elbaum (pro hac vice)
                           425 Lexington Avenue
                           New York, New York 10017
                           Telephone: (212) 455-2000
American Zurich            TYBOUT, REDFEARN & PELL
Insurance Company,         Robert D. Cecil, Jr. (No. 5317)
American Guarantee         501 Carr Road, Suite 300
Insurance Company, and     Wilmington, Delaware 19899
Steadfast Insurance        Telephone: (302) 658-6901
Company                    Email: rcecil@trplaw.com
(Appellees)
                           -and-

                           CROWELL & MORING LLP
                           Mark D. Plevin (pro hac vice)
                           Kevin D. Cacabelos (pro hac vice)
                           Three Embarcadero Center, 26th Floor
                           San Francisco, California 94111
                           Telephone: (415) 986-2800
                           Email: mplevin@crowell.com
                           kcacabelos@crowell.com

                           Tacie H. Yoon (pro hac vice)
                           Rachel A. Jankowski (pro hac vice)
                           1001 Pennsylvania Ave., N.W.

                                           16



                                      A00387
     Case: 23-1664         Document: 62-1     Page: 412      Date Filed: 07/24/2023


                             Washington, D.C. 20004
                             Telephone: (202) 624-2500
                             Email: tyoon@crowell.com
                             rjankowski@crowell.com

Clarendon National           BALLARD SPAHR LLP
Insurance Company, as        Matthew G. Summers (No. 5533)
successor in interest by     Chantelle D. McClamb (No. 5978)
merger to Clarendon          919 N. Market Street, 11th Floor
America Insurance            Wilmington, Delaware 19801-3034
Company; River Thames        Telephone: (302) 252-4428
Insurance Company            Fax: (302) 252-4466
Limited (as successor in     Email: summersm@ballardspahr.com
interest to Unionamerica     mcclamb@ballardspahr.com
Insurance Company
Limited, on its own          -and-
behalf and in turn as
successor to St.             STEPTOE & JOHNSON LLP
Katherine Insurance          Harry Lee (pro hac vice)
Company Limited); and        John O’Connor (pro hac vice)
Zurich American              1330 Connecticut Avenue NW
Insurance Company, as        Washington, DC 20036
successor to Maryland        Telephone: (202) 429-8078
Casualty Company,            Fax: (202) 429-3902
Zurich Insurance             Email: hlee@steptoe.com
Company, and Maryland        joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of          DLA PIPER, LLP (US)
Local Councils of the        R. Craig Martin (No. 5032)
Boy Scouts of America        1201 North Market Street, Suite 2100
(Appellee)                   Wilmington, Delaware 19801-1147
                             Telephone: (302) 468-5655
                             Email: craig.martin@dlapiper.com

                             -and-

                             WACHTELL, LIPTON, ROSEN & KATZ
                             Richard G. Mason (pro hac vice)
                             Douglas K. Mayer (pro hac vice)
                             Joseph C. Celentino (pro hac vice)
                             Mitchell S. Levy (pro hac vice)
                             51 West 52nd Street
                             New York, New York 10019

                                             17



                                        A00388
         Case: 23-1664      Document: 62-1     Page: 413        Date Filed: 07/24/2023


                               Telephone: (212) 403-1000
                               Email: RGMason@wlrk.com
                               DKMayer@wlrk.com
                               JCCelentino@wlrk.com
                               MSLevy@wlrk.com


Dated: April 10, 2023
Wilmington, Delaware


 TROUTMAN PEPPER HAMILTON SANDERS              TROUTMAN PEPPER HAMILTON SANDERS LLP
 LLP

 By:      /s/ Marcy J. McLaughlin Smith        By:      /s/ Marcy J. McLaughlin Smith
         David M. Fournier (DE No. 2812)               David M. Fournier (DE No. 2812)
         Marcy J. McLaughlin Smith (DE No.             Marcy J. McLaughlin Smith (DE No.
         6184)                                         6184)
         Hercules Plaza, Suite 5100                    Hercules Plaza, Suite 5100
         1313 Market Street                            1313 Market Street
         P.O. Box 1709                                 P.O. Box 1709
         Wilmington, DE 19899-1709                     Wilmington, DE 19899-1709
         Telephone: 302.777.6500                       Telephone: 302.777.6500
         Facsimile: 302.421.8390                       Facsimile: 302.421.8390

 -and-                                         -and-

 PARKER, HUDSON, RAINER & DOBBS LLP            PARKER, HUDSON, RAINER & DOBBS LLP

         Harris B. Winsberg                            Harris B. Winsberg
         (admitted pro hac vice)                       (admitted pro hac vice)
         Matthew G. Roberts                            Matthew G. Roberts
         (admitted pro hac vice)                       (admitted pro hac vice)
         303 Peachtree Street NE, Suite 3600           303 Peachtree Street NE, Suite 3600
         Atlanta, GA 30308                             Atlanta, GA 30308
         Telephone: 404.420.4313                       Telephone: 404.420.4313
         Facsimile: 404.522.8409                       Facsimile: 404.522.8409

 -and-                                         -and-

 MCDERMOTT WILL & EMERY LLP                    BRADLEY RILEY JACOBS PC

         Margaret H. Warner                            Todd C. Jacobs
         (admitted pro hac vice)                       (admitted pro hac vice)
         Ryan S. Smethurst                             John E. Bucheit
         (admitted pro hac vice)                       (admitted pro hac vice)

                                               18



                                          A00389
    Case: 23-1664       Document: 62-1      Page: 414    Date Filed: 07/24/2023


      Alex M. Spisak                              Paul J. Esker
      (admitted pro hac vice)                     (admitted pro hac vice)
      The McDermott Building                      500 West Madison Street
      500 North Capitol Street, NW                Suite 1000
      Washington, DC 20001-1531                   Chicago, IL 60661
      Telephone: 202.756.8228                     Telephone: 312.281.0295
      Facsimile: 202.756.8087


Attorneys for Appellant Allianz Global      Attorneys for Appellants National Surety
Risks US Insurance Company                  Corporation and Interstate Fire & Casualty
                                            Company




                                            19



                                         A00390
          Case: 23-1664       Document: 62-1       Page: 415       Date Filed: 07/24/2023




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                Chapter 11

                                                      Bankruptcy Case
BOY SCOUTS OF AMERICA AND                             No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                      (Jointly Administered)
                       Debtors.



NATIONAL UNION FIRE INSURANCE CO.                     Case No. 22-cv-01237-RGA1
OF PITTSBURGH, PA, et al.,

                       Appellants,

               v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                       Appellees.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellants Argonaut Insurance Company and Colony

Insurance Company appeal to the United States Court of Appeals for the Third Circuit from the

final Order and accompanying Opinion of the United States District Court for the District of

Delaware (Hon. Richard G. Andrews), entered March 28, 2023 (D.I. 150, 151), among other things

affirming the Supplemental Findings of Fact and Conclusions of Law and Order Confirming the


         1 Appellants’ bankruptcy appeal originally had the following caption: Argonaut Insurance
Company and Colony Insurance Company v. Boy Scouts of America and Delaware BSA, No. 22-
cv-01250-RGA. That action was consolidated with the above-captioned action on October 17,
022 and the Court directed that “[a]ll further filings with this Court will be docketed under the
Master Case Number.” See Order Granting Motion on Stipulation Regarding Appeals From Order
Confirming Plan of Reorganization of Boy Scouts of America and Delaware BSA, LLC (D.I. 22).



                                             A00391
           Case: 23-1664      Document: 62-1         Page: 416   Date Filed: 07/24/2023




Third Modified Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications)

for Boy Scouts of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and accompanying

Opinion (Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the District of

Delaware (Hon. Laurie S. Silverstein), and all other orders, decisions, and opinions subsumed

therein.

       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000
                               Email: mrosenthal@gibsondunn.com
                               mkarlan@gibsondunn.com
                               jhallowell@gibsondunn.com
                               kmartorana@gibsondunn.com
                               srokosky@gibsondunn.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Theodore J. Boutrous Jr. (pro hac vice)
                               Richard J. Doren (pro hac vice)
                               Blaine H. Evanson (pro hac vice)
                               333 South Grand Avenue
                               Los Angeles, California 90071
                               Telephone: (213) 229-7038
                               Email: rdoren@gibsondunn.com



                                                 2
                                                A00392
      Case: 23-1664       Document: 62-1       Page: 417   Date Filed: 07/24/2023




                          bevanson@gibsondunn.com
                          tboutrous@gibsondunn.com

                          FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                          Susan N.K. Gummow
                          222 N. LaSalle St., Suite 1400
                          Chicago, Illinois 60601
                          Telephone: (312) 863-5000
                          Email: sgummow@fgppr.com
Allianz Global Risks US   TROUTMAN PEPPER HAMILTON SANDERS LLP
Insurance Company         David M. Fournier (DE Bar No. 2812)
(Appellant)               Marcy J. McLaughlin Smith (DE No. 6184)
                          Hercules Plaza
                          1313 Market Street
                          Suite 5100
                          P.O. Box 1709
                          Wilmington, DE 19899-1709
                          Telephone: 404.885.3000
                          david.fournier@troutman.com
                          marcy.smith@troutman.com

                          -and-

                          PARKER, HUDSON, RAINER & DOBBS LLP
                          Harris B. Winsberg (pro hac vice)
                          Matthew G. Roberts (pro hac vice)
                          303 Peachtree Street NE
                          Suite 3600
                          Atlanta, GA 30308
                          Telephone: 404.420.4313
                          Facsimile: 404.522.8409
                          hwinsberg@phrd.com
                          mroberts@phrd.com

                          -and-

                          McDERMOTT WILL & EMERY LLP
                          Margaret H. Warner (pro hac vice)
                          Ryan S. Smethurst (pro hac vice)
                          Alex M. Spisak (pro hac vice)
                          The McDermott Building
                          500 North Capitol Street, NW
                          Washington, DC 20001-1531
                          Telephone: 202.756.8228
                          Facsimile: 202.756.8087
                          mwarner@mwe.com



                                           3
                                      A00393
    Case: 23-1664   Document: 62-1   Page: 418   Date Filed: 07/24/2023




                      rsmethurst@mwe.com
                      aspisak@mwe.com
National Surety       TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and       David M. Fournier (DE Bar No. 2812)
Interstate Fire &     Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company      Hercules Plaza, Suite 5100
(Appellants)          1313 Market Street
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 302.777.6500
                      Facsimile: 302.421.8390
                      david.fournier@troutman.com
                      marcy.smith@troutman.com

                      -and-

                      PARKER, HUDSON, RAINER & DOBBS LLP
                      Harris B. Winsberg (pro hac vice)
                      Matthew G. Roberts (pro hac vice)
                      303 Peachtree Street NE
                      Suite 3600
                      Atlanta, GA 30308
                      Telephone: 404.420.4313
                      Facsimile: 404.522.8409
                      hwinsberg@phrd.com
                      mroberts@phrd.com

                      -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400


                                     4
                                A00394
    Case: 23-1664    Document: 62-1    Page: 419      Date Filed: 07/24/2023




                       kmiller@skjlaw.com

                       HANGLEY ARONCHICK SEGAL
                       PUDLIN & SCHILLER
                       Ronald P. Schiller (pro hac vice)
                       Matthew A. Hamermesh (pro hac vice)
                       One Logan Square, 27th Floor
                       Philadelphia, PA 19103
                       T: (215) 568-6200
                       F: (215) 568-0300
                       E: rschiller@hangley.com
                       mhamermesh@hangley.com
Argonaut Insurance      POST & SCHELL, P.C.
Company and Colony      Paul Logan (No. 3339)
Insurance Company       300 Delaware Avenue, Suite 1380
(Appellants)
                        Wilmington, DE 19801
                        Telephone: (302) 251-8856
                        Email: plogan@postschell.com

                       POST & SCHELL, P.C.
                       John C. Sullivan (pro hac vice)
                       Kathleen K. Kerns (pro hac vice)
                       Four Penn Center – 13th Floor
                       1600 John F. Kennedy Boulevard
                       Philadelphia, PA 19103
                       Telephone: (215) 587-1000
                       jsullivan@postschell.com
                       kkerns@postschell.com

                        -and-

                        IFRAH PLLC
                        George R. Calhoun (pro hac vice)
                        1717 Pennsylvania Avenue, N.W. Suite 650
                        Washington, DC 20006
                        Telephone: (202) 840-8758
                        george@ifrahlaw.com
Arrowood Indemnity     JOYCE, LLC
Company                Michael J. Joyce (No. 4563)
(Appellant)            1225 King Street, Suite 800
                       Wilmington, DE 19801
                       Telephone: (302) 388-1944
                       Email: mjoyce@mjlawoffices.com

                       -and-




                                       5
                                  A00395
    Case: 23-1664       Document: 62-1      Page: 420       Date Filed: 07/24/2023




                          COUGHLIN MIDLIGE & GARLAND, LLP
                          Kevin Coughlin (pro hac vice)
                          Lorraine Armenti (pro hac vice)
                          Michael Hrinewski (pro hac vice)
                          350 Mount Kemble Avenue
                          PO Box 1917
                          Morristown, NJ 07962
                          Telephone: (973) 267-0058
                          Facsimile: 973-267-6442
                          kcoughlin@cmg.law
                          larmenti@cmg.law
                          mhrinewski@cmg.law

                          -and-

                          CARRUTHERS & ROTH, P.A.
                          Britton C. Lewis
                          John M. Flynn
                          235 N. Edgeworth Street
                          P.O. Box 540
                          Greensboro, NC 27401
                          Telephone: (336) 478-1146
                          Facsimile: (336) 478-1145
                          jmf@crlaw.com
                          bcl@crlaw.com
Continental Insurance     GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia      Maria Aprile Sawczuk (DE #3320)
Casualty Company          501 Silverside Road
(Appellants)              Wilmington, DE 19809
                          302-444-6710
                          marias@goldmclaw.com

                          -and-

                          LOEB & LOEB LLP
                          Laura McNally (pro hac vice)
                          Emily Stone (pro hac vice)
                          321 N. Clark Street, Suite 2300
                          Chicago, IL 60654
                          312-464-3155
                          lmcnally@loeb.com
                          estone@loeb.com
Gemini Insurance          WERB & SULLIVAN
Company                   LEGAL ARTS BUILDING
(Appellant)               Brian A. Sullivan (No. 2098)
                          1225 N. King Street


                                           6
                                      A00396
    Case: 23-1664        Document: 62-1     Page: 421        Date Filed: 07/24/2023




                           Suite 600
                           Wilmington, Delaware 19801
                           Telephone: (302) 652-1100
                           Cell: (302) 757-9932
                           Facsimile: (302) 652-1111
                           Email: bsullivan@werbsullivan.com

                           GIEGER LABORDE & LAPEROUOSE, LLC
                           John E.W. Baay II (pro hac vice)
                           701 Poydras Street
                           Suite 4800
                           New Orleans, LA 70139
                           Tel.: 504-561-0400
                           Fax: 504-561-1011
                           Email: jbaay@glllaw.com

                           -and-

                           KIERNAN TREBACH LLP
                           William H. White Jr (pro hac vice)
                           1233 20th Street, NW
                           8th Floor
                           Washington, DC 20036
                           Tel.: 202-712-7000
                           Fax: 202-712-7100
                           Email: wwhite@kiernantrebach.com
General Star Indemnity     SMITH, KATZENSTEIN & JENKINS LLP
Company                    Kathleen M. Miller (DE Bar No. 2898)
(Appellant)                1000 West Street, Suite 501
                           P.O. Box 410
                           Wilmington, DE 19899
                           Telephone: (302) 652-8400
                           Email: kmiller@skjlaw.com

                           -and-

                           WILEY REIN LLP
                           Mary E. Borja (pro hac vice)
                           Gary P. Seligman (pro hac vice)
                           Ashley L. Criss (pro hac vice)
                           2050 M Street NW
                           Washington, DC 20036
                           Phone: (202) 719-7000
                           Email: mborja@wiley.law
                           gseligman@wiley.law
                           acriss@wiley.law



                                            7
                                       A00397
     Case: 23-1664           Document: 62-1     Page: 422      Date Filed: 07/24/2023




Great American                 BODELL BOVÉ, LLC
Assurance                      Bruce W. McCullough (No. 3112)
Company, f/k/a                 1225 N. King Street, Suite 1000
Agricultural Insurance         Wilmington, Delaware 19801-3250
Company; Great                 Telephone: (302) 655-6749
American E&S Insurance         bmccullough@bodellbove.com
Company, f/k/a
Agricultural Excess and        -and-
Surplus Insurance
Company; and Great             CLYDE & CO US LLP
American E&S Insurance         Bruce D. Celebrezze (pro hac vice)
Company                        150 California Street | 15th Floor
(Appellants)                   San Francisco, California 94111
                               Telephone: (415) 365-9800
                               Facsimile: (415) 365-9801
                               bruce.celebrezze@clydeco.us

                               CLYDE & CO US LLP
                               Konrad R. Krebs (pro hac vice)
                               340 Mt. Kemble Avenue | Suite 300
                               Morristown, NJ 07960
                               Telephone: (973) 210-6700
                               Facsimile: (973) 210-6701
                               konrad.krebs@clydeco.us

                               -and-

                               DAVID CHRISTIAN ATTORNEYS LLC
                               David Christian (pro hac vice)
                               105 W. Madison St., Suite 1400
                               Chicago, Illinois 60602
                               Telephone: (312) 282-5282
                               dchristian@dca.law
Indian Harbor Insurance        SMITH, KATZENSTEIN
Company, on behalf of          & JENKINS LLP
itself and as successor in     Kathleen M. Miller (No. 2898)
interest to Catlin             1000 West Street, Suite 1501
Specialty Insurance            P.O. Box 410
Company                        Wilmington, DE 19899 [Courier 19801]
(Appellant)                    Telephone: (302) 652-8400
                               Facsimile: (302) 652-8405
                               kmiller@skjlaw.com

                               and

                               MOUND COTTON WOLLAN & GREENGRASS LLP



                                                8
                                           A00398
     Case: 23-1664        Document: 62-1       Page: 423   Date Filed: 07/24/2023




                         Lloyd A. Gura (pro hac vice)
                         Pamela J. Minetto (pro hac vice)
                         One New York Plaza 44th Floor
                         New York, NY 10004
                         Tel: (212) 804-4282
                         lgura@moundcotton.com
                         pminetto@moundcotton.com
Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
Casualty Insurance       222 Delaware Avenue
Company, Liberty         Suite 1500
Insurance Underwriters,  Wilmington, DE 19801
Inc. and Liberty Surplus Telephone: (302) 888-0600
Insurance Corporation    khill@svglaw.com
(Appellants)
                         -and-

                           CHOATE, HALL & STEWART LLP
                           Douglas R. Gooding (pro hac vice)
                           Jonathan D. Marshall (pro hac vice)
                           Two International Place
                           Boston, MA 02110
                           Telephone: (617) 248-5000
                           dgooding@choate.com
                           jmarshall@choate.com

                           -and-

                           MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                           PC
                           Kim V. Marrkand (pro hac vice)
                           One Financial Center
                           Boston, MA 02111
                           Telephone: (617) 542-6000
                           kvmarrkand@mintz.com
Munich Reinsurance         DILWORTH PAXSON LLP
America, Inc., formerly    Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-      704 N. King Street, Suite 500
Insurance Company          P.O. Box 1031
(Appellant)                Wilmington, DE 19899-1031
                           (302) 571-8867 (telephone)
                           (302) 351-8735 (facsimile)
                           tweaver@dilworthlaw.com

                           -and-




                                           9
                                      A00399
    Case: 23-1664         Document: 62-1      Page: 424      Date Filed: 07/24/2023




                            DILWORTH PAXSON LLP
                            William E. McGrath, Jr. (pro hac vice)
                            2 Research Way, Suite 103
                            Princeton, NJ 08540
                            (609) 924-6000 (telephone)
                            (215) 893-8537 (facsimile)
                            wmcgrath@dilworthlaw.com
Traders and Pacific         COZEN O’CONNOR
Insurance Company,          Marla S. Benedek (No. 6638)
Endurance American          1201 N. Market Street, Suite 1001
Specialty Insurance         Wilmington, DE 19801
Company, and                Telephone: (302) 295-2024
Endurance American          Facsimile: (302) 250-4498
Insurance Company           mbenedek@cozen.com
(Appellants)
Old Republic Insurance      MORRIS JAMES LLP
Company                     Stephen M. Miller (No. 2610)
(Appellant)                 Carl N. Kunz, III (No. 3201)
                            500 Delaware Avenue, Suite 1500
                            Wilmington, Delaware 19801
                            Telephone: (302) 888-6800
                            Facsimile: (302) 571-1750
                            smiller@morrisjames.com
                            ckunz@morrisjames.com

                            -and-

                            FOX SWIBEL LEVIN & CARROLL LLP
                            Margaret M. Anderson (pro hac vice)
                            Ryan T. Schultz (pro hac vice)
                            Adam A. Hachikian (pro hac vice)
                            Kenneth M. Thomas (pro hac vice)
                            200 W. Madison Street, Suite 3000
                            Chicago, Illinois 60606
                            Telephone: (312) 224-1200
                            Facsimile: (312) 224-1201
                            panderson@foxswibel.com
                            rschultz@foxswibel.com
                            ahachikian@foxswibel.com
                            kthomas@foxswibel.com
Travelers Casualty and      REGER RIZZO & DARNALL LLP
Surety Company, Inc.        Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty &     1521 Concord Pike Suite 305
Surety Company), St.        Brandywine Plaza West
Paul Surplus Lines          Wilmington DE 19803


                                            10
                                        A00400
    Case: 23-1664        Document: 62-1     Page: 425      Date Filed: 07/24/2023




Insurance Company and      Telephone: (302) 477-7100
Gulf Insurance Company     Facsimile: (302) 652-3620
(Appellants)               lrizzo@regerlaw.com

Lujan Claimants            LOIZIDES, P.A.
(Appellants)               Christopher D. Loizides (No. 3968)
                           1225 North King Street, Suite 800
                           Telephone: (302) 654-0248
                           Loizides@loizides.com

                           -and-

                           LUJAN & WOLFF LLP
                           Delia Lujan Wolff
                           Suite 300, DNA Bldg.
                           238 Archbishop Flores St.
                           Hagatna, Guam 96910
                           Telephone: (671) 477-8064/5
                           dslwolff@lawguam.com
Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
Claimants                  Charles J. Brown, III (No. 3368)
                           1201 N. Orange St., 3rd Floor
(Appellants)               Wilmington, DE 19801
                           Telephone: (302) 425-5813
                           cbrown@gsbblaw.com

                           -and-

                           DUMAS & VAUGHN, LLC
                           Gilion C. Dumas
                           3835 NE Hancock Street, Suite GLB
                           Portland, OR 97212
                           Telephone: (503) 616-5007
                           gilion@dumasandvaughn.com
Boy Scouts of America,     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                           Derek C. Abbott (No. 3376)
Delaware BSA, LLC          Andrew R. Remming (No. 5120)
(Debtors/Appellees and     Paige N. Topper (No. 6470)
Debtors in Possession)     1201 North Market Street, 16th Floor
                           P.O. Box 1347
                           Wilmington, Delaware 19899-1347
                           Telephone: (302) 658-9200
                           dabbott@morrisnichols.com
                           aremming@morrisnichols.com
                           ptopper@morrisnichols.com




                                           11
                                      A00401
    Case: 23-1664   Document: 62-1     Page: 426      Date Filed: 07/24/2023




                      – and –

                      WHITE & CASE LLP
                      Jessica C. Lauria (pro hac vice)
                      Glenn M. Kurtz (pro hac vice)
                      1221 Avenue of the Americas
                      New York, New York 10020
                      Telephone: (212) 819-8200
                      Email: jessica.lauria@whitecase.com
                      gkurtz@whitecase.com

                      – and –

                      WHITE & CASE LLP
                      Michael C. Andolina
                      Matthew E. Linder
                      Laura E. Baccash
                      Blair M. Warner
                      111 South Wacker Drive
                      Chicago, Illinois 60606
                      Telephone: (312) 881-5400
                      mandolina@whitecase.com
                      mlinder@whitecase.com
                      laura.baccash@whitecase.com
                      blair.warner@whitecase.com

                      – and –

                      WHITE & CASE LLP
                      Ronald K. Gorsich
                      Doah Kim
                      555 South Flower Street, Suite 2700
                      Los Angeles, CA 90071
                      Telephone: (213) 620-7700
                      rgorsich@whitecase.com
                      doah.kim@whitecase.com
Tort Claimants’       PACHULSKI STANG ZIEHL & JONES LLP
Committee             Richard M. Pachulski (pro hac vice)
(Appellees)           Alan J. Kornfeld (pro hac vice)
                      Debra I. Grassgreen (pro hac vice)
                      Iain A.W. Nasatir (pro hac vice)
                      James E. O’Neill (No. 4042)
                      919 North Market Street, 17th Floor
                      P.O. Box 8705
                      Wilmington, DE 19899-8705 (Courier 19801)
                      Telephone: (302) 652-4100
                      Fax: (302) 652-4400


                                      12
                                 A00402
    Case: 23-1664     Document: 62-1     Page: 427      Date Filed: 07/24/2023




                        Email: rpachulski@pszjlaw.com
                        akornfeld@pszjlaw.com
                        dgrassgreen@pszjlaw.com
                        inasatir@pszjlaw.com
                        joneill@pszjlaw.com
Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.
Scouts for Justice      Rachel B. Mersky (No. 2049)
(Appellees)             1201 North Orange Street, Suite 400
                        Wilmington, Delaware 19801
                        Telephone: (302) 656-8162
                        Fax: (302) 656-2769
                        Email: rmersky@monlaw.com

                        –and–

                        BROWN RUDNICK LLP
                        David J. Molton, Esq. (pro hac vice)
                        Eric R. Goodman, Esq. (pro hac vice)
                        Seven Times Square
                        New York, NY 10036
                        Telephone: (212) 209-4800
                        Fax: (212) 209-4801
                        Email: dmolton@brownrudnick.com
                        egoodman@brownrudnick.com

                        –and–

                        BROWN RUDNICK LLP
                        Sunni P. Beville, Esq. (pro hac vice)
                        Tristan G. Axelrod, Esq. (pro hac vice)
                        One Financial Center
                        Boston, MA 02111
                        Telephone: (617) 856-8200
                        Fax: (617) 856-8201
                        Email: sbeville@brownrudnick.com
                        taxelrod@brownrudnick.com
Future Claimants’       YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellees)             Robert S. Brady (No. 2847)
                        Edwin J. Harron (No. 3396)
                        Kenneth J. Enos (No. 4544)
                        Ashley E. Jacobs (No. 5635)
                        Rodney Square
                        1000 North King Street
                        Wilmington, Delaware 19801
                        Telephone: (302) 571-6600


                                        13
                                   A00403
    Case: 23-1664       Document: 62-1     Page: 428      Date Filed: 07/24/2023




                          Fax: (302) 571-1253
                          Email: rbrady@ycst.com
                          eharron@ycst.com
                          kenos@ycst.com
                          ajacobs@ycst.com

                          -and-

                          GILBERT LLP
                          Kami E. Quinn (pro hac vice)
                          Rachel H. Jennings (pro hac vice)
                          Kyle Y. Dechant (pro hac vice)
                          December L. Huddleston (pro hac vice)
                          700 Pennsylvania Ave, SE
                          Suite 400
                          Washington, DC 20003
                          Telephone: (202) 772-2200
                          Fax: (202) 772-3333
                          Email: quinnk@gilbertlegal.com
                          jenningsr@gilbertlegal.com
                          dechantk@gilbertlegal.com
                          huddlestond@gilbertlegal.com
The Zalkin Law Firm,      KTBS LAW LLP
P.C. and Pfau Cochran     Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC       Daniel J. Bussel (pro hac vice)
(Appellees)               Robert J. Pfister (pro hac vice)
                          Sasha M. Gurvitz (pro hac vice)
                          1801 Century Park East, Twenty-Sixth Floor
                          Los Angeles, California 90067
                          Telephone: (310) 407-4000
                          Fax: (310) 407-9090
                          Email: tpatterson@ktbslaw.com
                          dbussel@ktbslaw.com
                          rpfister@ktbslaw.com
                          sgurvitz@ktbslaw.com

                          -and-

                          BIELLI & KLAUDER, LLC
                          David M. Klauder, Esquire (No. 5769)
                          1204 N. King Street
                          Wilmington, DE 19801
                          Telephone: (302) 803-4600
                          Fax: (302) 397-2557
                          Email: dklauder@bk-legal.com
Hartford Accident and     BAYARD, P.A.


                                          14
                                     A00404
    Case: 23-1664      Document: 62-1       Page: 429         Date Filed: 07/24/2023




Indemnity Company,         Erin R. Fay (No. 5268)
First State Insurance      Gregory J. Flasser (No. 6154)
Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395
(Appellees)                Email: efay@bayardlaw.com
                           gflasser@bayardlaw.com

                           -and-

                           RUGGERI PARKS WEINBERG LLP
                           James P. Ruggeri (pro hac vice)
                           Joshua D. Weinberg (pro hac vice)
                           1875 K Street, N.W., Suite 600
                           Washington, D.C. 20006-1251
                           Telephone: (202) 469-7750
                           Fax: (202) 469-7751

                           -and-

                           WILMER CUTLER PICKERING HALE
                           AND DORR LLP
                           Philip D. Anker (pro hac vice)
                           7 World Trade Center
                           250 Greenwich Street
                           New York, N.Y. 10007
                           Telephone: (212) 230-8890
                           Fax: (212) 230-8888

                           Joel Millar (pro hac vice)
                           1875 Pennsylvania Avenue N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 663-6000
                           Fax: (202) 663-6363
Century Indemnity          STAMOULIS & WEINBLATT LLC
Company, as successor      Stamatios Stamoulis (No. 4606)
to CCI Insurance           800 N. West Street
Company, as successor      Third Floor Wilmington, Delaware 19801
to Insurance Company of    Telephone: 302 999 1540
North America and          Fax: 302 762 1688
Indemnity Insurance
Company of North           -and-
America
(Appellees)                O’MELVENY & MYERS LLP
                           Tancred Schiavoni (pro hac vice)



                                           15
                                       A00405
    Case: 23-1664        Document: 62-1     Page: 430      Date Filed: 07/24/2023




                           Times Square Tower
                           7 Times Square
                           New York, New York 10036-6537
                           Telephone: (212) 326-2000
                           Fax: (212) 326-2061

                           O’MELVENY & MYERS LLP
                           Stephen Warren (pro hac vice)
                           400 South Hope Street
                           Los Angeles, California 90071
                           Telephone: (213) 430-6000
                           Fax: (213) 430-6407

                           O’MELVENY & MYERS LLP
                           Jonathan D. Hacker (pro hac vice)
                           1625 Eye Street, N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 383-5300
Federal Insurance          STAMOULIS & WEINBLATT LLC
Company and                Stamatios Stamoulis (No. 4606)
Westchester Fire           8000 N. West Street, Third Floor
Insurance Company          Wilmington, Delaware 19801
(Appellees)                Telephone: (302) 999-1540

                           -and-

                           SIMPSON THATCHER & BARTLETT LLP
                           David Elbaum (pro hac vice)
                           425 Lexington Avenue
                           New York, New York 10017
                           Telephone: (212) 455-2000
American Zurich            TYBOUT, REDFEARN & PELL
Insurance Company,         Robert D. Cecil, Jr. (No. 5317)
American Guarantee         501 Carr Road, Suite 300
Insurance Company, and     Wilmington, Delaware 19899
Steadfast Insurance        Telephone: (302) 658-6901
Company                    Email: rcecil@trplaw.com
(Appellees)
                           -and-

                           CROWELL & MORING LLP
                           Mark D. Plevin (pro hac vice)
                           Kevin D. Cacabelos (pro hac vice)
                           Three Embarcadero Center, 26th Floor
                           San Francisco, California 94111
                           Telephone: (415) 986-2800


                                           16
                                      A00406
    Case: 23-1664       Document: 62-1      Page: 431      Date Filed: 07/24/2023




                           Email: mplevin@crowell.com
                           kcacabelos@crowell.com

                           Tacie H. Yoon (pro hac vice)
                           Rachel A. Jankowski (pro hac vice)
                           1001 Pennsylvania Ave., N.W.
                           Washington, D.C. 20004
                           Telephone: (202) 624-2500
                           Email: tyoon@crowell.com
                           rjankowski@crowell.com

Clarendon National         BALLARD SPAHR LLP
Insurance Company, as      Matthew G. Summers (No. 5533)
successor in interest by   Chantelle D. McClamb (No. 5978)
merger to Clarendon        919 N. Market Street, 11th Floor
America Insurance          Wilmington, Delaware 19801-3034
Company; River Thames      Telephone: (302) 252-4428
Insurance Company          Fax: (302) 252-4466
Limited (as successor in   Email: summersm@ballardspahr.com
interest to Unionamerica   mcclamb@ballardspahr.com
Insurance Company
Limited, on its own        -and-
behalf and in turn as
successor to St.           STEPTOE & JOHNSON LLP
Katherine Insurance        Harry Lee (pro hac vice)
Company Limited); and      John O’Connor (pro hac vice)
Zurich American            1330 Connecticut Avenue NW
Insurance Company, as      Washington, DC 20036
successor to Maryland      Telephone: (202) 429-8078
Casualty Company,          Fax: (202) 429-3902
Zurich Insurance           Email: hlee@steptoe.com
Company, and Maryland      joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of        DLA PIPER, LLP (US)
Local Councils of the      R. Craig Martin (No. 5032)
Boy Scouts of America      1201 North Market Street, Suite 2100
(Appellees)                Wilmington, Delaware 19801-1147
                           Telephone: (302) 468-5655
                           Email: craig.martin@dlapiper.com

                           -and-

                           WACHTELL, LIPTON, ROSEN & KATZ



                                           17
                                      A00407
       Case: 23-1664   Document: 62-1        Page: 432       Date Filed: 07/24/2023




                        Richard G. Mason (pro hac vice)
                        Douglas K. Mayer (pro hac vice)
                        Joseph C. Celentino (pro hac vice)
                        Mitchell S. Levy (pro hac vice)
                        51 West 52nd Street
                        New York, New York 10019
                        Telephone: (212) 403-1000
                        Email: RGMason@wlrk.com
                        DKMayer@wlrk.com
                        JCCelentino@wlrk.com
                        MSLevy@wlrk.com



Dated: 04/10/2023                    By: s/Paul Logan
Wilmington, Delaware                     POST & SCHELL, P.C.
                                         Paul Logan (No. 3339)
                                         300 Delaware Avenue, Suite 1380
                                         Wilmington, DE 19801
                                         Telephone: (302) 251-8856
                                         Email: plogan@postschell.com

                                           POST & SCHELL, P.C.
                                           John C. Sullivan (pro hac vice)
                                           Kathleen K. Kerns (pro hac vice)
                                           Four Penn Center – 13th Floor
                                           1600 John F. Kennedy Boulevard
                                           Philadelphia, PA 19103
                                           Telephone: (215) 587-1000
                                           jsullivan@postschell.com
                                           kkerns@postschell.com

                                           -and-

                                           IFRAH PLLC
                                           George R. Calhoun (pro hac vice)
                                           1717 Pennsylvania Avenue, N.W. Suite 650
                                           Washington, DC 20006
                                           Telephone: (202) 840-8758
                                           george@ifrahlaw.com

                                           Attorneys for Argonaut Insurance Company and
                                           Colony Insurance Company




                                        18
                                     A00408
         Case: 23-1664       Document: 62-1        Page: 433      Date Filed: 07/24/2023




                                CERTIFICATE OF SERVICE

       Paul Logan, attorney for Argonaut Insurance Company and Colony Insurance Company,

certifies that on this 10th day of April 2023, he caused the attached Notice of Appeal to be

electronically filed with the Court. Service of same will be made upon all parties via the Court’s

ECF system.

                                                            s/Paul Logan
                                                            Paul Logan




                                             A00409
          Case: 23-1664        Document: 62-1        Page: 434       Date Filed: 07/24/2023


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

                                                        Bankruptcy Case
BOY SCOUTS OF AMERICA AND                               No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                        (Jointly Administered)
                       Debtors.



NATIONAL UNION FIRE INSURANCE CO.                       Case No. 22-cv-01237-RGA1
OF PITTSBURGH, PA, et al.,

                       Appellants,

               v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                       Appellees.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellant Gemini Insurance Company appeals to the

 United States Court of Appeals for the Third Circuit from the final Order and accompanying

 Opinion of the United States District Court for the District of Delaware (Hon. Richard G.

 Andrews), entered      March 28, 2023 (D.I. 150, 151), among other things affirming the

 Supplemental Findings of Fact and Conclusions of Law and Order Confirming the Third Modified


 1 Appellant’s bankruptcy appeal originally had the following caption and case number: Gemini
 Insurance Company v. Boy Scouts of America and Delaware BSA, LLC, No. 22-cv-01246-RGA.
 That action was consolidated with the above-captioned action on October 17, 2022 and the Court
 directed that “[a]ll further filings with this Court will be docketed under the Master Case Number.”
 See Order Granting Motion on Stipulation Regarding Appeals From Order Confirming Plan of
 Reorganization of Boy Scouts of America and Delaware BSA, LLC (D.I. 22).




                                               A00410
          Case: 23-1664       Document: 62-1         Page: 435     Date Filed: 07/24/2023


Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts

of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion

(Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the District of Delaware (Hon.

Laurie S. Silverstein), and all other orders, decisions, and opinions subsumed therein.

       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000
                               Email: mrosenthal@gibsondunn.com
                               mkarlan@gibsondunn.com
                               jhallowell@gibsondunn.com
                               kmartorana@gibsondunn.com
                               srokosky@gibsondunn.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Theodore J. Boutrous Jr. (pro hac vice)
                               Richard J. Doren (pro hac vice)
                               Blaine H. Evanson (pro hac vice)
                               333 South Grand Avenue
                               Los Angeles, California 90071
                               Telephone: (213) 229-7038
                               Email: rdoren@gibsondunn.com
                               bevanson@gibsondunn.com
                               tboutrous@gibsondunn.com



                                                 2

                                                A00411
      Case: 23-1664       Document: 62-1       Page: 436   Date Filed: 07/24/2023



                          FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                          Susan N.K. Gummow
                          222 N. LaSalle St., Suite 1400
                          Chicago, Illinois 60601
                          Telephone: (312) 863-5000
                          Email: sgummow@fgppr.com
Allianz Global Risks US   TROUTMAN PEPPER HAMILTON SANDERS LLP
Insurance Company         David M. Fournier (DE Bar No. 2812)
(Appellant)               Marcy J. McLaughlin Smith (DE No. 6184)
                          Hercules Plaza
                          1313 Market Street
                          Suite 5100
                          P.O. Box 1709
                          Wilmington, DE 19899-1709
                          Telephone: 404.885.3000
                          david.fournier@troutman.com
                          marcy.smith@troutman.com

                          -and-

                          PARKER, HUDSON, RAINER & DOBBS LLP
                          Harris B. Winsberg (pro hac vice)
                          Matthew G. Roberts (pro hac vice)
                          303 Peachtree Street NE
                          Suite 3600
                          Atlanta, GA 30308
                          Telephone: 404.420.4313
                          Facsimile: 404.522.8409
                          hwinsberg@phrd.com
                          mroberts@phrd.com

                          -and-

                          McDERMOTT WILL & EMERY LLP
                          Margaret H. Warner (pro hac vice)
                          Ryan S. Smethurst (pro hac vice)
                          Alex M. Spisak (pro hac vice)
                          The McDermott Building
                          500 North Capitol Street, NW
                          Washington, DC 20001-1531
                          Telephone: 202.756.8228
                          Facsimile: 202.756.8087
                          mwarner@mwe.com
                          rsmethurst@mwe.com
                          aspisak@mwe.com



                                           3


                                      A00412
      Case: 23-1664   Document: 62-1       Page: 437   Date Filed: 07/24/2023


National Surety       TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and       David M. Fournier (DE Bar No. 2812)
Interstate Fire &     Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company      Hercules Plaza, Suite 5100
(Appellants)          1313 Market Street
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 302.777.6500
                      Facsimile: 302.421.8390
                      david.fournier@troutman.com
                      marcy.smith@troutman.com

                      -and-

                      PARKER, HUDSON, RAINER & DOBBS LLP
                      Harris B. Winsberg (pro hac vice)
                      Matthew G. Roberts (pro hac vice)
                      303 Peachtree Street NE
                      Suite 3600
                      Atlanta, GA 30308
                      Telephone: 404.420.4313
                      Facsimile: 404.522.8409
                      hwinsberg@phrd.com
                      mroberts@phrd.com

                      -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com




                                       4


                                  A00413
     Case: 23-1664   Document: 62-1       Page: 438      Date Filed: 07/24/2023


                     HANGLEY ARONCHICK SEGAL
                     PUDLIN & SCHILLER
                     Ronald P. Schiller (pro hac vice)
                     Matthew A. Hamermesh (pro hac vice)
                     One Logan Square, 27th Floor
                     Philadelphia, PA 19103
                     T: (215) 568-6200
                     F: (215) 568-0300
                     E: rschiller@hangley.com
                     mhamermesh@hangley.com
Argonaut Insurance    POST & SCHELL, P.C.
Company and Colony    Paul Logan (No. 3339)
Insurance Company     300 Delaware Avenue, Suite 1380
(Appellants)
                      Wilmington, DE 19801
                      Telephone: (302) 251-8856
                      Email: plogan@postschell.com

                      POST & SCHELL, P.C.
                      John C. Sullivan (pro hac vice)
                      Kathleen K. Kerns (pro hac vice)
                      Four Penn Center – 13th Floor
                      1600 John F. Kennedy Boulevard
                      Philadelphia, PA 19103
                      Telephone: (215) 587-1000
                      jsullivan@postschell.com
                     kkerns@postschell.com

                      -and-

                      IFRAH PLLC
                      George R. Calhoun (pro hac vice)
                      1717 Pennsylvania Avenue, N.W. Suite 650
                      Washington, DC 20006
                      Telephone: (202) 840-8758
                     george@ifrahlaw.com
Arrowood Indemnity   JOYCE, LLC
Company              Michael J. Joyce (No. 4563)
(Appellant)          1225 King Street, Suite 800
                     Wilmington, DE 19801
                     Telephone: (302) 388-1944
                     Email: mjoyce@mjlawoffices.com

                     -and-

                     COUGHLIN MIDLIGE & GARLAND, LLP
                     Kevin Coughlin (pro hac vice)


                                      5


                                  A00414
      Case: 23-1664     Document: 62-1       Page: 439     Date Filed: 07/24/2023


                        Lorraine Armenti (pro hac vice)
                        Michael Hrinewski (pro hac vice)
                        350 Mount Kemble Avenue
                        PO Box 1917
                        Morristown, NJ 07962
                        Telephone: (973) 267-0058
                        Facsimile: 973-267-6442
                        kcoughlin@cmg.law
                        larmenti@cmg.law
                        mhrinewski@cmg.law

                        -and-

                        CARRUTHERS & ROTH, P.A.
                        Britton C. Lewis
                        John M. Flynn
                        235 N. Edgeworth Street
                        P.O. Box 540
                        Greensboro, NC 27401
                        Telephone: (336) 478-1146
                        Facsimile: (336) 478-1145
                        jmf@crlaw.com
                        bcl@crlaw.com
Continental Insurance   GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia    Maria Aprile Sawczuk (DE #3320)
Casualty Company        501 Silverside Road
(Appellants)            Wilmington, DE 19809
                        302-444-6710
                        marias@goldmclaw.com

                        -and-

                        LOEB & LOEB LLP
                        Laura McNally (pro hac vice)
                        Emily Stone (pro hac vice)
                        321 N. Clark Street, Suite 2300
                        Chicago, IL 60654
                        312-464-3155
                        lmcnally@loeb.com
                        estone@loeb.com
Gemini Insurance        WERB & SULLIVAN
Company                 LEGAL ARTS BUILDING
(Appellant)             Brian A. Sullivan (No. 2098)
                        1225 N. King Street
                        Suite 600
                        Wilmington, Delaware 19801


                                         6


                                      A00415
      Case: 23-1664      Document: 62-1       Page: 440    Date Filed: 07/24/2023


                         Telephone: (302) 652-1100
                         Cell: (302) 757-9932
                         Facsimile: (302) 652-1111
                         Email: bsullivan@werbsullivan.com

                         GIEGER LABORDE & LAPEROUOSE, LLC
                         John E.W. Baay II (pro hac vice)
                         701 Poydras Street
                         Suite 4800
                         New Orleans, LA 70139
                         Tel.: 504-561-0400
                         Fax: 504-561-1011
                         Email: jbaay@glllaw.com

                         -and-

                         KIERNAN TREBACH LLP
                         William H. White Jr (pro hac vice)
                         1233 20th Street, NW
                         8th Floor
                         Washington, DC 20036
                         Tel.: 202-712-7000
                         Fax: 202-712-7100
                         Email: wwhite@kiernantrebach.com
General Star Indemnity   SMITH, KATZENSTEIN & JENKINS LLP
Company                  Kathleen M. Miller (DE Bar No. 2898)
(Appellant)              1000 West Street, Suite 501
                         P.O. Box 410
                         Wilmington, DE 19899
                         Telephone: (302) 652-8400
                         Email: kmiller@skjlaw.com

                         -and-

                         WILEY REIN LLP
                         Mary E. Borja (pro hac vice)
                         Gary P. Seligman (pro hac vice)
                         Ashley L. Criss (pro hac vice)
                         2050 M Street NW
                         Washington, DC 20036
                         Phone: (202) 719-7000
                         Email: mborja@wiley.law
                         gseligman@wiley.law
                         acriss@wiley.law
Great American           BODELL BOVÉ, LLC
Assurance                Bruce W. McCullough (No. 3112)


                                          7


                                      A00416
       Case: 23-1664         Document: 62-1       Page: 441       Date Filed: 07/24/2023


Company, f/k/a               1225 N. King Street, Suite 1000
Agricultural Insurance       Wilmington, Delaware 19801-3250
Company; Great               Telephone: (302) 655-6749
American E&S Insurance       bmccullough@bodellbove.com
Company, f/k/a
Agricultural Excess and      -and-
Surplus Insurance
Company; and Great           CLYDE & CO US LLP
American E&S Insurance       Bruce D. Celebrezze (pro hac vice)
Company                      150 California Street | 15th Floor
(Appellants)                 San Francisco, California 94111
                             Telephone: (415) 365-9800
                             Facsimile: (415) 365-9801
                             bruce.celebrezze@clydeco.us

                             CLYDE & CO US LLP
                             Konrad R. Krebs (pro hac vice)
                             340 Mt. Kemble Avenue | Suite 300
                             Morristown, NJ 07960
                             Telephone: (973) 210-6700
                             Facsimile: (973) 210-6701
                             konrad.krebs@clydeco.us

                             -and-

                             DAVID CHRISTIAN ATTORNEYS LLC
                             David Christian (pro hac vice)
                             105 W. Madison St., Suite 1400
                             Chicago, Illinois 60602
                             Telephone: (312) 282-5282
                             dchristian@dca.law
Indian Harbor Insurance      SMITH, KATZENSTEIN
Company, on behalf of        & JENKINS LLP
itself and as successor in   Kathleen M. Miller (No. 2898)
interest to Catlin           1000 West Street, Suite 1501
Specialty Insurance          P.O. Box 410
Company                      Wilmington, DE 19899 [Courier 19801]
(Appellant)                  Telephone: (302) 652-8400
                             Facsimile: (302) 652-8405
                             kmiller@skjlaw.com

                             and

                             MOUND COTTON WOLLAN & GREENGRASS LLP
                             Lloyd A. Gura (pro hac vice)
                             Pamela J. Minetto (pro hac vice)



                                              8


                                          A00417
      Case: 23-1664       Document: 62-1       Page: 442    Date Filed: 07/24/2023


                         One New York Plaza 44th Floor
                         New York, NY 10004
                         Tel: (212) 804-4282
                         lgura@moundcotton.com
                         pminetto@moundcotton.com
Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
Casualty Insurance       222 Delaware Avenue
Company, Liberty         Suite 1500
Insurance Underwriters,  Wilmington, DE 19801
Inc. and Liberty Surplus Telephone: (302) 888-0600
Insurance Corporation    khill@svglaw.com
(Appellants)
                         -and-

                          CHOATE, HALL & STEWART LLP
                          Douglas R. Gooding (pro hac vice)
                          Jonathan D. Marshall (pro hac vice)
                          Two International Place
                          Boston, MA 02110
                          Telephone: (617) 248-5000
                          dgooding@choate.com
                          jmarshall@choate.com

                          -and-

                          MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                          PC
                          Kim V. Marrkand (pro hac vice)
                          One Financial Center
                          Boston, MA 02111
                          Telephone: (617) 542-6000
                          kvmarrkand@mintz.com
Munich Reinsurance        DILWORTH PAXSON LLP
America, Inc., formerly   Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-     704 N. King Street, Suite 500
Insurance Company         P.O. Box 1031
(Appellant)               Wilmington, DE 19899-1031
                          (302) 571-8867 (telephone)
                          (302) 351-8735 (facsimile)
                          tweaver@dilworthlaw.com

                          -and-

                          DILWORTH PAXSON LLP
                          William E. McGrath, Jr. (pro hac vice)


                                           9


                                       A00418
      Case: 23-1664      Document: 62-1        Page: 443     Date Filed: 07/24/2023


                         2 Research Way, Suite 103
                         Princeton, NJ 08540
                         (609) 924-6000 (telephone)
                         (215) 893-8537 (facsimile)
                         wmcgrath@dilworthlaw.com
Traders and Pacific      COZEN O’CONNOR
Insurance Company,       Marla S. Benedek (No. 6638)
Endurance American       1201 N. Market Street, Suite 1001
Specialty Insurance      Wilmington, DE 19801
Company, and             Telephone: (302) 295-2024
Endurance American       Facsimile: (302) 250-4498
Insurance Company        mbenedek@cozen.com
(Appellants)
Old Republic Insurance   MORRIS JAMES LLP
Company                  Stephen M. Miller (No. 2610)
(Appellant)              Carl N. Kunz, III (No. 3201)
                         500 Delaware Avenue, Suite 1500
                         Wilmington, Delaware 19801
                         Telephone: (302) 888-6800
                         Facsimile: (302) 571-1750
                         smiller@morrisjames.com
                         ckunz@morrisjames.com

                         -and-

                        FOX SWIBEL LEVIN & CARROLL LLP
                        Margaret M. Anderson (pro hac vice)
                        Ryan T. Schultz (pro hac vice)
                        Adam A. Hachikian (pro hac vice)
                        Kenneth M. Thomas (pro hac vice)
                        200 W. Madison Street, Suite 3000
                        Chicago, Illinois 60606
                        Telephone: (312) 224-1200
                        Facsimile: (312) 224-1201
                        panderson@foxswibel.com
                        rschultz@foxswibel.com
                        ahachikian@foxswibel.com
                        kthomas@foxswibel.com
Travelers Casualty and  REGER RIZZO & DARNALL LLP
Surety Company, Inc.    Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty & 1521 Concord Pike Suite 305
Surety Company), St.    Brandywine Plaza West
Paul Surplus Lines      Wilmington DE 19803
Insurance Company and Telephone: (302) 477-7100
Gulf Insurance Company Facsimile: (302) 652-3620


                                          10


                                      A00419
      Case: 23-1664      Document: 62-1        Page: 444      Date Filed: 07/24/2023


(Appellants)             lrizzo@regerlaw.com
Lujan Claimants          LOIZIDES, P.A.
                         Christopher D. Loizides (No. 3968)
(Appellants)             1225 North King Street, Suite 800
                         Wilmington, DE 19801
                         Telephone: (302) 654-0248
                         Loizides@loizides.com

                         -and-

                         LUJAN & WOLFF LLP
                         Delia Lujan Wolff (pro hac vice)
                         Suite 300, DNA Bldg.
                         238 Archbishop Flores St.
                         Hagatna, Guam 96910
                         Telephone: (671) 477-8064/5
                         dslwolff@lawguam.com
Dumas & Vaughn           GELLERT SCALI BUSENKELL & BROWN LLC
Claimants                Charles J. Brown, III (No. 3368)
(Appellants)             1201 N. Orange St., 3rd Floor
                         Wilmington, DE 19801
                         Telephone: (302) 425-5813
                         cbrown@gsbblaw.com

                         -and-

                         DUMAS & VAUGHN, LLC
                         Gilion C. Dumas (pro hac vice)
                         3835 NE Hancock Street, Suite GLB
                         Portland, OR 97212
                         Telephone: (503) 616-5007
                         gilion@dumasandvaughn.com
Boy Scouts of America,   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Delaware BSA, LLC        Derek C. Abbott (No. 3376)
(Debtors/Appellees and   Andrew R. Remming (No. 5120)
Debtors in Possession)   Paige N. Topper (No. 6470)
                         1201 North Market Street, 16th Floor
                         P.O. Box 1347
                         Wilmington, Delaware 19899-1347
                         Telephone: (302) 658-9200
                         dabbott@morrisnichols.com
                         aremming@morrisnichols.com
                         ptopper@morrisnichols.com

                         -and-




                                          11


                                      A00420
      Case: 23-1664   Document: 62-1        Page: 445   Date Filed: 07/24/2023


                      WHITE & CASE LLP
                      Jessica C. Lauria (pro hac vice)
                      Glenn M. Kurtz (pro hac vice)
                      1221 Avenue of the Americas
                      New York, New York 10020
                      Telephone: (212) 819-8200
                      Email: jessica.lauria@whitecase.com
                      gkurtz@whitecase.com

                      -and-

                      WHITE & CASE LLP
                      Michael C. Andolina
                      Matthew E. Linder
                      Laura E. Baccash
                      Blair M. Warner
                      111 South Wacker Drive
                      Chicago, Illinois 60606
                      Telephone: (312) 881-5400
                      mandolina@whitecase.com
                      mlinder@whitecase.com
                      laura.baccash@whitecase.com
                      blair.warner@whitecase.com

                      -and-

                      WHITE & CASE LLP
                      Ronald K. Gorsich
                      Doah Kim
                      555 South Flower Street, Suite 2700
                      Los Angeles, CA 90071
                      Telephone: (213) 620-7700
                      rgorsich@whitecase.com
                      doah.kim@whitecase.com
Tort Claimants’       PACHULSKI STANG ZIEHL & JONES LLP
Committee             Richard M. Pachulski (pro hac vice)
(Appellee)            Alan J. Kornfeld (pro hac vice)
                      Debra I. Grassgreen (pro hac vice)
                      Iain A.W. Nasatir (pro hac vice)
                      James E. O’Neill (No. 4042)
                      919 North Market Street, 17th Floor
                      P.O. Box 8705
                      Wilmington, DE 19899-8705 (Courier 19801)
                      Telephone: (302) 652-4100
                      Fax: (302) 652-4400
                      Email: rpachulski@pszjlaw.com
                      akornfeld@pszjlaw.com


                                       12


                                   A00421
      Case: 23-1664   Document: 62-1        Page: 446   Date Filed: 07/24/2023


                      dgrassgreen@pszjlaw.com
                      inasatir@pszjlaw.com
                      joneill@pszjlaw.com
Coalition of Abused   MONZACK MERSKY AND BROWDER, P.A.
Scouts for Justice    Rachel B. Mersky (No. 2049)
(Appellee)            1201 North Orange Street, Suite 400
                      Wilmington, Delaware 19801
                      Telephone: (302) 656-8162
                      Fax: (302) 656-2769
                      Email: rmersky@monlaw.com

                      -and-

                      BROWN RUDNICK LLP
                      David J. Molton, Esq. (pro hac vice)
                      Eric R. Goodman, Esq. (pro hac vice)
                      Seven Times Square
                      New York, NY 10036
                      Telephone: (212) 209-4800
                      Fax: (212) 209-4801
                      Email: dmolton@brownrudnick.com
                      egoodman@brownrudnick.com

                      -and-

                      BROWN RUDNICK LLP
                      Sunni P. Beville, Esq. (pro hac vice)
                      Tristan G. Axelrod, Esq. (pro hac vice)
                      One Financial Center
                      Boston, MA 02111
                      Telephone: (617) 856-8200
                      Fax: (617) 856-8201
                      Email: sbeville@brownrudnick.com
                      taxelrod@brownrudnick.com
Future Claimants’     YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellee)            Robert S. Brady (No. 2847)
                      Edwin J. Harron (No. 3396)
                      Kenneth J. Enos (No. 4544)
                      Ashley E. Jacobs (No. 5635)
                      Rodney Square
                      1000 North King Street
                      Wilmington, Delaware 19801
                      Telephone: (302) 571-6600
                      Fax: (302) 571-1253
                      Email: rbrady@ycst.com


                                       13


                                   A00422
      Case: 23-1664     Document: 62-1        Page: 447   Date Filed: 07/24/2023


                        eharron@ycst.com
                        kenos@ycst.com
                        ajacobs@ycst.com

                        -and-

                        GILBERT LLP
                        Kami E. Quinn (pro hac vice)
                        Rachel H. Jennings (pro hac vice)
                        Kyle Y. Dechant (pro hac vice)
                        December L. Huddleston (pro hac vice)
                        700 Pennsylvania Ave, SE
                        Suite 400
                        Washington, DC 20003
                        Telephone: (202) 772-2200
                        Fax: (202) 772-3333
                        Email: quinnk@gilbertlegal.com
                        jenningsr@gilbertlegal.com
                        dechantk@gilbertlegal.com
                        huddlestond@gilbertlegal.com
The Zalkin Law Firm,    KTBS LAW LLP
P.C. and Pfau Cochran   Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC     Daniel J. Bussel (pro hac vice)
(Appellees)             Robert J. Pfister (pro hac vice)
                        Sasha M. Gurvitz (pro hac vice)
                        1801 Century Park East, Twenty-Sixth Floor
                        Los Angeles, California 90067
                        Telephone: (310) 407-4000
                        Fax: (310) 407-9090
                        Email: tpatterson@ktbslaw.com
                        dbussel@ktbslaw.com
                        rpfister@ktbslaw.com
                        sgurvitz@ktbslaw.com

                        -and-

                        BIELLI & KLAUDER, LLC
                        David M. Klauder, Esquire (No. 5769)
                        1204 N. King Street
                        Wilmington, DE 19801
                        Telephone: (302) 803-4600
                        Fax: (302) 397-2557
                        Email: dklauder@bk-legal.com
Hartford Accident and   BAYARD, P.A.
Indemnity Company,      Erin R. Fay (No. 5268)
First State Insurance   Gregory J. Flasser (No. 6154)


                                         14


                                     A00423
      Case: 23-1664        Document: 62-1        Page: 448    Date Filed: 07/24/2023


Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395
(Appellees)                Email: efay@bayardlaw.com
                           gflasser@bayardlaw.com

                           -and-

                           RUGGERI PARKS WEINBERG LLP
                           James P. Ruggeri (pro hac vice)
                           Joshua D. Weinberg (pro hac vice)
                           1875 K Street, N.W., Suite 600
                           Washington, D.C. 20006-1251
                           Telephone: (202) 469-7750
                           Fax: (202) 469-7751
                           jruggeri@ruggerilaw.com
                           jweinberg@ruggerilaw.com

                           -and-

                           WILMER CUTLER PICKERING HALE
                           AND DORR LLP
                           Philip D. Anker (pro hac vice)
                           7 World Trade Center
                           250 Greenwich Street
                           New York, N.Y. 10007
                           Telephone: (212) 230-8890
                           Fax: (212) 230-8888
                           philip.anker@wilmerhale.com

                           Joel Millar (pro hac vice)
                           1875 Pennsylvania Avenue N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 663-6000
                           Fax: (202) 663-6363
                           joel.millar@wilmerhale.com
Century Indemnity          STAMOULIS & WEINBLATT LLC
Company, as successor      Stamatios Stamoulis (No. 4606)
to CCI Insurance           800 N. West Street
Company, as successor      Third Floor Wilmington, Delaware 19801
to Insurance Company of    Telephone: 302 999 1540
North America and          Fax: 302 762 1688
Indemnity Insurance        stamoulis@swdelaw.com
Company of North
America                    -and-



                                            15


                                        A00424
      Case: 23-1664      Document: 62-1        Page: 449    Date Filed: 07/24/2023


(Appellees)
                         O’MELVENY & MYERS LLP
                         Tancred Schiavoni (pro hac vice)
                         Times Square Tower
                         7 Times Square
                         New York, New York 10036-6537
                         Telephone: (212) 326-2000
                         Fax: (212) 326-2061
                         tschiavoni@omm.com

                         O’MELVENY & MYERS LLP
                         Stephen Warren (pro hac vice)
                         400 South Hope Street
                         Los Angeles, California 90071
                         Telephone: (213) 430-6000
                         Fax: (213) 430-6407
                         swarren@omm.com

                         O’MELVENY & MYERS LLP
                         Jonathan D. Hacker (pro hac vice)
                         1625 Eye Street, N.W.
                         Washington, D.C. 20006
                         Telephone: (202) 383-5300
                         jhacker@omm.com
Federal Insurance        STAMOULIS & WEINBLATT LLC
Company and              Stamatios Stamoulis (No. 4606)
Westchester Fire         8000 N. West Street, Third Floor
Insurance Company        Wilmington, Delaware 19801
(Appellees)              Telephone: (302) 999-1540
                         stamoulis@swdelaw.com

                         -and-

                         SIMPSON THATCHER & BARTLETT LLP
                         David Elbaum (pro hac vice)
                         425 Lexington Avenue
                         New York, New York 10017
                         Telephone: (212) 455-2000
                         david.elbaum@stblaw.com
American Zurich          TYBOUT, REDFEARN & PELL
Insurance Company,       Robert D. Cecil, Jr. (No. 5317)
American Guarantee       501 Carr Road, Suite 300
Insurance Company, and   Wilmington, Delaware 19899
Steadfast Insurance      Telephone: (302) 658-6901
Company                  Email: rcecil@trplaw.com




                                          16


                                      A00425
      Case: 23-1664        Document: 62-1        Page: 450   Date Filed: 07/24/2023


(Appellees)                -and-

                           CROWELL & MORING LLP
                           Mark D. Plevin (pro hac vice)
                           Kevin D. Cacabelos (pro hac vice)
                           Three Embarcadero Center, 26th Floor
                           San Francisco, California 94111
                           Telephone: (415) 986-2800
                           Email: mplevin@crowell.com
                           kcacabelos@crowell.com

                           Tacie H. Yoon (pro hac vice)
                           Rachel A. Jankowski (pro hac vice)
                           1001 Pennsylvania Ave., N.W.
                           Washington, D.C. 20004
                           Telephone: (202) 624-2500
                           Email: tyoon@crowell.com
                           rjankowski@crowell.com

Clarendon National         BALLARD SPAHR LLP
Insurance Company, as      Matthew G. Summers (No. 5533)
successor in interest by   Chantelle D. McClamb (No. 5978)
merger to Clarendon        919 N. Market Street, 11th Floor
America Insurance          Wilmington, Delaware 19801-3034
Company; River Thames      Telephone: (302) 252-4428
Insurance Company          Fax: (302) 252-4466
Limited (as successor in   Email: summersm@ballardspahr.com
interest to Unionamerica   mcclamb@ballardspahr.com
Insurance Company
Limited, on its own        -and-
behalf and in turn as
successor to St.           STEPTOE & JOHNSON LLP
Katherine Insurance        Harry Lee (pro hac vice)
Company Limited); and      John O’Connor (pro hac vice)
Zurich American            1330 Connecticut Avenue NW
Insurance Company, as      Washington, DC 20036
successor to Maryland      Telephone: (202) 429-8078
Casualty Company,          Fax: (202) 429-3902
Zurich Insurance           Email: hlee@steptoe.com
Company, and Maryland      joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of        DLA PIPER, LLP (US)
Local Councils of the      R. Craig Martin (No. 5032)



                                            17


                                        A00426
           Case: 23-1664    Document: 62-1       Page: 451        Date Filed: 07/24/2023


  Boy Scouts of America    1201 North Market Street, Suite 2100
  (Appellee)               Wilmington, Delaware 19801-1147
                           Telephone: (302) 468-5655
                           Email: craig.martin@dlapiper.com

                           -and-

                           WACHTELL, LIPTON, ROSEN & KATZ
                           Richard G. Mason (pro hac vice)
                           Douglas K. Mayer (pro hac vice)
                           Joseph C. Celentino (pro hac vice)
                           Mitchell S. Levy (pro hac vice)
                           51 West 52nd Street
                           New York, New York 10019
                           Telephone: (212) 403-1000
                           Email: RGMason@wlrk.com
                           DKMayer@wlrk.com
                           JCCelentino@wlrk.com
                           MSLevy@wlrk.com

Dated: April 10, 2023
Wilmington, Delaware
                                                By:     /s/ Brian A. Sullivan
                                                WERB & SULLIVAN
                                                Brian A. Sullivan
                                                LEGAL ARTS BUILDING
                                                1225 N. King Street
                                                Suite 600
                                                Wilmington, Delaware 19801
                                                Telephone: (302) 652-1100
                                                Facsimile: (302) 652-1111
                                                Email: bsullivan@werbsullivan.com

                                                -and-

                                                GIEGER LABORDE & LAPEROUOSE, LLC
                                                John E.W. Baay II (Pro Hac Vice)
                                                701 Poydras Street
                                                Suite 4800
                                                New Orleans, LA 70139
                                                Tel.: 504-561-0400
                                                Fax: 504-561-1011
                                                Email: jbaay@glllaw.com

                                                -and-

                                                KIERNAN TREBACH LLP



                                           18


                                           A00427
Case: 23-1664   Document: 62-1    Page: 452      Date Filed: 07/24/2023


                                      William H. White Jr (Pro Hac Vice)
                                      1233 20th Street, NW
                                      8th Floor
                                      Washington, DC 20036
                                      Tel.: 202-712-7000
                                      Fax: 202-712-7100
                                      Email: wwhite@kiernantrebach.com

                                      Attorneys for Gemini Insurance Company




                                 19


                            A00428
           Case: 23-1664           Document: 62-1            Page: 453         Date Filed: 07/24/2023


                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                            Chapter 11

                                                                  Bankruptcy Case
BOY SCOUTS OF AMERICA AND                                         No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                                  (Jointly Administered)
                          Debtors.



NATIONAL UNION FIRE INSURANCE CO.                                 Case No. 22-cv-01237-RGA1
OF PITTSBURGH, PA, et al.,

                          Appellants,

                 v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                          Appellees.


                                       CERTIFICATE OF SERVICE


         I, Brian A. Sullivan, hereby certify that on April 10, 2023, I caused a copy of the forgoing
 NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS FOR THE THIRD
 CIRCUIT, to be served on all registered users of the Court’s Case Management/Electronic Case
 File (“CM/ECF”) in this case via CM/ECF.




 1 Appellant’s bankruptcy appeal originally had the following caption and case number: Gemini Insurance Company
 v. Boy Scouts of America and Delaware BSA, LLC, No. 22-cv-01246-RGA. That action was consolidated with the
 above-captioned action on October 17, 2022 and the Court directed that “[a]ll further filings with this Court will be
 docketed under the Master Case Number.” See Order Granting Motion on Stipulation Regarding Appeals From Order
 Confirming Plan of Reorganization of Boy Scouts of America and Delaware BSA, LLC (D.I. 22).




                                                      A00429
  Case: 23-1664     Document: 62-1   Page: 454     Date Filed: 07/24/2023


Dated: April 10, 2023                 WERB & SULLIVAN

                                      /s/ Brian A. Sullivan
                                      Brian A. Sullivan (No. 2098)
                                      1225 N. King Street, Suite 600
                                      Wilmington, DE 19801
                                      Telephone: (302) 652-1100
                                      Facsimile: (302) 652-1111
                                      Email: bsullivan@werbsullivan.com

                                      Counsel to Appellant Gemini Insurance
                                      Company




                                        2

                                A00430
          Case: 23-1664        Document: 62-1       Page: 455        Date Filed: 07/24/2023


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

                                                        Bankruptcy Case
BOY SCOUTS OF AMERICA AND                               No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                        (Jointly Administered)
                      Debtors.



NATIONAL UNION FIRE INSURANCE CO.                       Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                      Appellants,

               v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                      Appellees.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellant General Star Indemnity Company appeals

 to the United States Court of Appeals for the Third Circuit from the final Order and accompanying

 Opinion of the United States District Court for the District of Delaware (Hon. Richard G.

 Andrews), entered     March 28, 2023 (D.I. 150, 151), among other things affirming the

 Supplemental Findings of Fact and Conclusions of Law and Order Confirming the Third Modified

 Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts

 of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion

 (Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the District of Delaware (Hon.

 Laurie S. Silverstein), and all other orders, decisions, and opinions subsumed therein.




                                              A00431
          Case: 23-1664       Document: 62-1         Page: 456   Date Filed: 07/24/2023


       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000
                               Email: mrosenthal@gibsondunn.com
                               mkarlan@gibsondunn.com
                               jhallowell@gibsondunn.com
                               kmartorana@gibsondunn.com
                               srokosky@gibsondunn.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Theodore J. Boutrous Jr. (pro hac vice)
                               Richard J. Doren (pro hac vice)
                               Blaine H. Evanson (pro hac vice)
                               333 South Grand Avenue
                               Los Angeles, California 90071
                               Telephone: (213) 229-7038
                               Email: rdoren@gibsondunn.com
                               bevanson@gibsondunn.com
                               tboutrous@gibsondunn.com

                               FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                               Susan N.K. Gummow
                               222 N. LaSalle St., Suite 1400
                               Chicago, Illinois 60601
                               Telephone: (312) 863-5000
                               Email: sgummow@fgppr.com
  Allianz Global Risks US      TROUTMAN PEPPER HAMILTON SANDERS LLP

                                                 2



                                                A00432
    Case: 23-1664   Document: 62-1    Page: 457     Date Filed: 07/24/2023


Insurance Company     David M. Fournier (DE Bar No. 2812)
(Appellant)           Marcy J. McLaughlin Smith (DE No. 6184)
                      Hercules Plaza
                      1313 Market Street
                      Suite 5100
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 404.885.3000
                      david.fournier@troutman.com
                      marcy.smith@troutman.com

                      -and-

                      PARKER, HUDSON, RAINER & DOBBS LLP
                      Harris B. Winsberg (pro hac vice)
                      Matthew G. Roberts (pro hac vice)
                      303 Peachtree Street NE
                      Suite 3600
                      Atlanta, GA 30308
                      Telephone: 404.420.4313
                      Facsimile: 404.522.8409
                      hwinsberg@phrd.com
                      mroberts@phrd.com

                      -and-

                      McDERMOTT WILL & EMERY LLP
                      Margaret H. Warner (pro hac vice)
                      Ryan S. Smethurst (pro hac vice)
                      Alex M. Spisak (pro hac vice)
                      The McDermott Building
                      500 North Capitol Street, NW
                      Washington, DC 20001-1531
                      Telephone: 202.756.8228
                      Facsimile: 202.756.8087
                      mwarner@mwe.com
                      rsmethurst@mwe.com
                      aspisak@mwe.com
National Surety       TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and       David M. Fournier (DE Bar No. 2812)
Interstate Fire &     Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company      Hercules Plaza, Suite 5100
(Appellants)          1313 Market Street
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 302.777.6500

                                     3



                                 A00433
   Case: 23-1664   Document: 62-1    Page: 458     Date Filed: 07/24/2023


                     Facsimile: 302.421.8390
                     david.fournier@troutman.com
                     marcy.smith@troutman.com

                     -and-

                     PARKER, HUDSON, RAINER & DOBBS LLP
                     Harris B. Winsberg (pro hac vice)
                     Matthew G. Roberts (pro hac vice)
                     303 Peachtree Street NE
                     Suite 3600
                     Atlanta, GA 30308
                     Telephone: 404.420.4313
                     Facsimile: 404.522.8409
                     hwinsberg@phrd.com
                     mroberts@phrd.com

                     -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com

                     HANGLEY ARONCHICK SEGAL
                     PUDLIN & SCHILLER
                     Ronald P. Schiller (pro hac vice)
                     Matthew A. Hamermesh (pro hac vice)
                     One Logan Square, 27th Floor
                     Philadelphia, PA 19103
                     T: (215) 568-6200
                     F: (215) 568-0300

                                    4



                                A00434
    Case: 23-1664    Document: 62-1     Page: 459      Date Filed: 07/24/2023


                       E: rschiller@hangley.com
                       mhamermesh@hangley.com
Argonaut Insurance      POST & SCHELL, P.C.
Company and Colony      Paul Logan (No. 3339)
Insurance Company       300 Delaware Avenue, Suite 1380
(Appellants)
                        Wilmington, DE 19801
                        Telephone: (302) 251-8856
                        Email: plogan@postschell.com

                        POST & SCHELL, P.C.
                        John C. Sullivan (pro hac vice)
                        Kathleen K. Kerns (pro hac vice)
                        Four Penn Center – 13th Floor
                        1600 John F. Kennedy Boulevard
                        Philadelphia, PA 19103
                        Telephone: (215) 587-1000
                        jsullivan@postschell.com
                       kkerns@postschell.com

                       -and-

                        IFRAH PLLC
                        George R. Calhoun (pro hac vice)
                        1717 Pennsylvania Avenue, N.W. Suite 650
                        Washington, DC 20006
                        Telephone: (202) 840-8758
                       george@ifrahlaw.com
Arrowood Indemnity     JOYCE, LLC
Company                Michael J. Joyce (No. 4563)
(Appellant)            1225 King Street, Suite 800
                       Wilmington, DE 19801
                       Telephone: (302) 388-1944
                       Email: mjoyce@mjlawoffices.com

                       -and-

                       COUGHLIN MIDLIGE & GARLAND, LLP
                       Kevin Coughlin (pro hac vice)
                       Lorraine Armenti (pro hac vice)
                       Michael Hrinewski (pro hac vice)
                       350 Mount Kemble Avenue
                       PO Box 1917
                       Morristown, NJ 07962
                       Telephone: (973) 267-0058
                       Facsimile: 973-267-6442
                       kcoughlin@cmg.law

                                        5



                                   A00435
    Case: 23-1664       Document: 62-1    Page: 460     Date Filed: 07/24/2023


                          larmenti@cmg.law
                          mhrinewski@cmg.law

                          -and-

                          CARRUTHERS & ROTH, P.A.
                          Britton C. Lewis
                          John M. Flynn
                          235 N. Edgeworth Street
                          P.O. Box 540
                          Greensboro, NC 27401
                          Telephone: (336) 478-1146
                          Facsimile: (336) 478-1145
                          jmf@crlaw.com
                          bcl@crlaw.com
Continental Insurance     GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia      Maria Aprile Sawczuk (DE #3320)
Casualty Company          501 Silverside Road
(Appellants)              Wilmington, DE 19809
                          302-444-6710
                          marias@goldmclaw.com

                          -and-

                          LOEB & LOEB LLP
                          Laura McNally (pro hac vice)
                          Emily Stone (pro hac vice)
                          321 N. Clark Street, Suite 2300
                          Chicago, IL 60654
                          312-464-3155
                          lmcnally@loeb.com
                          estone@loeb.com
Gemini Insurance          WERB & SULLIVAN
Company                   LEGAL ARTS BUILDING
(Appellant)               Brian A. Sullivan (No. 2098)
                          1225 N. King Street
                          Suite 600
                          Wilmington, Delaware 19801
                          Telephone: (302) 652-1100
                          Cell: (302) 757-9932
                          Facsimile: (302) 652-1111
                          Email: bsullivan@werbsullivan.com

                          GIEGER LABORDE & LAPEROUOSE, LLC
                          John E.W. Baay II (pro hac vice)
                          701 Poydras Street

                                          6



                                     A00436
     Case: 23-1664       Document: 62-1    Page: 461   Date Filed: 07/24/2023


                           Suite 4800
                           New Orleans, LA 70139
                           Tel.: 504-561-0400
                           Fax: 504-561-1011
                           Email: jbaay@glllaw.com

                           -and-

                          KIERNAN TREBACH LLP
                          William H. White Jr (pro hac vice)
                          1233 20th Street, NW
                          8th Floor
                          Washington, DC 20036
                          Tel.: 202-712-7000
                          Fax: 202-712-7100
                          Email: wwhite@kiernantrebach.com
General Star Indemnity    SMITH, KATZENSTEIN & JENKINS LLP
Company                   Kathleen M. Miller (DE Bar No. 2898)
(Appellant)               1000 West Street, Suite 501
                          P.O. Box 410
                          Wilmington, DE 19899
                          Telephone: (302) 652-8400
                          Email: kmiller@skjlaw.com

                          -and-

                        WILEY REIN LLP
                        Mary E. Borja (pro hac vice)
                        Gary P. Seligman (pro hac vice)
                        Ashley L. Criss (pro hac vice)
                        2050 M Street NW
                        Washington, DC 20036
                        Phone: (202) 719-7000
                        Email: mborja@wiley.law
                        gseligman@wiley.law
                        acriss@wiley.law
Great American          BODELL BOVÉ, LLC
Assurance               Bruce W. McCullough (No. 3112)
Company, f/k/a          1225 N. King Street, Suite 1000
Agricultural Insurance  Wilmington, Delaware 19801-3250
Company; Great          Telephone: (302) 655-6749
American E&S Insurance bmccullough@bodellbove.com
Company, f/k/a
Agricultural Excess and -and-
Surplus Insurance
Company; and Great      CLYDE & CO US LLP

                                          7



                                      A00437
     Case: 23-1664           Document: 62-1    Page: 462      Date Filed: 07/24/2023


American E&S Insurance Bruce D. Celebrezze (pro hac vice)
Company                150 California Street | 15th Floor
(Appellants)           San Francisco, California 94111
                       Telephone: (415) 365-9800
                       Facsimile: (415) 365-9801
                       bruce.celebrezze@clydeco.us

                               CLYDE & CO US LLP
                               Konrad R. Krebs (pro hac vice)
                               340 Mt. Kemble Avenue | Suite 300
                               Morristown, NJ 07960
                               Telephone: (973) 210-6700
                               Facsimile: (973) 210-6701
                               konrad.krebs@clydeco.us

                               -and-

                               DAVID CHRISTIAN ATTORNEYS LLC
                               David Christian (pro hac vice)
                               105 W. Madison St., Suite 1400
                               Chicago, Illinois 60602
                               Telephone: (312) 282-5282
                               dchristian@dca.law
Indian Harbor Insurance        SMITH, KATZENSTEIN
Company, on behalf of          & JENKINS LLP
itself and as successor in     Kathleen M. Miller (No. 2898)
interest to Catlin             1000 West Street, Suite 1501
Specialty Insurance            P.O. Box 410
Company                        Wilmington, DE 19899 [Courier 19801]
(Appellant)                    Telephone: (302) 652-8400
                               Facsimile: (302) 652-8405
                               kmiller@skjlaw.com

                               and

                         MOUND COTTON WOLLAN & GREENGRASS LLP
                         Lloyd A. Gura (pro hac vice)
                         Pamela J. Minetto (pro hac vice)
                         One New York Plaza 44th Floor
                         New York, NY 10004
                         Tel: (212) 804-4282
                         lgura@moundcotton.com
                         pminetto@moundcotton.com
Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
Casualty Insurance       222 Delaware Avenue

                                               8



                                          A00438
      Case: 23-1664        Document: 62-1        Page: 463    Date Filed: 07/24/2023


Company, Liberty            Suite 1500
Insurance Underwriters,     Wilmington, DE 19801
Inc. and Liberty Surplus    Telephone: (302) 888-0600
Insurance Corporation       khill@svglaw.com
(Appellants)
                            -and-

                            CHOATE, HALL & STEWART LLP
                            Douglas R. Gooding (pro hac vice)
                            Jonathan D. Marshall (pro hac vice)
                            Two International Place
                            Boston, MA 02110
                            Telephone: (617) 248-5000
                            dgooding@choate.com
                            jmarshall@choate.com

                            -and-

                            MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                            PC
                            Kim V. Marrkand (pro hac vice)
                            One Financial Center
                            Boston, MA 02111
                            Telephone: (617) 542-6000
                            kvmarrkand@mintz.com
Munich Reinsurance          DILWORTH PAXSON LLP
America, Inc., formerly     Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-       704 N. King Street, Suite 500
Insurance Company           P.O. Box 1031
(Appellant)                 Wilmington, DE 19899-1031
                            (302) 571-8867 (telephone)
                            (302) 351-8735 (facsimile)
                            tweaver@dilworthlaw.com

                            -and-

                            DILWORTH PAXSON LLP
                            William E. McGrath, Jr. (pro hac vice)
                            2 Research Way, Suite 103
                            Princeton, NJ 08540
                            (609) 924-6000 (telephone)
                            (215) 893-8537 (facsimile)
                            wmcgrath@dilworthlaw.com
Traders and Pacific         COZEN O’CONNOR
Insurance Company,          Marla S. Benedek (No. 6638)
Endurance American          1201 N. Market Street, Suite 1001

                                             9



                                         A00439
    Case: 23-1664        Document: 62-1    Page: 464     Date Filed: 07/24/2023


Specialty Insurance        Wilmington, DE 19801
Company, and               Telephone: (302) 295-2024
Endurance American         Facsimile: (302) 250-4498
Insurance Company          mbenedek@cozen.com
(Appellants)
Old Republic Insurance     MORRIS JAMES LLP
Company                    Stephen M. Miller (No. 2610)
(Appellant)                Carl N. Kunz, III (No. 3201)
                           500 Delaware Avenue, Suite 1500
                           Wilmington, Delaware 19801
                           Telephone: (302) 888-6800
                           Facsimile: (302) 571-1750
                           smiller@morrisjames.com
                           ckunz@morrisjames.com

                           -and-

                        FOX SWIBEL LEVIN & CARROLL LLP
                        Margaret M. Anderson (pro hac vice)
                        Ryan T. Schultz (pro hac vice)
                        Adam A. Hachikian (pro hac vice)
                        Kenneth M. Thomas (pro hac vice)
                        200 W. Madison Street, Suite 3000
                        Chicago, Illinois 60606
                        Telephone: (312) 224-1200
                        Facsimile: (312) 224-1201
                        panderson@foxswibel.com
                        rschultz@foxswibel.com
                        ahachikian@foxswibel.com
                        kthomas@foxswibel.com
Travelers Casualty and  REGER RIZZO & DARNALL LLP
Surety Company, Inc.    Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty & 1521 Concord Pike Suite 305
Surety Company), St.    Brandywine Plaza West
Paul Surplus Lines      Wilmington DE 19803
Insurance Company and Telephone: (302) 477-7100
Gulf Insurance Company Facsimile: (302) 652-3620
(Appellants)            lrizzo@regerlaw.com
Lujan Claimants         LOIZIDES, P.A.
                        Christopher D. Loizides (No. 3968)
(Appellants)            1225 North King Street, Suite 800
                        Telephone: (302) 654-0248
                        Loizides@loizides.com

                           -and-
                                          10



                                      A00440
    Case: 23-1664        Document: 62-1     Page: 465     Date Filed: 07/24/2023



                           LUJAN & WOLFF LLP
                           Delia Lujan Wolff
                           Suite 300, DNA Bldg.
                           238 Archbishop Flores St.
                           Hagatna, Guam 96910
                           Telephone: (671) 477-8064/5
                           dslwolff@lawguam.com
Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
Claimants                  Charles J. Brown, III (No. 3368)
(Appellants)               1201 N. Orange St., 3rd Floor
                           Wilmington, DE 19801
                           Telephone: (302) 425-5813
                           cbrown@gsbblaw.com

                           -and-

                           DUMAS & VAUGHN, LLC
                           Gilion C. Dumas
                           3835 NE Hancock Street, Suite GLB
                           Portland, OR 97212
                           Telephone: (503) 616-5007
                           gilion@dumasandvaughn.com
Boy Scouts of America,     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Delaware BSA, LLC          Derek C. Abbott (No. 3376)
(Debtors/Appellees and     Andrew R. Remming (No. 5120)
Debtors in Possession)     Paige N. Topper (No. 6470)
                           1201 North Market Street, 16th Floor
                           P.O. Box 1347
                           Wilmington, Delaware 19899-1347
                           Telephone: (302) 658-9200
                           dabbott@morrisnichols.com
                           aremming@morrisnichols.com
                           ptopper@morrisnichols.com

                           – and –

                           WHITE & CASE LLP
                           Jessica C. Lauria (pro hac vice)
                           Glenn M. Kurtz (pro hac vice)
                           1221 Avenue of the Americas
                           New York, New York 10020
                           Telephone: (212) 819-8200
                           Email: jessica.lauria@whitecase.com
                           gkurtz@whitecase.com


                                           11



                                      A00441
    Case: 23-1664     Document: 62-1    Page: 466     Date Filed: 07/24/2023



                        – and –

                        WHITE & CASE LLP
                        Michael C. Andolina
                        Matthew E. Linder
                        Laura E. Baccash
                        Blair M. Warner
                        111 South Wacker Drive
                        Chicago, Illinois 60606
                        Telephone: (312) 881-5400
                        mandolina@whitecase.com
                        mlinder@whitecase.com
                        laura.baccash@whitecase.com
                        blair.warner@whitecase.com

                        – and –

                        WHITE & CASE LLP
                        Ronald K. Gorsich
                        Doah Kim
                        555 South Flower Street, Suite 2700
                        Los Angeles, CA 90071
                        Telephone: (213) 620-7700
                        rgorsich@whitecase.com
                        doah.kim@whitecase.com
Tort Claimants’         PACHULSKI STANG ZIEHL & JONES LLP
Committee               Richard M. Pachulski (pro hac vice)
(Appellee)              Alan J. Kornfeld (pro hac vice)
                        Debra I. Grassgreen (pro hac vice)
                        Iain A.W. Nasatir (pro hac vice)
                        James E. O’Neill (No. 4042)
                        919 North Market Street, 17th Floor
                        P.O. Box 8705
                        Wilmington, DE 19899-8705 (Courier 19801)
                        Telephone: (302) 652-4100
                        Fax: (302) 652-4400
                        Email: rpachulski@pszjlaw.com
                        akornfeld@pszjlaw.com
                        dgrassgreen@pszjlaw.com
                        inasatir@pszjlaw.com
                        joneill@pszjlaw.com
Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.
Scouts for Justice      Rachel B. Mersky (No. 2049)
(Appellee)              1201 North Orange Street, Suite 400
                        Wilmington, Delaware 19801
                        Telephone: (302) 656-8162

                                       12



                                   A00442
    Case: 23-1664   Document: 62-1     Page: 467      Date Filed: 07/24/2023


                      Fax: (302) 656-2769
                      Email: rmersky@monlaw.com

                      –and–

                      BROWN RUDNICK LLP
                      David J. Molton, Esq. (pro hac vice)
                      Eric R. Goodman, Esq. (pro hac vice)
                      Seven Times Square
                      New York, NY 10036
                      Telephone: (212) 209-4800
                      Fax: (212) 209-4801
                      Email: dmolton@brownrudnick.com
                      egoodman@brownrudnick.com

                      –and–

                      BROWN RUDNICK LLP
                      Sunni P. Beville, Esq. (pro hac vice)
                      Tristan G. Axelrod, Esq. (pro hac vice)
                      One Financial Center
                      Boston, MA 02111
                      Telephone: (617) 856-8200
                      Fax: (617) 856-8201
                      Email: sbeville@brownrudnick.com
                      taxelrod@brownrudnick.com
Future Claimants’     YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellee)            Robert S. Brady (No. 2847)
                      Edwin J. Harron (No. 3396)
                      Kenneth J. Enos (No. 4544)
                      Ashley E. Jacobs (No. 5635)
                      Rodney Square
                      1000 North King Street
                      Wilmington, Delaware 19801
                      Telephone: (302) 571-6600
                      Fax: (302) 571-1253
                      Email: rbrady@ycst.com
                      eharron@ycst.com
                      kenos@ycst.com
                      ajacobs@ycst.com

                      -and-

                      GILBERT LLP
                      Kami E. Quinn (pro hac vice)

                                      13



                                 A00443
     Case: 23-1664      Document: 62-1      Page: 468     Date Filed: 07/24/2023


                           Rachel H. Jennings (pro hac vice)
                           Kyle Y. Dechant (pro hac vice)
                           December L. Huddleston (pro hac vice)
                           700 Pennsylvania Ave, SE
                           Suite 400
                           Washington, DC 20003
                           Telephone: (202) 772-2200
                           Fax: (202) 772-3333
                           Email: quinnk@gilbertlegal.com
                           jenningsr@gilbertlegal.com
                           dechantk@gilbertlegal.com
                           huddlestond@gilbertlegal.com
The Zalkin Law Firm,       KTBS LAW LLP
P.C. and Pfau Cochran      Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC        Daniel J. Bussel (pro hac vice)
(Appellees)                Robert J. Pfister (pro hac vice)
                           Sasha M. Gurvitz (pro hac vice)
                           1801 Century Park East, Twenty-Sixth Floor
                           Los Angeles, California 90067
                           Telephone: (310) 407-4000
                           Fax: (310) 407-9090
                           Email: tpatterson@ktbslaw.com
                           dbussel@ktbslaw.com
                           rpfister@ktbslaw.com
                           sgurvitz@ktbslaw.com

                           -and-

                           BIELLI & KLAUDER, LLC
                           David M. Klauder, Esquire (No. 5769)
                           1204 N. King Street
                           Wilmington, DE 19801
                           Telephone: (302) 803-4600
                           Fax: (302) 397-2557
                           Email: dklauder@bk-legal.com
Hartford Accident and      BAYARD, P.A.
Indemnity Company,         Erin R. Fay (No. 5268)
First State Insurance      Gregory J. Flasser (No. 6154)
Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395
(Appellees)                Email: efay@bayardlaw.com
                           gflasser@bayardlaw.com

                           -and-

                                           14



                                      A00444
    Case: 23-1664     Document: 62-1      Page: 469       Date Filed: 07/24/2023



                          RUGGERI PARKS WEINBERG LLP
                          James P. Ruggeri (pro hac vice)
                          Joshua D. Weinberg (pro hac vice)
                          1875 K Street, N.W., Suite 600
                          Washington, D.C. 20006-1251
                          Telephone: (202) 469-7750
                          Fax: (202) 469-7751

                          -and-

                          WILMER CUTLER PICKERING HALE
                          AND DORR LLP
                          Philip D. Anker (pro hac vice)
                          7 World Trade Center
                          250 Greenwich Street
                          New York, N.Y. 10007
                          Telephone: (212) 230-8890
                          Fax: (212) 230-8888

                          Joel Millar (pro hac vice)
                          1875 Pennsylvania Avenue N.W.
                          Washington, D.C. 20006
                          Telephone: (202) 663-6000
                          Fax: (202) 663-6363
Century Indemnity         STAMOULIS & WEINBLATT LLC
Company, as successor     Stamatios Stamoulis (No. 4606)
to CCI Insurance          800 N. West Street
Company, as successor     Third Floor Wilmington, Delaware 19801
to Insurance Company of   Telephone: 302 999 1540
North America and         Fax: 302 762 1688
Indemnity Insurance
Company of North          -and-
America
(Appellees)               O’MELVENY & MYERS LLP
                          Tancred Schiavoni (pro hac vice)
                          Times Square Tower
                          7 Times Square
                          New York, New York 10036-6537
                          Telephone: (212) 326-2000
                          Fax: (212) 326-2061

                          O’MELVENY & MYERS LLP
                          Stephen Warren (pro hac vice)
                          400 South Hope Street
                          Los Angeles, California 90071

                                         15



                                     A00445
    Case: 23-1664        Document: 62-1     Page: 470      Date Filed: 07/24/2023


                           Telephone: (213) 430-6000
                           Fax: (213) 430-6407

                           O’MELVENY & MYERS LLP
                           Jonathan D. Hacker (pro hac vice)
                           1625 Eye Street, N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 383-5300
Federal Insurance          STAMOULIS & WEINBLATT LLC
Company and                Stamatios Stamoulis (No. 4606)
Westchester Fire           8000 N. West Street, Third Floor
Insurance Company          Wilmington, Delaware 19801
(Appellees)                Telephone: (302) 999-1540

                           -and-

                           SIMPSON THATCHER & BARTLETT LLP
                           David Elbaum (pro hac vice)
                           425 Lexington Avenue
                           New York, New York 10017
                           Telephone: (212) 455-2000
American Zurich            TYBOUT, REDFEARN & PELL
Insurance Company,         Robert D. Cecil, Jr. (No. 5317)
American Guarantee         501 Carr Road, Suite 300
Insurance Company, and     Wilmington, Delaware 19899
Steadfast Insurance        Telephone: (302) 658-6901
Company                    Email: rcecil@trplaw.com
(Appellees)
                           -and-

                           CROWELL & MORING LLP
                           Mark D. Plevin (pro hac vice)
                           Kevin D. Cacabelos (pro hac vice)
                           Three Embarcadero Center, 26th Floor
                           San Francisco, California 94111
                           Telephone: (415) 986-2800
                           Email: mplevin@crowell.com
                           kcacabelos@crowell.com

                           Tacie H. Yoon (pro hac vice)
                           Rachel A. Jankowski (pro hac vice)
                           1001 Pennsylvania Ave., N.W.
                           Washington, D.C. 20004
                           Telephone: (202) 624-2500
                           Email: tyoon@crowell.com
                           rjankowski@crowell.com

                                           16



                                      A00446
     Case: 23-1664         Document: 62-1     Page: 471      Date Filed: 07/24/2023



Clarendon National           BALLARD SPAHR LLP
Insurance Company, as        Matthew G. Summers (No. 5533)
successor in interest by     Chantelle D. McClamb (No. 5978)
merger to Clarendon          919 N. Market Street, 11th Floor
America Insurance            Wilmington, Delaware 19801-3034
Company; River Thames        Telephone: (302) 252-4428
Insurance Company            Fax: (302) 252-4466
Limited (as successor in     Email: summersm@ballardspahr.com
interest to Unionamerica     mcclamb@ballardspahr.com
Insurance Company
Limited, on its own          -and-
behalf and in turn as
successor to St.             STEPTOE & JOHNSON LLP
Katherine Insurance          Harry Lee (pro hac vice)
Company Limited); and        John O’Connor (pro hac vice)
Zurich American              1330 Connecticut Avenue NW
Insurance Company, as        Washington, DC 20036
successor to Maryland        Telephone: (202) 429-8078
Casualty Company,            Fax: (202) 429-3902
Zurich Insurance             Email: hlee@steptoe.com
Company, and Maryland        joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of          DLA PIPER, LLP (US)
Local Councils of the        R. Craig Martin (No. 5032)
Boy Scouts of America        1201 North Market Street, Suite 2100
(Appellee)                   Wilmington, Delaware 19801-1147
                             Telephone: (302) 468-5655
                             Email: craig.martin@dlapiper.com

                             -and-

                             WACHTELL, LIPTON, ROSEN & KATZ
                             Richard G. Mason (pro hac vice)
                             Douglas K. Mayer (pro hac vice)
                             Joseph C. Celentino (pro hac vice)
                             Mitchell S. Levy (pro hac vice)
                             51 West 52nd Street
                             New York, New York 10019
                             Telephone: (212) 403-1000
                             Email: RGMason@wlrk.com
                             DKMayer@wlrk.com
                             JCCelentino@wlrk.com

                                             17



                                        A00447
          Case: 23-1664   Document: 62-1    Page: 472    Date Filed: 07/24/2023


                          MSLevy@wlrk.com



Dated: April 10, 2023
                                           SMITH, KATZENSTEIN & JENKINS
                                           LLP

                                           /s/ Kathleen M. Miller        _
                                           Kathleen M. Miller (No. 2898)
                                           1000 West Street, Suite 501
                                           P.O. Box 410
                                           Wilmington, DE 19899
                                           Telephone: (302) 652-8400
                                           Email: kmiller@skjlaw.com
                                           -and-
                                           WILEY REIN LLP
                                           Mary E. Borja (admitted pro hac vice)
                                           Gary P. Seligman (admitted pro hac vice)
                                           Ashley L. Criss (admitted pro hac vice)
                                           2050 M Street NW
                                           Washington, DC 20036
                                           Phone: (202) 719-7000
                                           Email: mborja@wiley.law
                                           gseligman@wiley.law
                                           acriss@wiley.law

                                           Attorneys for General Star Indemnity
                                           Company




                                       18



                                      A00448
          Case: 23-1664       Document: 62-1         Page: 473       Date Filed: 07/24/2023




                                 CERTIFICATE OF SERVICE

        I, Kathleen M. Miller, do hereby certify that, on this 10th day April 2023, a true and correct

copy of the foregoing NOTICE OF APPEAL TO THE UNITED STATES COURT OF APPEALS

FOR THE THIRD CIRCUIT was served via ECF on all parties who have signed up for electronic

filing in this case.




                                                   _/s/ Kathleen M. Miller________________
                                                   Kathleen M. Miller (DE No. 2898)




                                               A00449
    Case: 23-1664     Document: 62-1      Page: 474     Date Filed: 07/24/2023




                                       EXHIBIT A


George A. Davis                               Phillip C. Dublin
Latham & Watkins LLP                          Jason Rubin
885 Third Avenue                              Akin Gump Strauss Hauer & Feld LLP
New York, New York 10022                      1 Bryant Park
George.davis@lw.com                           New York, New York 10036
                                              pdublin@akingump.com
                                              jrubin@akingump.com

Ted A. Dillman                                Marty L. Brimmage, Jr.
Helena G. Tseregounis                         Lacy M. Lawrence
Latham & Watkins LLP                          Akin Gump Strauss Hauer & Feld LLP
355 South Grand Avenue, Suite 100             2300 N. Field Street, Suite 1800
Los Angeles, California 90071                 Dallas, Texas 75201
Ted.dillman@lw.com                            mbrimmage@akingump.com
Helena.tseregounis@lw.com                     llawrence@akingump.com

Michael R. Nestor                             Bill Bowden
Kara Hammond Coyle                            Michael DeBaeke
Betsy L. Feldman                              Ashby & Geddes
Young Conaway Stargatt & Taylor, LLP          500 Delaware Avenue
Rodney Square                                 P.O. Box 1150
1000 North King Street                        Wilmington, Delaware 19899
Wilmington, Delaware 19801                    wbowden@ashbygeddes.com
mnestor@ycst.com                              mdebaeke@ashbygeddes.com
kcoyle@ycst.com
bfeldman@ycst.com




Timothy J. Fox, Jr.
Office of the United States Trustee for the
District of Delaware
844 N. King Street
Wilmington, Delaware 19801
Timothy.fox@usdoj.gov




                                    A00450
Case: 23-1664   Document: 62-1   Page: 475   Date Filed: 07/24/2023




                            A00451
          Case: 23-1664       Document: 62-1        Page: 476        Date Filed: 07/24/2023


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

                                                        Bankruptcy Case
BOY SCOUTS OF AMERICA AND                               No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                        (Jointly Administered)
                      Debtors.



NATIONAL UNION FIRE INSURANCE CO.                       Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                      Appellants,

               v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                      Appellees.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that appellant Arrowood Indemnity Company appeals to

 the United States Court of Appeals for the Third Circuit from the final Order and accompanying

 Opinion of the United States District Court for the District of Delaware (Hon. Richard G.

 Andrews), entered     March 28, 2023 (D.I. 150, 151), among other things affirming the

 Supplemental Findings of Fact and Conclusions of Law and Order Confirming the Third Modified

 Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts

 of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion

 (Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the District of Delaware (Hon.

 Laurie S. Silverstein), and all other orders, decisions, and opinions subsumed therein.




                                              A00452
          Case: 23-1664       Document: 62-1         Page: 477   Date Filed: 07/24/2023


       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000
                               Email: mrosenthal@gibsondunn.com
                               mkarlan@gibsondunn.com
                               jhallowell@gibsondunn.com
                               kmartorana@gibsondunn.com
                               srokosky@gibsondunn.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Theodore J. Boutrous Jr. (pro hac vice)
                               Richard J. Doren (pro hac vice)
                               Blaine H. Evanson (pro hac vice)
                               333 South Grand Avenue
                               Los Angeles, California 90071
                               Telephone: (213) 229-7038
                               Email: rdoren@gibsondunn.com
                               bevanson@gibsondunn.com
                               tboutrous@gibsondunn.com

                               FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                               Susan N.K. Gummow
                               222 N. LaSalle St., Suite 1400
                               Chicago, Illinois 60601
                               Telephone: (312) 863-5000
                               Email: sgummow@fgppr.com
  Allianz Global Risks US      TROUTMAN PEPPER HAMILTON SANDERS LLP

                                                 2



                                                A00453
    Case: 23-1664   Document: 62-1    Page: 478     Date Filed: 07/24/2023


Insurance Company     David M. Fournier (DE Bar No. 2812)
(Appellant)           Marcy J. McLaughlin Smith (DE No. 6184)
                      Hercules Plaza
                      1313 Market Street
                      Suite 5100
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 404.885.3000
                      david.fournier@troutman.com
                      marcy.smith@troutman.com

                      -and-

                      PARKER, HUDSON, RAINER & DOBBS LLP
                      Harris B. Winsberg (pro hac vice)
                      Matthew G. Roberts (pro hac vice)
                      303 Peachtree Street NE
                      Suite 3600
                      Atlanta, GA 30308
                      Telephone: 404.420.4313
                      Facsimile: 404.522.8409
                      hwinsberg@phrd.com
                      mroberts@phrd.com

                      -and-

                      McDERMOTT WILL & EMERY LLP
                      Margaret H. Warner (pro hac vice)
                      Ryan S. Smethurst (pro hac vice)
                      Alex M. Spisak (pro hac vice)
                      The McDermott Building
                      500 North Capitol Street, NW
                      Washington, DC 20001-1531
                      Telephone: 202.756.8228
                      Facsimile: 202.756.8087
                      mwarner@mwe.com
                      rsmethurst@mwe.com
                      aspisak@mwe.com
National Surety       TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and       David M. Fournier (DE Bar No. 2812)
Interstate Fire &     Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company      Hercules Plaza, Suite 5100
(Appellants)          1313 Market Street
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 302.777.6500

                                     3



                                 A00454
   Case: 23-1664   Document: 62-1    Page: 479     Date Filed: 07/24/2023


                     Facsimile: 302.421.8390
                     david.fournier@troutman.com
                     marcy.smith@troutman.com

                     -and-

                     PARKER, HUDSON, RAINER & DOBBS LLP
                     Harris B. Winsberg (pro hac vice)
                     Matthew G. Roberts (pro hac vice)
                     303 Peachtree Street NE
                     Suite 3600
                     Atlanta, GA 30308
                     Telephone: 404.420.4313
                     Facsimile: 404.522.8409
                     hwinsberg@phrd.com
                     mroberts@phrd.com

                     -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com

                     HANGLEY ARONCHICK SEGAL
                     PUDLIN & SCHILLER
                     Ronald P. Schiller (pro hac vice)
                     Matthew A. Hamermesh (pro hac vice)
                     One Logan Square, 27th Floor
                     Philadelphia, PA 19103
                     T: (215) 568-6200
                     F: (215) 568-0300

                                    4



                                A00455
    Case: 23-1664    Document: 62-1     Page: 480      Date Filed: 07/24/2023


                       E: rschiller@hangley.com
                       mhamermesh@hangley.com
Argonaut Insurance      POST & SCHELL, P.C.
Company and Colony      Paul Logan (No. 3339)
Insurance Company       300 Delaware Avenue, Suite 1380
(Appellants)
                        Wilmington, DE 19801
                        Telephone: (302) 251-8856
                        Email: plogan@postschell.com

                        POST & SCHELL, P.C.
                        John C. Sullivan (pro hac vice)
                        Kathleen K. Kerns (pro hac vice)
                        Four Penn Center – 13th Floor
                        1600 John F. Kennedy Boulevard
                        Philadelphia, PA 19103
                        Telephone: (215) 587-1000
                        jsullivan@postschell.com
                       kkerns@postschell.com

                       -and-

                        IFRAH PLLC
                        George R. Calhoun (pro hac vice)
                        1717 Pennsylvania Avenue, N.W. Suite 650
                        Washington, DC 20006
                        Telephone: (202) 840-8758
                       george@ifrahlaw.com
Arrowood Indemnity     JOYCE, LLC
Company                Michael J. Joyce (No. 4563)
(Appellant)            1225 King Street, Suite 800
                       Wilmington, DE 19801
                       Telephone: (302) 388-1944
                       Email: mjoyce@mjlawoffices.com

                       -and-

                       COUGHLIN MIDLIGE & GARLAND, LLP
                       Kevin Coughlin (pro hac vice)
                       Lorraine Armenti (pro hac vice)
                       Michael Hrinewski (pro hac vice)
                       350 Mount Kemble Avenue
                       PO Box 1917
                       Morristown, NJ 07962
                       Telephone: (973) 267-0058
                       Facsimile: 973-267-6442
                       kcoughlin@cmg.law

                                        5



                                   A00456
    Case: 23-1664       Document: 62-1    Page: 481     Date Filed: 07/24/2023


                          larmenti@cmg.law
                          mhrinewski@cmg.law

                          -and-

                          CARRUTHERS & ROTH, P.A.
                          Britton C. Lewis
                          John M. Flynn
                          235 N. Edgeworth Street
                          P.O. Box 540
                          Greensboro, NC 27401
                          Telephone: (336) 478-1146
                          Facsimile: (336) 478-1145
                          jmf@crlaw.com
                          bcl@crlaw.com
Continental Insurance     GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia      Maria Aprile Sawczuk (DE #3320)
Casualty Company          501 Silverside Road
(Appellants)              Wilmington, DE 19809
                          302-444-6710
                          marias@goldmclaw.com

                          -and-

                          LOEB & LOEB LLP
                          Laura McNally (pro hac vice)
                          Emily Stone (pro hac vice)
                          321 N. Clark Street, Suite 2300
                          Chicago, IL 60654
                          312-464-3155
                          lmcnally@loeb.com
                          estone@loeb.com
Gemini Insurance          WERB & SULLIVAN
Company                   LEGAL ARTS BUILDING
(Appellant)               Brian A. Sullivan (No. 2098)
                          1225 N. King Street
                          Suite 600
                          Wilmington, Delaware 19801
                          Telephone: (302) 652-1100
                          Cell: (302) 757-9932
                          Facsimile: (302) 652-1111
                          Email: bsullivan@werbsullivan.com

                          GIEGER LABORDE & LAPEROUOSE, LLC
                          John E.W. Baay II (pro hac vice)
                          701 Poydras Street

                                          6



                                     A00457
     Case: 23-1664       Document: 62-1    Page: 482   Date Filed: 07/24/2023


                           Suite 4800
                           New Orleans, LA 70139
                           Tel.: 504-561-0400
                           Fax: 504-561-1011
                           Email: jbaay@glllaw.com

                           -and-

                          KIERNAN TREBACH LLP
                          William H. White Jr (pro hac vice)
                          1233 20th Street, NW
                          8th Floor
                          Washington, DC 20036
                          Tel.: 202-712-7000
                          Fax: 202-712-7100
                          Email: wwhite@kiernantrebach.com
General Star Indemnity    SMITH, KATZENSTEIN & JENKINS LLP
Company                   Kathleen M. Miller (DE Bar No. 2898)
(Appellant)               1000 West Street, Suite 501
                          P.O. Box 410
                          Wilmington, DE 19899
                          Telephone: (302) 652-8400
                          Email: kmiller@skjlaw.com

                          -and-

                        WILEY REIN LLP
                        Mary E. Borja (pro hac vice)
                        Gary P. Seligman (pro hac vice)
                        Ashley L. Criss (pro hac vice)
                        2050 M Street NW
                        Washington, DC 20036
                        Phone: (202) 719-7000
                        Email: mborja@wiley.law
                        gseligman@wiley.law
                        acriss@wiley.law
Great American          BODELL BOVÉ, LLC
Assurance               Bruce W. McCullough (No. 3112)
Company, f/k/a          1225 N. King Street, Suite 1000
Agricultural Insurance  Wilmington, Delaware 19801-3250
Company; Great          Telephone: (302) 655-6749
American E&S Insurance bmccullough@bodellbove.com
Company, f/k/a
Agricultural Excess and -and-
Surplus Insurance
Company; and Great      CLYDE & CO US LLP

                                          7



                                      A00458
     Case: 23-1664           Document: 62-1    Page: 483      Date Filed: 07/24/2023


American E&S Insurance Bruce D. Celebrezze (pro hac vice)
Company                150 California Street | 15th Floor
(Appellants)           San Francisco, California 94111
                       Telephone: (415) 365-9800
                       Facsimile: (415) 365-9801
                       bruce.celebrezze@clydeco.us

                               CLYDE & CO US LLP
                               Konrad R. Krebs (pro hac vice)
                               340 Mt. Kemble Avenue | Suite 300
                               Morristown, NJ 07960
                               Telephone: (973) 210-6700
                               Facsimile: (973) 210-6701
                               konrad.krebs@clydeco.us

                               -and-

                               DAVID CHRISTIAN ATTORNEYS LLC
                               David Christian (pro hac vice)
                               105 W. Madison St., Suite 1400
                               Chicago, Illinois 60602
                               Telephone: (312) 282-5282
                               dchristian@dca.law
Indian Harbor Insurance        SMITH, KATZENSTEIN
Company, on behalf of          & JENKINS LLP
itself and as successor in     Kathleen M. Miller (No. 2898)
interest to Catlin             1000 West Street, Suite 1501
Specialty Insurance            P.O. Box 410
Company                        Wilmington, DE 19899 [Courier 19801]
(Appellant)                    Telephone: (302) 652-8400
                               Facsimile: (302) 652-8405
                               kmiller@skjlaw.com

                               and

                         MOUND COTTON WOLLAN & GREENGRASS LLP
                         Lloyd A. Gura (pro hac vice)
                         Pamela J. Minetto (pro hac vice)
                         One New York Plaza 44th Floor
                         New York, NY 10004
                         Tel: (212) 804-4282
                         lgura@moundcotton.com
                         pminetto@moundcotton.com
Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
Casualty Insurance       222 Delaware Avenue

                                               8



                                          A00459
      Case: 23-1664        Document: 62-1        Page: 484    Date Filed: 07/24/2023


Company, Liberty            Suite 1500
Insurance Underwriters,     Wilmington, DE 19801
Inc. and Liberty Surplus    Telephone: (302) 888-0600
Insurance Corporation       khill@svglaw.com
(Appellants)
                            -and-

                            CHOATE, HALL & STEWART LLP
                            Douglas R. Gooding (pro hac vice)
                            Jonathan D. Marshall (pro hac vice)
                            Two International Place
                            Boston, MA 02110
                            Telephone: (617) 248-5000
                            dgooding@choate.com
                            jmarshall@choate.com

                            -and-

                            MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                            PC
                            Kim V. Marrkand (pro hac vice)
                            One Financial Center
                            Boston, MA 02111
                            Telephone: (617) 542-6000
                            kvmarrkand@mintz.com
Munich Reinsurance          DILWORTH PAXSON LLP
America, Inc., formerly     Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-       704 N. King Street, Suite 500
Insurance Company           P.O. Box 1031
(Appellant)                 Wilmington, DE 19899-1031
                            (302) 571-8867 (telephone)
                            (302) 351-8735 (facsimile)
                            tweaver@dilworthlaw.com

                            -and-

                            DILWORTH PAXSON LLP
                            William E. McGrath, Jr. (pro hac vice)
                            2 Research Way, Suite 103
                            Princeton, NJ 08540
                            (609) 924-6000 (telephone)
                            (215) 893-8537 (facsimile)
                            wmcgrath@dilworthlaw.com
Traders and Pacific         COZEN O’CONNOR
Insurance Company,          Marla S. Benedek (No. 6638)
Endurance American          1201 N. Market Street, Suite 1001

                                             9



                                         A00460
    Case: 23-1664        Document: 62-1    Page: 485     Date Filed: 07/24/2023


Specialty Insurance        Wilmington, DE 19801
Company, and               Telephone: (302) 295-2024
Endurance American         Facsimile: (302) 250-4498
Insurance Company          mbenedek@cozen.com
(Appellants)
Old Republic Insurance     MORRIS JAMES LLP
Company                    Stephen M. Miller (No. 2610)
(Appellant)                Carl N. Kunz, III (No. 3201)
                           500 Delaware Avenue, Suite 1500
                           Wilmington, Delaware 19801
                           Telephone: (302) 888-6800
                           Facsimile: (302) 571-1750
                           smiller@morrisjames.com
                           ckunz@morrisjames.com

                           -and-

                        FOX SWIBEL LEVIN & CARROLL LLP
                        Margaret M. Anderson (pro hac vice)
                        Ryan T. Schultz (pro hac vice)
                        Adam A. Hachikian (pro hac vice)
                        Kenneth M. Thomas (pro hac vice)
                        200 W. Madison Street, Suite 3000
                        Chicago, Illinois 60606
                        Telephone: (312) 224-1200
                        Facsimile: (312) 224-1201
                        panderson@foxswibel.com
                        rschultz@foxswibel.com
                        ahachikian@foxswibel.com
                        kthomas@foxswibel.com
Travelers Casualty and  REGER RIZZO & DARNALL LLP
Surety Company, Inc.    Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty & 1521 Concord Pike Suite 305
Surety Company), St.    Brandywine Plaza West
Paul Surplus Lines      Wilmington DE 19803
Insurance Company and Telephone: (302) 477-7100
Gulf Insurance Company Facsimile: (302) 652-3620
(Appellants)            lrizzo@regerlaw.com
Lujan Claimants         LOIZIDES, P.A.
                        Christopher D. Loizides (No. 3968)
(Appellants)            1225 North King Street, Suite 800
                        Telephone: (302) 654-0248
                        Loizides@loizides.com

                           -and-
                                          10



                                      A00461
    Case: 23-1664        Document: 62-1     Page: 486     Date Filed: 07/24/2023



                           LUJAN & WOLFF LLP
                           Delia Lujan Wolff
                           Suite 300, DNA Bldg.
                           238 Archbishop Flores St.
                           Hagatna, Guam 96910
                           Telephone: (671) 477-8064/5
                           dslwolff@lawguam.com
Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
Claimants                  Charles J. Brown, III (No. 3368)
(Appellants)               1201 N. Orange St., 3rd Floor
                           Wilmington, DE 19801
                           Telephone: (302) 425-5813
                           cbrown@gsbblaw.com

                           -and-

                           DUMAS & VAUGHN, LLC
                           Gilion C. Dumas
                           3835 NE Hancock Street, Suite GLB
                           Portland, OR 97212
                           Telephone: (503) 616-5007
                           gilion@dumasandvaughn.com
Boy Scouts of America,     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Delaware BSA, LLC          Derek C. Abbott (No. 3376)
(Debtors/Appellees and     Andrew R. Remming (No. 5120)
Debtors in Possession)     Paige N. Topper (No. 6470)
                           1201 North Market Street, 16th Floor
                           P.O. Box 1347
                           Wilmington, Delaware 19899-1347
                           Telephone: (302) 658-9200
                           dabbott@morrisnichols.com
                           aremming@morrisnichols.com
                           ptopper@morrisnichols.com

                           – and –

                           WHITE & CASE LLP
                           Jessica C. Lauria (pro hac vice)
                           Glenn M. Kurtz (pro hac vice)
                           1221 Avenue of the Americas
                           New York, New York 10020
                           Telephone: (212) 819-8200
                           Email: jessica.lauria@whitecase.com
                           gkurtz@whitecase.com


                                           11



                                      A00462
    Case: 23-1664     Document: 62-1    Page: 487     Date Filed: 07/24/2023



                        – and –

                        WHITE & CASE LLP
                        Michael C. Andolina
                        Matthew E. Linder
                        Laura E. Baccash
                        Blair M. Warner
                        111 South Wacker Drive
                        Chicago, Illinois 60606
                        Telephone: (312) 881-5400
                        mandolina@whitecase.com
                        mlinder@whitecase.com
                        laura.baccash@whitecase.com
                        blair.warner@whitecase.com

                        – and –

                        WHITE & CASE LLP
                        Ronald K. Gorsich
                        Doah Kim
                        555 South Flower Street, Suite 2700
                        Los Angeles, CA 90071
                        Telephone: (213) 620-7700
                        rgorsich@whitecase.com
                        doah.kim@whitecase.com
Tort Claimants’         PACHULSKI STANG ZIEHL & JONES LLP
Committee               Richard M. Pachulski (pro hac vice)
(Appellee)              Alan J. Kornfeld (pro hac vice)
                        Debra I. Grassgreen (pro hac vice)
                        Iain A.W. Nasatir (pro hac vice)
                        James E. O’Neill (No. 4042)
                        919 North Market Street, 17th Floor
                        P.O. Box 8705
                        Wilmington, DE 19899-8705 (Courier 19801)
                        Telephone: (302) 652-4100
                        Fax: (302) 652-4400
                        Email: rpachulski@pszjlaw.com
                        akornfeld@pszjlaw.com
                        dgrassgreen@pszjlaw.com
                        inasatir@pszjlaw.com
                        joneill@pszjlaw.com
Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.
Scouts for Justice      Rachel B. Mersky (No. 2049)
(Appellee)              1201 North Orange Street, Suite 400
                        Wilmington, Delaware 19801
                        Telephone: (302) 656-8162

                                       12



                                   A00463
    Case: 23-1664   Document: 62-1     Page: 488      Date Filed: 07/24/2023


                      Fax: (302) 656-2769
                      Email: rmersky@monlaw.com

                      –and–

                      BROWN RUDNICK LLP
                      David J. Molton, Esq. (pro hac vice)
                      Eric R. Goodman, Esq. (pro hac vice)
                      Seven Times Square
                      New York, NY 10036
                      Telephone: (212) 209-4800
                      Fax: (212) 209-4801
                      Email: dmolton@brownrudnick.com
                      egoodman@brownrudnick.com

                      –and–

                      BROWN RUDNICK LLP
                      Sunni P. Beville, Esq. (pro hac vice)
                      Tristan G. Axelrod, Esq. (pro hac vice)
                      One Financial Center
                      Boston, MA 02111
                      Telephone: (617) 856-8200
                      Fax: (617) 856-8201
                      Email: sbeville@brownrudnick.com
                      taxelrod@brownrudnick.com
Future Claimants’     YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellee)            Robert S. Brady (No. 2847)
                      Edwin J. Harron (No. 3396)
                      Kenneth J. Enos (No. 4544)
                      Ashley E. Jacobs (No. 5635)
                      Rodney Square
                      1000 North King Street
                      Wilmington, Delaware 19801
                      Telephone: (302) 571-6600
                      Fax: (302) 571-1253
                      Email: rbrady@ycst.com
                      eharron@ycst.com
                      kenos@ycst.com
                      ajacobs@ycst.com

                      -and-

                      GILBERT LLP
                      Kami E. Quinn (pro hac vice)

                                      13



                                 A00464
     Case: 23-1664      Document: 62-1      Page: 489     Date Filed: 07/24/2023


                           Rachel H. Jennings (pro hac vice)
                           Kyle Y. Dechant (pro hac vice)
                           December L. Huddleston (pro hac vice)
                           700 Pennsylvania Ave, SE
                           Suite 400
                           Washington, DC 20003
                           Telephone: (202) 772-2200
                           Fax: (202) 772-3333
                           Email: quinnk@gilbertlegal.com
                           jenningsr@gilbertlegal.com
                           dechantk@gilbertlegal.com
                           huddlestond@gilbertlegal.com
The Zalkin Law Firm,       KTBS LAW LLP
P.C. and Pfau Cochran      Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC        Daniel J. Bussel (pro hac vice)
(Appellees)                Robert J. Pfister (pro hac vice)
                           Sasha M. Gurvitz (pro hac vice)
                           1801 Century Park East, Twenty-Sixth Floor
                           Los Angeles, California 90067
                           Telephone: (310) 407-4000
                           Fax: (310) 407-9090
                           Email: tpatterson@ktbslaw.com
                           dbussel@ktbslaw.com
                           rpfister@ktbslaw.com
                           sgurvitz@ktbslaw.com

                           -and-

                           BIELLI & KLAUDER, LLC
                           David M. Klauder, Esquire (No. 5769)
                           1204 N. King Street
                           Wilmington, DE 19801
                           Telephone: (302) 803-4600
                           Fax: (302) 397-2557
                           Email: dklauder@bk-legal.com
Hartford Accident and      BAYARD, P.A.
Indemnity Company,         Erin R. Fay (No. 5268)
First State Insurance      Gregory J. Flasser (No. 6154)
Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395
(Appellees)                Email: efay@bayardlaw.com
                           gflasser@bayardlaw.com

                           -and-

                                           14



                                      A00465
    Case: 23-1664     Document: 62-1      Page: 490       Date Filed: 07/24/2023



                          RUGGERI PARKS WEINBERG LLP
                          James P. Ruggeri (pro hac vice)
                          Joshua D. Weinberg (pro hac vice)
                          1875 K Street, N.W., Suite 600
                          Washington, D.C. 20006-1251
                          Telephone: (202) 469-7750
                          Fax: (202) 469-7751

                          -and-

                          WILMER CUTLER PICKERING HALE
                          AND DORR LLP
                          Philip D. Anker (pro hac vice)
                          7 World Trade Center
                          250 Greenwich Street
                          New York, N.Y. 10007
                          Telephone: (212) 230-8890
                          Fax: (212) 230-8888

                          Joel Millar (pro hac vice)
                          1875 Pennsylvania Avenue N.W.
                          Washington, D.C. 20006
                          Telephone: (202) 663-6000
                          Fax: (202) 663-6363
Century Indemnity         STAMOULIS & WEINBLATT LLC
Company, as successor     Stamatios Stamoulis (No. 4606)
to CCI Insurance          800 N. West Street
Company, as successor     Third Floor Wilmington, Delaware 19801
to Insurance Company of   Telephone: 302 999 1540
North America and         Fax: 302 762 1688
Indemnity Insurance
Company of North          -and-
America
(Appellees)               O’MELVENY & MYERS LLP
                          Tancred Schiavoni (pro hac vice)
                          Times Square Tower
                          7 Times Square
                          New York, New York 10036-6537
                          Telephone: (212) 326-2000
                          Fax: (212) 326-2061

                          O’MELVENY & MYERS LLP
                          Stephen Warren (pro hac vice)
                          400 South Hope Street
                          Los Angeles, California 90071

                                         15



                                     A00466
    Case: 23-1664        Document: 62-1     Page: 491      Date Filed: 07/24/2023


                           Telephone: (213) 430-6000
                           Fax: (213) 430-6407

                           O’MELVENY & MYERS LLP
                           Jonathan D. Hacker (pro hac vice)
                           1625 Eye Street, N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 383-5300
Federal Insurance          STAMOULIS & WEINBLATT LLC
Company and                Stamatios Stamoulis (No. 4606)
Westchester Fire           8000 N. West Street, Third Floor
Insurance Company          Wilmington, Delaware 19801
(Appellees)                Telephone: (302) 999-1540

                           -and-

                           SIMPSON THATCHER & BARTLETT LLP
                           David Elbaum (pro hac vice)
                           425 Lexington Avenue
                           New York, New York 10017
                           Telephone: (212) 455-2000
American Zurich            TYBOUT, REDFEARN & PELL
Insurance Company,         Robert D. Cecil, Jr. (No. 5317)
American Guarantee         501 Carr Road, Suite 300
Insurance Company, and     Wilmington, Delaware 19899
Steadfast Insurance        Telephone: (302) 658-6901
Company                    Email: rcecil@trplaw.com
(Appellees)
                           -and-

                           CROWELL & MORING LLP
                           Mark D. Plevin (pro hac vice)
                           Kevin D. Cacabelos (pro hac vice)
                           Three Embarcadero Center, 26th Floor
                           San Francisco, California 94111
                           Telephone: (415) 986-2800
                           Email: mplevin@crowell.com
                           kcacabelos@crowell.com

                           Tacie H. Yoon (pro hac vice)
                           Rachel A. Jankowski (pro hac vice)
                           1001 Pennsylvania Ave., N.W.
                           Washington, D.C. 20004
                           Telephone: (202) 624-2500
                           Email: tyoon@crowell.com
                           rjankowski@crowell.com

                                           16



                                      A00467
     Case: 23-1664         Document: 62-1     Page: 492      Date Filed: 07/24/2023



Clarendon National           BALLARD SPAHR LLP
Insurance Company, as        Matthew G. Summers (No. 5533)
successor in interest by     Chantelle D. McClamb (No. 5978)
merger to Clarendon          919 N. Market Street, 11th Floor
America Insurance            Wilmington, Delaware 19801-3034
Company; River Thames        Telephone: (302) 252-4428
Insurance Company            Fax: (302) 252-4466
Limited (as successor in     Email: summersm@ballardspahr.com
interest to Unionamerica     mcclamb@ballardspahr.com
Insurance Company
Limited, on its own          -and-
behalf and in turn as
successor to St.             STEPTOE & JOHNSON LLP
Katherine Insurance          Harry Lee (pro hac vice)
Company Limited); and        John O’Connor (pro hac vice)
Zurich American              1330 Connecticut Avenue NW
Insurance Company, as        Washington, DC 20036
successor to Maryland        Telephone: (202) 429-8078
Casualty Company,            Fax: (202) 429-3902
Zurich Insurance             Email: hlee@steptoe.com
Company, and Maryland        joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of          DLA PIPER, LLP (US)
Local Councils of the        R. Craig Martin (No. 5032)
Boy Scouts of America        1201 North Market Street, Suite 2100
(Appellee)                   Wilmington, Delaware 19801-1147
                             Telephone: (302) 468-5655
                             Email: craig.martin@dlapiper.com

                             -and-

                             WACHTELL, LIPTON, ROSEN & KATZ
                             Richard G. Mason (pro hac vice)
                             Douglas K. Mayer (pro hac vice)
                             Joseph C. Celentino (pro hac vice)
                             Mitchell S. Levy (pro hac vice)
                             51 West 52nd Street
                             New York, New York 10019
                             Telephone: (212) 403-1000
                             Email: RGMason@wlrk.com
                             DKMayer@wlrk.com
                             JCCelentino@wlrk.com

                                             17



                                        A00468
        Case: 23-1664   Document: 62-1    Page: 493       Date Filed: 07/24/2023


                         MSLevy@wlrk.com



Dated: April 10, 2023
                                                /s/ Michael J. Joyce
                                              Michael J. Joyce (No. 4563)
                                              JOYCE, LLC
                                              1225 King Street, Suite 800
                                              Wilmington, DE 19801
                                              302-388-1944 (Telephone)
                                              mjoyce@mjlawoffices.com

                                              -and-

                                              Kevin Coughlin, Esquire
                                              Lorraine Armenti, Esquire
                                              Michael Hrinewski, Esquire
                                              COUGHLIN, MIDLIGE & GARLAND,
                                              LLP
                                              350 Mount Kemble Ave.
                                              PO Box 1917
                                              Morristown, NJ 07962
                                              973-267-0058 (Telephone)
                                              973-267-6442 (Facsimile)
                                              kcoughlin@cmg.law
                                              larmenti@cmg.law
                                              mhrinewski@cmg.law

                                              -and-

                                              John M. Flynn, Esquire
                                              Britton C. Lewis, Esquire
                                              CARRUTHERS & ROTH, P.A.
                                              235 N. Edgeworth St.
                                              P.O. Box 540
                                              Greensboro, NC 27401
                                              336-478-1146 (Telephone)
                                              336-478-1145 (Facsimile)
                                              jmf@crlaw.com
                                              bcl@crlaw.com


                                              Counsel to Arrowood Indemnity Company




                                         18



                                    A00469
           Case: 23-1664        Document: 62-1     Page: 494        Date Filed: 07/24/2023


                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11

                                                       Bankruptcy Case
BOY SCOUTS OF AMERICA AND                              No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                       (Jointly Administered)
                         Debtors.


                                                                                    1
NATIONAL UNION FIRE INSURANCE CO.                      Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                         Appellants,

                    v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                         Appellees.


                          NOTICE OF APPEAL TO THE UNITED STATES
                         COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellants Traders and Pacific Insurance Company,

 Endurance American Specialty Insurance Company, and Endurance American Insurance

 Company, appeal to the United States Court of Appeals for the Third Circuit from the final Order

 and accompanying Opinion of the United States District Court for the District of Delaware (Hon.

 Richard G. Andrews), entered March 28, 2023 (D.I. 150, 151), among other things affirming the


 1
  Appellants’ bankruptcy appeal originally had the following caption and case number: Traders
 and Pacific Insurance Company, et al. v. Boy Scouts of America and Delaware BSA, LLC, No. 22-
 cv-01247-RGA. That action was consolidated with the above-captioned action on October 17,
 2022 and the Court directed that “[a]ll further filings with this Court will be docketed under the
 Master Case Number.” See Order Granting Motion on Stipulation Regarding Appeals from Order
 Confirming Plan of Reorganization of Boy Scouts of America and Delaware BSA, LLC [D.I. 22].


 LEGAL\62780518\1



                                             A00470
           Case: 23-1664      Document: 62-1         Page: 495     Date Filed: 07/24/2023


Supplemental Findings of Fact and Conclusions of Law and Order Confirming the Third Modified

Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts

of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion

(Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the District of Delaware (Hon.

Laurie S. Silverstein), and all other orders, decisions, and opinions subsumed therein.

        The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000
                               Email: mrosenthal@gibsondunn.com
                               mkarlan@gibsondunn.com
                               jhallowell@gibsondunn.com
                               kmartorana@gibsondunn.com
                               srokosky@gibsondunn.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Theodore J. Boutrous Jr. (pro hac vice)
                               Richard J. Doren (pro hac vice)
                               Blaine H. Evanson (pro hac vice)
                               333 South Grand Avenue
                               Los Angeles, California 90071
                               Telephone: (213) 229-7038
                               Email: rdoren@gibsondunn.com


                                                 2
LEGAL\62780518\1



                                                A00471
           Case: 23-1664    Document: 62-1       Page: 496   Date Filed: 07/24/2023


                            bevanson@gibsondunn.com
                            tboutrous@gibsondunn.com

                            FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                            Susan N.K. Gummow
                            222 N. LaSalle St., Suite 1400
                            Chicago, Illinois 60601
                            Telephone: (312) 863-5000
                            Email: sgummow@fgppr.com
  Allianz Global Risks US   TROUTMAN PEPPER HAMILTON SANDERS LLP
  Insurance Company         David M. Fournier (DE Bar No. 2812)
  (Appellant)               Marcy J. McLaughlin Smith (DE No. 6184)
                            Hercules Plaza
                            1313 Market Street
                            Suite 5100
                            P.O. Box 1709
                            Wilmington, DE 19899-1709
                            Telephone: 404.885.3000
                            david.fournier@troutman.com
                            marcy.smith@troutman.com

                            -and-

                            PARKER, HUDSON, RAINER & DOBBS LLP
                            Harris B. Winsberg (pro hac vice)
                            Matthew G. Roberts (pro hac vice)
                            303 Peachtree Street NE
                            Suite 3600
                            Atlanta, GA 30308
                            Telephone: 404.420.4313
                            Facsimile: 404.522.8409
                            hwinsberg@phrd.com
                            mroberts@phrd.com

                            -and-

                            McDERMOTT WILL & EMERY LLP
                            Margaret H. Warner (pro hac vice)
                            Ryan S. Smethurst (pro hac vice)
                            Alex M. Spisak (pro hac vice)
                            The McDermott Building
                            500 North Capitol Street, NW
                            Washington, DC 20001-1531
                            Telephone: 202.756.8228
                            Facsimile: 202.756.8087
                            mwarner@mwe.com


                                             3
LEGAL\62780518\1



                                        A00472
         Case: 23-1664   Document: 62-1   Page: 497   Date Filed: 07/24/2023


                          rsmethurst@mwe.com
                          aspisak@mwe.com
  National Surety         TROUTMAN PEPPER HAMILTON SANDERS LLP
  Corporation and         David M. Fournier (DE Bar No. 2812)
  Interstate Fire &       Marcy J. McLaughlin Smith (DE No. 6184)
  Casualty Company        Hercules Plaza, Suite 5100
  (Appellants)            1313 Market Street
                          P.O. Box 1709
                          Wilmington, DE 19899-1709
                          Telephone: 302.777.6500
                          Facsimile: 302.421.8390
                          david.fournier@troutman.com
                          marcy.smith@troutman.com

                          -and-

                          PARKER, HUDSON, RAINER & DOBBS LLP
                          Harris B. Winsberg (pro hac vice)
                          Matthew G. Roberts (pro hac vice)
                          303 Peachtree Street NE
                          Suite 3600
                          Atlanta, GA 30308
                          Telephone: 404.420.4313
                          Facsimile: 404.522.8409
                          hwinsberg@phrd.com
                          mroberts@phrd.com

                          -and-

                         BRADLEY RILEY JACOBS PC
                         Todd C. Jacobs (pro hac vice)
                         John E. Bucheit (pro hac vice)
                         Paul J. Esker (pro hac vice)
                         500 West Madison Street
                         Suite 1000
                         Chicago, IL 60661
                         Telephone: 312.281.0295
                         tjacobs@bradleyriley.com
                         jbucheit@bradleyriley.com
                         pesker@bradleyriley.com
  Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
  (Appellant)            Kathleen M. Miller (No. 2898)
                         1000 West Street, Suite 501
                         P.O. Box 410
                         Wilmington, DE 19899
                         Telephone: (302) 652-8400


                                          4
LEGAL\62780518\1



                                     A00473
         Case: 23-1664   Document: 62-1     Page: 498     Date Filed: 07/24/2023


                          kmiller@skjlaw.com

                          HANGLEY ARONCHICK SEGAL
                          PUDLIN & SCHILLER
                          Ronald P. Schiller (pro hac vice)
                          Matthew A. Hamermesh (pro hac vice)
                          One Logan Square, 27th Floor
                          Philadelphia, PA 19103
                          T: (215) 568-6200
                          F: (215) 568-0300
                          E: rschiller@hangley.com
                          mhamermesh@hangley.com
  Argonaut Insurance       POST & SCHELL, P.C.
  Company and Colony       Paul Logan (No. 3339)
  Insurance Company        300 Delaware Avenue, Suite 1380
  (Appellants)
                           Wilmington, DE 19801
                           Telephone: (302) 251-8856
                           Email: plogan@postschell.com

                           POST & SCHELL, P.C.
                           John C. Sullivan (pro hac vice)
                           Kathleen K. Kerns (pro hac vice)
                           Four Penn Center – 13th Floor
                           1600 John F. Kennedy Boulevard
                           Philadelphia, PA 19103
                           Telephone: (215) 587-1000
                           jsullivan@postschell.com
                          kkerns@postschell.com

                           -and-

                           IFRAH PLLC
                           George R. Calhoun (pro hac vice)
                           1717 Pennsylvania Avenue, N.W. Suite 650
                           Washington, DC 20006
                           Telephone: (202) 840-8758
                          george@ifrahlaw.com
  Arrowood Indemnity      JOYCE, LLC
  Company                 Michael J. Joyce (No. 4563)
  (Appellant)             1225 King Street, Suite 800
                          Wilmington, DE 19801
                          Telephone: (302) 388-1944
                          Email: mjoyce@mjlawoffices.com

                          -and-



                                           5
LEGAL\62780518\1



                                      A00474
         Case: 23-1664    Document: 62-1     Page: 499       Date Filed: 07/24/2023


                           COUGHLIN MIDLIGE & GARLAND, LLP
                           Kevin Coughlin (pro hac vice)
                           Lorraine Armenti (pro hac vice)
                           Michael Hrinewski (pro hac vice)
                           350 Mount Kemble Avenue
                           PO Box 1917
                           Morristown, NJ 07962
                           Telephone: (973) 267-0058
                           Facsimile: 973-267-6442
                           kcoughlin@cmg.law
                           larmenti@cmg.law
                           mhrinewski@cmg.law

                           -and-

                           CARRUTHERS & ROTH, P.A.
                           Britton C. Lewis
                           John M. Flynn
                           235 N. Edgeworth Street
                           P.O. Box 540
                           Greensboro, NC 27401
                           Telephone: (336) 478-1146
                           Facsimile: (336) 478-1145
                           jmf@crlaw.com
                           bcl@crlaw.com
  Continental Insurance    GOLDSTEIN & MCCLINTOCK LLLP
  Company and Columbia     Maria Aprile Sawczuk (DE #3320)
  Casualty Company         501 Silverside Road
  (Appellants)             Wilmington, DE 19809
                           302-444-6710
                           marias@goldmclaw.com

                           -and-

                           LOEB & LOEB LLP
                           Laura McNally (pro hac vice)
                           Emily Stone (pro hac vice)
                           321 N. Clark Street, Suite 2300
                           Chicago, IL 60654
                           312-464-3155
                           lmcnally@loeb.com
                           estone@loeb.com
  Gemini Insurance         WERB & SULLIVAN
  Company                  LEGAL ARTS BUILDING
  (Appellant)              Brian A. Sullivan (No. 2098)
                           1225 N. King Street


                                            6
LEGAL\62780518\1



                                       A00475
         Case: 23-1664     Document: 62-1     Page: 500       Date Filed: 07/24/2023


                            Suite 600
                            Wilmington, Delaware 19801
                            Telephone: (302) 652-1100
                            Cell: (302) 757-9932
                            Facsimile: (302) 652-1111
                            Email: bsullivan@werbsullivan.com

                            GIEGER LABORDE & LAPEROUOSE, LLC
                            John E.W. Baay II (pro hac vice)
                            701 Poydras Street
                            Suite 4800
                            New Orleans, LA 70139
                            Tel.: 504-561-0400
                            Fax: 504-561-1011
                            Email: jbaay@glllaw.com

                            -and-

                            KIERNAN TREBACH LLP
                            William H. White Jr (pro hac vice)
                            1233 20th Street, NW
                            8th Floor
                            Washington, DC 20036
                            Tel.: 202-712-7000
                            Fax: 202-712-7100
                            Email: wwhite@kiernantrebach.com
  General Star Indemnity    SMITH, KATZENSTEIN & JENKINS LLP
  Company                   Kathleen M. Miller (DE Bar No. 2898)
  (Appellant)               1000 West Street, Suite 501
                            P.O. Box 410
                            Wilmington, DE 19899
                            Telephone: (302) 652-8400
                            Email: kmiller@skjlaw.com

                            -and-

                            WILEY REIN LLP
                            Mary E. Borja (pro hac vice)
                            Gary P. Seligman (pro hac vice)
                            Ashley L. Criss (pro hac vice)
                            2050 M Street NW
                            Washington, DC 20036
                            Phone: (202) 719-7000
                            Email: mborja@wiley.law
                            gseligman@wiley.law
                            acriss@wiley.law


                                             7
LEGAL\62780518\1



                                        A00476
         Case: 23-1664         Document: 62-1     Page: 501      Date Filed: 07/24/2023


  Great American                BODELL BOVÉ, LLC
  Assurance                     Bruce W. McCullough (No. 3112)
  Company, f/k/a                1225 N. King Street, Suite 1000
  Agricultural Insurance        Wilmington, Delaware 19801-3250
  Company; Great                Telephone: (302) 655-6749
  American E&S Insurance        bmccullough@bodellbove.com
  Company, f/k/a
  Agricultural Excess and       -and-
  Surplus Insurance
  Company; and Great            CLYDE & CO US LLP
  American E&S Insurance        Bruce D. Celebrezze (pro hac vice)
  Company                       150 California Street | 15th Floor
  (Appellants)                  San Francisco, California 94111
                                Telephone: (415) 365-9800
                                Facsimile: (415) 365-9801
                                bruce.celebrezze@clydeco.us

                                CLYDE & CO US LLP
                                Konrad R. Krebs (pro hac vice)
                                340 Mt. Kemble Avenue | Suite 300
                                Morristown, NJ 07960
                                Telephone: (973) 210-6700
                                Facsimile: (973) 210-6701
                                konrad.krebs@clydeco.us

                                -and-

                                DAVID CHRISTIAN ATTORNEYS LLC
                                David Christian (pro hac vice)
                                105 W. Madison St., Suite 1400
                                Chicago, Illinois 60602
                                Telephone: (312) 282-5282
                                dchristian@dca.law
  Indian Harbor Insurance       SMITH, KATZENSTEIN
  Company, on behalf of         & JENKINS LLP
  itself and as successor in    Kathleen M. Miller (No. 2898)
  interest to Catlin            1000 West Street, Suite 1501
  Specialty Insurance           P.O. Box 410
  Company                       Wilmington, DE 19899 [Courier 19801]
  (Appellant)                   Telephone: (302) 652-8400
                                Facsimile: (302) 652-8405
                                kmiller@skjlaw.com

                                and

                                MOUND COTTON WOLLAN & GREENGRASS LLP


                                                 8
LEGAL\62780518\1



                                            A00477
          Case: 23-1664     Document: 62-1       Page: 502   Date Filed: 07/24/2023


                           Lloyd A. Gura (pro hac vice)
                           Pamela J. Minetto (pro hac vice)
                           One New York Plaza 44th Floor
                           New York, NY 10004
                           Tel: (212) 804-4282
                           lgura@moundcotton.com
                           pminetto@moundcotton.com
  Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
  Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
  Casualty Insurance       222 Delaware Avenue
  Company, Liberty         Suite 1500
  Insurance Underwriters,  Wilmington, DE 19801
  Inc. and Liberty Surplus Telephone: (302) 888-0600
  Insurance Corporation    khill@svglaw.com
  (Appellants)
                           -and-

                            CHOATE, HALL & STEWART LLP
                            Douglas R. Gooding (pro hac vice)
                            Jonathan D. Marshall (pro hac vice)
                            Two International Place
                            Boston, MA 02110
                            Telephone: (617) 248-5000
                            dgooding@choate.com
                            jmarshall@choate.com

                            -and-

                            MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                            PC
                            Kim V. Marrkand (pro hac vice)
                            One Financial Center
                            Boston, MA 02111
                            Telephone: (617) 542-6000
                            kvmarrkand@mintz.com
  Munich Reinsurance        DILWORTH PAXSON LLP
  America, Inc., formerly   Thaddeus J. Weaver (DE Bar. No. 2790)
  known as American Re-     704 N. King Street, Suite 500
  Insurance Company         P.O. Box 1031
  (Appellant)               Wilmington, DE 19899-1031
                            (302) 571-8867 (telephone)
                            (302) 351-8735 (facsimile)
                            tweaver@dilworthlaw.com

                            -and-



                                             9
LEGAL\62780518\1



                                        A00478
         Case: 23-1664      Document: 62-1     Page: 503       Date Filed: 07/24/2023


                             DILWORTH PAXSON LLP
                             William E. McGrath, Jr. (pro hac vice)
                             2 Research Way, Suite 103
                             Princeton, NJ 08540
                             (609) 924-6000 (telephone)
                             (215) 893-8537 (facsimile)
                             wmcgrath@dilworthlaw.com
  Traders and Pacific        COZEN O’CONNOR
  Insurance Company,         Marla S. Benedek (No. 6638)
  Endurance American         1201 N. Market Street, Suite 1001
  Specialty Insurance        Wilmington, DE 19801
  Company, and               Telephone: (302) 295-2024
  Endurance American         Facsimile: (302) 250-4498
  Insurance Company          mbenedek@cozen.com
  (Appellants)
  Old Republic Insurance     MORRIS JAMES LLP
  Company                    Stephen M. Miller (No. 2610)
  (Appellant)                Carl N. Kunz, III (No. 3201)
                             500 Delaware Avenue, Suite 1500
                             Wilmington, Delaware 19801
                             Telephone: (302) 888-6800
                             Facsimile: (302) 571-1750
                             smiller@morrisjames.com
                             ckunz@morrisjames.com

                             -and-

                             FOX SWIBEL LEVIN & CARROLL LLP
                             Margaret M. Anderson (pro hac vice)
                             Ryan T. Schultz (pro hac vice)
                             Adam A. Hachikian (pro hac vice)
                             Kenneth M. Thomas (pro hac vice)
                             200 W. Madison Street, Suite 3000
                             Chicago, Illinois 60606
                             Telephone: (312) 224-1200
                             Facsimile: (312) 224-1201
                             panderson@foxswibel.com
                             rschultz@foxswibel.com
                             ahachikian@foxswibel.com
                             kthomas@foxswibel.com
  Travelers Casualty and     REGER RIZZO & DARNALL LLP
  Surety Company, Inc.       Louis J. Rizzo, Jr. (DE Bar No. 3374)
  (f/k/a Aetna Casualty &    1521 Concord Pike Suite 305
  Surety Company), St.       Brandywine Plaza West
  Paul Surplus Lines         Wilmington DE 19803

                                             10
LEGAL\62780518\1



                                         A00479
         Case: 23-1664     Document: 62-1    Page: 504      Date Filed: 07/24/2023


  Insurance Company and     Telephone: (302) 477-7100
  Gulf Insurance Company    Facsimile: (302) 652-3620
  (Appellants)              lrizzo@regerlaw.com
  Lujan Claimants           LOIZIDES, P.A.
                            Christopher D. Loizides (No. 3968)
  (Appellants)              1225 North King Street, Suite 800
                            Telephone: (302) 654-0248
                            Loizides@loizides.com

                            -and-

                            LUJAN & WOLFF LLP
                            Delia Lujan Wolff
                            Suite 300, DNA Bldg.
                            238 Archbishop Flores St.
                            Hagatna, Guam 96910
                            Telephone: (671) 477-8064/5
                            dslwolff@lawguam.com
  Dumas & Vaughn            GELLERT SCALI BUSENKELL & BROWN LLC
  Claimants                 Charles J. Brown, III (No. 3368)
  (Appellants)              1201 N. Orange St., 3rd Floor
                            Wilmington, DE 19801
                            Telephone: (302) 425-5813
                            cbrown@gsbblaw.com

                            -and-

                            DUMAS & VAUGHN, LLC
                            Gilion C. Dumas
                            3835 NE Hancock Street, Suite GLB
                            Portland, OR 97212
                            Telephone: (503) 616-5007
                            gilion@dumasandvaughn.com
  Boy Scouts of America,    MORRIS, NICHOLS, ARSHT & TUNNELL LLP
  Delaware BSA, LLC         Derek C. Abbott (No. 3376)
  (Debtors/Appellees and    Andrew R. Remming (No. 5120)
  Debtors in Possession)    Paige N. Topper (No. 6470)
                            1201 North Market Street, 16th Floor
                            P.O. Box 1347
                            Wilmington, Delaware 19899-1347
                            Telephone: (302) 658-9200
                            dabbott@morrisnichols.com
                            aremming@morrisnichols.com
                            ptopper@morrisnichols.com

                            – and –


                                            11
LEGAL\62780518\1



                                        A00480
         Case: 23-1664   Document: 62-1    Page: 505      Date Filed: 07/24/2023



                          WHITE & CASE LLP
                          Jessica C. Lauria (pro hac vice)
                          Glenn M. Kurtz (pro hac vice)
                          1221 Avenue of the Americas
                          New York, New York 10020
                          Telephone: (212) 819-8200
                          Email: jessica.lauria@whitecase.com
                          gkurtz@whitecase.com

                          – and –

                          WHITE & CASE LLP
                          Michael C. Andolina
                          Matthew E. Linder
                          Laura E. Baccash
                          Blair M. Warner
                          111 South Wacker Drive
                          Chicago, Illinois 60606
                          Telephone: (312) 881-5400
                          mandolina@whitecase.com
                          mlinder@whitecase.com
                          laura.baccash@whitecase.com
                          blair.warner@whitecase.com

                          – and –

                          WHITE & CASE LLP
                          Ronald K. Gorsich
                          Doah Kim
                          555 South Flower Street, Suite 2700
                          Los Angeles, CA 90071
                          Telephone: (213) 620-7700
                          rgorsich@whitecase.com
                          doah.kim@whitecase.com
  Tort Claimants’         PACHULSKI STANG ZIEHL & JONES LLP
  Committee               Richard M. Pachulski (pro hac vice)
  (Appellee)              Alan J. Kornfeld (pro hac vice)
                          Debra I. Grassgreen (pro hac vice)
                          Iain A.W. Nasatir (pro hac vice)
                          James E. O’Neill (No. 4042)
                          919 North Market Street, 17th Floor
                          P.O. Box 8705
                          Wilmington, DE 19899-8705 (Courier 19801)
                          Telephone: (302) 652-4100
                          Fax: (302) 652-4400
                          Email: rpachulski@pszjlaw.com

                                          12
LEGAL\62780518\1



                                      A00481
         Case: 23-1664   Document: 62-1    Page: 506      Date Filed: 07/24/2023


                          akornfeld@pszjlaw.com
                          dgrassgreen@pszjlaw.com
                          inasatir@pszjlaw.com
                          joneill@pszjlaw.com
  Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.
  Scouts for Justice      Rachel B. Mersky (No. 2049)
  (Appellee)              1201 North Orange Street, Suite 400
                          Wilmington, Delaware 19801
                          Telephone: (302) 656-8162
                          Fax: (302) 656-2769
                          Email: rmersky@monlaw.com

                          –and–

                          BROWN RUDNICK LLP
                          David J. Molton, Esq. (pro hac vice)
                          Eric R. Goodman, Esq. (pro hac vice)
                          Seven Times Square
                          New York, NY 10036
                          Telephone: (212) 209-4800
                          Fax: (212) 209-4801
                          Email: dmolton@brownrudnick.com
                          egoodman@brownrudnick.com

                          –and–

                          BROWN RUDNICK LLP
                          Sunni P. Beville, Esq. (pro hac vice)
                          Tristan G. Axelrod, Esq. (pro hac vice)
                          One Financial Center
                          Boston, MA 02111
                          Telephone: (617) 856-8200
                          Fax: (617) 856-8201
                          Email: sbeville@brownrudnick.com
                          taxelrod@brownrudnick.com
  Future Claimants’       YOUNG CONAWAY STARGATT & TAYLOR, LLP
  Representative
  (Appellee)              Robert S. Brady (No. 2847)
                          Edwin J. Harron (No. 3396)
                          Kenneth J. Enos (No. 4544)
                          Ashley E. Jacobs (No. 5635)
                          Rodney Square
                          1000 North King Street
                          Wilmington, Delaware 19801
                          Telephone: (302) 571-6600
                          Fax: (302) 571-1253


                                          13
LEGAL\62780518\1



                                      A00482
         Case: 23-1664    Document: 62-1    Page: 507      Date Filed: 07/24/2023


                           Email: rbrady@ycst.com
                           eharron@ycst.com
                           kenos@ycst.com
                           ajacobs@ycst.com

                           -and-

                           GILBERT LLP
                           Kami E. Quinn (pro hac vice)
                           Rachel H. Jennings (pro hac vice)
                           Kyle Y. Dechant (pro hac vice)
                           December L. Huddleston (pro hac vice)
                           700 Pennsylvania Ave, SE
                           Suite 400
                           Washington, DC 20003
                           Telephone: (202) 772-2200
                           Fax: (202) 772-3333
                           Email: quinnk@gilbertlegal.com
                           jenningsr@gilbertlegal.com
                           dechantk@gilbertlegal.com
                           huddlestond@gilbertlegal.com
  The Zalkin Law Firm,     KTBS LAW LLP
  P.C. and Pfau Cochran    Thomas E. Patterson (pro hac vice)
  Vertetis Amala PLLC      Daniel J. Bussel (pro hac vice)
  (Appellees)              Robert J. Pfister (pro hac vice)
                           Sasha M. Gurvitz (pro hac vice)
                           1801 Century Park East, Twenty-Sixth Floor
                           Los Angeles, California 90067
                           Telephone: (310) 407-4000
                           Fax: (310) 407-9090
                           Email: tpatterson@ktbslaw.com
                           dbussel@ktbslaw.com
                           rpfister@ktbslaw.com
                           sgurvitz@ktbslaw.com

                           -and-

                           BIELLI & KLAUDER, LLC
                           David M. Klauder, Esquire (No. 5769)
                           1204 N. King Street
                           Wilmington, DE 19801
                           Telephone: (302) 803-4600
                           Fax: (302) 397-2557
                           Email: dklauder@bk-legal.com
  Hartford Accident and    BAYARD, P.A.
  Indemnity Company,       Erin R. Fay (No. 5268)


                                           14
LEGAL\62780518\1



                                       A00483
         Case: 23-1664       Document: 62-1     Page: 508        Date Filed: 07/24/2023


  First State Insurance       Gregory J. Flasser (No. 6154)
  Company, Twin City          600 North King Street, Suite 400
  Fire Insurance Company,     Wilmington, DE 19801
  and Navigators Specialty    Telephone: (302) 655-5000
  Insurance Company           Fax: (302) 658-6395
  (Appellees)                 Email: efay@bayardlaw.com
                              gflasser@bayardlaw.com

                              -and-

                              RUGGERI PARKS WEINBERG LLP
                              James P. Ruggeri (pro hac vice)
                              Joshua D. Weinberg (pro hac vice)
                              1875 K Street, N.W., Suite 600
                              Washington, D.C. 20006-1251
                              Telephone: (202) 469-7750
                              Fax: (202) 469-7751

                              -and-

                              WILMER CUTLER PICKERING HALE
                              AND DORR LLP
                              Philip D. Anker (pro hac vice)
                              7 World Trade Center
                              250 Greenwich Street
                              New York, N.Y. 10007
                              Telephone: (212) 230-8890
                              Fax: (212) 230-8888

                              Joel Millar (pro hac vice)
                              1875 Pennsylvania Avenue N.W.
                              Washington, D.C. 20006
                              Telephone: (202) 663-6000
                              Fax: (202) 663-6363
  Century Indemnity           STAMOULIS & WEINBLATT LLC
  Company, as successor       Stamatios Stamoulis (No. 4606)
  to CCI Insurance            800 N. West Street
  Company, as successor       Third Floor Wilmington, Delaware 19801
  to Insurance Company of     Telephone: 302 999 1540
  North America and           Fax: 302 762 1688
  Indemnity Insurance
  Company of North            -and-
  America
  (Appellees)                 O’MELVENY & MYERS LLP
                              Tancred Schiavoni (pro hac vice)
                              Times Square Tower


                                              15
LEGAL\62780518\1



                                          A00484
         Case: 23-1664     Document: 62-1    Page: 509      Date Filed: 07/24/2023


                            7 Times Square
                            New York, New York 10036-6537
                            Telephone: (212) 326-2000
                            Fax: (212) 326-2061

                            O’MELVENY & MYERS LLP
                            Stephen Warren (pro hac vice)
                            400 South Hope Street
                            Los Angeles, California 90071
                            Telephone: (213) 430-6000
                            Fax: (213) 430-6407

                            O’MELVENY & MYERS LLP
                            Jonathan D. Hacker (pro hac vice)
                            1625 Eye Street, N.W.
                            Washington, D.C. 20006
                            Telephone: (202) 383-5300
  Federal Insurance         STAMOULIS & WEINBLATT LLC
  Company and               Stamatios Stamoulis (No. 4606)
  Westchester Fire          8000 N. West Street, Third Floor
  Insurance Company         Wilmington, Delaware 19801
  (Appellees)               Telephone: (302) 999-1540

                            -and-

                            SIMPSON THATCHER & BARTLETT LLP
                            David Elbaum (pro hac vice)
                            425 Lexington Avenue
                            New York, New York 10017
                            Telephone: (212) 455-2000
  American Zurich           TYBOUT, REDFEARN & PELL
  Insurance Company,        Robert D. Cecil, Jr. (No. 5317)
  American Guarantee        501 Carr Road, Suite 300
  Insurance Company, and    Wilmington, Delaware 19899
  Steadfast Insurance       Telephone: (302) 658-6901
  Company                   Email: rcecil@trplaw.com
  (Appellees)
                            -and-

                            CROWELL & MORING LLP
                            Mark D. Plevin (pro hac vice)
                            Kevin D. Cacabelos (pro hac vice)
                            Three Embarcadero Center, 26th Floor
                            San Francisco, California 94111
                            Telephone: (415) 986-2800
                            Email: mplevin@crowell.com


                                            16
LEGAL\62780518\1



                                        A00485
         Case: 23-1664       Document: 62-1    Page: 510      Date Filed: 07/24/2023


                              kcacabelos@crowell.com

                              Tacie H. Yoon (pro hac vice)
                              Rachel A. Jankowski (pro hac vice)
                              1001 Pennsylvania Ave., N.W.
                              Washington, D.C. 20004
                              Telephone: (202) 624-2500
                              Email: tyoon@crowell.com
                              rjankowski@crowell.com

  Clarendon National          BALLARD SPAHR LLP
  Insurance Company, as       Matthew G. Summers (No. 5533)
  successor in interest by    Chantelle D. McClamb (No. 5978)
  merger to Clarendon         919 N. Market Street, 11th Floor
  America Insurance           Wilmington, Delaware 19801-3034
  Company; River Thames       Telephone: (302) 252-4428
  Insurance Company           Fax: (302) 252-4466
  Limited (as successor in    Email: summersm@ballardspahr.com
  interest to Unionamerica    mcclamb@ballardspahr.com
  Insurance Company
  Limited, on its own         -and-
  behalf and in turn as
  successor to St.            STEPTOE & JOHNSON LLP
  Katherine Insurance         Harry Lee (pro hac vice)
  Company Limited); and       John O’Connor (pro hac vice)
  Zurich American             1330 Connecticut Avenue NW
  Insurance Company, as       Washington, DC 20036
  successor to Maryland       Telephone: (202) 429-8078
  Casualty Company,           Fax: (202) 429-3902
  Zurich Insurance            Email: hlee@steptoe.com
  Company, and Maryland       joconnor@steptoe.com
  General Insurance
  Company
  (Appellees)

  Ad Hoc Committee of         DLA PIPER, LLP (US)
  Local Councils of the       R. Craig Martin (No. 5032)
  Boy Scouts of America       1201 North Market Street, Suite 2100
  (Appellee)                  Wilmington, Delaware 19801-1147
                              Telephone: (302) 468-5655
                              Email: craig.martin@dlapiper.com

                              -and-

                              WACHTELL, LIPTON, ROSEN & KATZ
                              Richard G. Mason (pro hac vice)


                                              17
LEGAL\62780518\1



                                          A00486
         Case: 23-1664   Document: 62-1     Page: 511          Date Filed: 07/24/2023


                          Douglas K. Mayer (pro hac vice)
                          Joseph C. Celentino (pro hac vice)
                          Mitchell S. Levy (pro hac vice)
                          51 West 52nd Street
                          New York, New York 10019
                          Telephone: (212) 403-1000
                          Email: RGMason@wlrk.com
                          DKMayer@wlrk.com
                          JCCelentino@wlrk.com
                          MSLevy@wlrk.com



Dated: April 10, 2023                  By: /s/ Marla S. Benedek
Wilmington, Delaware                       Marla S. Benedek (DE Bar No. 6638)
                                           COZEN O’CONNOR
                                           1201 N. Market Street, Suite 1001
                                           Wilmington, DE 19801
                                           Telephone: (302) 295-2024
                                           Facsimile: (302) 250-4498
                                           Email: mbenedek@cozen.com

                                             Counsel to Traders and Pacific Insurance
                                             Company, Endurance American Specialty
                                             Insurance Company, and Endurance American
                                             Insurance Company




                                          18
LEGAL\62780518\1



                                       A00487
           Case: 23-1664        Document: 62-1   Page: 512       Date Filed: 07/24/2023


                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                              Chapter 11

                                                    Bankruptcy Case
BOY SCOUTS OF AMERICA AND                           No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                    (Jointly Administered)
                         Debtors.

NATIONAL UNION FIRE INSURANCE CO.                    Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                         Appellants,

                    v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                         Appellees.


                                    CERTIFICATE OF SERVICE

          I, Marla S. Benedek do hereby certify that on April 10, 2023, I caused a copy of the
 foregoing Notice of Appeal to the United States Court of Appeals for the Third Circuit to be
 served on all registered users of the Court’s Case Management/Electronic Case File (“CM/ECF”)
 in this case via CM/ECF.


 Dated: April 10, 2023                     By: /s/ Marla S. Benedek
 Wilmington, Delaware                          Marla S. Benedek (DE Bar No. 6638)
                                               COZEN O’CONNOR
                                               1201 N. Market Street, Suite 1001
                                               Wilmington, DE 19801
                                               Telephone: (302) 295-2024
                                               Facsimile: (302) 250-4498
                                               Email: mbenedek@cozen.com

                                                 Counsel to Traders and Pacific Insurance
                                                 Company, Endurance American Specialty
                                                 Insurance Company, and Endurance American
                                                 Insurance Company



 LEGAL\62780518\1



                                            A00488
          Case: 23-1664        Document: 62-1       Page: 513        Date Filed: 07/24/2023


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                  Chapter 11

                                                        Bankruptcy Case
BOY SCOUTS OF AMERICA AND                               No. 20-10343-LSS
DELAWARE BSA, LLC,
                                                        (Jointly Administered)
                      Debtors.



NATIONAL UNION FIRE INSURANCE CO.                       Case No. 22-cv-01237-RGA
OF PITTSBURGH, PA, et al.,

                      Appellants,

               v.

BOY SCOUTS OF AMERICA AND
DELAWARE BSA, LLC,

                      Appellees.


                      NOTICE OF APPEAL TO THE UNITED STATES
                     COURT OF APPEALS FOR THE THIRD CIRCUIT

         NOTICE IS HEREBY GIVEN that Appellant Arch Insurance Company appeals to the

 United States Court of Appeals for the Third Circuit from the final Order and accompanying

 Opinion of the United States District Court for the District of Delaware (Hon. Richard G.

 Andrews), entered     March 28, 2023 (D.I. 150, 151), among other things affirming the

 Supplemental Findings of Fact and Conclusions of Law and Order Confirming the Third Modified

 Fifth Amended Chapter 11 Plan of Reorganization (with Technical Modifications) for Boy Scouts

 of America and Delaware BSA, LLC (Bankruptcy D.I. 10316) and accompanying Opinion

 (Bankruptcy D.I. 10136) of the United States Bankruptcy Court for the District of Delaware (Hon.

 Laurie S. Silverstein), and all other orders, decisions, and opinions subsumed therein.




                                              A00489
          Case: 23-1664       Document: 62-1         Page: 514   Date Filed: 07/24/2023


       The parties to the order appealed from and the names, addresses, and telephone numbers

of their respective attorneys are as follows:

  National Union Fire          FINEMAN KREKSTEIN & HARRIS PC
  Insurance Company of         Deirdre M. Richards
  Pittsburgh, Pa.,             1300 N. King Street
  Lexington Insurance          Wilmington, DE 19801
  Company, Landmark            Telephone: (302) 538-8331
  Insurance Company, and       Email: drichards@finemanlawfirm.com
  The Insurance Company
  of the State of              -and-
  Pennsylvania (the “AIG
  Companies”)                  GIBSON, DUNN & CRUTCHER LLP
  (Appellants)                 Michael A. Rosenthal (pro hac vice)
                               Mitchell A. Karlan (pro hac vice)
                               James Hallowell (pro hac vice)
                               Keith R. Martorana (pro hac vice)
                               Seth M. Rokosky (pro hac vice)
                               200 Park Avenue
                               New York, New York 10166
                               Telephone: (212) 351-4000
                               Email: mrosenthal@gibsondunn.com
                               mkarlan@gibsondunn.com
                               jhallowell@gibsondunn.com
                               kmartorana@gibsondunn.com
                               srokosky@gibsondunn.com

                               GIBSON, DUNN & CRUTCHER LLP
                               Theodore J. Boutrous Jr. (pro hac vice)
                               Richard J. Doren (pro hac vice)
                               Blaine H. Evanson (pro hac vice)
                               333 South Grand Avenue
                               Los Angeles, California 90071
                               Telephone: (213) 229-7038
                               Email: rdoren@gibsondunn.com
                               bevanson@gibsondunn.com
                               tboutrous@gibsondunn.com

                               FORAN GLENNON PALANDECH PONZI & RUDLOFF P.C.
                               Susan N.K. Gummow
                               222 N. LaSalle St., Suite 1400
                               Chicago, Illinois 60601
                               Telephone: (312) 863-5000
                               Email: sgummow@fgppr.com
  Allianz Global Risks US      TROUTMAN PEPPER HAMILTON SANDERS LLP

                                                 2



                                                A00490
    Case: 23-1664   Document: 62-1    Page: 515     Date Filed: 07/24/2023


Insurance Company     David M. Fournier (DE Bar No. 2812)
(Appellant)           Marcy J. McLaughlin Smith (DE No. 6184)
                      Hercules Plaza
                      1313 Market Street
                      Suite 5100
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 404.885.3000
                      david.fournier@troutman.com
                      marcy.smith@troutman.com

                      -and-

                      PARKER, HUDSON, RAINER & DOBBS LLP
                      Harris B. Winsberg (pro hac vice)
                      Matthew G. Roberts (pro hac vice)
                      303 Peachtree Street NE
                      Suite 3600
                      Atlanta, GA 30308
                      Telephone: 404.420.4313
                      Facsimile: 404.522.8409
                      hwinsberg@phrd.com
                      mroberts@phrd.com

                      -and-

                      McDERMOTT WILL & EMERY LLP
                      Margaret H. Warner (pro hac vice)
                      Ryan S. Smethurst (pro hac vice)
                      Alex M. Spisak (pro hac vice)
                      The McDermott Building
                      500 North Capitol Street, NW
                      Washington, DC 20001-1531
                      Telephone: 202.756.8228
                      Facsimile: 202.756.8087
                      mwarner@mwe.com
                      rsmethurst@mwe.com
                      aspisak@mwe.com
National Surety       TROUTMAN PEPPER HAMILTON SANDERS LLP
Corporation and       David M. Fournier (DE Bar No. 2812)
Interstate Fire &     Marcy J. McLaughlin Smith (DE No. 6184)
Casualty Company      Hercules Plaza, Suite 5100
(Appellants)          1313 Market Street
                      P.O. Box 1709
                      Wilmington, DE 19899-1709
                      Telephone: 302.777.6500

                                     3



                                 A00491
   Case: 23-1664   Document: 62-1    Page: 516     Date Filed: 07/24/2023


                     Facsimile: 302.421.8390
                     david.fournier@troutman.com
                     marcy.smith@troutman.com

                     -and-

                     PARKER, HUDSON, RAINER & DOBBS LLP
                     Harris B. Winsberg (pro hac vice)
                     Matthew G. Roberts (pro hac vice)
                     303 Peachtree Street NE
                     Suite 3600
                     Atlanta, GA 30308
                     Telephone: 404.420.4313
                     Facsimile: 404.522.8409
                     hwinsberg@phrd.com
                     mroberts@phrd.com

                     -and-

                       BRADLEY RILEY JACOBS PC
                       Todd C. Jacobs (pro hac vice)
                       John E. Bucheit (pro hac vice)
                       Paul J. Esker (pro hac vice)
                       500 West Madison Street
                       Suite 1000
                       Chicago, IL 60661
                       Telephone: 312.281.0295
                       tjacobs@bradleyriley.com
                       jbucheit@bradleyriley.com
                       pesker@bradleyriley.com
Arch Insurance Company SMITH, KATZENSTEIN & JENKINS LLP
(Appellant)            Kathleen M. Miller (No. 2898)
                       1000 West Street, Suite 501
                       P.O. Box 410
                       Wilmington, DE 19899
                       Telephone: (302) 652-8400
                       kmiller@skjlaw.com

                     HANGLEY ARONCHICK SEGAL
                     PUDLIN & SCHILLER
                     Ronald P. Schiller (pro hac vice)
                     Matthew A. Hamermesh (pro hac vice)
                     One Logan Square, 27th Floor
                     Philadelphia, PA 19103
                     T: (215) 568-6200
                     F: (215) 568-0300

                                    4



                                A00492
    Case: 23-1664    Document: 62-1     Page: 517      Date Filed: 07/24/2023


                       E: rschiller@hangley.com
                       mhamermesh@hangley.com
Argonaut Insurance      POST & SCHELL, P.C.
Company and Colony      Paul Logan (No. 3339)
Insurance Company       300 Delaware Avenue, Suite 1380
(Appellants)
                        Wilmington, DE 19801
                        Telephone: (302) 251-8856
                        Email: plogan@postschell.com

                        POST & SCHELL, P.C.
                        John C. Sullivan (pro hac vice)
                        Kathleen K. Kerns (pro hac vice)
                        Four Penn Center – 13th Floor
                        1600 John F. Kennedy Boulevard
                        Philadelphia, PA 19103
                        Telephone: (215) 587-1000
                        jsullivan@postschell.com
                       kkerns@postschell.com

                       -and-

                        IFRAH PLLC
                        George R. Calhoun (pro hac vice)
                        1717 Pennsylvania Avenue, N.W. Suite 650
                        Washington, DC 20006
                        Telephone: (202) 840-8758
                       george@ifrahlaw.com
Arrowood Indemnity     JOYCE, LLC
Company                Michael J. Joyce (No. 4563)
(Appellant)            1225 King Street, Suite 800
                       Wilmington, DE 19801
                       Telephone: (302) 388-1944
                       Email: mjoyce@mjlawoffices.com

                       -and-

                       COUGHLIN MIDLIGE & GARLAND, LLP
                       Kevin Coughlin (pro hac vice)
                       Lorraine Armenti (pro hac vice)
                       Michael Hrinewski (pro hac vice)
                       350 Mount Kemble Avenue
                       PO Box 1917
                       Morristown, NJ 07962
                       Telephone: (973) 267-0058
                       Facsimile: 973-267-6442
                       kcoughlin@cmg.law

                                        5



                                   A00493
    Case: 23-1664       Document: 62-1    Page: 518     Date Filed: 07/24/2023


                          larmenti@cmg.law
                          mhrinewski@cmg.law

                          -and-

                          CARRUTHERS & ROTH, P.A.
                          Britton C. Lewis
                          John M. Flynn
                          235 N. Edgeworth Street
                          P.O. Box 540
                          Greensboro, NC 27401
                          Telephone: (336) 478-1146
                          Facsimile: (336) 478-1145
                          jmf@crlaw.com
                          bcl@crlaw.com
Continental Insurance     GOLDSTEIN & MCCLINTOCK LLLP
Company and Columbia      Maria Aprile Sawczuk (DE #3320)
Casualty Company          501 Silverside Road
(Appellants)              Wilmington, DE 19809
                          302-444-6710
                          marias@goldmclaw.com

                          -and-

                          LOEB & LOEB LLP
                          Laura McNally (pro hac vice)
                          Emily Stone (pro hac vice)
                          321 N. Clark Street, Suite 2300
                          Chicago, IL 60654
                          312-464-3155
                          lmcnally@loeb.com
                          estone@loeb.com
Gemini Insurance          WERB & SULLIVAN
Company                   LEGAL ARTS BUILDING
(Appellant)               Brian A. Sullivan (No. 2098)
                          1225 N. King Street
                          Suite 600
                          Wilmington, Delaware 19801
                          Telephone: (302) 652-1100
                          Cell: (302) 757-9932
                          Facsimile: (302) 652-1111
                          Email: bsullivan@werbsullivan.com

                          GIEGER LABORDE & LAPEROUOSE, LLC
                          John E.W. Baay II (pro hac vice)
                          701 Poydras Street

                                          6



                                     A00494
     Case: 23-1664       Document: 62-1    Page: 519   Date Filed: 07/24/2023


                           Suite 4800
                           New Orleans, LA 70139
                           Tel.: 504-561-0400
                           Fax: 504-561-1011
                           Email: jbaay@glllaw.com

                           -and-

                          KIERNAN TREBACH LLP
                          William H. White Jr (pro hac vice)
                          1233 20th Street, NW
                          8th Floor
                          Washington, DC 20036
                          Tel.: 202-712-7000
                          Fax: 202-712-7100
                          Email: wwhite@kiernantrebach.com
General Star Indemnity    SMITH, KATZENSTEIN & JENKINS LLP
Company                   Kathleen M. Miller (DE Bar No. 2898)
(Appellant)               1000 West Street, Suite 501
                          P.O. Box 410
                          Wilmington, DE 19899
                          Telephone: (302) 652-8400
                          Email: kmiller@skjlaw.com

                          -and-

                        WILEY REIN LLP
                        Mary E. Borja (pro hac vice)
                        Gary P. Seligman (pro hac vice)
                        Ashley L. Criss (pro hac vice)
                        2050 M Street NW
                        Washington, DC 20036
                        Phone: (202) 719-7000
                        Email: mborja@wiley.law
                        gseligman@wiley.law
                        acriss@wiley.law
Great American          BODELL BOVÉ, LLC
Assurance               Bruce W. McCullough (No. 3112)
Company, f/k/a          1225 N. King Street, Suite 1000
Agricultural Insurance  Wilmington, Delaware 19801-3250
Company; Great          Telephone: (302) 655-6749
American E&S Insurance bmccullough@bodellbove.com
Company, f/k/a
Agricultural Excess and -and-
Surplus Insurance
Company; and Great      CLYDE & CO US LLP

                                          7



                                      A00495
     Case: 23-1664           Document: 62-1    Page: 520      Date Filed: 07/24/2023


American E&S Insurance Bruce D. Celebrezze (pro hac vice)
Company                150 California Street | 15th Floor
(Appellants)           San Francisco, California 94111
                       Telephone: (415) 365-9800
                       Facsimile: (415) 365-9801
                       bruce.celebrezze@clydeco.us

                               CLYDE & CO US LLP
                               Konrad R. Krebs (pro hac vice)
                               340 Mt. Kemble Avenue | Suite 300
                               Morristown, NJ 07960
                               Telephone: (973) 210-6700
                               Facsimile: (973) 210-6701
                               konrad.krebs@clydeco.us

                               -and-

                               DAVID CHRISTIAN ATTORNEYS LLC
                               David Christian (pro hac vice)
                               105 W. Madison St., Suite 1400
                               Chicago, Illinois 60602
                               Telephone: (312) 282-5282
                               dchristian@dca.law
Indian Harbor Insurance        SMITH, KATZENSTEIN
Company, on behalf of          & JENKINS LLP
itself and as successor in     Kathleen M. Miller (No. 2898)
interest to Catlin             1000 West Street, Suite 1501
Specialty Insurance            P.O. Box 410
Company                        Wilmington, DE 19899 [Courier 19801]
(Appellant)                    Telephone: (302) 652-8400
                               Facsimile: (302) 652-8405
                               kmiller@skjlaw.com

                               and

                         MOUND COTTON WOLLAN & GREENGRASS LLP
                         Lloyd A. Gura (pro hac vice)
                         Pamela J. Minetto (pro hac vice)
                         One New York Plaza 44th Floor
                         New York, NY 10004
                         Tel: (212) 804-4282
                         lgura@moundcotton.com
                         pminetto@moundcotton.com
Liberty Mutual Insurance SEITZ, VAN OGTROP & GREEN, P.A.
Company, The Ohio        R. Karl Hill (DE Bar No. 2747)
Casualty Insurance       222 Delaware Avenue

                                               8



                                          A00496
      Case: 23-1664        Document: 62-1        Page: 521    Date Filed: 07/24/2023


Company, Liberty            Suite 1500
Insurance Underwriters,     Wilmington, DE 19801
Inc. and Liberty Surplus    Telephone: (302) 888-0600
Insurance Corporation       khill@svglaw.com
(Appellants)
                            -and-

                            CHOATE, HALL & STEWART LLP
                            Douglas R. Gooding (pro hac vice)
                            Jonathan D. Marshall (pro hac vice)
                            Two International Place
                            Boston, MA 02110
                            Telephone: (617) 248-5000
                            dgooding@choate.com
                            jmarshall@choate.com

                            -and-

                            MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO
                            PC
                            Kim V. Marrkand (pro hac vice)
                            One Financial Center
                            Boston, MA 02111
                            Telephone: (617) 542-6000
                            kvmarrkand@mintz.com
Munich Reinsurance          DILWORTH PAXSON LLP
America, Inc., formerly     Thaddeus J. Weaver (DE Bar. No. 2790)
known as American Re-       704 N. King Street, Suite 500
Insurance Company           P.O. Box 1031
(Appellant)                 Wilmington, DE 19899-1031
                            (302) 571-8867 (telephone)
                            (302) 351-8735 (facsimile)
                            tweaver@dilworthlaw.com

                            -and-

                            DILWORTH PAXSON LLP
                            William E. McGrath, Jr. (pro hac vice)
                            2 Research Way, Suite 103
                            Princeton, NJ 08540
                            (609) 924-6000 (telephone)
                            (215) 893-8537 (facsimile)
                            wmcgrath@dilworthlaw.com
Traders and Pacific         COZEN O’CONNOR
Insurance Company,          Marla S. Benedek (No. 6638)
Endurance American          1201 N. Market Street, Suite 1001

                                             9



                                         A00497
    Case: 23-1664        Document: 62-1    Page: 522     Date Filed: 07/24/2023


Specialty Insurance        Wilmington, DE 19801
Company, and               Telephone: (302) 295-2024
Endurance American         Facsimile: (302) 250-4498
Insurance Company          mbenedek@cozen.com
(Appellants)
Old Republic Insurance     MORRIS JAMES LLP
Company                    Stephen M. Miller (No. 2610)
(Appellant)                Carl N. Kunz, III (No. 3201)
                           500 Delaware Avenue, Suite 1500
                           Wilmington, Delaware 19801
                           Telephone: (302) 888-6800
                           Facsimile: (302) 571-1750
                           smiller@morrisjames.com
                           ckunz@morrisjames.com

                           -and-

                        FOX SWIBEL LEVIN & CARROLL LLP
                        Margaret M. Anderson (pro hac vice)
                        Ryan T. Schultz (pro hac vice)
                        Adam A. Hachikian (pro hac vice)
                        Kenneth M. Thomas (pro hac vice)
                        200 W. Madison Street, Suite 3000
                        Chicago, Illinois 60606
                        Telephone: (312) 224-1200
                        Facsimile: (312) 224-1201
                        panderson@foxswibel.com
                        rschultz@foxswibel.com
                        ahachikian@foxswibel.com
                        kthomas@foxswibel.com
Travelers Casualty and  REGER RIZZO & DARNALL LLP
Surety Company, Inc.    Louis J. Rizzo, Jr. (DE Bar No. 3374)
(f/k/a Aetna Casualty & 1521 Concord Pike Suite 305
Surety Company), St.    Brandywine Plaza West
Paul Surplus Lines      Wilmington DE 19803
Insurance Company and Telephone: (302) 477-7100
Gulf Insurance Company Facsimile: (302) 652-3620
(Appellants)            lrizzo@regerlaw.com
Lujan Claimants         LOIZIDES, P.A.
                        Christopher D. Loizides (No. 3968)
(Appellants)            1225 North King Street, Suite 800
                        Telephone: (302) 654-0248
                        Loizides@loizides.com

                           -and-
                                          10



                                      A00498
    Case: 23-1664        Document: 62-1     Page: 523     Date Filed: 07/24/2023



                           LUJAN & WOLFF LLP
                           Delia Lujan Wolff
                           Suite 300, DNA Bldg.
                           238 Archbishop Flores St.
                           Hagatna, Guam 96910
                           Telephone: (671) 477-8064/5
                           dslwolff@lawguam.com
Dumas & Vaughn             GELLERT SCALI BUSENKELL & BROWN LLC
Claimants                  Charles J. Brown, III (No. 3368)
(Appellants)               1201 N. Orange St., 3rd Floor
                           Wilmington, DE 19801
                           Telephone: (302) 425-5813
                           cbrown@gsbblaw.com

                           -and-

                           DUMAS & VAUGHN, LLC
                           Gilion C. Dumas
                           3835 NE Hancock Street, Suite GLB
                           Portland, OR 97212
                           Telephone: (503) 616-5007
                           gilion@dumasandvaughn.com
Boy Scouts of America,     MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Delaware BSA, LLC          Derek C. Abbott (No. 3376)
(Debtors/Appellees and     Andrew R. Remming (No. 5120)
Debtors in Possession)     Paige N. Topper (No. 6470)
                           1201 North Market Street, 16th Floor
                           P.O. Box 1347
                           Wilmington, Delaware 19899-1347
                           Telephone: (302) 658-9200
                           dabbott@morrisnichols.com
                           aremming@morrisnichols.com
                           ptopper@morrisnichols.com

                           – and –

                           WHITE & CASE LLP
                           Jessica C. Lauria (pro hac vice)
                           Glenn M. Kurtz (pro hac vice)
                           1221 Avenue of the Americas
                           New York, New York 10020
                           Telephone: (212) 819-8200
                           Email: jessica.lauria@whitecase.com
                           gkurtz@whitecase.com


                                           11



                                      A00499
    Case: 23-1664     Document: 62-1    Page: 524     Date Filed: 07/24/2023



                        – and –

                        WHITE & CASE LLP
                        Michael C. Andolina
                        Matthew E. Linder
                        Laura E. Baccash
                        Blair M. Warner
                        111 South Wacker Drive
                        Chicago, Illinois 60606
                        Telephone: (312) 881-5400
                        mandolina@whitecase.com
                        mlinder@whitecase.com
                        laura.baccash@whitecase.com
                        blair.warner@whitecase.com

                        – and –

                        WHITE & CASE LLP
                        Ronald K. Gorsich
                        Doah Kim
                        555 South Flower Street, Suite 2700
                        Los Angeles, CA 90071
                        Telephone: (213) 620-7700
                        rgorsich@whitecase.com
                        doah.kim@whitecase.com
Tort Claimants’         PACHULSKI STANG ZIEHL & JONES LLP
Committee               Richard M. Pachulski (pro hac vice)
(Appellee)              Alan J. Kornfeld (pro hac vice)
                        Debra I. Grassgreen (pro hac vice)
                        Iain A.W. Nasatir (pro hac vice)
                        James E. O’Neill (No. 4042)
                        919 North Market Street, 17th Floor
                        P.O. Box 8705
                        Wilmington, DE 19899-8705 (Courier 19801)
                        Telephone: (302) 652-4100
                        Fax: (302) 652-4400
                        Email: rpachulski@pszjlaw.com
                        akornfeld@pszjlaw.com
                        dgrassgreen@pszjlaw.com
                        inasatir@pszjlaw.com
                        joneill@pszjlaw.com
Coalition of Abused     MONZACK MERSKY AND BROWDER, P.A.
Scouts for Justice      Rachel B. Mersky (No. 2049)
(Appellee)              1201 North Orange Street, Suite 400
                        Wilmington, Delaware 19801
                        Telephone: (302) 656-8162

                                       12



                                   A00500
    Case: 23-1664   Document: 62-1     Page: 525      Date Filed: 07/24/2023


                      Fax: (302) 656-2769
                      Email: rmersky@monlaw.com

                      –and–

                      BROWN RUDNICK LLP
                      David J. Molton, Esq. (pro hac vice)
                      Eric R. Goodman, Esq. (pro hac vice)
                      Seven Times Square
                      New York, NY 10036
                      Telephone: (212) 209-4800
                      Fax: (212) 209-4801
                      Email: dmolton@brownrudnick.com
                      egoodman@brownrudnick.com

                      –and–

                      BROWN RUDNICK LLP
                      Sunni P. Beville, Esq. (pro hac vice)
                      Tristan G. Axelrod, Esq. (pro hac vice)
                      One Financial Center
                      Boston, MA 02111
                      Telephone: (617) 856-8200
                      Fax: (617) 856-8201
                      Email: sbeville@brownrudnick.com
                      taxelrod@brownrudnick.com
Future Claimants’     YOUNG CONAWAY STARGATT & TAYLOR, LLP
Representative
(Appellee)            Robert S. Brady (No. 2847)
                      Edwin J. Harron (No. 3396)
                      Kenneth J. Enos (No. 4544)
                      Ashley E. Jacobs (No. 5635)
                      Rodney Square
                      1000 North King Street
                      Wilmington, Delaware 19801
                      Telephone: (302) 571-6600
                      Fax: (302) 571-1253
                      Email: rbrady@ycst.com
                      eharron@ycst.com
                      kenos@ycst.com
                      ajacobs@ycst.com

                      -and-

                      GILBERT LLP
                      Kami E. Quinn (pro hac vice)

                                      13



                                 A00501
     Case: 23-1664      Document: 62-1      Page: 526     Date Filed: 07/24/2023


                           Rachel H. Jennings (pro hac vice)
                           Kyle Y. Dechant (pro hac vice)
                           December L. Huddleston (pro hac vice)
                           700 Pennsylvania Ave, SE
                           Suite 400
                           Washington, DC 20003
                           Telephone: (202) 772-2200
                           Fax: (202) 772-3333
                           Email: quinnk@gilbertlegal.com
                           jenningsr@gilbertlegal.com
                           dechantk@gilbertlegal.com
                           huddlestond@gilbertlegal.com
The Zalkin Law Firm,       KTBS LAW LLP
P.C. and Pfau Cochran      Thomas E. Patterson (pro hac vice)
Vertetis Amala PLLC        Daniel J. Bussel (pro hac vice)
(Appellees)                Robert J. Pfister (pro hac vice)
                           Sasha M. Gurvitz (pro hac vice)
                           1801 Century Park East, Twenty-Sixth Floor
                           Los Angeles, California 90067
                           Telephone: (310) 407-4000
                           Fax: (310) 407-9090
                           Email: tpatterson@ktbslaw.com
                           dbussel@ktbslaw.com
                           rpfister@ktbslaw.com
                           sgurvitz@ktbslaw.com

                           -and-

                           BIELLI & KLAUDER, LLC
                           David M. Klauder, Esquire (No. 5769)
                           1204 N. King Street
                           Wilmington, DE 19801
                           Telephone: (302) 803-4600
                           Fax: (302) 397-2557
                           Email: dklauder@bk-legal.com
Hartford Accident and      BAYARD, P.A.
Indemnity Company,         Erin R. Fay (No. 5268)
First State Insurance      Gregory J. Flasser (No. 6154)
Company, Twin City         600 North King Street, Suite 400
Fire Insurance Company,    Wilmington, DE 19801
and Navigators Specialty   Telephone: (302) 655-5000
Insurance Company          Fax: (302) 658-6395
(Appellees)                Email: efay@bayardlaw.com
                           gflasser@bayardlaw.com

                           -and-

                                           14



                                      A00502
    Case: 23-1664     Document: 62-1      Page: 527       Date Filed: 07/24/2023



                          RUGGERI PARKS WEINBERG LLP
                          James P. Ruggeri (pro hac vice)
                          Joshua D. Weinberg (pro hac vice)
                          1875 K Street, N.W., Suite 600
                          Washington, D.C. 20006-1251
                          Telephone: (202) 469-7750
                          Fax: (202) 469-7751

                          -and-

                          WILMER CUTLER PICKERING HALE
                          AND DORR LLP
                          Philip D. Anker (pro hac vice)
                          7 World Trade Center
                          250 Greenwich Street
                          New York, N.Y. 10007
                          Telephone: (212) 230-8890
                          Fax: (212) 230-8888

                          Joel Millar (pro hac vice)
                          1875 Pennsylvania Avenue N.W.
                          Washington, D.C. 20006
                          Telephone: (202) 663-6000
                          Fax: (202) 663-6363
Century Indemnity         STAMOULIS & WEINBLATT LLC
Company, as successor     Stamatios Stamoulis (No. 4606)
to CCI Insurance          800 N. West Street
Company, as successor     Third Floor Wilmington, Delaware 19801
to Insurance Company of   Telephone: 302 999 1540
North America and         Fax: 302 762 1688
Indemnity Insurance
Company of North          -and-
America
(Appellees)               O’MELVENY & MYERS LLP
                          Tancred Schiavoni (pro hac vice)
                          Times Square Tower
                          7 Times Square
                          New York, New York 10036-6537
                          Telephone: (212) 326-2000
                          Fax: (212) 326-2061

                          O’MELVENY & MYERS LLP
                          Stephen Warren (pro hac vice)
                          400 South Hope Street
                          Los Angeles, California 90071

                                         15



                                     A00503
    Case: 23-1664        Document: 62-1     Page: 528      Date Filed: 07/24/2023


                           Telephone: (213) 430-6000
                           Fax: (213) 430-6407

                           O’MELVENY & MYERS LLP
                           Jonathan D. Hacker (pro hac vice)
                           1625 Eye Street, N.W.
                           Washington, D.C. 20006
                           Telephone: (202) 383-5300
Federal Insurance          STAMOULIS & WEINBLATT LLC
Company and                Stamatios Stamoulis (No. 4606)
Westchester Fire           8000 N. West Street, Third Floor
Insurance Company          Wilmington, Delaware 19801
(Appellees)                Telephone: (302) 999-1540

                           -and-

                           SIMPSON THATCHER & BARTLETT LLP
                           David Elbaum (pro hac vice)
                           425 Lexington Avenue
                           New York, New York 10017
                           Telephone: (212) 455-2000
American Zurich            TYBOUT, REDFEARN & PELL
Insurance Company,         Robert D. Cecil, Jr. (No. 5317)
American Guarantee         501 Carr Road, Suite 300
Insurance Company, and     Wilmington, Delaware 19899
Steadfast Insurance        Telephone: (302) 658-6901
Company                    Email: rcecil@trplaw.com
(Appellees)
                           -and-

                           CROWELL & MORING LLP
                           Mark D. Plevin (pro hac vice)
                           Kevin D. Cacabelos (pro hac vice)
                           Three Embarcadero Center, 26th Floor
                           San Francisco, California 94111
                           Telephone: (415) 986-2800
                           Email: mplevin@crowell.com
                           kcacabelos@crowell.com

                           Tacie H. Yoon (pro hac vice)
                           Rachel A. Jankowski (pro hac vice)
                           1001 Pennsylvania Ave., N.W.
                           Washington, D.C. 20004
                           Telephone: (202) 624-2500
                           Email: tyoon@crowell.com
                           rjankowski@crowell.com

                                           16



                                      A00504
     Case: 23-1664         Document: 62-1     Page: 529      Date Filed: 07/24/2023


Clarendon National           BALLARD SPAHR LLP
Insurance Company, as        Matthew G. Summers (No. 5533)
successor in interest by     Chantelle D. McClamb (No. 5978)
merger to Clarendon          919 N. Market Street, 11th Floor
America Insurance            Wilmington, Delaware 19801-3034
Company; River Thames        Telephone: (302) 252-4428
Insurance Company            Fax: (302) 252-4466
Limited (as successor in     Email: summersm@ballardspahr.com
interest to Unionamerica     mcclamb@ballardspahr.com
Insurance Company
Limited, on its own          -and-
behalf and in turn as
successor to St.             STEPTOE & JOHNSON LLP
Katherine Insurance          Harry Lee (pro hac vice)
Company Limited); and        John O’Connor (pro hac vice)
Zurich American              1330 Connecticut Avenue NW
Insurance Company, as        Washington, DC 20036
successor to Maryland        Telephone: (202) 429-8078
Casualty Company,            Fax: (202) 429-3902
Zurich Insurance             Email: hlee@steptoe.com
Company, and Maryland        joconnor@steptoe.com
General Insurance
Company
(Appellees)

Ad Hoc Committee of          DLA PIPER, LLP (US)
Local Councils of the        R. Craig Martin (No. 5032)
Boy Scouts of America        1201 North Market Street, Suite 2100
(Appellee)                   Wilmington, Delaware 19801-1147
                             Telephone: (302) 468-5655
                             Email: craig.martin@dlapiper.com

                             -and-

                             WACHTELL, LIPTON, ROSEN & KATZ
                             Richard G. Mason (pro hac vice)
                             Douglas K. Mayer (pro hac vice)
                             Joseph C. Celentino (pro hac vice)
                             Mitchell S. Levy (pro hac vice)
                             51 West 52nd Street
                             New York, New York 10019
                             Telephone: (212) 403-1000
                             Email: RGMason@wlrk.com
                             DKMayer@wlrk.com
                             JCCelentino@wlrk.com
                             MSLevy@wlrk.com


                                             17



                                        A00505
       Case: 23-1664    Document: 62-1    Page: 530   Date Filed: 07/24/2023


Dated: April 24, 2023
                                          SMITH, KATZENSTEIN & JENKINS
                                          LLP

                                          /s/ Kathleen M. Miller        _
                                          Kathleen M. Miller (No. 2898)
                                          1000 West Street, Suite 501
                                          P.O. Box 410
                                          Wilmington, DE 19899
                                          Telephone: (302) 652-8400
                                          Email: kmiller@skjlaw.com
                                          -and-
                                          HANGLEY ARONCHICK
                                          SEGAL PUDLIN & SCHILLER
                                          Ronald P. Schiller
                                          Matthew A. Hamermesh
                                          One Logan Square, 27th Floor
                                          Philadelphia, PA 19103
                                          T: (215) 568-6200
                                          F: (215) 568-0300
                                          E: rschiller@hangley.com
                                          mhamermesh@hangley.com

                                          Attorneys for Arch Insurance Company




                                         18



                                    A00506
         Case: 23-1664   Document: 62-1   Page: 531   Date Filed: 07/24/2023




A00507
         Case: 23-1664   Document: 62-1   Page: 532   Date Filed: 07/24/2023




A00508
         Case: 23-1664   Document: 62-1   Page: 533   Date Filed: 07/24/2023




A00509
         Case: 23-1664   Document: 62-1   Page: 534   Date Filed: 07/24/2023




A00510
         Case: 23-1664   Document: 62-1   Page: 535   Date Filed: 07/24/2023




A00511
         Case: 23-1664   Document: 62-1   Page: 536   Date Filed: 07/24/2023




A00512
         Case: 23-1664   Document: 62-1   Page: 537   Date Filed: 07/24/2023




A00513
         Case: 23-1664   Document: 62-1   Page: 538   Date Filed: 07/24/2023




A00514
         Case: 23-1664   Document: 62-1   Page: 539   Date Filed: 07/24/2023




A00515
         Case: 23-1664   Document: 62-1   Page: 540   Date Filed: 07/24/2023




A00516
         Case: 23-1664   Document: 62-1   Page: 541   Date Filed: 07/24/2023




A00517
         Case: 23-1664   Document: 62-1   Page: 542   Date Filed: 07/24/2023




A00518
         Case: 23-1664   Document: 62-1   Page: 543   Date Filed: 07/24/2023




A00519
         Case: 23-1664   Document: 62-1   Page: 544   Date Filed: 07/24/2023




A00520
         Case: 23-1664   Document: 62-1   Page: 545   Date Filed: 07/24/2023




A00521
         Case: 23-1664   Document: 62-1   Page: 546   Date Filed: 07/24/2023




A00522
         Case: 23-1664   Document: 62-1   Page: 547   Date Filed: 07/24/2023




A00523
         Case: 23-1664   Document: 62-1   Page: 548   Date Filed: 07/24/2023




A00524
         Case: 23-1664   Document: 62-1   Page: 549   Date Filed: 07/24/2023




A00525
         Case: 23-1664   Document: 62-1   Page: 550   Date Filed: 07/24/2023




A00526
         Case: 23-1664   Document: 62-1   Page: 551   Date Filed: 07/24/2023




A00527
         Case: 23-1664   Document: 62-1   Page: 552   Date Filed: 07/24/2023




A00528
         Case: 23-1664   Document: 62-1   Page: 553   Date Filed: 07/24/2023




A00529
         Case: 23-1664   Document: 62-1   Page: 554   Date Filed: 07/24/2023




A00530
         Case: 23-1664   Document: 62-1   Page: 555   Date Filed: 07/24/2023




A00531
         Case: 23-1664   Document: 62-1   Page: 556   Date Filed: 07/24/2023




A00532
         Case: 23-1664   Document: 62-1   Page: 557   Date Filed: 07/24/2023




A00533
         Case: 23-1664   Document: 62-1   Page: 558   Date Filed: 07/24/2023




A00534
         Case: 23-1664   Document: 62-1   Page: 559   Date Filed: 07/24/2023




A00535
         Case: 23-1664   Document: 62-1   Page: 560   Date Filed: 07/24/2023




A00536
         Case: 23-1664   Document: 62-1   Page: 561   Date Filed: 07/24/2023




A00537
         Case: 23-1664   Document: 62-1   Page: 562   Date Filed: 07/24/2023




A00538
         Case: 23-1664   Document: 62-1   Page: 563   Date Filed: 07/24/2023




A00539
         Case: 23-1664   Document: 62-1   Page: 564   Date Filed: 07/24/2023




A00540
         Case: 23-1664   Document: 62-1   Page: 565   Date Filed: 07/24/2023




A00541
         Case: 23-1664   Document: 62-1   Page: 566   Date Filed: 07/24/2023




A00542
         Case: 23-1664   Document: 62-1   Page: 567   Date Filed: 07/24/2023




A00543
         Case: 23-1664   Document: 62-1   Page: 568   Date Filed: 07/24/2023




A00544
         Case: 23-1664   Document: 62-1   Page: 569   Date Filed: 07/24/2023




A00545
         Case: 23-1664   Document: 62-1   Page: 570   Date Filed: 07/24/2023




A00546
         Case: 23-1664   Document: 62-1   Page: 571   Date Filed: 07/24/2023




A00547
         Case: 23-1664   Document: 62-1   Page: 572   Date Filed: 07/24/2023




A00548
         Case: 23-1664   Document: 62-1   Page: 573   Date Filed: 07/24/2023




A00549
         Case: 23-1664   Document: 62-1   Page: 574   Date Filed: 07/24/2023




A00550
         Case: 23-1664   Document: 62-1   Page: 575   Date Filed: 07/24/2023




A00551
         Case: 23-1664   Document: 62-1   Page: 576   Date Filed: 07/24/2023




A00552
         Case: 23-1664   Document: 62-1   Page: 577   Date Filed: 07/24/2023




A00553
         Case: 23-1664   Document: 62-1   Page: 578   Date Filed: 07/24/2023




A00554
         Case: 23-1664   Document: 62-1   Page: 579   Date Filed: 07/24/2023




A00555
         Case: 23-1664   Document: 62-1   Page: 580   Date Filed: 07/24/2023




A00556
         Case: 23-1664   Document: 62-1   Page: 581   Date Filed: 07/24/2023




A00557
         Case: 23-1664   Document: 62-1   Page: 582   Date Filed: 07/24/2023




A00558
         Case: 23-1664   Document: 62-1   Page: 583   Date Filed: 07/24/2023




A00559
         Case: 23-1664   Document: 62-1   Page: 584   Date Filed: 07/24/2023




A00560
         Case: 23-1664   Document: 62-1   Page: 585   Date Filed: 07/24/2023




A00561
         Case: 23-1664   Document: 62-1   Page: 586   Date Filed: 07/24/2023




A00562
         Case: 23-1664   Document: 62-1   Page: 587   Date Filed: 07/24/2023




A00563
         Case: 23-1664   Document: 62-1   Page: 588   Date Filed: 07/24/2023




A00564
         Case: 23-1664   Document: 62-1   Page: 589   Date Filed: 07/24/2023




A00565
         Case: 23-1664   Document: 62-1   Page: 590   Date Filed: 07/24/2023




A00566
         Case: 23-1664   Document: 62-1   Page: 591   Date Filed: 07/24/2023




A00567
         Case: 23-1664   Document: 62-1   Page: 592   Date Filed: 07/24/2023




A00568
         Case: 23-1664   Document: 62-1   Page: 593   Date Filed: 07/24/2023




A00569
         Case: 23-1664   Document: 62-1   Page: 594   Date Filed: 07/24/2023




A00570
         Case: 23-1664   Document: 62-1   Page: 595   Date Filed: 07/24/2023




A00571
         Case: 23-1664   Document: 62-1   Page: 596   Date Filed: 07/24/2023




A00572
         Case: 23-1664   Document: 62-1   Page: 597   Date Filed: 07/24/2023




A00573
         Case: 23-1664   Document: 62-1   Page: 598   Date Filed: 07/24/2023




A00574
         Case: 23-1664   Document: 62-1   Page: 599   Date Filed: 07/24/2023




A00575
         Case: 23-1664   Document: 62-1   Page: 600   Date Filed: 07/24/2023




A00576
         Case: 23-1664   Document: 62-1   Page: 601   Date Filed: 07/24/2023




A00577
         Case: 23-1664   Document: 62-1   Page: 602   Date Filed: 07/24/2023




A00578
         Case: 23-1664   Document: 62-1   Page: 603   Date Filed: 07/24/2023




A00579
         Case: 23-1664   Document: 62-1   Page: 604   Date Filed: 07/24/2023




A00580
         Case: 23-1664   Document: 62-1   Page: 605   Date Filed: 07/24/2023




A00581
         Case: 23-1664   Document: 62-1   Page: 606   Date Filed: 07/24/2023




A00582
         Case: 23-1664   Document: 62-1   Page: 607   Date Filed: 07/24/2023




A00583
         Case: 23-1664   Document: 62-1   Page: 608   Date Filed: 07/24/2023




A00584
         Case: 23-1664   Document: 62-1   Page: 609   Date Filed: 07/24/2023




A00585
         Case: 23-1664   Document: 62-1   Page: 610   Date Filed: 07/24/2023




A00586
         Case: 23-1664   Document: 62-1   Page: 611   Date Filed: 07/24/2023




A00587
         Case: 23-1664   Document: 62-1   Page: 612   Date Filed: 07/24/2023




A00588
         Case: 23-1664   Document: 62-1   Page: 613   Date Filed: 07/24/2023




A00589
         Case: 23-1664   Document: 62-1   Page: 614   Date Filed: 07/24/2023




A00590
         Case: 23-1664   Document: 62-1   Page: 615   Date Filed: 07/24/2023




A00591
         Case: 23-1664   Document: 62-1   Page: 616   Date Filed: 07/24/2023




A00592
         Case: 23-1664   Document: 62-1   Page: 617   Date Filed: 07/24/2023




A00593
         Case: 23-1664   Document: 62-1   Page: 618   Date Filed: 07/24/2023




A00594
         Case: 23-1664   Document: 62-1   Page: 619   Date Filed: 07/24/2023




A00595
         Case: 23-1664   Document: 62-1   Page: 620   Date Filed: 07/24/2023




A00596
         Case: 23-1664   Document: 62-1   Page: 621   Date Filed: 07/24/2023




A00597
         Case: 23-1664   Document: 62-1   Page: 622   Date Filed: 07/24/2023




A00598
         Case: 23-1664   Document: 62-1   Page: 623   Date Filed: 07/24/2023




A00599
         Case: 23-1664   Document: 62-1   Page: 624   Date Filed: 07/24/2023




A00600
         Case: 23-1664   Document: 62-1   Page: 625   Date Filed: 07/24/2023




A00601
         Case: 23-1664   Document: 62-1   Page: 626   Date Filed: 07/24/2023




A00602
         Case: 23-1664   Document: 62-1   Page: 627   Date Filed: 07/24/2023




A00603
         Case: 23-1664   Document: 62-1   Page: 628   Date Filed: 07/24/2023




A00604
         Case: 23-1664   Document: 62-1   Page: 629   Date Filed: 07/24/2023




A00605
         Case: 23-1664   Document: 62-1   Page: 630   Date Filed: 07/24/2023




A00606
         Case: 23-1664   Document: 62-1   Page: 631   Date Filed: 07/24/2023




A00607
         Case: 23-1664   Document: 62-1   Page: 632   Date Filed: 07/24/2023




A00608
         Case: 23-1664   Document: 62-1   Page: 633   Date Filed: 07/24/2023




A00609
         Case: 23-1664   Document: 62-1   Page: 634   Date Filed: 07/24/2023




A00610
         Case: 23-1664   Document: 62-1   Page: 635   Date Filed: 07/24/2023




A00611
         Case: 23-1664   Document: 62-1   Page: 636   Date Filed: 07/24/2023




A00612
         Case: 23-1664   Document: 62-1   Page: 637   Date Filed: 07/24/2023




A00613
         Case: 23-1664   Document: 62-1   Page: 638   Date Filed: 07/24/2023




A00614
         Case: 23-1664   Document: 62-1   Page: 639   Date Filed: 07/24/2023




A00615
         Case: 23-1664   Document: 62-1   Page: 640   Date Filed: 07/24/2023




A00616
         Case: 23-1664   Document: 62-1   Page: 641   Date Filed: 07/24/2023




A00617
         Case: 23-1664   Document: 62-1   Page: 642   Date Filed: 07/24/2023




A00618
         Case: 23-1664   Document: 62-1   Page: 643   Date Filed: 07/24/2023




A00619
         Case: 23-1664   Document: 62-1   Page: 644   Date Filed: 07/24/2023




A00620
         Case: 23-1664   Document: 62-1   Page: 645   Date Filed: 07/24/2023




A00621
         Case: 23-1664   Document: 62-1   Page: 646   Date Filed: 07/24/2023




A00622
         Case: 23-1664   Document: 62-1   Page: 647   Date Filed: 07/24/2023




A00623
         Case: 23-1664   Document: 62-1   Page: 648   Date Filed: 07/24/2023




A00624
         Case: 23-1664   Document: 62-1   Page: 649   Date Filed: 07/24/2023




A00625
         Case: 23-1664   Document: 62-1   Page: 650   Date Filed: 07/24/2023




A00626
         Case: 23-1664   Document: 62-1   Page: 651   Date Filed: 07/24/2023




A00627
         Case: 23-1664   Document: 62-1   Page: 652   Date Filed: 07/24/2023




A00628
         Case: 23-1664   Document: 62-1   Page: 653   Date Filed: 07/24/2023




A00629
         Case: 23-1664   Document: 62-1   Page: 654   Date Filed: 07/24/2023




A00630
         Case: 23-1664   Document: 62-1   Page: 655   Date Filed: 07/24/2023




A00631
         Case: 23-1664   Document: 62-1   Page: 656   Date Filed: 07/24/2023




A00632
         Case: 23-1664   Document: 62-1   Page: 657   Date Filed: 07/24/2023




A00633
         Case: 23-1664   Document: 62-1   Page: 658   Date Filed: 07/24/2023




A00634
         Case: 23-1664   Document: 62-1   Page: 659   Date Filed: 07/24/2023




A00635
         Case: 23-1664   Document: 62-1   Page: 660   Date Filed: 07/24/2023




A00636
         Case: 23-1664   Document: 62-1   Page: 661   Date Filed: 07/24/2023




A00637
         Case: 23-1664   Document: 62-1   Page: 662   Date Filed: 07/24/2023




A00638
         Case: 23-1664   Document: 62-1   Page: 663   Date Filed: 07/24/2023




A00639
         Case: 23-1664   Document: 62-1   Page: 664   Date Filed: 07/24/2023




A00640
         Case: 23-1664   Document: 62-1   Page: 665   Date Filed: 07/24/2023




A00641
         Case: 23-1664   Document: 62-1   Page: 666   Date Filed: 07/24/2023




A00642
         Case: 23-1664   Document: 62-1   Page: 667   Date Filed: 07/24/2023




A00643
         Case: 23-1664   Document: 62-1   Page: 668   Date Filed: 07/24/2023




A00644
         Case: 23-1664   Document: 62-1   Page: 669   Date Filed: 07/24/2023




A00645
         Case: 23-1664   Document: 62-1   Page: 670   Date Filed: 07/24/2023




A00646
         Case: 23-1664   Document: 62-1   Page: 671   Date Filed: 07/24/2023




A00647
         Case: 23-1664   Document: 62-1   Page: 672   Date Filed: 07/24/2023




A00648
         Case: 23-1664   Document: 62-1   Page: 673   Date Filed: 07/24/2023




A00649
         Case: 23-1664   Document: 62-1   Page: 674   Date Filed: 07/24/2023




A00650
         Case: 23-1664   Document: 62-1   Page: 675   Date Filed: 07/24/2023




A00651
         Case: 23-1664   Document: 62-1   Page: 676   Date Filed: 07/24/2023




A00652
         Case: 23-1664   Document: 62-1   Page: 677   Date Filed: 07/24/2023




A00653
         Case: 23-1664   Document: 62-1   Page: 678   Date Filed: 07/24/2023




A00654
         Case: 23-1664   Document: 62-1   Page: 679   Date Filed: 07/24/2023




A00655
         Case: 23-1664   Document: 62-1   Page: 680   Date Filed: 07/24/2023




A00656
         Case: 23-1664   Document: 62-1   Page: 681   Date Filed: 07/24/2023




A00657
         Case: 23-1664   Document: 62-1   Page: 682   Date Filed: 07/24/2023




A00658
         Case: 23-1664   Document: 62-1   Page: 683   Date Filed: 07/24/2023




A00659
         Case: 23-1664   Document: 62-1   Page: 684   Date Filed: 07/24/2023




A00660
         Case: 23-1664   Document: 62-1   Page: 685   Date Filed: 07/24/2023




A00661
         Case: 23-1664   Document: 62-1   Page: 686   Date Filed: 07/24/2023




A00662
         Case: 23-1664   Document: 62-1   Page: 687   Date Filed: 07/24/2023




A00663
         Case: 23-1664   Document: 62-1   Page: 688   Date Filed: 07/24/2023




A00664
         Case: 23-1664   Document: 62-1   Page: 689   Date Filed: 07/24/2023




A00665
         Case: 23-1664   Document: 62-1   Page: 690   Date Filed: 07/24/2023




A00666
         Case: 23-1664   Document: 62-1   Page: 691   Date Filed: 07/24/2023




A00667
         Case: 23-1664   Document: 62-1   Page: 692   Date Filed: 07/24/2023




A00668
         Case: 23-1664   Document: 62-1   Page: 693   Date Filed: 07/24/2023




A00669
         Case: 23-1664   Document: 62-1   Page: 694   Date Filed: 07/24/2023




A00670
         Case: 23-1664   Document: 62-1   Page: 695   Date Filed: 07/24/2023




A00671
         Case: 23-1664   Document: 62-1   Page: 696   Date Filed: 07/24/2023




A00672
         Case: 23-1664   Document: 62-1   Page: 697   Date Filed: 07/24/2023




A00673
         Case: 23-1664   Document: 62-1   Page: 698   Date Filed: 07/24/2023




A00674
         Case: 23-1664   Document: 62-1   Page: 699   Date Filed: 07/24/2023




A00675
         Case: 23-1664   Document: 62-1   Page: 700   Date Filed: 07/24/2023




A00676
         Case: 23-1664   Document: 62-1   Page: 701   Date Filed: 07/24/2023




A00677
